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  James S. Richter

  Attorneys for Defendants,
  Lupin Ltd. and Lupin Pharmaceuticals, Inc.


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

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                                      :
  JAZZ PHARMACEUTICALS IRELAND, : Honorable Stanley R. Chesler, U.S.D.J.
  LIMITED,                            :
                                      : Civil Action No. 21-14271 (SRC)(JSA)
                   Plaintiffs,        : Civil Action No. 22-2773 (SRC)(JSA)
                                      : Civil Action No. 23-329 (SRC)(JSA)
  v.                                  :
                                      : (Consolidated)
                                      :
                                      :
  LUPIN INC. and LUPIN                : CORRECTED - DECLARATION OF
  PHARMACEUTICALS, INC.,              : JAMES S. RICHTER SUBMITTED IN
                                      : SUPPORT OF DEFENDANTS’ OPENING
                   Defendants.        : CLAIM CONSTRUCTION BRIEF
                                      :
  ––––––––––––––––––––––––––––––––––––x


         JAMES S. RICHTER, of full age, hereby declares as follows:

         1.     I am an attorney at law of the State of New Jersey and Of Counsel with Midlige

  Richter, LLC, who along with McGuireWoods LLP, are attorneys for Defendants, Lupin Inc. and

  Lupin Pharmaceuticals, Inc. (“Lupin”) in the above-captioned matter.

         2.     This Declaration is submitted in support of Defendants’ Opening Claim

  Construction Brief.

         3.     Attached hereto as Exhibit 1 is a true copy of U.S. Patent No. 11,426,373.
Case 2:21-cv-14271-SRC-JSA Document 102 Filed 10/10/23 Page 2 of 175 PageID: 2979




         4.      Attached hereto as Exhibit 2 is a true copy of “Guidance for Industry: Food-Effect

  Bioavailability and Fed Bioequivalent Studies,” FDA, December 2022.

         5.      Attached hereto as Exhibit 3 is a true copy of the Notice of Allowability,

  Application No. 17/131,418, Mail Date 04/20/2022.

         6.      Attached hereto as Exhibit 4 is a true copy of the Declaration of Panayiotis P.

  Constantinides, Ph.D, including Exhibits 1-5 thereto.

         7.      Attached hereto as Exhibit 5 is excerpts from Jazz’s Responses to Defendants’

  Invalidity Contentions Regarding U.S. Patent Nos. 11,426,373 and 11,552,102. (Filed Under Seal).



         I hereby declare under the penalty of perjury that the foregoing statements made by me are

  true and correct.

                                                      s/ James S. Richter
                                                      James S. Richter
                                                      jrichter@winston.com

  Dated: October 5, 2023




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                                  EXHIBIT 1
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   c12)   United States Patent                                                      (IO) Patent No.:                  US 11,426,373 B2
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          GAMMA-HYDROXYBUTYRATE                                       ("GHB") which are useful in the treatment of conditions
      COMPOSITIONS AND THEIR USE FOR THE                              responsive to GHB, for example, fibromyalgia and sleep
           TREATMENT OF DISORDERS                                     disorders such as apnea, sleep time disturbances, narcolepsy,
                                                                      excessive daytime sleepiness (EDS) cataplexy, sleep paraly-
                      1. CROSS REFERENCE                            5 sis, hypnagogic hallucination, sleep arousal, insomnia, and
                                                                      nocturnal myoclonus.
      This application is a continuation of U.S. patent applica-         One embodiment, as provided herein, is a GHB formu-
   tion Ser. No. 16/575,213, filed Sep. 18, 2019, which is a          lation with a reduction in sodium content. Another embodi-
   continuation of U.S. patent application Ser. No. 15/709,262,       ment, as provided herein, is a GHB formulation with a
   filed Sep. 19, 2017, now abandoned, which claims the
                                                                   10 reduced sodium content and which is bioequivalent to
   benefit of U.S. Provisional Patent Application No. 62/473,
                                                                      Xyrem®. In certain embodiments, the reduction in sodium
   232, filed Mar. 17, 2017, the content of each of which is
   incorporated herein by reference in its entirety.                  content involves use of other cations such as potassium,
                                                                      calcium, magnesium, and others.
                  2. FIELD OF THE INVENTION                              For convenience in comparing various salt compositions
                                                                   15 at the same oxybate or GHB molar dose, compositions
      Provided herein are pharmaceutical compositions and             expressed as percentages in this application refer to molar
   formulations comprising salts of gamma-hydroxybutyrate             equivalent percentage (% molar equivalents) of each salt of
   (GHB). In one embodiment, the salts encompass more than            oxybate or GHB. This is usually close to, but not the same
   one type of cation. Also provided herein are methods of            as, a composition that would be expressed as wt/wt %. As
   making the pharmaceutical compositions and formulations, 20 used herein, the terms "oxybate" and "GHB" are used
   and methods of the treatment of disorders including fibro-         interchangeably.
   myalgia and sleep disorders. Also described herein is that            Accordingly, in one aspect, provided herein are pharma-
   such pharmaceutical compositions and formulations are for          ceutical compositions and formulations comprising salts of
   treating diseases or disorders including fibromyalgia and          GHB. In one embodiment, the formulation is a pharmaceu-
   sleep disorders. Such sleep disorders include apnea, sleep 25 tical composition of GHB comprising a mixture of two or
   time disturbances, narcolepsy, cataplexy, sleep paralysis,         more salts of GHB, wherein the mixture comprises at least
   hypnagogic hallucination, sleep arousal, insomnia, and noc-        50% of a sodium salt of gamma-hydroxybutyrate (Na.GHB),
   turnal myoclonus.                                                  and wherein the mixture further comprises one or more of a
                                                                      potassium salt of ganmia-hydroxybutyrate (K.GHB) and a
            3. BACKGROUND OF THE INVENTION                         30 calcium salt of gamma-hydroxybutyrate (Ca.(GHB) 2 ). In
                                                                      certain embodiments, the Na.GHB salt is present in the
      Sodium oxybate (Na.GHB), commercially sold as                   mixture in about 50%, and up to 55%, 60%, 70% or 80%. In
   Xyrem® (Jazz Pharmaceuticals), is approved for the treat-          certain embodiments, the pharmaceutical composition does
   ment of excessive daytime sleepiness and cataplexy in              not comprise a substantial amount of a magnesium salt of
   patients with narcolepsy. Na.GHB has also been reported to 35 ganmia-hydroxybutyrate (Mg.(GHB) 2 ).
   be effective for relieving pain and improving function in             In another embodiment the pharmaceutical composition is
   patients with fibromyalgia syndrome (See Scharf et al.,            given to the patient in an aqueous solution with a volume of
   2003, J. Rheumatol. 30: 1070; Russell et al., 2009, Arthritis.     between 25 and 100 mL, 25 and 75 mL, or 55 and 65 mL.
   Rheum. 60: 299), and in alleviating excessive daytime                 In another embodiment, the pharmaceutical composition,
   sleepiness and fatigue in patients with Parkinson's disease, 40 when administered to a patient, is bioequivalent to the
   improving myoclonus and essential tremor, and reducing             average maximum GHB plasma concentration (Cmax) and
   tardive dyskinesia and bipolar disorder (See Ondo et al.,          the average maximum GHB plasma area under the curve
   2008, Arch. Neural. 65: 1337; Frucht et al., 2005, Neurology       (AUC) of the Cmax of Na.GHB within 80% to 125%.
   65: 1967; Berner, 2008, J. Clin. Psychiatry 69: 862).                 In another embodiment, the pharmaceutical composition
      Xyrem®, for use with patients with narcolepsy, is a 45 comprises a mixture of three salts of GHB, wherein the
   chronically used product which requires high levels of the         mixture comprises at least 50% of Na.GHB, and further
   drug. The amount of sodium intake from the drug signifi-           comprises K.GHB and Ca.(GHB) 2 . In certain embodiments,
   cantly increases the daily sodium intake for patients, which       the pharmaceutical composition comprises a mixture of
   is undesirable for patients with hypertension, heart disease,      three GHB salts, wherein the mixture comprises between 50
   renal disease or at risk of stroke.                             50 and 60% ofNa.GHB, and further comprises between 20 and
      Since Xyrem® is administered to a broad population,             40% K.GHB, and between 10 and 20% Ca.(GHB) 2 . In
   there is a need for GHB formulations that minimize the             certain embodiments, the pharmaceutical composition com-
   undesirable side effects of the sodium, particularly in            prises a mixture of three GHB salts, wherein the mixture
   patients with hypertension, heart disease, renal disease or at     comprises about 50% of Na.GHB, 34% K.GHB, and 16%
   risk of stroke, yet provide additional health benefits from the 55 Ca.(GHB) 2 for each GHB salt.
   presence of the other salts. It is desirable that such modified       In another embodiment, the pharmaceutical compositions
   formulations provide good solubility, stability and purity in      and/or formulations disclosed herein can be used to treat a
   order to provide safe, effective and consistent doses to           disease or condition selected from the group consisting of a
   patients, and also display acceptable pharmacodynamic and          sleeping disorder, drug abuse, alcohol and opiate with-
   pharmacokinetic properties. See U.S. Pat. Nos. 8,591,922; 60 drawal, a reduced level of growth hormone, anxiety, anal-
   8,901,173; and 9,132,107; which are incorporated by refer-         gesia, a neurological disorder (e.g., Parkinson's Disease and
   ence in their entireties.                                          depression), an endocrine disturbance, hypoxia or anoxia of
                                                                      tissues (such as from stroke or myocardial infarction), or an
               4. SUMMARY OF THE INVENTION                            increased level of intracranial pressure.
                                                                   65    In another embodiment, the pharmaceutical compositions
      Provided herein are pharmaceutical compositions and             disclosed herein comprise less than 100 mL of an aqueous
   formulations comprising salts of gamma-hydroxybutyrate             solution, wherein the aqueous solution comprises a mixture
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    of two or more GHB salts, the mixture comprising between         disorder, drug abuse, alcohol and opiate withdrawal, a
    40% to 50% Na.GHB and further comprising one or more             reduced level of growth hormone, anxiety, analgesia, a
    salts selected from K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 . In      neurological disorder (e.g., Parkinson's Disease and depres-
    certain embodiments, the pharmaceutical compositions dis-        sion), an endocrine disturbance, hypoxia or anoxia of tissues
    closed herein do not comprise a substantial amount Ca. 5 (such as from stroke or myocardial infarction), or an
    (GHB) 2 ) or Mg.(GHB) 2 .                                        increased level of intracranial pressure. In certain embodi-
       In another embodiment, the pharmaceutical composition         ments, the disease or condition is elected from the group
    comprises about 8% Na.GHB, 23% K.GHB, 48% Ca.                    consisting of fibromyalgia and sleep disorders such as
    (GHB) 2 and 21 % Mg.(GHB) 2 . In certain embodiments, this       apnea, sleep time disturbances, narcolepsy, cataplexy, exces-
    pharmaceutical composition can be used to treat the diseases 10
                                                                     sive daytime sleepiness (EDS), sleep paralysis, hypnagogic
    or conditions listed above.
                                                                     hallucination, sleep arousal, insomnia, and nocturnal myo-
       In another embodiment, the pharmaceutical compositions
                                                                     clonus.
    and/or formulations disclosed herein, when administered to
    a patient, have a lower average maximum GHB plasma                  In another embodiment, methods of treatment disclosed
    concentration (Cmax) than the Cmax of Na.GHB.                 15
                                                                     herein comprises one or more steps, as follows: (i) diluting
       Xyrem®, as disclosed herein, is a commercially sold           an aqueous solution comprising a mixture of two or more
    product comprised of 100% sodium oxybate (Na.GHB), and           GHB salts, the mixture comprising less than 50% Na.GHB,
    is prescribed for twice nightly use for the treatment of         and   further comprising one or more salts selected from
    excessive daytime sleepiness and cataplexy in patients with      K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 , to provide a first dose
    narcolepsy. Accordingly, in another aspect, provided herein 20 ofGHB salts; (ii) diluting an aqueous solution comprising a
    is a first dose of a first pharmaceutical composition and/or     mixture of two or more GHB salts, the mixture comprising
    formulation having a Na.GHB ofless than 50% and a second         from about 50% to about 80% of Na.GHB, and further
    dose of a second pharmaceutical composition and/or formu-        comprising one or more salts selected from K.GHB, Ca.
    lation having a Na.GHB above 50%. Another embodiment             (GHB) 2 , and Mg.(GHB) 2 , to provide a second dose ofGHB
    has the doses in reverse order and a further embodiment uses 25 salts; (iii) orally administering to a patient having a disease
    similar doses of either formulation. In certain embodiments,     or condition that is suitable for treatment with GHB the first
    the first dose can be administered within 4 hours of eating      dose; and (iv) orally administering to the patient the second
    and produces a GHB Cmax lower than the Cmax of                   dose within 2.5 to 4 hours following the first dose.
    Na.GHB, but may have less of a food effect.                         The pharmaceutical compositions and formulations dis-
       In another aspect, the pharmaceutical compositions and 30 closed herein is for use in a method of treating a disease or
    formulations provided herein can be used to treat a disease      condition in a patient that is suitable for treatment with
    or condition selected from the group consisting of a sleeping    GHB, comprising administering to the patient the pharma-
    disorder, drug abuse, alcohol and opiate withdrawal, a           ceutical compositions and formulations disclosed herein.
    reduced level of growth hormone, anxiety, analgesia, a              In certain embodiments, the pharmaceutical compositions
    neurological disorder (e.g., Parkinson's Disease and depres- 35 and formulations disclosed herein is for use in a method of
    sion), an endocrine disturbance, hypoxia or anoxia of tissues    treating a disease or condition in a patient further comprises
    (such as from stroke or myocardial infarction), or an            one or more steps, as follows: (i) diluting an aqueous
    increased level of intracranial pressure. In one embodiment,     solution comprising a mixture of two or more GHB salts, the
    the formulations and pharmaceutical compositions provided        mixture comprising less than 50% Na.GHB, and further
    herein can be used to treat conditions responsive to GHB, for 40 comprising one or more salts selected from K.GHB, Ca.
    example, fibromyalgia and sleep disorders such as apnea,         (GHB) 2 , and Mg.(GHB) 2 , to provide a first dose of GHB
    sleep time disturbances, narcolepsy, cataplexy, excessive        salts; (ii) diluting an aqueous solution comprising a mixture
    daytime sleepiness (EDS), sleep paralysis, hypnagogic hal-       of two or more GHB salts, the mixture comprising from
    lucination, sleep arousal, insonmia, and nocturnal myoclo-       about 50% to about 80% ofNa.GHB, and further comprising
    nus.                                                          45 one or more salts selected from K.GHB, Ca.(GHB) 2 , and
       The pharmaceutical compositions and formulations dis-         Mg.(GHB) 2 , to provide a second dose of GHB salts; (iii)
    closed herein is for use in a method of treating a disease or    orally administering to a patient having a disease or condi-
    condition selected from the group consisting of a sleeping       tion that is suitable for treatment with GHB the first dose;
    disorder, drug abuse, alcohol and opiate withdrawal, a           and (iv) orally administering to the patient the second dose
    reduced level of growth hormone, anxiety, analgesia, a 50 within 2.5 to 4 hours following the first dose.
    neurological disorder (e.g. Parkinson's Disease and depres-         In other aspects, provided herein are methods of making
    sion), an endocrine disturbance, hypoxia or anoxia of tissues    the pharmaceutical compositions disclosed herein.
    (such as from stroke or myocardial infarction), or an
    increased level of intracranial pressure. In certain embodi-            5. BRIEF DESCRIPTION OF THE FIGURES
    ment, the formulations and pharmaceutical compositions 55
    disclosed herein are used in a method of treating conditions        FIG. 1 shows the plasma GHB concentration vs time for
    responsive to GHB, for example, fibromyalgia and sleep           Formulation "O" (8% Na.GHB, 23% K.GHB, 48% Ca.
    disorders such as apnea, sleep time disturbances, narcolepsy,    (GHB), and 21% Mg.(GHB) 2 ) compared to Xyrem® ("X")
    cataplexy, excessive daytime sleepiness (EDS), sleep             given in either the fed or fasted state(...,., Xyrem® fasted;
    paralysis, hypnagogic hallucination, sleep arousal, insom- 60 +, Formulation "O" fasted; ~ Xyrem® fed; • , For-
    nia, and nocturnal myoclonus.                                    mulation "O" fed). The objective was to characterize
       In another aspect, provided herein are methods of treating    bioequivalence of Formulation "O" to Xyrem®.
    a disease or condition in a patient that is suitable for            FIG. 2 shows the plasma GHB concentration vs time for
    treatment with GHB, comprising administering to the              blends of Formulation "O" and Xyrem® ("X") in propor-
    patient the pharmaceutical compositions and formulations 65 tions of 100% Xyrem®, 44% Xyrem®, and 17% Xyrem®,
    disclosed herein. In certain embodiments, the disease or         respectively (...,., fasted 4.5 g "X"; +, fasted 2.5 g
    condition is selected from the group consisting of a sleeping    "0"+2.0 g "X"; • , fasted 3.75 g "0"+0.75 g "X"). The
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    objective was to determine how much sodium (or Xyrem®)               Xyrem® is a commercially sold product comprised of
    would be required to achieve bioequivalence in the fasted         100% sodium oxybate (Na.GHB) and is approved for the
    state.                                                            treatment of excessive daytime sleepiness and cataplexy in
       FIG. 3 shows the plasma GHB concentration vs time for          patients with narcolepsy. Na.GHB has also been reported to
    various mixed oxybate salt formulations compared to 5 be effective for relieving pain and improving function in
    Xyrem® in the fasted state where both are given at a lower        patients with fibromyalgia syndrome, and in alleviating
    volume of administration of 60 mL (*, Xyrem® (100%                excessive daytime sleepiness and fatigue in patients with
    Na); • , Formulation 507D (50% Na, 34% K, 16% Ca, 0%              Parkinson's disease, improving myoclonus and essential
    Mg); ~ , 507C (33% Na, 0% K, 48% Ca, 19% Mg); ...,_,              tremor, and reducing tardive dyskinesia and bipolar disorder.
    507A (33% Na, 34% K, 33% Ca, 0% Mg); + , 507G (23% 10 See the references that are incorporated at the end of U.S.
    Na, 19% K, 40% Ca, 18% Mg)).                                      Pat. No. 6,472,431. Further, despite a general record of
       FIG. 4A-4B compare Xyrem® and Formulation "O"                  safety when used as prescribed, there are risks of abuse and
    when given fasted with 60 mL or 240 mL water or when              misuse of Xyrem® which can cause serious medical prob-
    given fed with 60 mL water. FIG. 4A. (Left) Plasma GHB            lems, including seizures, loss of consciousness, coma, and
    concentration when Xyrem® was given (fasted) with 60 mL 15 death (see, e.g., FDA product label dated Nov. 13, 2006 for
    or 240 mL water or when Xyrem® was given (fed) with 60            NDA no. 021196, which is incorporated by reference in its
    mL water ( + , fasted 240 mL; • , fasted 60 mL; ...,_ , fed       entirety).
    60 mL). FIG. 4B (Right) Plasma GHB concentration when                Xyrem® for use with patients with narcolepsy, is a
    Formulation "O" was given (fasted) with 60 mL or 240 mL           chronically used product which requires high levels of the
    water or when Formulation "O" was given (fed) with 60 mL 20 drug. The amount of sodium intake from the drug signifi-
    water(+, fasted 240 mL; ... , fasted 60 mL; ...,_, fed 60         cantly increases the daily sodium intake for patients, which
    mL).                                                              is undesirable for patients with hypertension, heart disease,
       FIG. SA-5B show the relationship between Cmax ratio (to        renal disease or at risk of stroke. Thus, there is a need for
    Xyrem®) and calcium content or sodium content of the              GHB formulations with lower sodium, such as those pro-
    example formulations subjected to fasted-state PK evalua- 25 vided herein, particularly for patients with hypertension,
    tions when administered in either 240 mL aqueous volume           heart disease, renal disease or at risk of stroke, yet provide
    or 60 mL aqueous volume. FIG. SA. (Top) Relationship              additional health benefits from the presence of the other
    between Cmax ratio (to Xyrem®) and calcium content of the         salts.
    example formulations subjected to fasted-state PK evalua-            However, the therapeutic dose of 71.4 mEq/day (9 g
    tions when administered in either 240 mL aqueous volume 30 sodium oxybate) is sufficiently high that shifting from
    (+, Cmax, 60 mL; ... , Cmax, 240 mL). FIG. 5B (Bot-               sodium to another cation can push limits on acceptable daily
    tom) Relationship between Cmax ratio (to Xyrem®) and              intake of other cations and potentially cause other problems
    sodium content of the example formulations subjected to           for certain patients. For example, potassium has poor toler-
    fasted-state PK evaluations when administered in either 240       ability in solution at high doses given on an empty stomach
    mL aqueous volume ( • , Cmax, 60 mL; ...,_ , Cmax, 240 35 and can also be problematic for patients with kidney impair-
    mL).                                                              ment. Therefore, formulations which reduce or eliminate
       FIG. 6 is a graph showing the expected behavior of taking      sodium without exceeding levels of concern for other cat-
    separate formulations as part of an equally divided dose          ions are particularly desirable.
    given 4 h apart (+, 1st dose Xyrem® fed, 2nd dose                    Xyrem® is provided as an oral solution consisting of 500
    Xyrem® fasted; ...,_, 1st dose Formulation "O" fed, 2nd 40 mg/mL sodium oxybate (Na.GHB) that is pH adjusted with
    dose Formulation 507D fasted). Formulation "O" is given           malic acid. Xyrem® is rapidly and well absorbed when
    initially and then formulation "507D" is given 4 h later. This    given on an empty stomach. The absolute bioavailability for
    is compared to Xyrem® given both times.                           2.25 g and 4.45 g sodium oxybate doses, relative to IV
                                                                      administration, is 88%. See the Xyrem® Product Insert. As
               6. DETAILED DESCRIPTION OF THE                      45 a result, sodium oxybate is generally considered to be a high
                             INVENTION                                solubility, high permeability drug. (See Yu et al., Pharm.
                                                                      Res. 19 (7) 921-925). As such, for alternative formulations
       Ganmia-hydroxybutyrate (GHB), also known as "oxy-              of GHB, such as those comprising cations other than
    bate," is an endogenous compound with hypnotic properties         sodium, but having comparable solubility, bioequivalence
    that is found in human body tissues, such as the manmialian 50 might be expected and a pharmacokinetic evaluation
    brain. In the brain, the highest GHB concentration is found       waived. See 21 CFR Part 320.22 Subpart B paragraph b(3).
    in the hypothalamus and basal ganglia and GHB is postu-              However, as disclosed herein, despite the apparently rapid
    lated to function as a neurotransmitter (See Snead and            absorption of sodium oxybate, its presentation as an aqueous
    Morley, 1981, Brain Res. 227(4): 579-89). The neurophar-          solution, and the absence of any other ingredients that would
    macologic effects of GHB include increases in brain ace- 55 be expected to modify absorption behavior, formulations
    tylcholine, increases in brain dopamine, inhibition of            having the same GHB concentration do not display phar-
    GABA-ketoglutarate transaminase and depression of glu-            macokinetics equivalent to Xyrem®. Furthermore, as also
    cose utilization but not oxygen consumption in the brain.         disclosed herein, the pharmacokinetic behavior of such
    GHB treatment substantially reduces the signs and symp-           formulations appears to depend on the amount of sodium
    toms ofnarcolepsy, i.e., daytime sleepiness, cataplexy, sleep 60 and/or other cations present, as well as the amount of water
    paralysis, and hypnagogic hallucinations. In addition, GHB        in the formulation. Accordingly, one object of the present
    increases total sleep time and REM sleep, and it decreases        disclosure is to provide alternative formulations of GHB
    REM latency, reduces sleep apnea, and improves general            which are bioequivalent to Xyrem®. Provided herein are
    anesthesia (see, e.g., U.S. Pat. Nos. 6,472,431; 6,780,889;       such alternative formulations which surprisingly display the
    7,262,219; 7,851,506; 8,263,650; 8,324,275; and 8,772,302 65 desired bioequivalence.
    each of which is incorporated herein by reference in its             The following patents and applications referred to
    entirety).                                                        throughout the application are hereby incorporated by ref-
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    erence in their entireties for all purposes, including the         As used herein, the term "magnesium gamma-hydroxy-
    following: U.S. Pat. Nos. 6,472,431; 7,895,059; 8,461,197;      butyrate" (Mg.(GHB) 2 ) or "magnesium oxybate" (Mg.oxy-
    8,591,922; 8,759,394; 8,771,735; 8,772,306; 8,778,301           bate) refers to the magnesium salt form of gamma-hydroxy-
    8,778,398; 8,952,029; and 9,050,302; and U.S. Publication       butyric acid having the molecular weight of 230.50. Without
    No. 2012/0076865.                                            5 being limited by theory, Mg.(GHB) is believed to have the
                                                                                                        2
       Objects, features and advantages of the methods and          following structure:
    compositions described herein will become apparent from
    the following detailed description. It should be understood,
                                                                                          0               0
    however, that the detailed description and the specific
    examples, while indicating specific embodiments, are given
                                                                 10
                                                                         HO                  II           II            OH
    by way of illustration only, since various changes and                  ~ o-•Mg+2 • -o ~
    modifications within the spirit and scope of the invention
    will become apparent to those skilled in the art from this         As used herein, the term "calcium ganmia-hydroxybu-
    detailed description.                                        15 tyrate" (Ca.(GHB) ) or "calcium oxybate" (Ca.oxybate)
                                                                                         2
                                                                      refers to the calcium salt form of ganmia-hydroxybutyric
                          6.1 Definitions                             acid having the molecular weight of 246.27. Without being
                                                                      limited by theory, Ca.(GHB) 2 is believed to have the fol-
       As used herein, the term "gamma-hydroxybutyrate"               lowing structure:
    (GHB) or "oxybate" refers to the negatively charged or 20
    anionic form (conjugate base) of ganmia-hydroxybutyric
    acid. Without being limited by theory, GHB is believed to
    have the following structure:

                                                                 25
                                       0
                                                                         As used herein, the term "gamma-butyrolactone" (GBL)
                      HO~o-.                                          refers to a colorless oily liquid. Without being limited by
                                                                      theory, GBL is believed to have the following structure:
                                                                 30
       As used herein, the term "ganmia-hydroxybutyric acid"
    refers to the protonated form (conjugate acid) of gamma-
    hydroxybutyrate. Without being limited by theory, gamma-
    hydroxybutyric acid is believed to have the following struc-
    ture:                                                        35
                                                                    As used herein, the term "patient" refers to a mammal,
                                                                 particularly a human.
                                      0
                                                                    The terms "treat," "treating" or "treatment," as used
                      HO~                                        herein,  refer to a method of alleviating or abrogating a
                                          OH.                 40 disease and/or its attendant symptoms.
                                                                    As used herein, the term "about" or "approximately"
       As used herein, the terms "sodium gamma-hydroxybu-        means an acceptable error for a particular value as deter-
    tyrate" (Na.GHB) or "sodium oxybate" (Na.oxybate) refers     mined by those skilled in the art, which depends in part on
    to the sodium salt form of gamma-hydroxybutyric acid         how the value is measured or determined. In certain embodi-
                                                              45 ments, the term "about" or "approximately" means within
    having the molecular weight of 126.09. Without being
    limited by any theory, Na.GHB is believed to have the        10%, 9%, 8%, 7%, 6%, 5%, 4%, 3%, 2%, 1%, 0.5%, or
    following structure:                                         0.05%   of a given value.
                                                                    The term "substantial amount" shall mean over 1%.
                                                                    By "pharmaceutically acceptable" it is meant the active
                                                              50 ingredient, cation, salt, diluent, excipient or carrier must be
                                                                 compatible with the other ingredients of the formulation and
                                                                 not unduly deleterious, for example, that the active ingre-
                                                                 dient, cation, salt, diluent, excipient or carrier does not
                                                                 produce an adverse, allergic or other untoward reaction,
       As used herein, the term "potassium gamma-hydroxybu- 55 when administered to an animal, or a human, as appropriate.
    tyrate" (K.GHB) or "potassium oxybate" (K.oxybate) refers       The term "salt" or "salts," as used herein, refers to a
    to the potassium salt form of gamma-hydroxybutyric acid      compound formed by the interaction of an acid and a base,
    having the molecular weight of 142.19. Without being         the hydrogen atoms of the acid being replaced by the
    limited by any theory, K.GHB is believed to have the         positive ion or cation of the base. Pharmaceutically accept-
    following structure:                                      60 able salts, include inorganic acids such as, for example,
                                                                 hydrochloric or phosphoric acids, or such organic acids as
                                                                 malic, acetic, oxalic, tartaric, mandelic, and the like. Salts
                                                                 formed can also be derived from inorganic bases such as, for
                                                                 example, sodium, potassium, silicates, anmionium, calcium,
                                                              65 or ferric hydroxides, and such organic bases as isopropylam-
                                                                 ine, trimethylamine, histidine, procaine and the like. In
                                                                 certain preferred embodiments, the salt is formed from an
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    inorganic base that is a metal, for example, an alkali metal,       lent cations, Na+ and K+, have one molar equivalent per salt,
    such as lithium, potassium, sodium, or the like, an alkaline        and the divalent cations, Mg+ 2 and ca+ 2 , have two molar
    earth metal, such as magnesium, calcium, barium, or the             equivalents per salt. A sample calculation of% mo!. equiv.
    like, or aluminum or zinc. Other salts may comprise ammo-           is provided in the Examples of the present disclosure. For
    nium. Alkali metals, such as lithium, potassium, sodium, and 5 convenience in comparing various salt compositions at the
    the like, may be used, preferably with an acid to form a pH         same oxybate molar dose, compositions expressed as per-
    adjusting agent. Examples of pharmaceutically acceptable            centages in this application refer to molar equivalent per-
    base addition salts include those derived from inorganic            centage (% molar equivalents) of each oxybate salt. This is
    bases like sodium hydroxide, potassium hydroxide, magne-            usually close to, but not the same as, the composition that
                                                                     10
    sium hydroxide, calcium hydroxide, or ammonium hydrox-              would be expressed as wt/wt %.
    ide, and the like (See, e.g., Berge et al., 1977, J. Pharm. Sci.       The term, "buffering agent," as used herein, refers to a
    66: 1).                                                             weak acid or base used to maintain the pH of a solution near
       As used herein, the terms "salt of GHB" or "salts of             a chosen pH value after the addition of another acidic or
    GHB," as used herein, refer to a compound formed by the             basic compound. The function of such an agent is to prevent
                                                                     15
    interaction of gamma-hydroxybutyric acid (the conjugate             the change in pH when acids or bases are added to a solution.
    acid of GHB) with a base, for example, NaOH, KOH,                   Such agents may be acids, bases, or combinations thereof.
    Mg(OH) 2 , and Ca(OH) 2 , and the like, the hydrogen atoms of          The term, "adjusting agent," as used herein, refers to an
    the acid being replaced by the positive ion or cation of the        acid or base used to alter the pH of a solution to a chosen pH
    base. Such salts may include, for example, Na.GHB, 20 value. The function of such an agent is to alter the pH of a
    K.GHB, Mg.(GHB) 2 , and Ca.(GHB) 2 , and the like. It will be
                                                                        solution to the desired value subsequent to the addition of
    understood by those skilled in the art that such salts may be
                                                                        acidic or basic compounds.
    in solid form, or such salts may be in partially or fully
                                                                           The term, "acid," as used herein, refers to a substance
    solvated form, for example, as when dissolved in an aqueous
                                                                        which accepts a share in a pair of electrons. Such substances
    medium. It will be further understood by those skilled in the
                                                                     25 include malic acid, citric acid, acetic acid, boric acid, lactic
    art, that, depending on the solubility of the salt in the
                                                                        acid, hydrochloric acid, phosphoric acid, sulfuric acid, sulfo-
    aqueous medium, that the salt may be present in the aqueous
                                                                        nic acid, nitric acid, and the like.
    medium as solvated cation(s) and anion(s), or as a precipi-
                                                                           The term, "base," as used herein, refers to a substance
    tated solid, as illustrated below for the solubility equilibrium
                                                                        which shares a pair of electrons. Such substances include
    of Ca.(GHB) 2 :
                                                                     30 sodium hydroxide, potassium hydroxide, magnesium
                                                                        hydroxide, calcium hydroxide, and the like.
                                                                           The term, "chemically stable," as used herein, refers to a
              Ca•(GHB)i
                        (,)
                                                                        chemical   compound which is not particularly reactive in a
                                                                        specific environment and retains its useful properties on a
                                                                     35 timescale of its expected usefulness. Specifically, the use-
       The terms "mixture of salts" or "salt mixture," as used          fulness of the compound is maintained in the presence of air,
    herein, refers to salts of GHB where two or more different          moisture, or heat. Conversely, the compound lacks chemical
    cations are present in combination with each other in a             stability if it decomposes under the conditions of a specific
    composition. Such mixtures of salts may include, for                environment. As used herein in certain embodiments,
    example, two or more salts selected from the group consist- 40 "chemically stable" may mean resistant to degradation of
    ing of Na.GHB, K.GHB, Mg.(GHB) 2 , and Ca.(GHB) 2 .                 GHB into its known or unknown decomposition elements.
       Xyrem® contains 500 mg/mL Na.GHB. When referring                 The level of GBL that is acceptable can be up to 0.15% of
    to a mixture of GHB salts with different cations, the con-          the formulation as per the ICH guidelines for shelf-life
    centration in mg/mL will vary between formulations and/or           determination.
    pharmaceutical compositions of the same GHB strength. As 45            The term, "microbial," as used herein, refers to a micro-
    used herein, a GHB concentration of 409 mg/mL is equiva-            scopic organism that comprises either a single cell, cell
    lent to the GHB content in 500 mg/mL of Na.GHB.                     cluster or multicellular organism.
       The term "wt/wt %," are used herein, refers to the                  The term "resistant to microbial growth" or "resistant to
    normalized weight percent of a particular salt in a salt            microbial challenge," as used herein, means that the com-
    mixture. A sample calculation of wt/wt % is provided in 50 positions or formulations meet the criteria set by the Food
    Example 1 of the present disclosure.                                and Drug Administration and the U.S. Pharmacopoeia for
       The term "wt/wt % ratio," as used herein, refers to the          products made with aqueous bases or vehicles, which for
    ratio of wt/wt % values in a mixture of salt. For example,          bacteria means not less than a 1.0 log reduction from the
    where the salts Na.GHB, K.GHB, Mg.(GHB) 2 , and Ca.                 initial count at 14 days, and no increase from the 14 days
    (GHB) 2 are present in a wt/wt %'s of 8%, 32%, 20% and 55 count at 28 days, and for yeast and molds, no increase from
    40%, respectively, the wt/wt % ratio of Na.GHB, K.GHB,              the initial calculated count at 14 and 28 days.
    Mg.(GHB) 2 , and Ca.(GHB) 2 in the mixture is 8%:32%:20%:              The term, "preservative," as used herein, refers to a
    40%.                                                                naturally occurring or synthetically produced substance
       The terms "% molar equivalents" and"% mo!. equiv.," as           which can be added to food, pharmaceuticals, paints, bio-
    used herein, refer to molar composition of salts expressed as 60 logical samples, wood, etc. to prevent decomposition by
    a percent ofGHB (or "oxybate") equivalents. For example,            microbial growth or by chemical decomposition.
    formulations and/or pharmaceutical compos1t10ns as                     The term, "formulation," as used herein, refers to a stable
    described herein comprise mixtures with varying percent-            and pharmaceutically acceptable preparation of a pharma-
    ages of oxybate, expressed as % molar equivalents (% mo!.           ceutical composition disclosed herein.
    equiv.) of Na.GHB, K.GHB, Mg.(GHB) 2 , and Ca.(GHB) 2 . 65             The term, "liquid formulation," as used herein, refers to a
    Those skilled in the art will understand that as each GHB           water-based formulation, in particular, a formulation that is
    unit is considered to be one molar equivalent, the monova-          an aqueous solution.
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       The term, "low volume" or "low aqueous volume" or               substantially similar pharmacokinetic profiles or therapeutic
    "reduced volume," as used herein, refers to an aqueous             effects. Bioequivalence may be demonstrated through sev-
    solution of about 100 mL or less.                                  eral in vivo and in vitro methods. These methods may
       The term, "volume of administration" as used here, refers       include, for example, pharmacokinetic, pharmacodynamic,
    to the volume of aqueous material used to ingest or swallow 5 clinical and in vitro studies. In some embodiments,
    the formulations and/or pharmaceutical compositions com-           bioequivalence may be demonstrated using any suitable
    prising the GHB salts, as disclosed herein, including before       pharmacokinetic measures or combination of pharmacoki-
    or immediately after the formulations and/or pharmaceutical        netic measures known in the art, including loading dose,
    compositions are ingested or swallowed. This amount can,           steady-state dose, initial or steady-state concentration of
    for example, include the formulations and/or pharmaceutical 10 drug, biological half-life, elimination rate, area under the
    disclosed herein and any additional aqueous material used to       curve (AUC), clearance, the peak blood or plasma concen-
    dilute, wash down or chase the formulations and/or phar-           tration (Cmax ), time to peak concentration (Tmax), bioavail-
    maceutical compositions. The additional aqueous material           ability and potency. In some embodiments, a value is
    includes for example, water and flavored beverages.                bioequivalent to a reference pharmacokinetic value when the
       The term, "eating" as used herein, refers to ingesting or 15 geometric mean of the AUC and/or the Cmax is between
    consuming calories and/or nutrients by way of solid or liquid      80% and 125% (e.g., at 90% confidence interval) of the
    food substances.                                                   reference pharmacokinetic value.
       The term, "cataplexy," as used herein, refers to a condi-          In some embodiments, a pharmaceutical composition is
    tion where a patient exhibits a sudden and transient loss of       bioequivalent to a reference pharmaceutical composition
    muscle tone, often triggered by emotions.                       20 when the pharmaceutical composition produces an average
       The term, "daytime sleepiness," as used herein, refers to       Cmax and/or AUC that is substantially the same as the Cmax
    a condition where a patient exhibits persistent sleepiness,        and/or AUC of the reference pharmaceutical composition
    and often a general lack of energy, even after apparent            when administered under the same conditions. In some
    adequate night time sleep.                                         embodiments, a pharmaceutical composition is bioequiva-
       The term, "narcolepsy," as used herein, refers to a chronic 25 lent to a reference pharmaceutical composition when the
    sleep disorder characterized by excessive sleepiness and           pharmaceutical composition produces a Cmax and/or AUC
    sleep attacks at inappropriate times.                              that is within 80% and 125% of the Cmax and/or AUC of the
       The term, "apnea," as used herein, refers to a condition        reference pharmaceutical composition when administered
    where a patient suspends external breathing.                       under the same condition. For example, a pharmaceutical
       The term, "sleep time disturbances," as used herein, refers 30 composition is bioequivalent to Xyrem® when the pharma-
    to a condition where a patient exhibits abnormal sleep             ceutical composition produces an average Cmax and/AUC is
    patterns. Sleep time disturbances can be serious enough to         between 80% and 125% of the Cmax and/or AUC of
    interfere with normal physical, mental and emotional func-         Xyrem® when administered under the same conditions.
    tioning.                                                              The expression "consists essentially of' as used herein,
       The term, "sleep paralysis," as used herein, refers to a 35 means that specific further components can be present in a
    condition in which a patient who is falling asleep or awak-        mixture or composition, namely those not materially affect-
    ening form sleep experience an inability to move. It is a          ing the essential characteristics of the mixture or composi-
    transition state between wakefulness and rest characterized        tion.
    by complete muscle weakness.
       The term, "hypnagogic hallucination," as used herein, 40              6.2 Pharmaceutical Compositions Comprising Salt
    refers to a transition state between wakefulness and sleep                               Mixtures of GHB
    where a patient experiences vivid hallucinations.
       The term, "sleep arousal," as used herein, refers to a             In certain aspects, provided herein are pharmaceutical
    condition where a patient engages in sexual acts while still       compositions comprising gamma-hydroxybutyrate (GHB)
    asleep.                                                         45 and one or more pharmaceutically acceptable cations of an
       The term, "insonmia," as used herein, refers to a condition     alkali metal or an alkaline earth metal. As used herein,
    where a patient has difficulties falling asleep and maintain-      "alkali metal" means any of the elements found in Group IA
    ing sleep.                                                         of the periodic table, including, for example, lithium,
       The term, "nocturnal myoclonus," as used herein, refers         sodium, and potassium. As used herein, "alkaline earth
    to a condition where a patient has repetitive movement of the 50 metal" means any of the elements found in Group II of the
    limbs during sleep or even wakefulness which is sometimes          periodic table, including, for example, magnesium and cal-
    confused with a seizure.                                           cmm.
       The term "flavoring" or "flavoring agent," as used herein,         In certain embodiments, the pharmaceutical compositions
    refers to a substance that alters the flavor of the composition    comprise GHB and more than one pharmaceutically accept-
    during oral consumption. A type of "flavoring agent" would 55 able cations of an alkali metal or an alkaline earth metal.
    be a sweetener.                                                       In certain embodiments, the pharmaceutical compositions
       The term "coloring" or "coloring agent," as used herein,        comprise GHB and more than one (two or more) cations
    refers to a substance that alters the color of the composition.    selected from the group consisting of Na+, K+, Mg+ 2 , and
       The term "bioequivalent", as used herein, describes a           ca+2 . In certain embodiments, the pharmaceutical compo-
    formulation and/or pharmaceutical composition that is 60 sitions comprise GHB and all three cations selected from the
    therapeutically equivalent to a reference product (e.g.            group consisting of Na+, K+, and ca+ 2 . In certain embodi-
    Xyrem®) when given under the same conditions in a phar-            ments, the pharmaceutical compositions comprise less than
    macokinetic evaluation conforming to FDA Guidance on               100% of the cation Na+, so as to minimize the amount of
    Bioequivalence Testing; regardless of biopharmaceutical            sodium, particularly in patients with hypertension, heart
    class. A value that is "bioequivalent", as used herein, is 65 disease, renal disease or at risk of stroke or to improve the
    meant to refer to a pharmacokinetic value (such as the Cmax        taste of the compositions. In certain embodiments, the
    or AUC of a formulation described herein) that exhibits            pharmaceutical compositions comprise from about 50% to
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    about 80% of the cation Na+. In other embodiments, the              mixture comprises about 5% to 25% Na.GHB. In certain
    pharmaceutical compositions comprise from about 0% to               embodiments, the mixture comprises about 5% to 10%
    about 40% of the cation Na+. Each embodiment has a                  Na.GHB.
    different advantage.                                                   In certain embodiments, the mixture comprises between
       In certain aspects, provided herein are pharmaceutical 5 40% and 50% Na.GHB, and in others between 45% and 50%
    compositions comprising salts of GHB. As used herein, the           Na.GHB. In certain embodiments, the mixture comprises
    term "salt of GHB" or "salts of GHB" is used interchange-           about 5% to 45% Na.GHB.
    ably with the term "cation." For example, a pharmaceutical             In certain embodiments, the remaining one, two or three
    composition comprising GHB and the four cations Na+, K+,            or more cations that are present in the mixture in amounts to
    Mg +2 , and Ca +2 will be understood by those skilled in the art 1o make up the remainder of the cations in the formulation
    to also mean a pharmaceutical composition comprising the            and/or pharmaceutical composition. The amount of each
    salts Na.GHB, K.GHB, Mg.(GHB) 2 , and Ca.(GHB) 2 . It will          depends on the amount of Na+ and the amount of other
    be also understood by those skilled in the art that such salts      cations. For example, if Na+ is present at 50% and ca+ 2 and
    may be in solid form, or may be in partially or fully solvated      K+ are also present, then ca+ 2 and K+ can each be present in
    form, for example, as when dissolved in an aqueous 15 varying amount from 5-40% to add up to the remaining
    medium. It will be further understood by those skilled in the       50%. If Mg+ 2 is also present in the mixture then the
    art, that, depending on the solubility of the salt in the           non-sodium component 50% is divided three ways. In some
    aqueous medium, that the salt may be present in the aqueous         embodiments, the mixture does not comprise a significant
    medium as solvated cation(s) and anion(s), or as a precipi-         amount of Mg.(GHB) 2 or Ca.(GHB) 2 , and therefore the
    tated solid.                                                     20 formulation and/or pharmaceutical composition does not
       In certain embodiments, the pharmaceutical composition           have a significant amount of Mg.(GHB) 2 or Ca.(GHB) 2 .
    comprises a mixture of two or more GHB salts, wherein the           Care can be taken to adjust any specific cation concentration
    mixture comprises Na.GHB, and further comprises any one             to levels that are acceptable to patients. It may not be
    of the salts selected from the group consisting of K.GHB,           preferred to add any cation to a level that might be disad-
    Mg.(GHB) 2 , and Ca.(GHB) 2 . In certain embodiments, the 25 vantageous to patients generally. For example, potassium
    pharmaceutical composition comprises Na.GHB, K.GHB,                 has poor tolerability in solution at high doses given on an
    and Ca.(GHB) 2 . In certain embodiments, the pharmaceutical         empty stomach and can also be a problem for patients with
    composition comprises Na.GHB, and Ca.(GHB) In certain
                                                     2
                                                         •              kidney impairment.
    embodiments, the pharmaceutical composition comprises                  In certain embodiments, Na+ is present at 50% and Ca 2 +
    Na.GHB, Mg.(GHB) 2 , and Ca.(GHB) 2 . In certain embodi- 30 and K+ are also present, then Ca 2 + and K+ can each be
    ments, the pharmaceutical composition comprises Na.GHB              present in varying amount from 5-45% to add up to the
    and K.GHB. In certain embodiments, the pharmaceutical               remaining 50%.
    composition comprises Na.GHB, K.GHB, and Mg.(GHB) 2 .                  In certain embodiments, the K.GHB, Mg.(GHB) 2 or Ca.
       In certain embodiments, the pharmaceutical composition           (GHB) 2 salt is present in the mixture at about 1% to about
    comprises Na.GHB and Mg.(GHB) 2 .                                35 5%, about 5% to about 10%, about 10% to about 15%, about
       The amounts of the cations below are described in various        15% to about 20%, about 20% to about 25%, about 25% to
    ranges. The cations can be present in the ranges found in           about 30%, about 30% to about 35%, or about 35% to about
    U.S. Pat. Nos. 8,591,922; 8,901,173; and 9,132,107.                 40%, about 40% to about 45%, about 45% to about 50%,
       In certain embodiments, the Na.GHB salt is present in the        about 50% to about 55%, about 55% to about 60%, about
    mixture in a percentage of at least 50%. In certain embodi- 40 60% to about 65%, about 65% to about 70%, about 70% to
    ments, the Na.GHB salt is present in about 50% to about             about 75%, about 75% to about 80%, about 80% to about
    80%. In certain embodiments, the Na.GHB salt is present in          85%, about 85% to about 90%, about 90% to about 95%, or
    about 50% to about 70%. In certain embodiments, the                 about 95% to about 100%. In certain embodiments, the
    Na.GHB salt is present in about 50% to about 60%. In                K.GHB, Mg.(GHB) 2 or the Ca.(GHB) 2 salt is absent.
    certain embodiments, the Na.GHB salt is present in about 45            In certain embodiments, the mixture comprises K.GHB,
    50% to about 55%. In certain embodiments, the Na.GHB                Mg.(GHB) 2 or the Ca.(GHB) 2 in about 1% to about 5%,
    salt is present between 40% and 50% and in others between           about 5% to about 10%, about 10% to about 15%, about
    5% to 45%. In certain embodiments, the Na.GHB salt is               15% to about 20%, about 20% to about 25%, about 25% to
    present in about 5% to 35%. In certain embodiments, the             about 30%, about 30% to about 35%, or about 35% to about
    Na.GHB salt is present in about 5% to 25%. In certain 50 40%, about 40% to about 45%, about 45% to about 50%,
    embodiments, the Na.GHB salt is present in about 5% to              about 50% to about 55%, about 55% to about 60%, about
    10%.                                                                60% to about 65%, about 65% to about 70%, about 70% to
       In certain embodiments, the mixture comprises between            about 75%, about 75% to about 80%, about 80% to about
    40% and 50% Na.GHB, and in others between 45% and 50%               85%, about 85% to about 90%, about 90% to about 95%, or
    Na.GHB. In certain embodiments, the mixture comprises 55 about 95% to about 100%. In certain embodiments, the
    about 5% to 45% Na.GHB.                                             mixture comprises about 0% K.GHB. In certain embodi-
       In certain embodiments, the mixture comprises at least           ments, the mixture comprises about 0% Mg.(GHB) 2 . In
    50% Na.GHB. In certain embodiments, the mixture com-                certain embodiments, the mixture comprises about 0% Ca.
    prises about 50% to about 80% Na.GHB. In certain embodi-            (GHB) 2 .
    ments, the mixture comprises about 50% to about 70% 60                 In certain embodiments, the mixture comprises K.GHB in
    Na.GHB. In certain embodiments, the mixture comprises               about 1% to about 5%, about 5% to about 10%, about 10%
    about 50% to about 60% Na.GHB. In certain embodiments,              to about 15%, about 15% to about 20%, about 20% to about
    the mixture comprises about 50% to about 55% Na.GHB. In             25%, about 25% to about 30%, about 30% to about 35%, or
    certain embodiments, the mixture comprises between 40%              about 35% to about 40%, about 40% to about 45%, about
    and 50% Na.GHB, and in others between 5% to 45% 65 45% to about 50%, about 50% to about 55%, about 55% to
    Na.GHB. In certain embodiments, the mixture comprises               about 60%, about 60% to about 65%, about 65% to about
    about 5% to 35% Na.GHB. In certain embodiments, the                 70%, about 70% to about 75%, about 75% to about 80%,
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    about 80% to about 85%, about 85% to about 90%, about          consists essentially of between 50% to 80% Na.GHB,
    90% to about 95%, or about 95% to about 100%. In certain       between 10% to 40% K.GHB, and between 10% to 20%
    embodiments, the mixture comprises about 0% K.GHB.             Ca.(GHB) 2 .
       In certain embodiments, the mixture comprises Mg.               In certain embodiments, the composition comprises a
    (GHB) 2 in about 1% to about 5%, about 5% to about 10%, 5 mixture of three or more salts ofGHB, wherein the mixture
    about 10% to about 15%, about 15% to about 20%, about          comprises about 50% to 80% Na.GHB, about 30% to 40%
    20% to about 25%, about 25% to about 30%, about 30% to         K.GHB, and about 10% to 20% Ca.(GHB) 2 . In certain
    about 35%, or about 35% to about 40%, about 40% to about       embodiments, the mixture comprises about 50% to 80%
    45%, about 45% to about 50%, about 50% to about 55%,           Na.GHB, about 10% to 40% K.GHB, and about 10% to 20%
    about 55% to about 60%, about 60% to about 65%, about 10 Ca.(GHB) 2 .
    65% to about 70%, about 70% to about 75%, about 75% to             In certain embodiments, the composition comprises a
    about 80%, about 80% to about 85%, about 85% to about          mixture of three or more salts ofGHB, wherein the mixture
    90%, about 90% to about 95%, or about 95% to about 100%.       consists essentially of about 50% to 80% Na.GHB, about
    In certain embodiments, the mixture comprises about 0%         10% to 40% K.GHB, and about 10% to 20% Ca.(GHB) 2 .
    Mg.(GHB) 2 .                                                15     In certain embodiments, the composition comprises a
       In certain embodiments, the mixture comprises Ca.           mixture of three or more salts ofGHB, wherein the mixture
    (GHB) 2 in about 1% to about 5%, about 5% to about 10%,        comprises between about 50% to 80% Na.GHB, between
    about 10% to about 15%, about 15% to about 20%, about          about 30% to 40% K.GHB, and between about 10% to 20%
    20% to about 25%, about 25% to about 30%, about 30% to         Ca.(GHB) 2 . In certain embodiments, the mixture comprises
    about 35%, or about 35% to about 40%, about 40% to about 20 between about 50% to 80% Na.GHB, between about 10% to
    45%, about 45% to about 50%, about 50% to about 55%,           40% K.GHB, and between about 10% to 20% Ca.(GHB) 2 .
    about 55% to about 60%, about 60% to about 65%, about              In certain embodiments, the composition comprises a
    65% to about 70%, about 70% to about 75%, about 75% to         mixture of three or more salts ofGHB, wherein the mixture
    about 80%, about 80% to about 85%, about 85% to about          consists essentially of between about 50% to 80% Na.GHB,
    90%, about 90% to about 95%, or about 95% to about 100%. 25 between about 10% to 40% K.GHB, and between about 10%
    In certain embodiments, the mixture comprises about 0%         and 20% Ca.(GHB) 2 .
    Ca.(GHB) 2 .                                                       In certain embodiments, the composition comprises a
       In certain embodiments, the pharmaceutical composition      mixture of three or more salts ofGHB, wherein the mixture
    has reduced sodium compared to Xyrem®, wherein the             comprises between 50% and 60% Na.GHB, between 20%
    Na.GHB salt is present in the mixture at about 50% to about 30 and 40% K.GHB, and between 10% and 20% Ca.(GHB) 2 . In
    80%.                                                           certain embodiments, the mixture comprises between 50%
       In certain embodiments, the pharmaceutical composition      and 60% Na.GHB, between 10% and 40% K.GHB, and
    comprises a mixture of two or more GHB salts, wherein the      between 10% and 20% Ca.(GHB) 2 .
    mixture comprises at least 50% of a sodium salt ofNa.GHB,          In certain embodiments, the composition comprises a
    and further comprises one or more of the following salts, 35 mixture of three or more salts ofGHB, wherein the mixture
    K.GHB, Ca.(GHB) 2 and Mg.(GHB) 2 . In certain embodi-          comprises about 50% to about 60% Na.GHB, about 20% to
    ments, the Na.GHB salt is present in the mixture at about      about 40% K.GHB, and about 10% to about 20% Ca.(GHB)
    50% to 80%. In certain embodiments, the Na.GHB salt is         2 . In certain embodiments, the mixture comprises about 50%
    present in the mixture at about 50% to 70%. In certain         to 60% Na.GHB, about 10%to 40% K.GHB, and about 10%
    embodiments, the Na.GHB salt is present in the mixture at 40 to 20% Ca.(GHB) 2 .
    about 50% to 60%. In certain embodiments, the Na.GHB               In certain embodiments, the composition comprises a
    salt is present in the mixture at about 50% to 55%.            mixture of three or more salts ofGHB, wherein the mixture
       In certain embodiments, the pharmaceutical composition      comprises between about 50% and about 60% Na.GHB,
    comprises a mixture of two or more salts of GHB, wherein       between about 20% and about 40% K.GHB, and between
    the mixture comprises of at least 50% of Na.GHB and 45 about 10% and about 20% Ca.(GHB) 2 . In certain embodi-
    further comprises one or more of K.GHB and Ca.(GHB) 2 .        ments, the mixture comprises between about 50% and about
       In certain embodiments, the pharmaceutical composition      60% Na.GHB, between about 10% and about 40% K.GHB,
    comprises a mixture of two or more salts of GHB, wherein       and between about 10% and about 20% Ca.(GHB) 2 .
    the mixture consists essentially of at least 50% ofNa.GHB          In certain embodiments the mixture comprises 45% to
    and one or more of K.GHB and Ca.(GHB) 2 .                   50 55% Na.GHB, 30% to 40% K.GHB, and 10% to 20%
       In certain embodiments, the pharmaceutical composition      Ca.(GHB) 2 . In certain embodiments the mixture comprises
    comprises a mixture of three or more salts of GHB.             48% to 52% Na.GHB, 32% to 36% K.GHB, and 14% to
       In certain embodiments, the pharmaceutical composition      18% Ca.(GHB) 2 . In certain embodiments, the mixture does
    does not comprise a substantial amount of Mg.(GHB) 2 or        not have a substantial amount of Mg.(GHB) 2 . In other
    Ca.(GHB) 2 . In certain embodiments, the mixture does not 55 embodiments, the mixture does not have a substantial
    comprise a substantial amount ofMg.(GHB) 2 or Ca.(GHB) 2 .     amount of Ca.(GHB) 2 .
    In certain embodiments, the mixture consists of 50% to 80%         In certain embodiments, the pharmaceutical composition
    Na.GHB, at least 10% K.GHB, and at least 10% Ca.(GHB) 2 .      comprises a mixture of three GHB salts, wherein the mixture
       In certain embodiments, the composition comprises a         comprises at least 50% Na.GHB, and further comprises
    mixture of three or more salts of GHB, wherein the mixture 60 K.GHB and Ca.(GHB) 2 , In certain embodiments, the mix-
    comprises between 50% to 80% Na.GHB, between 30% to            ture comprises between 50% and 60% ofNa.GHB, between
    40% K.GHB, and between 10% to 20% Ca.(GHB) 2 . In              10% and 40% K.GHB, and between 10% and 20% Ca.
    certain embodiments, the mixture comprises between 50%         (GHB) 2 .
    to 80% Na.GHB, between 10% to 40% K.GHB, and                       In certain embodiments, the pharmaceutical composition
    between 10% to 20% Ca.(GHB) 2 .                             65 does not comprise a substantial amount of Mg.(GHB) 2 . In
       In certain embodiments, the composition comprises a         certain embodiments, the mixture does not comprise a
    mixture of three or more salts of GHB, wherein the mixture     substantial amount ofMg.(GHB) 2 . In certain embodiments,
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    the Na.GHB, K.GHB, and Ca.(GHB) 2 salts are present in the      Na.GHB. In certain embodiments, the pharmaceutical com-
    mixture in a ratio of about 50%:34%:16%.                        position produces an A UC that is between 80% and 125% of
       In certain embodiments, the pharmaceutical composition       the AUC of Na.GHB.
    of GHB comprising less than 100 mL of an aqueous solu-             In certain embodiments, the pharmaceutical composition
    tion, wherein the aqueous solution comprises a mixture of 5 is bioequivalent to a pharmaceutical composition compris-
    two or more salts of GHB, the mixture comprising between        ing about 100% Na.GHB when administered to a patient.
    40% and 50% Na.GHB, and further comprising one or more             In certain embodiments, the average maximum GHB
    salts selected from K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 .        plasma concentration (Cmax) is within 10% of the Cmax of
       In certain embodiments, the mixture comprises about          a pharmaceutical composition comprising about the same
                                                                 10
    40% to about 50% Na.GHB, and further comprising one or          amount of 100% Na.GHB when administered to a patient. In
    more salts selected from K.GHB, Ca.(GHB) 2 , and Mg.            certain embodiments, theAUC is within 10% oftheAUC of
    (GHB) 2 . In certain embodiments, the mixture comprises         a pharmaceutical composition comprising about the same
    between about 40% and about 50% Na.GHB, and further             amount of 100% Na.GHB when administered to a patient.
    comprising one or more salts selected from K.GHB, Ca. 15           In certain embodiments, the pharmaceutical composition
    (GHB) 2 , and Mg.(GHB) 2 .                                      is formulated as a liquid formulation, wherein the Na.GHB
       In certain embodiments, the pharmaceutical composition       salt is present at less than 40%. In these embodiments, the
    of GHB comprising less than 100 mL of an aqueous solu-          pharmaceutical composition is more resistant to a food effect
    tion, wherein the aqueous solution comprises a mixture of       and has a lower Cmax compared to Na.GHB.
    two or more salts of GHB, the mixture essentially consists 20      In certain embodiments, the pharmaceutical composition
    of about 40% to about 50% Na.GHB, and further comprising        comprises a mixture of two or more GHB salts, wherein the
    one or more salts selected from K.GHB, Ca.(GHB) 2 , and         mixture comprises less than 40% Na.GHB, and further
    Mg. (GHB) 2 .                                                   comprises one or more of the following salts, K.GHB,
       In certain embodiments, the pharmaceutical composition       Ca.(GHB) 2 and Mg.(GHB) 2 . In certain embodiments, the
    comprises a mixture which contains between 40% and 50% 25 Na.GHB salt is present in the mixture at about 0% to 30%.
    Na.GHB, wherein the composition is provided to the patient      In certain embodiments, the Na.GHB salt is present in the
    in an aqueous solution of between 25 and 100 mL. In certain     mixture at about 5% to 25%. In certain embodiments, the
    embodiments, the pharmaceutical composition comprises           Na.GHB salt is present in the mixture at about 5% to 10%.
    the mixture dissolved or dispersed in an aqueous solution of       In certain embodiments, the pharmaceutical composition
    between 40 and 75 mL. In certain embodiments, the phar- 30 comprises a mixture of three or more GHB salts, wherein the
    maceutical composition comprises the mixture dissolved or       mixture comprises at least 10% K.GHB, at least 10%
    dispersed in an aqueous solution of between 55 and 65 mL.       Ca.(GHB) 2 and at least 10% Mg.(GHB) 2 . In certain embodi-
       In certain embodiments, the aqueous solution has a vol-      ments, the pharmaceutical composition comprises a mixture
    ume of about 25 mL to about 100 mL. In certain embodi-          of two or three GHB salts, in addition to Na.GHB, wherein
    ments, the aqueous solution has a volume of about 40 mL to 35 the mixture further comprises 20 to 80%, K.GHB, Ca.
    about 75 mL. In certain embodiments, the aqueous solution       (GHB) 2 or Mg.(GHB) 2 . In certain embodiments, the phar-
    has a volume of about 55 mL to about 65 mL. In certain          maceutical composition comprises a mixture of three or
    embodiments, the aqueous solution has a volume of about 60      more GHB salts, wherein the mixture comprises between 10
    mL.                                                             and 50% K.GHB, between 10 and 50% Ca.(GHB) 2 and
       In certain embodiments, the pharmaceutical composition 40 between 10 and 50% Mg.(GHB) 2 for the non-sodium salts.
    comprises the mixture dissolved or dispersed in an aqueous         In certain embodiments, the Na.GHB, K.GHB, Mg.
    solution of between 25 and 75 mL. In certain embodiments,       (GHB) 2 , and Ca.(GHB) 2 salts are present in the mixture at
    the pharmaceutical composition comprises about 60 mL of         a ratio of about 8%:23%:21 %:48%, respectively.
    an aqueous solution.
       In certain embodiments, the pharmaceutical composition 45                  6.2.1 Concentrations and pH Values
    comprises between 25 and 100 mL of an aqueous solution.
    In certain embodiments the pharmaceutical composition              In certain embodiments, the pharmaceutical composition
    comprises between 40 and 75 mL of an aqueous solution. In       comprises an aqueous solution.
    certain embodiments the pharmaceutical composition com-            In certain embodiments, the concentration of the mixture
    prises between 55 and 65 mL of an aqueous solution.          50 of salts of GHB in the solution is about 250 mg/mL to about
       In certain embodiments the pharmaceutical composition        750 mg/mL, about 350 mg/mL to about 650 mg/mL, about
    is an aqueous solution having a volume of about 25 mL to        400 mg/mL to about 600 mg/mL, about 450 mg/mL to about
    about 100 mL. In certain embodiments the pharmaceutical         550 mg/mL. In certain embodiments, the concentration of
    composition is an aqueous solution having a volume of           the mixture of salts of GHB in the solution is centered
    about 40 mL to about 75 mL. In certain embodiments the 55 around 409 mg/mL GHB, which equates to 500 mg/mL
    pharmaceutical composition is an aqueous solution having a      Na.GHB. See U.S. Pat. No. 6,472,431, which is incorpo-
    volume of about 55 mL to about 65 mL.                           rated by reference in its entirety.
       In certain embodiments, the pharmaceutical composition          It will be understood that the maximum solubility of GHB
    is bioequivalent to Xyrem® which is Na.GHB. In certain          is affected by the pH of the aqueous medium. For example,
    embodiments, the pharmaceutical composition produces an 60 at about pH 4, the maximum amount ofNa.GHB that can be
    average maximum GHB plasma concentration (Cmax) that            dissolved is about 450 mg/mL. The value of pH that is
    is substantially the same as the Cmax ofNa.GHB. In certain      conducive to GHB solubility increases so that the minimal
    embodiments, the pharmaceutical composition produces a          pH that will dissolve 750 mg/mL GHB was found to be
    Cmax that is within 80% and 125% of the Cmax ofNa.GHB.          about pH 6.8.
    In certain embodiments, the pharmaceutical composition 65          Accordingly, in certain embodiments, the pharmaceutical
    produces an average maximum GHB plasma area under the           composition has a pH of about 7.0 to about 9.0, about 7.0 to
    curve (AUC) and Cmax that is substantially the same as          about 8.5, about 7.3 to about 8.5.
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       In certain embodiments, the pharmaceutical composition             As used herein, "pharmaceutically acceptable carrier"
    is chemically stable and resistant to microbial growth. In         includes any and all solvents, dispersion media, coatings,
    certain embodiments, the pharmaceutical composition is             antibacterial and antifungal agents, isotonic and absorption
    free of preservatives.                                             delaying agents and the like. The use of such media and
       It will also be understood that the pH of the aqueous 5 agents for pharmaceutical active substances is well known in
    solution affects the resistance of the pharmaceutical com-         the art. Insofar as any conventional media or agent is
    position to microbial growth at about 409 mg/mL GHB,               incompatible with the active ingredient, its use in the thera-
    which equates to, e.g., 500 mg/mL Na.GHB. For example,             peutic compositions is not appropriate. Supplementary com-
    Na.GHB at this concentration (500 mg/mL) is resistant to           patible active ingredients can be incorporated into the com-
                                                                    10 positions. For human administration, preparations should
    microbial growth in an aqueous medium when the pH is
                                                                       meet sterility, pyrogenicity, general safety and purity stan-
    between about pH 5 and pH 9. Compositions at about pH 6
                                                                       dards as required by the Food and Drug Administration
    to about pH 7.5 are particularly resistant to microbial
                                                                       (FDA). See Remington, The Science and Practice of Phar-
    growth. However, at concentrations of GHB greater than             macy, 22 nd Ed. 2013.
    about 750 mg/mL above about pH 7.5, the resistance to 15              In certain embodiments, the compositions disclosed
    microbial growth is reduced. See U.S. Pat. No. 6,472,431.          herein are provided in a formulation, preferably, a liquid
       It will be further understood that the chemical stability of    formulation, although solid formulations are also contem-
    GHB is affected by pH. Accordingly, the method for pre-            plated. For any examples of excipients, colorants, flavorants,
    paring GHB, as described herein, particularly as disclosed in      or other components of the formulation; see Remington, The
    the specific examples, varies with pH. The impurity gamma 20 Science and Practice of Pharmacy, 2rd Ed. 2013.
    butyrolactone (GBL) begins to form substantially if the pH            In certain embodiments, the formulation is chemically
    is about 6 or less. Compositions with a pH of greater than         stable and resistant to microbial growth. In certain embodi-
    about 6.0 are preferred to produce chemically stable formu-        ments, the formulation does not need, and may be free of
    lations of GHB. Thus, a preferred range for chemically             preservatives. In certain embodiments, the level of gamma-
    stable GHB would be from about pH 6 to about pH 9. 25 butyrolactone (GBL) is 0.1% or less of the formulation.
    However, any pH or range of pH values where a clinically           However, if preservatives are added they may include, but
    acceptable amount of GBL is present is also contemplated as        are not limited to, xylitol, sodium benzoate, methylparaben,
    being preferred, and is encompassed by the present inven-          propyl gallate BP, sorbic acid, chlorobutanol, dihydroacetic
    tion.                                                              acid, monothioglycerol, potassium benzoate, propylparaben,
       In certain embodiments, a pH adjusting or buffering agent 30 benzoic acid, benzalkonium chloride, alcohol, benzoic acid,
    may be added to the composition. The choice of a pH                benzalkonium chloride, benzethonium chloride, benzyl
    adjusting or buffering agent may affect the resistance to          alcohol, butylparaben, cetylpyridinium chloride, ethylene-
    microbial challenge and/or the stability of GHB, as mea-           diamine, ethylparaben, ethyl vanillin, glycerin, hypophos-
    sured by the reduction in assayable GHB. Compositions of           phorus acid, methylparaben, phenol, phenylethyl alcohol,
    GHB, pH adjusted or buffered with malic or other acids are 35 phenylmercuric nitrate, propylparaben, sassafras oil, sodium
    resistant to both microbial growth and chemical degradation        benzoate, sodium propionate, thimerosal and potassium sor-
    of GHB, and are preferred. Other pH adjusting or buffering         bate. Preferred preservatives may be selected from the group
    agents may be selected. Agents that adjust pH that are             comprising, but not limited to, xylitol, sodium benzoate,
    selected on this basis may undergo a taste testing study.          methylparaben, propylparaben and potassium sorbate. Xyli-
    However, any pH adjusting or buffering agent disclosed 40 tol is particularly preferred in certain compositions disclosed
    herein or as would be known to those skilled in the art is         herein, because it acts as an preservative and a sweetener, is
    contemplated as being useful from the compositions or              a caries preventative, is less laxative than other sweeteners,
    formulations disclosed herein. Of course, any salt, flavoring      and is recommended for diabetics. See U.S. Pat. Nos.
    agent, excipient, or other pharmaceutically acceptable addi-       8,324,275 and 8,952,062, and Remington, The Science and
                                                                                                     nd
    tion described herein, or as would be known to those skilled 45 Practice of Pharmacy, 22 Ed. 2013, each of which is
    in the art, is contemplated as being useful for the composi-       incorporated   hereby  by reference   in its entirety.
    tions or formulations disclosed herein. See U.S. Pat. No.             In certain embodiments, the formulation is suitable for
    6,472,431, and Remington, The Science and Practice of              oral administration.
    Pharmacy, 22nd Ed. 2013, each of which is hereby incor-               In certain embodiments, the formulation additionally
    porated by reference in its entirety.                           50 comprises a flavoring agent. Preferred sweeteners or flavor-
       In certain embodiments, the pH adjusting or buffering           ing agents would be microbially non-metabolizable. Espe-
    agent is an acid. In certain embodiments, the pH adjusting or      cially preferred sweeteners or flavoring agents would be
    buffering agent is an inorganic acid or an organic acid. In        carbohydrates such as xylitol and sorbitol. Such flavoring
    certain embodiments, the pH adjusting or buffering agent is        agents include, but are not limited to, acacia syrup, anethole,
    selected from the group consisting of malic acid, citric acid, 55 anise oil, aromatic elixir, benzaldehyde, benzaldehyde
    acetic acid, boric acid, lactic acid, hydrochloric acid, phos-     elixir-compound, caraway, caraway oil, cardamom oil, car-
    phoric acid, sulfuric acid, sulfonic acid, and nitric acid. In     damom seed, cardamom spirit, cardamom tincture-com-
    certain embodiments, the pH adjusting or buffering agent is        pound, cherry juice, cherry syrup, cinnamon, cinnamon oil,
    malic acid. See U.S. Pat. No. 6,472,431.                           cinnamon water, citric acid, citric acid syrup, clove oil, coca,
                                                                    60 coca syrup, coriander oil, dextrose, eriodictyon, eriodictyon
                           6.2.2 Formulations                          fluidextract, eriodictyon syrup-aromatic, ethyl acetate, ethyl,
                                                                       vanillin, fennel oil, ginger, ginger fluidextract, ginger oleo-
       The aqueous solutions disclosed herein typically com-           resin, glucose, glycerin, glycyrrhiza, glycyrrhiza elixir,
    prise an effective amount of GHB, or a salt or mixture of          glycyrrhiza extract, glycyrrhiza extract-pure, glycyrrhiza
    salts of GHB as disclosed herein, which may be dissolved or 65 fluidextract, glycyrrhiza syrup, honey, non-alcoholic elixir,
    dispersed in a pharmaceutically acceptable carrier and/or an       lavender oil, citrus extract or oil, lemon oil, lemon tincture,
    aqueous medium.                                                    mannitol, methyl salicylate, nutmeg oil, orange-bitter-elixir,
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    orange-bitter-oil, orange flower oil, orange flower water,         liquid prior to mJection can also be prepared; and the
    orange oil, orange peel-bitter, orange-peel-sweet-tincture,        preparations can also be emulsified.
    orange spirit-compound, compound, orange syrup, pepper-               The pharmaceutical forms suitable for injectable use
    mint, peppermint oil, peppermint spirit, peppermint water,         include sterile aqueous solutions or dispersions; formula-
    phenylethyl alcohol, raspberry juice, raspberry syrup, rose- 5 tions including, e.g., aqueous propylene glycol; and sterile
    mary oil, rose oil, rose water, saccharin, saccharin calcium,      powders for the extemporaneous preparation of sterile
    saccharin sodium, sarsaparilla syrup, sorbitol solution,           injectable solutions or dispersions. In all cases the form must
    spearmint, spearmint oil, sucralose, sucrose, syrup, thyme         be sterile and must be fluid to the extent that easy syring-
    oil, tolu balsam, tolu balsam syrup, vanilla, vanilla tincture,    ability exists. It must be stable under the conditions of
                                                                    10 manufacture and storage and must be preserved against the
    vanillin or wild cherry syrup.
                                                                       contaminating action of microorganisms, such as bacteria
       In certain embodiments, the formulation additionally
                                                                       and fungi.
    comprises a coloring agent. Preferred coloring agents would
                                                                          Solutions of the active compounds as free acid or phar-
    be microbially non-metabolizable.                                  macologically acceptable salts can be prepared in water
       In certain embodiments, the formulation is administered 15 suitably mixed with hydroxypropyl cellulose and/or a phar-
    in a single or multiple dosage regimen.                            maceutically acceptable surfactant. Dispersions can also be
       Any of the above formulations may be prepared and/or            prepared in glycerol, liquid polyethylene glycols, and mix-
    packaged as a powdered or dry form for mixing with an              tures thereof as well as in oils. Under ordinary conditions of
    aqueous medium before oral administration, or they may be          storage and use, these preparations may contain a preserva-
    prepared in an aqueous medium and packaged. After mixing 20 tive to further prevent the growth of microorganisms.
    with an aqueous medium, preferably to prepare a solution,             The carrier can also be a solvent or dispersion medium
    these formulations are resistant to both microbial growth and      containing, for example, water, ethanol, polyol (for example,
    chemical conversion ofGHB to GBL, thereby increasing the           glycerol, propylene glycol, and liquid polyethylene glycol,
    shelf-life of therapeutic formulations of GHB, or salt or          or the like), suitable mixtures thereof, and vegetable oils.
    mixture of salts of GHB, in an aqueous medium. These 25 The proper fluidity can be maintained, for example, by the
    formulations then provide an easily titratable liquid medium       use of a substance, such as lecithin (e.g., a coating), by the
    for measuring the dosage of GHB, or salt or mixture of salts       maintenance of the required particle size in the case of
    of GHB, to be administered to a patient. Additional embodi-        dispersion and by the use of surfactants. The prevention of
    ments of the composition and methods of preparation are            the action of microorganisms can be brought about by any
    described below and in the examples.                            30 of the preservatives described herein, or as would be known
       In certain embodiments, especially with Na.GHB                  to those skilled in the art, including various antibacterial and
    amounts between 40% and 50%, the formulation is present            antifungal agents, for example, parabens, chlorobutanol,
    in a low volume of aqueous solution. As described herein, by       phenol, sorbic acid, thimerosal, and the like. In many cases,
    "low volume" it is meant to include an aqueous solution of         it will be preferable to include isotonic agents, for example,
    about 100 mL or less, including the aqueous medium and 35 sugars or sodium chloride. Prolonged absorption of the
    any wash or chase volume, for administration of a single           injectable compositions can be brought about by the use in
    GHB dose. Preferably the low volume is between about 25            the compositions of agents delaying absorption, for
    mL to 75 mL, or between 55 mL to 65 mL of total aqueous            example, aluminum monostearate.
    volume given to the patient. In certain embodiments, for              Sterile injectable solutions are prepared by incorporating
    example, formulations with reduced sodium, the formula- 40 the active compounds in the required amount in the appro-
    tion requires less aqueous volume in order to be ingested, is      priate solvent with, various of the other ingredients enumer-
    more palatable, provides better patient compliance, is more        ated above, as required, followed by filtered sterilization.
    tolerable, and/or is bioequivalent in comparison to GHB            Generally, dispersions are prepared by incorporating the
    formulations of Na.GHB. It should be understood by those           various sterilized active ingredients into a sterile vehicle
    skilled in these arts that 25-100 mL (or about 1-3 ounces) of 45 which contains the basic dispersion medium and the
    fluid is an acceptable amount of aqueous solvent to dilute the     required other ingredients from those enumerated above. In
    formulations disclosed herein, in order to ingest, improve         the case of sterile powders for the preparation of sterile
    taste, and/or "wash down" the GHB salts. For certain               injectable solutions, the preferred methods of preparation
    individuals, having a reduced-volume for administration            are vacuum-drying and freeze-drying techniques which
    offers an improved nightly dosing regimen which may 50 yield a powder of the active ingredient plus any additional
    alleviate unwanted side-effects associated with consuming          desired ingredient from a previously sterile-filtered solution
    liquids before bedtime, such as bed-wetting, restlessness          thereof. The preparation of more, or highly, concentrated
    and/or other sleep time disturbances.                              solutions for direct injection is also contemplated, where the
       The GHB, or salt or mixture of salts of GHB disclosed           use ofDMSO as solvent (although DMSO may not now be
    herein, may be lyophilized for more ready formulation into 55 a permitted human drug) is envisioned to result in extremely
    a desired vehicle or medium where appropriate. The GHB or          rapid penetration, delivering high concentrations of the
    salt(s) thereof may also be formulated for parenteral admin-       active agents to a small area.
    istration, e.g., formulated for injection via intravenous,            Upon formulation, solutions will be administered in a
    intraarterial, intramuscular, sub-cutaneous, intralesional,        manner compatible with the dosage formulation and in such
    intraperitoneal or other parenteral routes. The preparation of 60 amount as is therapeutically effective. The formulations are
    a pharmaceutical composition that comprises an aqueous             easily administered in a variety of dosage forms, such as the
    solution that contains GHB or salt(s) thereof as an active         type of injectable solutions described above, but drug
    component or ingredient will be known to those of skill in         release capsules and the like can also be employed.
    the art in light of the present disclosure. Typically, such           For parenteral administration in an aqueous solution, for
    compositions can be prepared as injectables, either as liquid 65 example, the solution should be suitably buffered if neces-
    solutions or suspensions. Solid forms suitable for using to        sary and the liquid diluent first rendered isotonic with
    prepare solutions or suspensions upon the addition of a            sufficient saline or glucose. These particular aqueous solu-
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    tions are especially suitable for intravenous, intramuscular,         tablets, buccal tablets or tabs, troches, capsules, elixirs,
    subcutaneous and intraperitoneal administration. In this con-         suspensions, syrups, wafers, and the like, to be admixed with
    nection, sterile aqueous media which can be employed will             an aqueous medium. Such compositions and preparations
    be known to those of skill in the art in light of the present         should contain at least 0.1 % of the active compound. The
    disclosure. For example, one dosage could be dissolved in 1 5 percentage of the compositions and preparations may, of
    mL of isotonic NaCl solution and either added to 1000 mL              course, be varied and may conveniently be between about 2
    of fluid or injected at the proposed site of infusion, (see, e.g.,    to about 75% of the weight of the unit, or preferably between
    "Remington's Pharmaceutical Sciences" 15th Edition, pages             25-60%. The amount of active compounds in such thera-
    1035-1038 and 1570-1580). Some variation in dosage will               peutically useful compositions is such that a suitable dosage
    necessarily occur depending on the condition of the subject 10 will be obtained.
    being treated. The person responsible for administration                 The tablets, troches, pills, capsules and the like may also
    will, in any event, determine the appropriate dose for the            contain the following: a binder, natural as gum tragacanth,
    individual subject.                                                   acacia, cornstarch, or gelatin or synthetic as polyvinyl
       The GHB may be prepared in a formulation and/or                    acetate; excipients, such as dicalcium phosphate; a disinte-
    pharmaceutical composition disclosed herein to comprise 15 grating agent, such as corn starch, potato starch, alginic acid
    about 100 to about 10,000 milligrams per dose as adminis-             and the like; a lubricant, such as magnesium stearate; and a
    tered to the patient. The typical dose range is approximately         sweetening agent, such as sucrose, lactose or saccharin may
    4.5-9 g/day; see the Xyrem® Product Insert. Other dose                be added or a natural or synthetic flavoring agent. When the
    ranges include 6-8 g/day multiple or single doses can be              dosage unit form is a capsule for admixing with a specific
    administered but it is typical to give two divided doses per 20 volume of an aqueous medium, it may contain, in addition
    day. The Xyrem® instructions recommend two equally                    to materials of the above type, a liquid carrier. Various other
    divided doses.                                                        materials may be present as coatings or to otherwise modify
       In addition to the pharmaceutical compositions formu-              the physical form of the dosage unit. For instance, tablets,
    lated for parenteral administration, such as intravenous or           pills, or capsules may be coated with sugar, natural or
    intramuscular injection, other pharmaceutically acceptable 25 synthetic polymers, or both. A syrup or elixir may contain
    forms include, e.g., tablets or other solids; liposomal for-          the active compounds, sucrose as a sweetening agent, a
    mulations; time release capsules, such as sustained or                preservative, a dye and/or a flavoring.
    delayed release forms, including beads, pellets, or resins;              One embodiment of the formulations disclosed herein can
    and any other form currently used, including creams, which            be a solid with different release properties. One embodiment
    then may be admixed with an aqueous medium for oral 30 is a unit dosage form that is a tablet for immediate release
    administration.                                                       comprising a relatively high weight-percentage of sodium
       One may also use nasal solutions or sprays, aerosols or            oxybate, in combination with a relatively small weight-
    inhalants in connection with the pharmaceutical composi-              percentage of total excipients. This permits the tablets to
    tions and/or formulations disclosed herein. Nasal solutions           contain/deliver a pharmaceutically effective amount of
    are usually aqueous solutions designed to be administered to 35 sodium oxybate in each tablet with a delivery profile similar
    the nasal passages in drops or sprays. Nasal solutions are            to that of the liquid form. The tablets are bioequivalent to the
    prepared so that they are similar in many respects to nasal           liquid form. See U.S. Pat. Nos. 8,771,735 and 8,778,398.
    secretions, so that normal ciliary action is maintained. Thus,        Other embodiments provide controlled release dosage forms
    the aqueous nasal solutions usually are isotonic and slightly         for delivery of GHB or salt(s) thereof. The controlled release
    buffered to maintain a pH of 5.5 to 6.5, though other pH 40 dosage forms may incorporate both controlled release and
    ranges disclosed herein the specific examples, such as pH 3           immediate release formulations in a single unit dosage form.
    to about pH 9, or pH 6 to about 7.5, are contemplated. In             See U.S. Publication No. 2012/0076865. Another embodi-
    addition, preservatives, similar to those used in ophthalmic          ment includes the use of both immediate release and con-
    preparations, and appropriate drug stabilizers, if required,          trolled release forms mixed together or one after the other.
    may be included in the formulation. Various commercial 45 In one embodiment the immediate release portion could be
    nasal preparations are known and include, for example,                between 10-50%, or 20-30% and the controlled release
    antibiotics and antihistamines and are used for asthma                portion comprising the remaining amount. In some embodi-
    prophy!axis.                                                          ments the amounts of the different salts can be different in
       The preferred oral formulations may include such nor-              each of the immediate or controlled release portions.
    mally employed excipients, as, for example, pharmaceutical 50            Additionally, any excipient, salt, acid, pH-mediating,
    grades ofxylitol, marmitol, lactose, starch, magnesium stear-         adjusting or buffering compound or agent, flavoring, solu-
    ate, sodium saccharin, cellulose, magnesium carbonate and             tion, solvent, dispersion, glycerol, glycol, oil, antibacterial
    the like. These compositions can take the form of solutions,          and antifungal agents, antibiotics and antihistamines, bind-
    suspensions, tablets, pills, capsules, sustained release for-         ers, disintegrating agents, lubricants, sweetening agents, or
    mulations or powders to be admixed with an aqueous 55 any other additive or ingredient from those enumerated
    medium. In certain defined embodiments, oral pharmaceu-               above or in the examples, or in any pharmaceutically accept-
    tical compositions will comprise an inert diluent or assimi-          able composition or carrier described herein, or as would be
    lable edible carrier, or they may be enclosed in hard or soft         known by one of skill in the art, is contemplated for use in
    shell gelatin capsule, or they may be compressed into                 aqueous mediums or solid forms of the pharmaceutical
    tablets, or the GHB or salt(s) thereof may be packaged 60 compositions disclosed herein. One or more of these com-
    separately from or in combination with the excipients, salts,         positions may be packaged with GHB or salt(s) thereof, or
    flavorings or any other components described herein, to be            packaged separately from GHB or salt(s) thereof prior to
    admixed with an aqueous medium for oral or injectable                 consumption. If packaged separately, useful pharmaceutical
    formulations, or they may be incorporated directly with the           compositions may be obtained by mixing GHB or salt(s)
    food (i.e. a beverage) of the diet.                                65 thereof with the other components with an aqueous medium
       For oral therapeutic administration, the active compounds          prior to consumption. Such components may be packaged in
    may be incorporated with excipients and used in the form of           a kit, described below.
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       Also provided herein are therapeutic kits compnsmg               identifying features. The containers can be bound together
    GHB, or a salt or mixture of salts of GHB, as disclosed             (for example, by shrink wrapping) or assembled into the kit
    herein. Such kits will generally contain, in suitable con-          in such a way to minimize misplacement or discourage
    tainer, a pharmaceutically acceptable formulation of the            dispensing of one product for both <losings. Where two or
    GHB or salt(s) thereof. The kit may have a single container, 5 more formulations are provided as granules or other rapidly
    or it may have distinct container for each component, or            dissolving dosage form, twin sachets with a perforated
    distinct container for various combinations of components.          divider can facilitate dose preparation. These could be
       When the components of the kit are provided in one or            labeled, for example, as "1st dose" and "2 nd dose".
    more liquid formulations, the liquid formulation is an aque-           Furthermore and to distinguish between prepared formu-
    ous medium, with a sterile aqueous solution being particu-
                                                                     lO lations prior to administration, one or both of the formula-
    larly preferred. The pharmaceutical compositions may also
                                                                        tions can include a flavorant, odorant, or colorant to render
    be formulated into a syringeable composition. In which case,
                                                                        it substantially different from the other. The additive may
    the container means may itself be a syringe, pipette, vial,
    ampule or other such like apparatus, from which the formu-          also be provided separately in the kit so that it can be added
    lation may be applied to an infected area of the body, 15 to the water either immediately before or after dispensing
    injected into an animal, or even applied to and mixed with          each formulation. Also, the administration devices for each
    the other components of the kit.                                    dose may be distinguished based on a number of features
       However, the components of the kit may be provided as            such as color, shape, etc. so that that patient can easily
    dried powder(s). When reagents or components are provided           administer each dose.
    as a dry powder, the powder can be reconstituted by the 20
    addition of a suitable solvent. It is envisioned that the                            6.2.3 Methods of Treatment
    solvent may also be provided in another container means.
       The container means will generally include at least one             All the pharmaceutical compositions and formulations
    vial, test tube, flask, bottle, pouch syringe or other container    provided herein can be used in all the methods provided
    means, into which the formulation or components thereof 25 herein. For example, the pharmaceutical compositions and
    are placed, preferably, suitably allocated. The kits may also       formulations provided herein can be used in all the methods
    comprise a second container means for containing a sterile,         for treating all diseases, disorders or conditions provided
    pharmaceutically acceptable buffer or other diluent.                herein. Thus, the pharmaceutical compositions and formu-
       The kits will also typically include a means for containing      lations provided herein are for use as a medicament. In
    the vials in close confinement for commercial sale, such as, 30 certain embodiments, the pharmaceutical compositions and
    e.g., injection or blow-molded plastic containers into which        formulations provided herein are for use in a method for
    the desired vials are retained.                                     treating cataplexy or daytime sleepiness in a patient who has
       In certain embodiments, the kits contain one or more             been diagnosed with narcolepsy. In certain embodiments,
    bottles of liquid formulation comprising GHB or salt(s)             the pharmaceutical compositions and formulations provided
    thereof, two dosing cups with child-resistant caps, a liquid 35 herein are for use in a method for treating cataplexy or
    measuring device and a medication guide.                            daytime sleepiness in a patient who has been diagnosed with
       In certain embodiments, the kits contain two different           narcolepsy. In certain embodiments, the pharmaceutical
    GHB formulations in separate bottles. In certain embodi-            compositions and formulations provided herein are for use
    ments, the kits contain two bottles of liquid formulation           in a method for treating a disease or condition in a subject
    comprising GHB or salt(s) thereof, wherein two different 40 that is suitable to treatment by GHB, comprising adminis-
    formulations are provided in at least two separate bottles. In      tering a pharmaceutical composition or formulation dis-
    certain embodiments, the kits contain two or more bottles of        closed herein.
    liquid formulation comprising GHB or salt(s) thereof,                  The pharmaceutical compositions and formulations com-
    wherein two different formulations are provided in at least         prising mixed salts of GHB, disclosed herein, are also
    two separate bottles, and wherein also provided are two 45 contemplated to be useful in the treatment of any of these
    dosing cups with child-resistant caps, one or more liquid           disorders or conditions in patients. GHB has also been used
    measuring device and a medication guide. Preferably, the            alone as a narcotic in patients with terminal cancer. GHB has
    two different formulations are a first-dose formulation com-        been used with other analgesics, neuroleptics, or with a
    prising an aqueous solution, the aqueous solution is a              subliminal barbiturate dose for use as an anesthesia. It is also
    mixture of two or more GHB salts, the mixture comprising 50 contemplated that the pharmaceutical compositions and for-
    less than 50% Na.GHB, and further comprising one or more            mulations disclosed herein may be used as a narcotic,
    salts selected from K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 ,            hypnotic, or as a soporific. It is further contemplated that the
    and the second-dose formulation comprising an aqueous               pharmaceutical compositions and formulations comprising
    solution comprising from 50% to about 80% of Na.GHB,                mixed salts of GHB, disclosed herein, may be used in
    and further comprising one or more salts selected from 55 combination with analgesics, neuroleptics or barbiturates for
    K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 .                                use as an anesthesia. See the methods described at the end
       Irrespective of the number or type of containers, the kits       of U.S. Pat. No. 6,472,431.
    may also comprise, or be packaged with, an instrument for              The pharmaceutical compositions and formulations com-
    assisting with the injection/administration or placement of         prising mixed salts of GHB, disclosed herein, may be
    the pharmaceutical composition within the body of an 60 prepared and administered by any of the means described
    animal. Such an instrument may be a drinking cup, syringe,          herein, particularly those described in the section "Formu-
    pipette, or any such medically approved delivery vehicle.           lations" and the examples, or by any means as would be
    Where two more formulations are provided in the kit,                known to those of skill in the art.
    optionally, one or more of the instruments or formulations             Accordingly, in certain aspects, are methods of treatment
    can be color-matched or labeled to indicate which of the two 65 comprising administration to a patient of the pharmaceutical
    doses are contained within it. Furthermore, the drug product        compositions or formulations comprising mixed salts GHB
    containers can be differentiated by color, shape or other           disclosed herein.
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       In certain embodiments, the pharmaceutical compositions        pharmaceutical compos1t10n compnsmg about 100%
    or formulations comprising mixed salts of GHB, disclosed          Na.GHB when administered to a patient. In certain embodi-
    herein, are useful in the treatment of cataplexy or daytime       ments, the AUC is within 10% of the AUC of a pharma-
    sleepiness in a patient who has been diagnosed with narco-        ceutical composition comprising about the same amount of
    lepsy.                                                          5 100% Na.GHB when administered to a patient. In certain
       In certain embodiments, the pharmaceutical compositions        embodiments, the pharmaceutical composition does not
    or formulations comprising mixed salts of GHB, disclosed          comprise a substantial amount ofMg.(GHB) 2 or Ca.(GHB) 2 .
    herein, are useful in the treatment of conditions responsive      In certain embodiments, the disease or condition is selected
    to GHB, for example, sleep disorders such as apnea, sleep         from the group consisting of sleeping disorders, drug abuse,
    time disturbances, narcolepsy, cataplexy, excessive daytime 10 alcohol and opiate withdrawal, a reduced level of growth
    sleepiness (EDS), sleep paralysis, hypnagogic hallucination,      hormone, anxiety, analgesia, neurological disorders (e.g.,
    sleep arousal, insomnia, and nocturnal myoclonus.                 Parkinson's Disease and depression), endocrine distur-
       Accordingly, in certain embodiments, provided herein is        bances, hypoxia or anoxia of tissues (such as from stroke or
    a method for treating a disease or condition in a subject that    myocardial infarction), or an increased level of intracranial
    is suitable to treatment by GHB, comprising administering 15 pressure. In preferred embodiments, the disease is cataplexy
    a pharmaceutical composition or formulation disclosed             and/or narcolepsy. In certain embodiments, the disease or
    herein.                                                           condition is selected from the group consisting of fibromyal-
       In certain embodiments, also provided herein is a method       gia and sleep disorders such as apnea, sleep time distur-
    of treating a disease or condition that is suitable for treat-    bances, narcolepsy, cataplexy, excessive daytime sleepiness
    ment with GHB wherein the method comprises administer- 20 (EDS), sleep paralysis, hypnagogic hallucination, sleep
    ing to a patient a pharmaceutical composition comprising          arousal, insomnia, and nocturnal myoclonus.
    from 50% to about 80% of Na.GHB, wherein the pharma-                 In certain embodiments, the methods of treatment com-
    ceutical composition is in an oral dosage form and wherein        prising administration of the pharmaceutical compositions
    administration of the pharmaceutical composition produces         or formulations comprising mixed salts GHB disclosed
    a GHB Cmax which is bioequivalent to the Cmax of 25 herein.
    Na.GHB. In certain embodiments, the pharmaceutical com-              In certain embodiments, the method comprises oral
    position does not comprise a substantial amount of Mg.            administration of the pharmaceutical compositions or for-
    (GHB) 2 or Ca.(GHB) 2 . In certain embodiments, the disease       mulations comprising mixed salts GHB, disclosed herein, in
    or condition is selected from the group consisting of sleep-      a multiple dosage regimen.
    ing disorders, drug abuse, alcohol and opiate withdrawal, a 30       In certain embodiments, the multiple dosage regimen
    reduced level of growth hormone, anxiety, analgesia, neu-         comprises one or more steps, as follows: (i) diluting an
    rological disorders (e.g., Parkinson's Disease and depres-        aqueous solution comprising about 409 mg/mL of gamma-
    sion), endocrine disturbances, hypoxia or anoxia of tissues       hydroxybutyrate (GHB) with an aqueous medium to provide
    (such as from stroke or myocardial infarction), or an             a first dose of the mixture of salts; (ii) diluting an aqueous
    increased level of intracranial pressure. In preferred embodi- 35 solution comprising about 409 mg/mL of GHB with an
    ments, the disease is cataplexy and/or narcolepsy. In certain     aqueous medium to provide a second dose of the mixture of
    embodiments, the disease or condition is selected from the        salts; (iii) orally administering to a patient having narcolepsy
    group consisting offibromyalgia and sleep disorders such as       the first dose; and (iv) orally administering to the patient
    apnea, sleep time disturbances, narcolepsy, cataplexy, exces-     having narcolepsy the second dose within 2.5 to 4 hours
    sive daytime sleepiness (EDS), sleep paralysis, hypnagogic 40 following the first dose. The first and/or second doses can be
    hallucination, sleep arousal, insomnia, and nocturnal myo-        administered according to the instructions on the label as
    clonus.                                                           appropriate.
       In certain embodiments, the mixture of salts which from           In certain embodiments, two nightly doses of GHB or a
    about 50% to about 80% ofNa.GHB further comprises one             salt there are administered to the patient.
    or more salts selected from the group consisting of K.GHB 45         In certain embodiments, the first dose of GHB salts is a
    and Ca.(GHB) 2 .                                                  pharmaceutical composition of GHB comprising an aqueous
       In certain embodiments, also provided herein is a method       solution of a mixture of two or more GHB salts, the mixture
    of treating a disease or condition that is suitable for treat-    comprising less than 40% Na.GHB, and further comprising
    ment with GHB wherein the method comprises administer-            one, two, three or more salts selected from K.GHB, Ca.
    ing to a patient a pharmaceutical composition of GHB 50 (GHB) 2 , and Mg.(GHB) 2 , and wherein the first dose is
    comprising less than 100 mL of an aqueous solution,               administered within 4 hours of eating and produces a GHB
    wherein the aqueous solution comprises a mixture of two or        Cmax which is less than the Cmax of Na.GHB; and the
    more salts of GHB, the mixture comprising between 40%             second dose of GHB salts is a pharmaceutical composition
    and 50% Na.GHB, and further comprising one or more salts          ofGHB comprising a mixture of two or more GHB salts, the
    selected from K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 . In 55 mixture comprising at least 50% of Na.GHB, and further
    certain embodiments, the disease is cataplexy and/or narco-       comprising one or more salts selected from K.GHB, Ca.
    lepsy.                                                            (GHB) 2 , and Mg.(GHB) 2 , and wherein the second dose
       In certain embodiments, when administered to a patient,        produces a GHB Cmax which is substantially equivalent to
    the pharmaceutical composition produces a GHB Cmax                the Cmax ofNa.GHB. In certain embodiments, the multiple
    which is within 10% of the Cmax of Na.GHB. In certain 60 dosage regimen comprises one or more steps, as follows: (i)
    embodiments, the Cmax is within 10% of the Cmax of a              diluting an aqueous solution comprising a mixture of two or
    pharmaceutical composition comprising about the same              more GHB salts, the mixture comprising 0% to 40%
    amount of 100% Na.GHB when administered to a patient. In          Na.GHB, and further comprising one or more salts selected
    certain embodiments, when administered to a patient, the          from K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 , with an aqueous
    pharmaceutical composition produces a GHB Cmax that is 65 medium to provide a first dose ofGHB salts; (ii) diluting an
    bioequivalent to the Cmax of Na.GHB. In certain embodi-           aqueous solution comprising a mixture of two or more GHB
    ments, the pharmaceutical composition is bioequivalent to a       salts, the mixture comprising from about 50% to about 80%
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    of Na.GHB, and further compnsmg one or more salts                  prising mixed salts GHB disclosed herein. Several different
    selected from K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 , to              methods of making have been reported in the literature (see,
    provide a second dose of GHB salts; (iii) orally administer-       e.g., U.S. Pat. Nos. 4,393,236; 4,983,632; 6,472,431; 8,461,
    ing the first dose to a patient suitable for treatment with        203; 8,591,922; 8,901,173; and 9,132,107; and U.S. Publi-
    GHB; and (iv) orally administering the second dose to the 5 cation No. 2016/0058720, each of which is incorporated by
    patient within 2.5 to 4 hours following the first dose. In
                                                                       reference in its entirety; see also Ferris and Went, 2012,
    preferred embodiments, the patient is suitable for treatment
    with GHB has cataplexy or narcolepsy.                              Forensic    Science International 216: 158-162). Those skilled
       In certain embodiments, the first dose comprises a phar-        in the art will recognize that these methods can be incorpo-
    maceutical composition comprising less than 40% Na.GHB             rated in the making of the compositions or formulations
                                                                    10
    and at least two other GHB salts selected from the group of        comprising mixed salts GHB disclosed herein. Other meth-
    K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 . In certain embodi-            ods will be known to those of skill in the art.
    ments, the first dose is administered within 4 hours of eating.       In certain embodiments, mixtures of GHB salts can be
    In certain embodiments, the mixture further comprises two          made by direct reaction of GBL with an aqueous mixture of
    or more salts selected from the group consisting of K.GHB,         one of more of the following bases: sodium hydroxide,
    Ca.(GHB) 2 , and Mg. (GHB) 2 .                                  15
                                                                       potassium hydroxide, calcium hydroxide, and magnesium
       In certain embodiments, the disease or condition is
    selected from the group consisting of a sleeping disorder,         hydroxide. After reaction the mixture may then be filtered
    drug abuse, alcohol and opiate withdrawal, a reduced level         under mild vacuum.
    of growth hormone, anxiety, analgesia, a neurological dis-            In certain embodiments, a solvent, such as water, is used
    order, an endocrine disturbance, hypoxia or anoxia of tis- 20 to dissolve the GHB salt mixture to a desired concentration,
    sues, and an increased level of intracranial pressure.             for example, by adjusting the amount of water in the
       In certain embodiments, the first dose of GHB salts is a        mixture.
    pharmaceutical composition of GHB comprising an aqueous               In certain embodiments, the concentration of a GHB salt
    solution ofless than 100 mL, the aqueous solution comprises        solution is adjusted by concentrating the mixture using
    a mixture of three GHB salts, the mixture comprising less 25 standard methods, such as evaporators, reverse osmosis, and
    than 50% Na.GHB, and further comprising one or more salts          similar techniques known to those skilled in the art.
    selected from between 10-60% K.GHB, Ca.(GHB) 2 , and                  In certain embodiments, the method of making comprises
    Mg.(GHB) 2 , and wherein the first dose is administered            reacting gamma-butyrolactone (GBL) with one or more
    within 4 hours of eating and produces a GHB Cmax which             bases selected from the group consisting of sodium hydrox-
    is less than the Cmax of Na.GHB.                                30 ide, potassium hydroxide, magnesium hydroxide, and cal-
       In certain embodiments, the second dose of GHB salts is         cium hydroxide.
    a pharmaceutical composition of GHB comprising an aque-               In other embodiments, the method of making comprises,
    ous solution, the aqueous solution comprising from 50% to          for example, reacting GBL with one or more of sodium
    about 80% ofNa.GHB, and from between 10-60% K.GHB,                 carbonate, potassium carbonate, or magnesium carbonate to
    Ca.(GHB) 2 , and Mg.(GHB) 2 , and wherein administration of 35 provide the sodium, potassium, and magnesium oxybate
    the second dose produces a GHB Cmax which is substan-              (Na.GHB, K.GHB, and Mg.(GHB) 2 ) mixture. Such embodi-
    tially bioequivalent to the Cmax of Na.GHB. In certain             ments are particularly suitable to avoid precipitation of
    embodiments, the second dose of GHB salts is a pharma-             calcium carbonate when carbonate salts of sodium, potas-
    ceutical composition of GHB comprising an aqueous solu-            sium, and/or magnesium are employed.
    tion which comprises a mixture from 50% to about 80% of 40            In still other embodiments, a solution of calcium oxybate
    Na.GHB, and wherein administration of the second dose              can be transformed to a mixture of oxybate salts by exchang-
    produces a GHB Cmax which is substantially bioequivalent           ing with a mixture of cation exchange resins loaded with the
    to a composition comprising Na.GHB.                                desired cations. Alternatively, a solution of calcium oxybate
       In certain embodiments, 4.5 and 9 grams/day are admin-          can be transformed to a mixture of oxybate salts by precipi-
    istered to the patient in two divided doses.                    45 tation with a mixture of acid salts of other cations when the
       In certain embodiments, 6 and 8 grams/day are adminis-          calcium salt is practically insoluble. After filtration or other
    tered to the patient in two divided doses.                         means of removing the precipitated calcium salt or the
       In certain embodiments, the disease or condition is             exchanged cation exchange resin, the mixed oxybate salt
    selected from the group consisting of sleeping disorders,          solution is obtained.
    drug abuse, alcohol and opiate withdrawal, a reduced level 50         In other embodiments, a mixture of cations associated
    of growth hormone, anxiety, analgesia, neurological disor-         with oxybate may include a proton. This can be achieved in
    ders (e.g., Parkinson's Disease and depression), endocrine         similar fashion as cation exchange or displacement precipi-
    disturbances, hypoxia or anoxia of tissues (such as from           tation described above, with the exception that a H-form
    stroke or myocardial infarction), or an increased level of         cation exchange resin or the free acid or partially neutralized
    intracranial pressure.                                          55 salt of the precipitating anion is employed, respectively.
       It will be understood, however, that the specific dose level    Ideally to promote chemical stability, such embodiments
    and frequency of dosage for any particular patient may be          should be produced in solid form and suspended or dis-
    varied and will depend upon a variety of factors including:        solved in water upon administration. In yet another embodi-
    the metabolic stability and length of action, the age, body        ment, the undissolved solid (exchanged cationic resin or
    weight, general health, sex, diet, mode and time of admin- 60 precipitated salt) can be ingested with the dose provided
    istration, rate of excretion, drug combination, the severity of    neither dissolves appreciably in the GI tract.
    the particular condition, and the host undergoing therapy.            In certain embodiments, the reaction is carried out in a
                                                                       single vessel. For example, a mixture of Na.GHB, K.GHB,
                        6.2.4 Methods of Making                        Mg.(GHB) 2 , and Ca.(GHB) 2 may be made by direct addition
                                                                    65 of GBL to in a single vessel containing an aqueous mixture
       In certain aspects, provided herein are some exemplary          of sodium hydroxide, potassium hydroxide, magnesium
    methods of making the compositions or formulations com-            hydroxide, and calcium hydroxide.
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       In certain embodiments, the reaction is carried out in                                     -continued
    multiple vessels and the product is subsequently combined.
    For example, Ca.(GHB) 2 may be made by direct addition of         Stoichiometry  The number of GHB moles reacted with each mole
    GBL to aqueous sodium hydroxide, and the product com-             Ratio          of base
    bined with Mg.(GHB) 2 .                                           Base mEQ       Base equivalents for reaction with GHB
                                                                   5                 (that is, Base-mMols x Stiochiometry-
       In certain embodiments, the methods of making include
                                                                                     Ratio ). This is also the Oxybate or GHB equivalents
    methods of making the pharmaceutical compositions and                            value.
    formulations disclosed herein.                                    % molar        Molar composition of salts expressed as Percent
       The following examples are included to demonstrate             equiv GHB      of Oxybate Equivalents
    preferred embodiments of the invention. It should be appre-       Salt           The oxybate salt species
    ciated by those of skill in the art that the techniques 10 Salt MW               Molecular weight of the oxybate salt
                                                                      Salt-mass-     Mass of salt produced by reaction
    disclosed in the examples which follow represent techniques
                                                                      grams          (that is, Base-mMols x Salt-MW/1000)
    discovered by the inventor to function well in the practice of    Salt wt/wt%    Normalized weight percent
    the invention, and thus can be considered to constitute           Cone.          Concentration in mg/ml equivalent to a 3.97M
    preferred modes for its practice. However, those of skill in      (mg/ml)        Na-GHB solution (500 mg/ml
    the art should, in light of the present disclosure, appreciate 15                sodium oxybate). That is, 3.97 x
    that many changes can be made in the specific embodiments                        (% equiv-GHB) x (Salt-MW)/(Stoich. Ratio)
    which are disclosed and still obtain a like or similar result
    without departing from the spirit and scope of the and scope
    of the invention.                                                      Example 1.1: Manufacturing Mixed Salts Solutions
                                                                                    20
                                  7. EXAMPLES
                                                                           Four individual oxybate salt solutions at equal oxybate
         Example 1: Synthesis of Mixed Oxybate Solutions               strength  (409 mg/mL) were made as follows:
                                                                           Magnesium oxybate (Mg.(GHB) 2 ) solution was made by
       The following synthetic examples provide exemplary              combining 124.6 g water and 20.36 g magnesium hydroxide
                                                                    25
    syntheses of mixture of oxybate salts. Alternate methods of        in a magnetically-stirred 250 mL square glass bottle. 58.04
    synthesizing mixtures of oxybate salts, including methods of       g of GBL was then added to the base suspension and then
    synthesizing additional salts of oxybate are described below;      heated up to 80° C. with stirring. After 4 hours, a pH
    still other alternate synthetic methods will be apparent to        verification indicated completion of reaction (pH 8.5). Water
    those skilled in the art. See also U.S. Pat. Nos. 8,461,203;       was added to compensate for evaporation. The reaction
                                                                    30
    8,591,922; 8,901,173; and 9,132,107; and U.S. Publication          mixture was then centrifuged, and supernatant filtered
    No. 2016/0058720; each of which is incorporated by refer-          through 0.45µ. PVDF Stericup under vacuum. The pH of
    ence in its entirety.                                              filtrate was 8.1. Yield: 177.4 g solution. Assay (HPLC-UV):
       Mixed oxybate salt solutions can be made conveniently           100.1%
    by at least two methods. When multiple different formula-              Potassium oxybate (K.GHB) solution was made by add-
                                                                    35
    tions are desired, one of skill in the art can mix solutions of    ing 60.10 g potassium hydroxide to 144.01 g water in a
    individual salts having the same molar oxybate concentra-          magnetically-stirred 250 mL square glass bottle. After com-
    tion to arrive at the desired cation blend. On the other hand,     plete dissolution, 78.52 g GBL was weighed into a separate
    for commercial implementation or single-batch manufactur-          glass beaker. Approximately half the GBL was added ini-
    ing one can perform a one-pot reaction with GBL and the            tially with instant reaction, and then the solution was cooled
                                                                    40
    two or more bases in the desired cationic proportions. Both        in ice water to approximately 30° C. The remainder of the
    methods are described below.                                       GBL was then added with stirring, and the solution main-
       Example calculations of molar equivalents and % wt/wt           tained at 60° C. for 2.5 hours. The pH was 13.5. The pH was
    for salt mixtures are also shown below Table 1.                    then adjusted to 8.1 by adding 10% HCl solution. Water was

                                                               TABLE 1
                                                         Exam le Calculations

                                                                        % molar                             Salt
                 Base              Grams     Base    Stoich.    Base     equiv                     Salt    mass    Salt   Cone
       Base      MW      Purity    Amount   mMols     Ratio     mEQ      GHB             Salt      MW      grams wt/wt % mg/mL

      NaOH       40.00 98.50%       1.398 34.43                 34.43        8.5%     Na•GHB      126.09    4.34    8.5% 42.61
      KOH        56.11 86.72%       7.337 113.40               113.40       28.0%     K•GHB       142.20   16.12   31.4% 158.29
     Ca(OH)o     74.10 99.00%       6.268 83.74         2      167.49       41.4%    Ca•(GHB)2    246.27   20.62   40.2% 202.46
     Mg(OH)o     58.32 99.50%       2.611 44.55         2       89.09       22.0%    Mg•(GHB)2    230.50   10.27   20.0% 100.80

       Total                        17.614 276.11              404.40   100.0%                             51.36   100.0% 504.17




                                                                                       added to restore the initial reaction mass. The solution was
    Base                Each of four bases used in this example                60      then filtered through 0.45µ. PVDF Stericup under vacuum.
    Base MW             Molecular weight of the base
                                                                                       Yield: 281.8 g solution. Assay (HPLC-UV): 98.6%.
    Purity              Purity provided by manufacturer.
                        It is assumed that impurities are non-reactive.
                                                                                          Calcium oxybate (Ca.(GHB) 2 ) solution was made by
    Gram                Amount, in grams, of each base charged to the reaction         combining 210.5 g water and 45.41 g calcium hydroxide in
    Amount                                                                             a magnetically stirred 500 mL square glass bottle. Next,
    Base mMols          Corresponding amount, in millimoles, of pure base           65 102.41 g GBL was added slowly while stirring, and then the
                        (that is, Purity x Gram-Amount x 1000/Base-MW)                 reaction was maintained at 80° C. on a temperature-con-
                                                                                       trolled hotplate ( surface set point 183 ° C. ). After 2 hours, the
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    mixture was cooled and water was added to compensate for                                 dence in the assay values or repeatability of dispensing to the
    evaporation. The solution was centrifuged, and supernatant                               process. A larger excess will increase confidence in com-
    was then filtered through 0.45µ. PVDF Stericup under                                     pleting the reaction, but incur more filtration load. A smaller
    vacuum. The initial pH of filtrate was 10.5, and was adjusted
                                                                                       5     excess threatens to inadequately complete the reaction,
    to 7.9 by addition of 10% HCl solution. Yield: 328.6 g
    solution. Assay (HPLC-UV): 99.0%                                                         resulting in higher than desired GBL levels.
       Sodium oxybate (Na.GHB) solution was made by adding                                      To make 150 mL batches roughly equivalent in compo-
    46.6 g sodium hydroxide to 200.1 g water in a magnetically                               sition to those of Example 1.1, the stoichiometry is as shown
    stirred 500 mL square glass bottle. 99.00 g GBL was                                      in Table 3 below.
                                                                                                                TABLE 3
                                                                                             Stoichiometry of Bases used for Exemplary Solutions

                                                                                        grams base reguired              Excess            GBL     Water    Total

                                                                   Solution   NaOH          KOH Ca(OH)2 Mg(OH)2         As base   grams grams      grams    grams

                                                                    507-A       7.88        13.21    7.35     0.00     Ca(OH)2      0.22   51.27    98.56   178.5
                                                                    507-G       5.57         7.46    8.91     3.12     Mg(OHh       0.17   51.27   102.00   178.5
                                                                    507-C       7.88         0.00   10.70     3.38     Mg(OHh       0.17   51.27   105.09   178.5
                                                                    507-D      11.95        13.21    3.57     0.00     Ca(OH)2      0.22   51.27    98.29   178.5




    weighed into a separate beaker. After complete dissolution            The water is weighed into a tared 250 mL beaker with
    of the sodium hydroxide, about half of the GBL was added           spinbar. Next, bases are weighed and added in order of
    to the reaction mixture causing it to heat. After cooling to 25 sodium, potassium, calcium, and magnesium as applicable.
    about 30° C. in ice water, the remaining GBL was added and         After sodium or potassium hydroxide is added, the mixture
    then allowed to react with stirring on a hotplate at 60° C. for    is stirred until complete dissolution is observed. The
    2 hours. The pH after reaction was 12.36, and was adjusted
    to 8.13 by addition of 10% HCl solution. Water was added           required excess is added at the same time as the respective
    to restore the initial reaction mass. The solution was then        base is charged. Next, 51.27 g of GBL is added slowly while
                                                                    30 monitoring temperature and with stirring. If the temperature
    filtered through a 0.45µ. PVDF Stericup under vacuum.
    Yield: 340.3 g. Assay (HPLC-UV): 100.6%.                           exceeds about 80° C., then GBL addition is slowed until the
        For each desired oxybate salt mixture below, the indi-         temperature cools to about 60° C. After GBL addition is
    vidual solutions were blended volumetrically with an oral          complete, the setup is moved to a 60° C. environmental
    dosing syringe into a 250 mL glass beaker with stirring. The       chamber to complete the reaction. (Alternatively, a tempera-
    blend order, where applicable, was sodium, potassium, cal-
                                                                    35 ture-controlled hotplate can be employed.) Sodium and
    cium, and then magnesium oxybate. 178 mg of sucralose
    was then added and dissolved. The target cation blends (in         potassium hydroxide react almost instantly with GBL. Ca.
    equivalents) and volumes of individual solutions used are          (OH) 2 requires about 1 h to react at 60° C., and Mg.(OH) 2
    shown in Table 2 below.                                            requires about 3 h at 80° C. or overnight (12 h) at 60° C.
                                                  TABLE 2
                        Target Cation Blends and Volumes of Exemplary Solutions

                                                Volume (mL) of oxybate solution
                      % equivalents           (#1-#4 above) for total batch 150 mL              Assay

    Solution   Na        K     Ca     Mg      Na (#4)   K (#2)   Ca (#3)    Mg (#1)            % Label

     507-A     33       34     33      0       49.5      51.0     49.5         0                98.9
     507-G     23.3     19.2   40     17.5     35.0      28.8     60.0        26.3              99.2
     507-C     33        0     48     19       49.5       0       72.0        28.5             100.0
     507-D     50       34     16      0       75.0      51.0     24.0         0                98.8




        Example 1.2: Direct, One-Pot Reaction Method to                                      Therefore, mixtures lacking Mg.(OH) 2 (507-A and 507-D)
                   Achieve Various Mixtures                                                  are held at 60° C. for about 1 h. Mixtures 507-G and 507-C
                                                                                       55
      To achieve any combination of oxybate salts, the stoichi-                              are held at 60° C. overnight or 80° C. for 3 h.

    ometry calculations are adjusted to reflect (a) the strength of                             After reaction, water is added to compensate for evapo-
    individual bases and (b) the use of an excess for the weakest                            ration and restore the original reaction mass (178.5 g net).
    base (calcium or magnesium). The strength of bases used in 60 The reaction mixtures are then centrifuged followed by
    the Example above were 99.7% (NaOH), 86.0% (KOH),                                        vacuum filtration through a 0.45µ. PVDF Stericup. Finally,
    99.0% (Ca.(OH) 2 ), and 98.5% (Mg.(OH) 2 ). A 1% excess is                               the pH is adjusted with 10% HCl solution, as needed, to a
    applied as the weakest divalent base present (calcium or                                 value of 8.0. For mixtures containing magnesium, no adjust-
                                                                                       65
    magnesium, in that order of precedence). A larger or smaller                             ment is required if the pH is below 9. Finally, 0.18 g of
    excess may be warranted, depending on the level of confi-                                sucralose is added and dissolved into the solution.
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              Example 2: Pharmacokinetic Testing of                 oxybate at 409 mg/mL mixed salt concentration or 409
                          Formulations                              mg/mL oxybate. The four bases were suspended or dis-
                                                                    solved in water, then gamma butyrolactone was added and
       This Example provides protocols and results for              the reaction mixture was held at 80° C. for about 3 hours.
    bioequivalence testing of the formulations disclosed herein. 5
                                                                    Subsequently, mixture was cooled and then depth filtered,
    Four sets of bioequivalence testing were performed with
    various mixed salt formulations compared with Xyrem® as         carbon filtered, and then flowed through a polishing filter.
    the reference. Unless stated otherwise, this and subsequent     Finally, sucralose was added to a level of 0.1 % w/v in the
    examples have oxybate salt concentrations stated in a "molar    final solution.
    equivalent percent" basis. Furthermore, in the tables and 10       Formulation "O" was tested for bioequivalence relative to
    figures where applicable:
       "Treatment" refers to the formulation and the dosing         Xyrem® (Formulation "X", commercial sodium oxybate
         regimen (fed or fasted), for which various formulations    solution of the same molar concentration and comparable
         were tested at a dose equivalent to 4.5 g sodium
                                                                    pH as "O") and in the fasted as well as fed state. The study
         oxybate.                                                15
       "N" refers to the number of subjects for which evaluable     was compliant with the FDA guidance for food effect studies
         results were obtained                                      ("Guidance for Industry: Food-Effect bioavailability and
       "Vol" refers to the volume of administration (mL) given
                                                                    Fed Bioequivalence Studies", FDA December 2002), incor-
         with the 9 mL dose of drug product
       "Cmax" refers to the average of the maximum plasma           porated herein by reference in its entirety. In both fasted and
                                                                 20
         concentration (in oxybate mg/Lor ug/mL) achieved in        fed treatments, the Guidance indicates that the drug product
         individual patients
                                                                    should be administered with 240 mL of water. Thirty-six
       "Cmax Ratio" refers to the ratio of Cmax value compared
         to that of fasted state Xyrem® and expressed as a          patients were recruited and 34 patients completed success-
         percentage                                                 fully. The results are shown in FIG. 1 and in Table 4 below.
                                                                                                TABLE 4
                                                                           Conditions and Results in Study 13-010 Using 240 mL Liquid Volume

                                                                   Number        Vol    Cmax    Cmax     AUC          AUC           % eguivalent

                                                    Treatment     of Patients (mL)     (mg/L)   ratio   (mg•h/L)      ratio   Na    K     Ca       Mg

                                                   0, fasted          34         240   102.3     76%     238.7         89%      8   23     48      21
                                                   O,fed              36         240    77.7     58%     216.0         81%      8   23     48      21
                                                   X, fasted          32         240   134.6    100%     268.1        100%    100    0      0       0
                                                   X,fed              36         240    84.9     63%     233.0         87%    100    0      0       0




      "AUC" refers to the area under the curve of plasma vs               Example 2.2: Testing of Blends of Xyrem® and
         time, either the last time point where the concentration 40                       Formulation "O"
         was above the limit of quantitation or projected out to
         infinite time and expressed in units of h*mg/L.                As an extension to the study described in Example 2.1, the
      "AUC ratio" refers to the ratio of AUC to that of fasted       same formulation "O" and Xyrem® reference were tested in
         state Xyrem® and expressed as percentage                    two different proportions to determine whether bioequiva-
      "Na", "K", "Ca", and "Mg" refer to the cation content of       lence could be achieved with the same proportion of the
         the formulation given, in Molar Equivalent %, of 45 three non-sodium cations but with higher sodium content.
         sodium, potassium, calcium, and magnesium, respec-          New patients were recruited for the single dose crossover
         tively.                                                     study, but the study was otherwise done in a manner
                                                                     comparable to Example 2.1 except fewer patients were
             Example 2.1: Testing of Formulation "O"                 evaluated. The results are shown in FIG. 2 and Table 5 as
                                                                  50 expressed in mean values. Bioequivalence was not achieved
      Formulation "O" was manufactured as (equivalent%) 8%           even at 49% sodium (the confidence interval for that for-
    sodium, 23% potassium, 48% calcium, and 21 % magnesium           mulation was between 73.8-97.5%).

                                                                                                TABLE 5
                                                                Conditions and Results in Study 13-010 Part 2 using 240 mL Liquid Volume

                                                                   Number        Vol    Cmax    Cmax     AUC          AUC _ _ _'X_o_eq~u_iv_a_le_n_t_ _

                                                    Treatment     of Patients (mL)     (mg/L)   ratio   (mg•h/L)      ratio   Na    K     Ca       Mg

                                                   2.5 g              21         240   109.4     84%     241.3        96%     49    13     27      12
                                                   0 + 2.0 g
                                                   X, fasted
                                                   3.75 g             19         240    98.18    75%     228.4        91%     23    19     40      18
                                                   0 + 0.75 g
                                                   X, fasted
                                                   X, fasted          17         240   130.2    100%     251.4        100%    100
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                Example 2.3: Testing of Alternative Cationic                                                    TABLE 7-continued
                                  Blends
                                                                                                       Results of Study JZP258-101, n ~ 33 patients
       To test for negative effects of certain cations and also to                    Vol  Cmax Cmax AUC        AUC     % equivalent
    investigate other four-cation blends, the formulations of 5
    Example 1.1 were tested in a crossover fasted state               Treatment      (mL) (mg/L) ratio Mg•h/L) ratio Na K Ca Mg
    bioequivalence study involving 35 patients. In contrast to
                                                                      X, fasted       240 125.9   100%    258   100% 100 0      0    0
    the preceding two examples, the volume of administration          X,fed            60  68.6    57%    206     82% 100 0     0    0
    was reduced to 60 mL. The results are shown in FIG. 3 and
    Table 6.                                                       10
       Surprisingly, as shown in FIG. 3 and Table 6, Formulation         Although the effect of dilution volume on food effect was
    507-D with 50% sodium met the bioequivalence criteria, as         not  directly challenged in a single study, comparison of data
    it had a Cmax ratio of 92% and nearly identical average           from two crossover studies is possible for formulations "O"
    plasma profile compared to Xyrem®. In contrast, Formula-          and Xyrem®. Table 8 shows the comparison of data from
    tions 507-A and 507-C, both with 33% sodium but differing 15 study JZP258-101 for 60 mL dilution volume and from
    by exclusion of either potassium or magnesium, had nearly         study 13-010 Part 1 for 240 mL dilution volume. The results
    identical and lower Cmax values (78% and 76%, respec-             indicate that formulation "O" has a reduced food effect
    tively), and therefore did not meet the bioequivalence cri-       compared to Xyrem® and that, in both cases, the higher
    teria.                                                            dilution volume has a smaller food effect.

                                             TABLE 6
      Conditions and Resu ts in Study 15-008 using 60 mL Liguid Volume, n ~ 35 patients

                              Vol    Cmax     Cmax      AUC       AUC       % eguivalent

    Treatment                 (mL)   (mg/L)    ratio   (mg•h/L)   ratio   Na    K    Ca Mg

    507-A, fasted (no Mg)      60    102.2     77%       241      85%     33    34   33     0
    507-C, fasted (no K)       60    101.0     77%       252      89%     33     0   48    19
    507-D, fasted (higher      60    120.8     92%       257      90%     50    34   16     0
    Na, No Mg)
    507-G (3.75 g O +          60     95.6     72%       246      87%     23    19   40    18
    0.75 g X, fasted
    X, fasted                  60    131.9    100%       284      100%    100   0     0     0




           Example 2.4: Testing Effect of Dilution Volume                       35                                    TABLE 8
                                                                                                              Comparison of Food Effect at
       Formulation 507-D having 50% sodium and tested at 60                                                    60 mL and 240 mL dilution
    mL volume was bioequivalent to Xyrem®, yet the four-
    cation blend of Example 2.2 having 49% sodium and tested 40                            Treatment                  Cmax (mg(L)             AUC (mg · h/L)

    at 240 mL volume was not bioequivalent. The difference                                 Volume                60 mL       240 mL          60 mL    240 mL
    between the two results is statistically significant and mean-
                                                                                           0, fasted               93.0        102.3         238       239
    ingful. To determine whether or how the volume of admin-                               O,fed                   63.0         77.7         202       216
    istration affects behavior of formulations, Formulation "O"                            Ratio of 0, fed        68%          76%           85%       90%
    was tested and compared to Xyrem® in three treatments 45                               to 0, fasted
                                                                                           X, fasted              120.5        134.6         251       268
    fasted with 60 mL volume given, fasted with 240 mL
                                                                                           X,fed                   68.6         84.9         206       233
    volume, and fed with 60 mL volume. Thus, six treatments                                Ratio of X, fed        57%          63%           82%       87%
    were administered in a crossover fashion involving 33                                  to X, fasted
    patients in a food effect bioequivalence study. The results are
    shown in FIG. 4 and Table 7.                                    50
                                                                                                In similar fashion, comparison of fasted data across
      There is little difference in the primary PK parameters                                studies can be done. FIG. SA shows the Cmax ratio as a
    (Cmax and AUC) as a result of volume of administration;                                  function of the percent of calcium in the formulation. FIG.
    however, there appears to be a difference in the mean plasma                             SB shows the Cmax ratio as a function of the percent of
    profile for Xyrem® at the two volumes when given fasted
                                                                 55
                                                                                             sodium in the formulation. The calcium model was arrived
    (FIG. 4).
                                                                                             at by stepwise regression of main effect and interaction of
                                                                                             calcium % and volume of administration using JMP soft-
                                    TABLE 7
                                                                                             ware (SAS Institute). Volume of administration and its
                    Results of Study JZP258-101, n ~ 33 patients                             interaction were both dropped as insignificant terms. (An
                                                                                          60 alternative model process employing calcium % and diluted
                      Vol    Cmax Cmax AUC           AUC --"%'--'e""g""m""·v,,,al"'en""t_    concentration-which is volume-dependent-provided no
    Treatment        (mL) (mg/L) ratio Mg•h/L) ratio Na K Ca Mg                              better fit.) The result has significant lack of fit.
                                                                                                On the other hand, when sodium level and sodium diluted
    0, fasted          60    93.0      77%   238      95%      8 23 48 21
    0, fasted         240    92.7      74%   233      90%      8 23 48 21
                                                                                             concentration (and interaction) are considered, a signifi-
    O,fed              60    63.0      52%   202      80%      8 23 48 21 65 cantly better fit to results was obtained. All three terms were
    X, fasted          60 120.5       100%   251     100% 100 0             0        0       significant at 90% confidence or better, yet the main effect
                                                                                             of diluted sodium concentration was least significant of the
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    three). Sodium level and its interaction with diluted sodium          orally administering to a patient in need thereof a phar-
    concentration were highly significant, respectively). That               maceutically effective amount of a pharmaceutical
    model fit is shown in FIG. 5B.                                           composition of GHB in a unit dosage comprising at
                                                                             least one salt of GHB and a pharmaceutically accept-
           Example 3: Expected Pharmacokinetics of Two                       able carrier within four hours after eating;
                   Formulations Dosed 4 Hours Apart                       wherein the pharmaceutical composition of GHB has
                                                                             reduced food effect as measured by Cmax compared to
       The following proposed test treatment consists of admin-              an equal dose of immediate release liquid solution of
    istering formulation "O" of preceding examples and admin-                Na.GHB, wherein the pharmaceutical composition
    istering a second dose of formulation "507-D" 4 hours later. 10          comprises: about 5% to about 10% ofNa.GHB; about
    The reference treatment consists of Xyrem® given in the                  20% to about 25% ofK.GHB; about 45% to about 50%
                                                                             of Ca.(GHB) 2 ; and about 20% to about 25% of Mg.
    same fashion. Test and reference treatments have the same
                                                                             (GHB) 2 .
    oxybate dose and are administered in 60 mL of water in the
                                                                          2. The method of claim 1, wherein the composition is
    evening approximately two hours after dinner. Plasma is            administered with food, immediately after eating, up to 30
    sampled at the same intervals as in preceding examples.         15 minutes after eating, or up to two hours after eating.
       The outcome can be estimated by assuming additive                  3. The method of claim 1, wherein the composition
    contributions from each dose based on the single dose PK           provides an A UC when administered within four hours after
    evaluations presented in preceding examples. The expected          eating that is 80%-95% of the AUC when the composition
    results are shown in FIG. 6 compared to those of the               is administered while fasting.
    reference Xyrem® given under the same conditions.               20    4. The method of claim 1, wherein the composition
                                                                       provides an A UC when administered within four hours after
                    Example 4: Microbial Challenge                     eating that is 85%-90% of the AUC when the composition
                                                                       is administered while fasting.
       This Example demonstrates that a mixed oxybate salt                5. The method of claim 1, wherein the composition
    having low sodium displays acceptable resistance to micro- 25 provides a Cmax when administered within four hours after
    bial growth. A solution having, on a molar equivalents basis,      eating that is 55%-80% of the Cmax when the composition is
    8% sodium, 23% potassium, 48% calcium, and 21% mag-                administered while fasting.
    nesium oxybate salts (Na.GHB, K.GHB, Mg.(GHB) 2 , and                 6. The method of claim 1, wherein the composition
    Ca.(GHB) 2 ) with a pH value of 8 and a total concentration        provides a Cmax when administered within four hours after
    of 409 mg/mL oxybate salts was tested for antimicrobial 30 eating that is 60%-7 5% of the Cmax when the composition is
    effectiveness according to USP<51>. Individual samples             administered while fasting.
    were inoculated with each of five microorganisms and stored           7. The method of claim 1, wherein the composition
    for 28 days at 20-25° C. At 7, 14, and 28 days microbial           provides a Cmax that is less than the Cmax of an equal dose
    enumeration tests revealed effective reductions for all            of immediate release liquid solution of Na.GHB adminis-
    strains, as shown in Table 9 below.                             35 tered in equally divided doses at least four hours after eating.
                                                                          8. The method of claim 1, wherein the composition
                                   TABLE 9                             provides a Cmax that is less than the Cmax of an equal dose
                                                                       of immediate release liquid solution of Na.GHB adminis-
                                Microbial Effective
                       Test of 8% Na•GHB, 23% K•GHB,                   tered  in equally divided doses within four hours after eating.
                            48% Ca•(GHBh, and 21%                   40    9. The method of claim 1, wherein the composition
                            Mg•(GHB)o at 409 mg/mL                     provides a Cmax that is less than 60% the Cm= of an equal
                    Log reduction in colony forming units/mL           dose of immediate release liquid solution of Na.GHB
           Organism                 Day 7           Day 14   Day 28    administered    in equally divided doses at least four hours
                                                                       after eating.
           S. aureaus               >5.2             >5.2     >5.2  45    10. The method of claim 1, wherein the composition
           E.coli                   >5.7             >5.7     >5.7
           P. aeruginosa            >5.8             >5.8     >5.8
                                                                       provides a change in Cmax when administered at least four
           C. albicans                3.0            >5.6     >5.6     hours after eating and within four hours after eating that is
           A. niger                   2.6             3.6     >4.2     10-60% less than the change in Cmax of an equal dose of
                                                                       immediate release liquid solution of Na.GHB when admin-
                                                                    50 istered in equally divided doses at least four hours after

       What is claimed is:                                             eating and within four hours after eating.
                                                                          11. The method of claim 1, wherein the pharmaceutical
       1. A method ofreducing food effect due to administration
    of gamma-hydroxybutyrate (GHB) in a patient having cata-           composition     comprises 8% of Na.GHB; 23% of K.GHB;
    plexy in narcolepsy or excessive daytime sleepiness in             48% of Ca.(GHB) 2 ; and 21 % of Mg.(GHB) 2 .
    narcolepsy, comprising:                                                                   *   *   *    *   *
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   Guidance for Industry
  Food-Effect Bioavailability and
    Fed Bioequivalence Studies




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                                   December 2002
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                                        Guidance For Industry1

              Food-Effect Bioavailability and Fed Bioequivalence Studies


         This guidance represents the Food and Drug Administration=s current thinking on this topic. It
         does not create or confer any rights for or on any person and does not operate to bind FDA or the
         public. An alternative approach may be used if such approach satisfies the requirements of the
         applicable statutes and regulations.




   I.        INTRODUCTION

   This guidance provides recommendations to sponsors and/or applicants planning to conduct
   food-effect bioavailability (BA) and fed bioequivalence (BE) studies for orally administered
   drug products as part of investigational new drug applications (INDs), new drug applications
   (NDAs), abbreviated new drug applications (ANDAs), and supplements to these applications.
   This guidance applies to both immediate-release and modified-release drug products. The
   guidance addresses how to meet the BA and BE requirements in 21 CFR 320, 314.50 (d) (3), and
   314.94 (a) (7) as they apply to oral dosage forms. This guidance provides recommendations for
   food-effect BA and fed BE study designs, data analysis, and product labeling. It also provides
   information on when food-effect BA and fed BE studies should be performed. 2


   II.       BACKGROUND

   Food effect BA studies are usually conducted for new drugs and drug products during the IND
   period to assess the effects of food on the rate and extent of absorption of a drug when the drug
   product is administered shortly after a meal (fed conditions), as compared to administration
   under fasting conditions. Fed BE studies, on the other hand, are conducted for ANDAs to
   demonstrate their bioequivalence to the reference listed drug (RLD) under fed conditions.

             A.      Potential Mechanisms of Food Effects on BA


   1
     This guidance has been prepared by the Food Effect Working Group of the Biopharmaceutics Coordinating
   Committee in the Office of Pharmaceutical Science, Center for Drug Evaluation and Research (CDER) at the Food
   and Drug Administration (FDA).

   2
     See also the guidance for industry on Bioavailablity and Bioequivalence Studies for Orally Administered Drug
   Products C General Considerations.



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   Food can change the BA of a drug and can influence the BE between test and reference products.
   Food effects on BA can have clinically significant consequences. Food can alter BA by various
   means, including

       •   Delay gastric emptying
       •   Stimulate bile flow
       •   Change gastrointestinal (GI) pH
       •   Increase splanchnic blood flow
       •   Change luminal metabolism of a drug substance
       •   Physically or chemically interact with a dosage form or a drug substance

   Food effects on BA are generally greatest when the drug product is administered shortly after a
   meal is ingested. The nutrient and caloric contents of the meal, the meal volume, and the meal
   temperature can cause physiological changes in the GI tract in a way that affects drug product
   transit time, luminal dissolution, drug permeability, and systemic availability. In general, meals
   that are high in total calories and fat content are more likely to affect the GI physiology and
   thereby result in a larger effect on the BA of a drug substance or drug product. We recommend
   use of high-calorie and high-fat meals during food-effect BA and fed BE studies.

           B.       Food Effects on Drug Products

   Administration of a drug product with food may change the BA by affecting either the drug
   substance or the drug product. In practice, it is difficult to determine the exact mechanism by
   which food changes the BA of a drug product without performing specific mechanistic studies.
   Important food effects on BA are least likely to occur with many rapidly dissolving, immediate-
   release drug products containing highly soluble and highly permeable drug substances (BCS
   Class I) because absorption of the drug substances in Class I is usually pH- and site-independent
   and thus insensitive to differences in dissolution. 3 However, for some drugs in this class, food
   can influence BA when there is a high first-pass effect, extensive adsorption, complexation, or
   instability of the drug substance in the GI tract. In some cases, excipients or interactions
   between excipients and the food-induced changes in gut physiology can contribute to these food
   effects and influence the demonstration of BE. For rapidly dissolving formulations of BCS Class
   I drug substances, food can affect Cmax and the time at which this occurs (Tmax) by delaying
   gastric emptying and prolonging intestinal transit time. However, we expect the food effect on
   these measures to be similar for test and reference products in fed BE studies.

   For other immediate-release drug products (BCS Class II, III, and IV) and for all modified-
   release drug products, food effects are most likely to result from a more complex combination of
   factors that influence the in vivo dissolution of the drug product and/or the absorption of the drug
   substance. In these cases, the relative direction and magnitude of food effects on formulation
   BA and the effects on the demonstration of BE are difficult, if not impossible, to predict without
   conducting a fed BE study.

   3
     See the guidance for industry on Waiver of In Vivo Bioavailability and Bioequivalence Studies for Immediate
   Release Solid Oral Dosage Forms Based on a Biopharmaceutics Classification System.



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   III.   RECOMMENDATIONS FOR FOOD-EFFECT BA AND FED BE STUDIES

   This section of the guidance provides recommendations on when food-effect BA studies should
   be conducted as part of INDs and NDAs and when fed BE studies should be conducted as part of
   ANDAs. For postapproval changes in an approved immediate- or modified-release drug product
   that requires in vivo redocumentation of BE under fasting conditions, fed BE studies are
   generally unnecessary.

          A.      Immediate-Release Drug Products

          1.      INDs/NDAs

          We recommend that a food-effect BA study be conducted for all new chemical entities
          (NCEs) during the IND period.

          Food-effect BA studies should be conducted early in the drug development process to
          guide and select formulations for further development. Food-effect BA information
          should be available to design clinical safety and efficacy studies and to provide
          information for the CLINICAL PHARMACOLOGY and/or DOSAGE AND
          ADMINISTRATION sections of product labels. If a sponsor makes changes in
          components, composition, and/or method of manufacture in the clinical trial formulation
          prior to approval, BE should be demonstrated between the to-be-marketed formulation
          and the clinical trial formulation.

          Sponsors may wish to use relevant principles described in the guidance for industry on
          SUPAC-IR: Immediate Release Solid Oral Dosage Forms: Scale-Up and Post-Approval
          Changes: Chemistry, Manufacturing, and Controls, In Vitro Dissolution Testing, and In
          Vivo Bioequivalence Documentation (SUPAC-IR guidance) to determine if in vivo BE
          studies are recommended. These BE studies, if indicated, should generally be conducted
          under fasting conditions.

          2.      ANDAs

          In addition to a BE study under fasting conditions, we recommend a BE study under fed
          conditions for all orally administered immediate-release drug products, with the
          following exceptions:

          •    When both test product and RLD are rapidly dissolving, have similar dissolution
               profiles, and contain a drug substance with high solubility and high permeability
               (BCS Class I) (see footnote 3), or

          •    When the DOSAGE AND ADMINISTRATION section of the RLD label states that
               the product should be taken only on an empty stomach, or



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          •    When the RLD label does not make any statements about the effect of food on
               absorption or administration.

          B.      Modified-Release Drug Products

          We recommend that food-effect BA and fed BE studies be performed for all modified-
          release dosage forms.

          1.      INDs/NDAs

          We recommend a study comparing the BA under fasting and fed conditions for all orally
          administered modified-release drug products.

          When changes occur in components, composition, and/or method of manufacture
          between the to-be-marketed formulation and the primary clinical trial material, the
          sponsor may wish to use relevant principles described in the guidance for industry on
          SUPAC-MR: Modified Release Solid Oral Dosage Forms: Scale-Up and Post-Approval
          Changes: Chemistry, Manufacturing, and Controls: In Vitro Dissolution Testing and In
          Vivo Bioequivalence Documentation (SUPAC-MR guidance) to determine if
          documentation of in vivo BE is recommended. These BE studies, if indicated, should
          generally be conducted under fasting conditions.

          2.      ANDAs

          In addition to a BE study under fasting conditions, a BE study under fed conditions
          should be conducted for all orally administered modified-release drug products.


   IV.    STUDY CONSIDERATIONS

   This section provides general considerations for designing food effect BA and fed BE studies. A
   sponsor may propose alternative study designs and data analyses. The scientific rationale and
   justification for these study designs and analyses should be provided in the study protocol.
   Sponsors may choose to conduct additional studies for a better understanding of the drug product
   and to provide optimal labeling statements for dosage and administration (e.g. different meals
   and different times of drug intake in relation to meals). In studying modified-release dosage
   forms, consideration should be given to the possibility that co-administration with food can
   result in dose dumping, in which the complete dose may be more rapidly released from the
   dosage form than intended, creating a potential safety risk for the study subjects.

          A.      General Design

   We recommend a randomized, balanced, single-dose, two-treatment (fed vs. fasting), two-period,
   two-sequence crossover design for studying the effects of food on the BA of either an
   immediate-release or a modified-release drug product. The formulation to be tested should be
   administered on an empty stomach (fasting condition) in one period and following a test meal


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   (fed condition) in the other period. We recommend a similar, two-treatment, two-period, two-
   sequence crossover design for a fed BE study except that the treatments should consist of both
   test and reference formulations administered following a test meal (fed condition). An adequate
   washout period should separate the two treatments in food-effect BA and fed BE studies.

           B.       Subject Selection

   Both food-effect BA and fed BE studies can be carried out in healthy volunteers drawn from the
   general population. Studies in the patient population are also appropriate if safety concerns
   preclude the enrollment of healthy subjects. A sufficient number of subjects should complete the
   study to achieve adequate power for a statistical assessment of food effects on BA to claim an
   absence of food effects, or to claim BE in a fed BE study (see DATA ANALYSIS AND
   LABELING section). A minimum of 12 subjects should complete the food-effect BA and fed
   BE studies.

           C.       Dosage Strength

   In general, the highest strength of a drug product intended to be marketed should be tested in
   food-effect BA and fed BE studies. In some cases, clinical safety concerns can prevent the use
   of the highest strength and warrant the use of lower strengths of the dosage form. For ANDAs,
   the same lot and strength used in the fasting BE study should be tested in the fed BE study. For
   products with multiple strengths in ANDAs, if a fed BE study has been performed on the highest
   strength, BE determination of one or more lower strengths can be waived based on dissolution
   profile comparisons (for details see the guidance on Bioavailablity and Bioequivalence Studies
   for Orally Administered Drug Products - General Considerations.

           D.       Test Meal

   We recommend that food-effect BA and fed BE studies be conducted using meal conditions that
   are expected to provide the greatest effects on GI physiology so that systemic drug availability is
   maximally affected. A high-fat (approximately 50 percent of total caloric content of the meal)
   and high-calorie (approximately 800 to 1000 calories) meal is recommended as a test meal for
   food-effect BA and fed BE studies. This test meal should derive approximately 150, 250, and
   500-600 calories from protein, carbohydrate, and fat, respectively.4 The caloric breakdown of
   the test meal should be provided in the study report. If the caloric breakdown of the meal is
   significantly different from the one described above, the sponsor should provide a scientific
   rationale for this difference. In NDAs, it is recognized that a sponsor can choose to conduct
   food-effect BA studies using meals with different combinations of fats, carbohydrates, and
   proteins for exploratory or label purposes. However, one of the meals for the food-effect BA
   studies should be the high-fat, high-calorie test meal described above.



   4
     An example test meal would be two eggs fried in butter, two strips of bacon, two slices of toast with butter, four
   ounces of hash brown potatoes and eight ounces of whole milk. Substitutions in this test meal can be made as long as
   the meal provides a similar amount of calories from protein, carbohydrate, and fat and has comparable meal volume
   and viscosity.


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             E.       Administration

   Fasted Treatments: Following an overnight fast of at least 10 hours, subjects should be
   administered the drug product with 240 mL (8 fluid ounces) of water. No food should be
   allowed for at least 4 hours post-dose. Water can be allowed as desired except for one hour
   before and after drug administration. Subjects should receive standardized meals scheduled at
   the same time in each period of the study.

   Fed Treatments: Following an overnight fast of at least 10 hours, subjects should start the
   recommended meal 30 minutes prior to administration of the drug product. Study subjects should
   eat this meal in 30 minutes or less; however, the drug product should be administered 30 minutes
   after start of the meal. The drug product should be administered with 240 mL (8 fluid ounces) of
   water. No food should be allowed for at least 4 hours post-dose. Water can be allowed as
   desired except for one hour before and after drug administration. Subjects should receive
   standardized meals scheduled at the same time in each period of the study.

             F.       Sample Collection

   For both fasted and fed treatment periods, timed samples in biological fluid, usually plasma,
   should be collected from the subjects to permit characterization of the complete shape of the
   plasma concentration-time profile for the parent drug. It may be advisable to measure other
   moieties in the plasma, such as active metabolites, and sponsors should refer to the guidance on
   Bioavailability and Bioequivalence Studies for Orally Administered Drug Products — General
   Considerations for recommendations on these issues. Consideration should be given to the
   possibility that co-administration of a dosage form with food can alter the time course of plasma
   drug concentrations so that fasted and fed treatments can have different sample collection times.


   V.        DATA ANALYSIS AND LABELING

   Food-effect BA studies may be exploratory and descriptive, or a sponsor may want to use a food-
   effect BA study to make a label claim.5 The following exposure measures and pharmacokinetic
   parameters should be obtained from the resulting concentration-time curves for the test and
   reference products in food-effect BA and fed BE studies:

         •   Total exposure, or area under the concentration-time curve (AUC0-inf, AUC0-t)
         •   Peak exposure (Cmax)
         •   Time to peak exposure (Tmax)
         •   Lag-time (tlag) for modified-release products, if present
         •   Terminal elimination half-life
         •   Other relevant pharmacokinetic parameters

   Individual subject measurements, as well as summary statistics (e.g., group averages, standard
   deviations, coefficients of variation) should be reported. An equivalence approach is
   5
       Regulations on labeling requirements for a drug product submitted in an NDA can be found in 21 CFR part 201.


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   recommended for food-effect BA (to make a claim of no food effects) and fed BE studies,
   analyzing data using an average criterion. Log-transformation of exposure measurements (AUC
   and Cmax ) prior to analysis is recommended. The 90 percent CI for the ratio of population
   geometric means between test and reference products should be provided for AUC0-inf, AUC0-t,
   and Cmax (see guidance for industry on Statistical Approaches to Establishing Bioequivalence).
   For IND or NDA food-effect BA studies, the fasted treatment serves as the reference. For
   ANDA fed BE studies, the RLD administered under fed condition serves as the reference
   treatment.

   The effect of food on the absorption and BA of a drug product should be described in the
   CLINICAL PHARMACOLOGY section of the labeling. In addition, the DOSAGE AND
   ADMINISTRATION section of the labeling should provide instructions for drug administration
   in relation to food based on clinical relevance (i.e., whether or not the changes in systemic
   exposure caused by co-administration with food results in safety or efficacy concerns, or when
   there is no important change in systemic exposure but there is a possibility that the drug
   substance causes GI irritation when taken without food).

   For an NDA, an absence of food effect on BA is not established if the 90 percent CI for the ratio
   of population geometric means between fed and fasted treatments, based on log-transformed
   data, is not contained in the equivalence limits of 80-125 percent for either AUC0-inf (AUC0-t
   when appropriate) or Cmax. When the 90 percent CI fails to meet the limits of 80-125 percent,
   the sponsor should provide specific recommendations on the clinical significance of the food
   effect based on what is known from the total clinical database about dose-response (exposure-
   response) and/or pharmacokinetic-pharmacodynamic relationships of the drug under study. The
   clinical relevance of any difference in Tmax and tlag should also be indicated by the sponsor. The
   results of the food-effect BA study should be reported factually in the CLINICAL
   PHARMACOLOGY section of the labeling and should form the basis for making label
   recommendations (e.g., take only on an empty stomach) in the DOSAGE AND
   ADMINISTRATION section of the labeling. The following are examples of language for the
   package insert:

          A food-effect study involving administration of [the drug product] to healthy volunteers
          under fasting conditions and with a high-fat meal indicated that the Cmax and AUC were
          increased 57% and 45%, respectively, under fed conditions. This increase in exposure
          can be clinically significant, and therefore [the drug] should be taken only on an empty
          stomach (1 hour before or 2 hours after a meal)

          A food-effect study involving administration of [the drug product] to healthy volunteers
          under fasting conditions and with a high-fat meal indicated that the Cmax was decreased
          15% while the AUC remained unchanged. This decrease in exposure is not clinically
          significant, and therefore [the drug] could be taken without regards to meals.

   An absence of food effect on BA is indicated when the 90 percent CI for the ratio of population
   geometric means between fed and fasted treatments, based on log-transformed data, is contained
   in the equivalence limits of 80-125 percent for AUC0-inf (AUC0-t when appropriate) and Cmax. In
   this case, a sponsor can make a specific claim in the CLINICAL PHARMACOLOGY or
   DOSAGE AND ADMINISTRATION section of the label that no food effect on BA is expected


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   provided that the Tmax differences between the fasted and fed treatments are not clinically
   relevant. The following is an example of language for the package insert:

          The Cmax and AUC data from a food-effect study involving administration of [the drug
          product] to healthy volunteers under fasting conditions and with a high-fat meal indicated
          that exposure to the drug is not affected by food. Therefore, [the drug product] may be
          taken without regard to meals.

   For an ANDA, BE of a test product to the RLD product under fed conditions is concluded
   when the 90 percent CI for the ratio of population geometric means between the test and RLD
   product, based on log-transformed data, is contained in the BE limits of 80-125 percent for AUC
   and Cmax. Although no criterion applies to Tmax, the Tmax values for the test and reference
   products are expected to be comparable based on clinical relevance. The conclusion of BE under
   fed conditions indicates that with regard to food, the language in the package insert of the test
   product can be the same as the reference product.


   VI.    OTHER CONSIDERATIONS

          A.      Sprinkles

   In NDAs, the labeling of certain drug products (e.g., controlled-release capsules containing
   beads) can recommend that the product be sprinkled on soft foods, such as applesauce, and
   swallowed without chewing. For the labeling to indicate that the drug product can be sprinkled
   on soft foods, additional in vivo relative BA studies should be performed by sprinkling the
   product on the soft foods to be listed in the labeling (test treatment) and comparing it to the
   product administered in the intact form (reference treatment), then administering both on an
   empty stomach.

   In ANDAs, BE of the test to the RLD is demonstrated in a single dose crossover study. Both
   treatments should be sprinkled on one of the soft foods mentioned in the labeling, usually
   applesauce. The BE data should be analyzed using average BE and the 90 percent CI criteria
   should be used to declare BE. If there are questions about other foods, the design, or the analysis
   of such BE studies, the sponsors and/or applicants should contact the Office of Generic Drugs.

          B.      Special Vehicles

   For NDAs, the labeling for certain oral solution products (e.g., cyclosporine oral solution,
   modified) recommends that the solution be mixed with a beverage prior to administration. The
   BA of these products can change when mixed with different beverages due to the formation of
   complex mixtures and other physical-chemical and/or physiological factors. NDA sponsors
   should contact the Office of Clinical Pharmacology and Biopharmaceutics to determine what
   data should be submitted to support labeling.

   In ANDAs, BE of the test to the RLD is demonstrated in a single-dose crossover study. Both
   treatments should be mixed with one of the beverages mentioned in the labeling. Sponsors


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   should provide evidence that BE differences would not be expected from the use of other listed
   vehicles. The BE data should be analyzed using average BE, and the 90 percent CI criteria
   should be used to declare BE. If there are questions about other vehicles, or the design or
   analysis of such BE studies, the sponsors and/or applicants should contact the Office of Generic
   Drugs.




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                                   EXHIBIT 3
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                                   EXHIBIT 4
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

  JAZZ PHARMACEUTICALS IRELAND,
  LIMITED,

                         Plaintiffs,
                                                        Civil Action No. 21-14271 (SRC)(JSA)
  v.                                                    Civil Action No. 22-2773 (SRC)(JSA)
                                                        Civil Action No. 23-329 (SRC)(JSA)
  LUPIN INC. and LUPIN                                  (CONSOLIDATED)
  PHARMACEUTICALS, INC.,
                                                        (Filed Electronically)
                         Defendants.



               DECLARATION OF PANAYIOTIS P. CONSTANTINIDES, PH.D.



   I, Panayiotis P. Constantinides, declare and state as follows:

   I.     Introduction

          1.      My name is Panayiotis P. Constantinides, and I have been retained by

   McGuireWoods LLP, counsel for Defendants Lupin Inc. and Lupin Pharmaceuticals, Inc.

   (collectively, “Lupin”), in the above-captioned matter to provide a technical overview of

   pharmacokinetics as it relates to oral drug administration.

          2.      I have personal knowledge of the facts contained in this Declaration, and, if called

   as a witness, I could and would testify competently thereto.

          3.      The technical overview contained in this Declaration is based on my years of

   education, research, and experience, as well as my investigation and study of the cited materials

   (referenced below).




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   II.     Qualifications

           4.      I am an expert in the fields of drug delivery and development, and in particular,

   pharmaceutical formulations. A summary of my qualifications and credentials is summarized

   below and is set forth more fully in my current Curriculum Vitae (Exhibit 1).

           5.      I received a University Diploma in Chemistry from the National and Kapodistrian

   University of Greece in Athens, Greece in 1977. From there, I attended Brown University, where

   I received a Ph.D. in Biochemistry (physical) in 1983. After that, I pursued a Postdoctoral

   Fellowship in Pharmacology and Cancer Research at Yale University, which I completed in 1985,

   and continued as an Associate Research Scientist there for two years.

           6.      In 1987, I joined the biotech and pharmaceutical industries and progressed through

   a number of research and development positions of increasing responsibility with small biotech

   and    large   pharmaceutical    companies,     including    SmithKline    Pharmaceuticals     (now

   GlaxoSmithKline) and Abbott Laboratories (working in the Pharmaceutical Products Division).

           7.      In 2004, I founded Biopharmaceutical & Drug Delivery Consulting, LLC, in

   Gurnee, Illinois, serving as Owner/President, providing consulting services to the biotech and

   pharmaceutical industries, and serving as an expert witness in pharmaceutical patent and breach

   of contract litigations.

           8.      In addition to my industrial appointments, I have held adjunct faculty positions with

   Roosevelt University, School of Pharmacy, Department of Biopharmaceutical Sciences, in

   Schaumburg, Illinois, the University of Washington, Department of Pharmaceutics, in Seattle,

   Washington, and the University of Tennessee, Department of Biochemistry, in Knoxville,

   Tennessee.




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          9.      The areas of my research and experience when I was employed by various biotech

   and pharmaceutical companies, and as an independent consultant, include oral, parenteral, and

   topical drug delivery systems and formulations of New Molecular Entities (NMEs), as well as

   reformulations of same, and product line extensions of approved/marketed drugs, and biologics

   (particularly peptide and protein therapeutics).

          10.     My product development experience with formulation technologies and dosage

   forms of both water-soluble and poorly soluble drugs includes injectable ready to use solutions,

   suspensions, liposomes, emulsions, nanoparticles, as well as lyophilized powders for

   reconstitution, oral liquid, semi-solid and solid dosage forms (immediate and sustained/controlled

   release), self-emulsifying drug delivery systems, solid dispersions, and topical solutions,

   ointments, creams, foams, and gels.

          11.     With reference to oral formulation development, my involvement over the years

   has included assessing formulation physical/chemical stability and in vitro dissolution in simulated

   gastric fluid (SGF), as well as simulated fasted and fed state intestinal fluids. Included within my

   research and development responsibilities and as a consultant are oral absorption studies in animals

   (rodents, dogs, mini-pigs, and primates) and in humans to determine pharmacokinetic (PK)

   parameters and oral bioavailability, and food effects on these PK parameters.

          12.     I have also been involved in processing and manufacturing aspects of drug

   formulations, including manufacturing clinical trial material (CTM) batches, in vitro

   physicochemical characterization, and correlation to in vivo performance. I have further been

   involved in formulation strategies to address physical and chemical stability challenges with the

   API (Active Pharmaceutical Ingredient) during processing and upon storage, as well as in vivo




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   stability, such as pH-dependent and enzymatic degradation, particularly in the harsh environment

   of the gastrointestinal (GI) tract.

           13.     My expertise also extends to functional excipient development and qualification,

   including novel excipients for pharmaceutical development, and new as well as non-traditional

   uses of existing pharmaceutical excipients.

           14.     As set forth in more detail in my accompanying Curriculum Vitae, I have thirty-six

   (36) years of experience related to the development of pharmaceutical products in multiple disease

   indications with an in-depth understanding of drug formulation and delivery.

           15.     Beyond formulation development, my responsibilities over the years as Project

   Leader, Head of Research and Development, and consultant, have included analytical method

   development and validation, manufacturing and technology transfer, and in-process and finished

   product tests according to set specifications, including stability testing under ICH guidelines.

           16.     I have also been responsible for assessing, selecting, and applying enabling drug

   delivery technologies based on the physicochemical and biopharmaceutical properties of the API.

   Development and implementation of Targeted Product Profile (TPP) of New Molecular Entities

   and Product Line Extensions has been a key area of my involvement and responsibility.

           17.     With reference to the API, I have experience with various inorganic and organic

   salts, drug conjugates as well as non-covalent complexes and ion-pairs with lipid and polymeric

   excipients. My drug development experience, beyond branded drug products, includes generic

   drugs, particularly complex generics, as well as branded generics, also known as super generics.

           18.     My work both as a full-time employee with various biotech/pharma companies and

   as a consultant has contributed to several drug products currently on the market and in advanced

   clinical development.



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          19.     I have authored/co-authored over 50 original research papers, review articles, book

   chapters, commentaries, and interview publications, and have delivered more than 100 invited

   talks worldwide in the areas of drug delivery and formulation development of small molecules and

   peptide/protein therapeutics, traditional and non-traditional uses of pharmaceutical excipients,

   pharmaceutical nanotechnology, and research and development strategy and collaboration models.

   I have also been an editorial board member and referee for multiple peer reviewed journals.

          20.     I am listed as an inventor/co-inventor on 17 U.S. patents, 4 European patents, 17

   WO (World Intellectual Property) patents, and several additional patent applications.

          21.     I have received numerous awards and honors, including the Browne-Coxe

   Postdoctoral Fellowship at Yale University School of Medicine.

          22.     Additionally, I was elected an AAPS Fellow in 2010 and I have held various

   leadership roles within AAPS including Chair of the Formulation Design and Development section

   and Chair of the Lipid-Based Drug Delivery Systems and Nanotechnology Focus Groups.

          23.     In recognition of my work with pharmaceutical excipients, I received the 2021

   IPEC Foundation Henk de Jong Industrial Award for Outstanding Achievements in Excipient

   Research and Innovation.

   III.   Technical Overview

          24.     Pharmacokinetics (PK) is the investigation of drug absorption, distribution,

   metabolism, and excretion, commonly referred to as “ADME.” (Exhibit 2).

          25.     In the case of oral absorption, a drug is absorbed through the intestinal mucosa to

   reach its site of action. The mechanisms by which oral drugs are absorbed are by simple (passive)

   diffusion, active transport, facilitated diffusion, and endocytosis.




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           26.     “Bioavailability” (BA) is defined as the fraction of unchanged drug that enters

   systemic circulation after administration that becomes available to produce the desired effect.

           27.     Intravenous (I.V.) administration of a drug provides 100% bioavailability. Oral

   administration usually provides less bioavailability than I.V. administration. This can be expressed

   as % BA = AUC oral / AUC I.V. x 100, where “AUC” is the area under the plasma concentration

   vs. time curve. (Exhibit 2).

           28.     Both drug/formulation and physiological factors can affect pharmacokinetic

   parameters, including the AUC and “Cmax,” which is the maximum (peak) concentration in the

   plasma concentration vs. time curve.

           29.     Drug/formulation factors include the molecular weight of the drug, degree of drug

   dissolution from the formulation/dosage (which follows the order: solution > suspension > capsule

   > tablet), chemical instability in gastric pH, and first pass metabolism, which reduces oral

   bioavailability. (Exhibit 3).

           30.     Physiological factors include blood flow to absorption site (greater blood flow

   increases bioavailability), surface area available for absorption, rate of gastric emptying (rapid

   gastric emptying leads to fast transit to intestine), and gastrointestinal (GI) pH. (Exhibit 2, 3).

           31.     “Bioequivalence” (BE) generally is defined as two drugs/drug products showing

   comparable bioavailability at similar times (Tmax) to achieve peak blood concentration (Cmax).

   U.S. Patent No. 11,426,373 (“the ’373 patent”) defines bioequivalence as:

           a formulation and/or pharmaceutical composition that is therapeutically equivalent
           to a reference product (e.g. Xyrem®) when given under the same conditions in a
           pharmacokinetic evaluation conforming to FDA Guidance on Bioequivalence
           Testing; regardless of biopharmaceutical class. A value that is “bioequivalent”, as
           used herein, is meant to refer to a pharmacokinetic value (such as the Cmax or AUC
           of a formulation described herein) that exhibits substantially similar
           pharmacokinetic profiles or therapeutic effects. Bioequivalence may be
           demonstrated through several in vivo and in vitro methods. These methods may


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          include, for example, pharmacokinetic, pharmacodynamic, clinical and in vitro
          studies. In some embodiments, bioequivalence may be demonstrated using any
          suitable pharmacokinetic measures or combination of pharmacokinetic measures
          known in the art, including loading dose, steady-state dose, initial or steady-state
          concentration of drug, biological half-life, elimination rate, area under the curve
          (AUC), clearance, the peak blood or plasma concentration (Cmax), time to peak
          concentration (Tmax), bioavailability and potency. In some embodiments, a value
          is bioequivalent to a reference pharmacokinetic value when the geometric mean of
          the AUC and/or the Cmax is between 80% and 125% (e.g., at 90% confidence
          interval) of the reference pharmacokinetic value. (Exhibit 4).

          32.     For a clinical in vivo bioequivalence assessment, it is imperative that the dosing

   regimen (i.e., the amount, time, and number of times a specific quantity of the drug is

   administered), is clearly defined and is the same for the two drugs/drug products. Other study

   design recommendations can be found in the FDA Guidance for Industry. (Exhibit 5).

          33.     “Food effect” on drug absorption is very important in drug development. Food

   effect can be described as the effect of food on the rate and extent of absorption of a drug when

   the drug product is administered shortly after a meal (fed conditions), as compared to

   administration under fasted conditions.” (Exhibit 3). It can be mediated by various mechanisms

   that include solubility enhancement, change in the GI pH and mobility, delayed stomach emptying,

   increased bile salt concentration, and direct interactions with the drug. (Exhibit 3).

          34.     There are three scenarios involving the effect of food on drug absorption: (a) no

   food effect, where the same AUC and Cmax values are obtained for the fasted and fed states; (b)

   positive food effect, where the AUC and Cmax values for the fed state are greater than the

   corresponding values for the fasted state; and (c) negative food effect, where the Cmax and AUC

   values for the fed state are lower than the corresponding values for the fasted state.

          35.     It should also be emphasized that variability is generally observed between fasted

   and fed states, and can be contributed to various factors, including: (a) anatomical and

   physiological factors (GI transit time, mobility, pH, fluid volume and composition, plasma


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   proteins, transporters); (b) demographical and genetic factors (age, height, weight, gender,

   genetics, disease); (c) drug specific factors (molecular weight, charge, solubility and partition

   coefficient, dosing frequency, volume of distribution, bioavailability, particle size, surface area,

   protein binding), and (d) formulation factors (immediate vs. modified release, liquid vs. solid

   dosage forms, excipients present that can enhance drug solubility and/or intestinal mucosa

   permeability). (Exhibit 3).

           36.     Prediction of whether an orally administered drug product will show a food effect

   in humans can be challenging. To this end, recently developed pharmacokinetic modeling tools

   can be used to predict food effect in humans. One such modeling tool is the Physiologically Based

   Pharmacokinetic (PBPK) model, which integrates in silico, in vitro, and preclinical in vivo data.

   (Exhibit 3).

           37.     The Examples from the ’373 patent describe several different clinical

   bioequivalence evaluations. Example 2.1 compares a mixed-salt GHB formulation of Formulation

   “O” with Xyrem® (called Formulation “X”). According to the patent, “[t]he study was compliant

   with the FDA guidance for food effect studies (‘Guidance for Industry: Food-Effect bioavailability

   and Fed Bioequivalence Studies’, FDA December 2002), incorporated herein by reference in its

   entirety.” (Exhibit 4).

           38.     Under this guidance, as described above, the dosing regimen (i.e., the amount, time,

   and number of times a specific quantity of the drug is administered), must be clearly defined and

   should be the same for the two drugs/drug products.

           39.     With respect to the timing of doses for food effect studies:

           Fasted Treatments: Following an overnight fast of at least 10 hours, subjects
           should be administered the drug product with 240 mL (8 fluid ounces) of water. No
           food should be allowed for at least 4 hours post-dose. Water can be allowed as



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          desired except for one hour before and after drug administration. Subjects should
          receive standardized meals scheduled at the same time in each period of the study.

          Fed Treatments: Following an overnight fast of at least 10 hours, subjects should
          start the recommended meal 30 minutes prior to administration of the drug product.
          Study subjects should eat this meal in 30 minutes or less; however, the drug product
          should be administered 30 minutes after start of the meal. The drug product should
          be administered with 240 mL (8 fluid ounces) of water. No food should be allowed
          for at least 4 hours post-dose. Water can be allowed as desired except for one hour
          before and after drug administration. Subjects should receive standardized meals
          scheduled at the same time in each period of the study. (Exhibit 5).

          40.     Thus, there are directions for the timing of doses in a food effect study. For studies

   attempting to compare the effect of food on one pharmaceutical composition relative to another,

   the study must be performed on each under the same conditions and timelines.

          41.     For example, if the fed dosing regimen for Drug Product A is one 10-mg drug dose

   thirty minutes after eating, then Drug Product B must also be dosed as one 10-mg drug dose thirty

   minutes after eating.

          42.     If Drug Product A was dosed thirty minutes after eating and Drug Product B was

   dosed five hours after eating, a proper comparison of the relative effect of food on the two drug

   products could not be made. The same is true of splitting a dosage amount into separate aliquots.

          43.     For example, if Drug Product A is dosed as one 10-mg drug dose thirty minutes

   after eating, and Drug Product B is dosed as two 5-mg drug doses (one 30 minutes after eating and

   the next 2 hours after eating), a proper comparison of the relative effect of food on the two drug

   products could not made.

          44.     In sum, a comparison of the food effect on two different drug products requires that

   they be tested under the same conditions with respect to dosage and timing of administration.




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   I declare under penalty of perjury the foregoing is true and correct.



          Executed this 4th day of October, 2023.




                                                 ____________________________________
                                                       Panayiotis P. Constantinides, Ph.D




                                                 EXHIBITS

   1. Curriculum Vitae of Panayiotis P. Constantinides, Ph.D

   2. Leslie Z. Benet and Parnian Zia-Amiphosseini. Basic Principles of Pharmacokinetics.
      Toxicologic Pathology (1995), Vol. 23: 115-123.

   3. Tycho Heimbach, Binfeng Xia, Tsu-han Lin and Handan He. Case Studies for Practical Food
      Effect Assessments across BCS/BDDCS Class Compounds using In Silico, In Vitro and
      Preclinical In Vivo Data. AAPSJ (2013), Vol. 15:143-158.

   4. U.S. Patent No. 11,426,373.

   5. FDA Guidance for Industry, Food-Effect Bioavailability and Fed Bioequivalence Studies,
      December 2002.




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                                   EXHIBIT 1
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                 CURRICULUM VITAE OF PANAYIOTIS P. CONSTANTINIDES
                                 95 Berkshire Court, Gurnee, IL 60031- 6226, USA
Office : + 1 (847) 599-9496 ; Mobile: +1 (224) 430-0383; E-mail: constantinpp@aol.com; ppconstantinides@bpddc.com

                                           EXECUTIVE SUMMARY
Career Objectives: Expand therapeutic utility and market value of small molecule and macromolecule (biologics)
drugs, approved and New Molecular Entities (NMEs), from innovative drug formulation and delivery technology,
product development and commercialization, life-cycle management, strategic partnerships and business development
perspectives.

Education: University Diploma/B.Sc. Chemistry, 1977 (Athens University), Ph.D., Biochemistry, 1983 (Brown University),
Postdoctoral Training, Pharmacology/Cancer Research, 1983-1985 (Yale University).

Industrial Experience: Big Pharma (8 years), Generic/Specialty Pharma/Drug Delivery/Biotech (9 years); consultant (18 years)..
Experience in both pharmaceutical and nutraceutical development. Dosage Forms: parenteral (intravenous solutions, liposomes,
micelles, emulsions, micro-/nanoparticles, cyclodextrins; liquid and lyophilized formulations); oral hard and soft gelatin capsules
(liquid, suspension, semi-solid fill); immediate and controlled release tablets and capsules; nasal sprays and topical formulations
(foams, gels, creams, ointments). Drug Molecules: Small molecule and macromolecules (peptides, proteins and vaccines); BCS
II/IV and BCS III molecules; approved/marketed drugs and New Molecular Entities (NMEs). Therapeutic Areas: Cancer, Immune
System, Cardiovascular, CNS, GI, Infectious Diseases, Endocrinology/Metabolic, Inflammation and Tissue Repair. Regulatory
Filings: IND, ANDA, 505 (b) (2), NDA.

Academic Experience: Teaching and Research Assistant, Postdoctoral Fellow, Associate Research Scientist, Adjunct Assistant
Professor of Biochemistry, Adjunct Associate Professor of Pharmaceutics, Professor in-Charge/Instructor of special short courses,
Affiliate Associate Professor and Professor of Biopharmaceutical Sciences. Delivered lectures in physical chemistry, biochemistry,
pharmaceutics and drug delivery, biotechnology, nanotechnology, entrepreneurship, and R&D management. Advisor to academic
inventors and founders of university spin-off companies.

Management Experience: Scientific leader and seasoned executive and experienced consultant with excellent organization,
interpersonal and communication skills. Results oriented, resourceful and able to interface with the right people/groups both
internally and externally to achieve timely results. Timely and focused planning and execution with problem-solving skills and
assertiveness in decision making. Responsibilities: Founder Owner/President, Biopharmaceutical & Drug Delivery Consulting,
LLC, Vice President of R&D, Director of Research, Section Head, Team Leader/Project Manager in the areas of Discovery
Research, Technology and Intellectual Property Development and Management, and Product Development (formulation and
method development and validation, scale-up and manufacturing and technology transfer). Developed and managed research and
development collaborations and with universities, big pharma, biotech/drug delivery companies, contract research and contract
development and manufacturing organizations.

Publications/Patents : 30 original research papers, 1 Commentary, 13 review articles/book chapters, 2 theme issues editor, 3
interview publications, 1 professional development article, 20 poster presentations, 103 invited talks, 17 US Patents (6,008,192;
6,458,373; 6,479,540; 6,660,286; 6,667,048; 8,241,664;8,481,084; 8,492,369;8,536,650; 8,778,916; 8,778,917, 8,828,428,
10,245,273; 10,307,441, 10,463,689, 11,179,402, 11,179, 403), 4 European Patents (1871384,1460992, 2056835,2167069), 17 WO
patents (93/02664, 93/02665, 94/08603, 94/08605, 94/08610, 94/19000, 94/19001, 94/19003, 95/08986, 98/40051, 03/047494,
03/047493, 03/057128, 03/057193, 06/113505, 07/117556A2,15/100406), 5 US Patent Applications (US20080317844,
US2007/0224293/ 0231412,/0281025, US2011/0086069) and 2 other (AU 02/9482601 and US 03/087954). Editorial board
member and referee for peer-reviewed journals and invited speaker in 103 presentations at national and international scientific and
business meetings. Since 2004, serves as Expert Witness (consulting and testifying expert) in patent litigation and other
pharmaceutical cases.

Professional Associations and Honors: American Chemical Society, Controlled Release Society and American Association of
Pharmaceutical Scientists (AAPS). AAPS Fellow, Past Chair of the Formulation Design and Development (FDD) Section, the
Lipid-Based Drug Delivery Systems Focus Group and the Nanotechnology Focus Group of AAPS. Member spotlight in the April
2015 issue of AAPS News Magazine. Organizer/Chair/Moderator/Speaker, national and international biomedical, pharmaceutical
and nanotechnology conferences, special workshops and short courses. Advisory Board member of university spin-offs and
contract development and manufacturing organizations. Editor, AAPS Open journal. Recipient of various awards and recognitions.




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                             EDUCATION AND WORK EXPERIENCE

Education

1983 - 1985        Postdoctoral Fellowship, Pharmacology and Cancer Research, Yale University,
                   Department of Pharmacology and Cancer Center , School of Medicine, New Haven,
                   Connecticut.

1977 - 1983        Ph.D, Biochemistry (Physical), Brown University, Chemistry Department Providence,
                   Rhode Island. Thesis Title: "Physical Properties of Long-Chain Fatty Acyl-CoAs."
                   Advisor: Professor Joseph M. Steim.

1973 - 1977        University Diploma (B.S.), Chemistry, National and Kapodistrian University of
                   Greece, Athens, Greece.

Research and Development Interests/Areas of Involvement

                   Preformulation : API salt selection, cocrystal and polymorph screening, solubility studies
                   in aqueous solutions as a function of pH and in biorelevant media, API excipient
                   compatibility studies.

                   Parenteral drug development: small molecules and biologics (peptides/proteins, vaccines,
                   nucleic acids) using liquid and lyophilized formulations, solutions, suspensions and
                   nanosuspensions, liposomes, micelles, emulsions, and other lipid and polymeric
                   nanoparticles.

                   Topical drug development: solutions, liposomes, emulsions, creams, gels, foams,
                   ointments shampoos and lotions.

                   Oral formulation development of BCS II, III and IV, small molecules and
                   macromolecules (peptides/proteins) using enabling drug delivery technologies to improve
                   drug solubility and/or intestinal permeability. Oral Dosage Forms: liquid, aqueous and
                   non-aqueous (solutions, suspensions, emulsions, self-emulsifying drug delivery
                   systems, such as SEDDS/SMEDDS/SNEDDS), semi-solid using high m.p. lipid
                   excipients filled into a hard or soft gelatin capsules; solid: tablets and capsules,
                   immediate, sustained and controlled release using multiparticulate dosage forms
                   such as granules and pellets.

                   Early formulation development with drug discovery compounds to improve drug
                   solubility and/or permeability limitations for preclinical toxicology and Pharmacokinetic
                   (PK) Studies and Proof-of-Concept (POC) studies in humans.

                   Life cycle management strategies and product line extensions with marketed drugs.

                   Particle Engineering in API and Drug Product Design; Combination drug products.

                   Pharmaceutical applications of nanotechnology.

                   Sustained and Controlled release technologies and dosage forms.

                   Generic drug development, particularly with branded generics and 505 (b) (2) filing.

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                   Processing and manufacturing aspects of drug formulations (process development,
                   validation and technology transfer), test methods and specifications and strategies to
                   address physical and chemical stability issues for the drug substance and drug product.

                   Functional excipient development and qualification (DMF Type IV); novel excipients for
                   pharmaceutical development and new uses of pharmaceutical excipients.

                   Lipid- and/or polymer-based micro- and nanoparticulate systems for targeted drug
                   delivery and controlled release.

                   Development of lipidic and polymeric drug complexes and conjugates for oral and
                   parenteral administration.

                   Quality-by-Design (QbD) applications in drug formulation and process development and
                   optimization.

Experience

Industrial Research & Development

2004 - present     Founder and Principal/President, Biopharmaceutical & Drug Delivery Consulting,
                   LLC Gurnee, Illinois (website: www.bpddc.com)

                   Areas of Consulting: Drug product and drug delivery technology development.
                   Chemistry, Manufacturing and Controls (CMC) aspects for small molecule and
                   macromolecule drugs (peptides, proteins, vaccines and nucleic acids). Reformulations of
                   marketed drugs and product line extensions. Scientific, strategic and business assessment
                   (due diligence) of drug product candidates and delivery technologies along with in-/out-
                   licensing recommendations. Identifying, structuring and executing milestone-driven
                   research and development collaborations with corporate partners. Biomedical
                   applications of nanomaterials and nanoparticles. Development and qualification of novel
                   excipients and/or new uses of excipients for pharmaceutical development (DMF Type
                   IV). Intellectual property development strategies and assistance with patent filings and
                   expert witness in patent litigation cases. Development and teaching of short courses for
                   industrial and academic parties.

                   Clients: biotech and pharmaceutical companies, drug discovery and development
                   companies, university spin-offs and start-ups, generic/specialty pharma, animal health
                   companies, nutraceutical, cosmeceutical, chemical and nanotechnology companies,
                   excipient vendors, contract development and manufacturing organizations (CDMOs),
                   academic institutions, management consulting companies, venture capital and other
                   investment firms, patent law firms and expert witness service organizations.

                   Therapeutic Areas : Cancer, Cardiovascular, CNS, Endocrinology, Infectious Diseases,
                   Inflammation and Tissue Repair, Metabolic Disorders, Cell Therapies and other.

                   Dosage forms: parenteral/intravenous, small and large volume parenteral solutions,
                   suspensions, emulsions, lipid and polymeric micro- and nanoparticles; polymeric
                   microspheres, amorphous solid dispersions, oral solid (immediate and controlled release),
                   semi-solid and liquid formulations; topical solutions, liposomes, emulsions, gels, creams,
                   foams and ointments.

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            Current and Past Projects (working with internal R&D and/or external CROs/CMOs)

            Assists several early stage drug discovery companies with diverse product portfolios and
            targeted disease areas on the execution of their business plan and provides technical input
            and direction on product development particularly as related to drug delivery,
            formulation and analytical development, in vitro/ in vivo performance evaluations,
            Chemistry, Manufacturing and Controls (CMC) for regulatory compliance and filings.

            Working with a virtual company since 2004, intimately assisted with the development of
            a proprietary oral lipid-based technology for lymphatic delivery and absorption from the
            discovery phase to its progression to advanced clinical development and NDA
            submission of a drug that is marketed in USA as injectable or topical drug product. This
            new oral drug product (softgel) was approved by the FDA in 2019 and granted 3-year
            market exclusivity. Co-inventor of the company’s intellectual property portfolio and
            contributor to patent filing and prosecution.

            Provides technical guidance to a pharmaceutical company on the development of a
            combination parenteral drug product.

            Assists specialty pharma companies on the CMC aspects of generic and novel
            formulations of marketed drugs for ANDA and 505(b) (2) filings.

            Provided strategic and technical input to a manufacturer of capsule dosage forms using
            lipid-based systems.

            Provided strategic, technical and business development consulting to a vendor of
            pharmaceutical excipients.

            Serves as a consultant and advisor on chemistry, formulation, manufacturing and controls
            (CMC) aspects of new molecule entities developed by academic institutions and funded
            by NIH SBIR/STTR grants.

            Working with patent attorneys, assists client companies as a technical expert and/or
            inventor with the drafting of patent applications, responses to patent office actions and
            other patent prosecution aspects.

            Working with patent law firms and expert witness service organizations, serves as expert
            witness in patent litigation, breach of contract and other cases, on behalf of the
            plaintiff(s) or defendant(s) dealing with pharmaceutical formulations, and drug delivery
            technologies and manufacturing of dosage forms, for injectable, oral and topical drug
            products. oral : liquid, aqueous and non-aqueous (solutions, suspensions, emulsions, self-
            emulsifying drug delivery systems SEDDS/SMEDDS/SNEDDS) and where the aqueous
            oral liquids are filled into vials or bottles and the non-aqueous liquids into a hard or soft
            gelatin capsule; semi-solid using high m.p. lipid excipients and filled into a hard or soft
            gelatin capsule; solid: tablets and capsules, immediate, sustained and controlled release,
            multiparticulate dosage forms such as granules and pellets; injectables: solutions, lipid
            nanoparticles, micro- and nanodispersions (liposomes, emulsions and nanoemulsions,
            suspensions and nanosuspensions, polymeric microspheres), lyophilized powders for
            reconstitution; topical: solutions, creams, gels, foams and ointments.
            Number of expert witness cases as of February 2023: 18 (3 are ongoing). Testified in 7
            depositions, 1 arbitration hearing and 1 trial.

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               Provides on-site training seminars to interested parties on delivery and formulation
               development aspects of challenging molecules (small molecules and peptides) for oral,
               parenteral and topical dosage forms.

               Provided strategic and scientific direction to an established chemical company on several
               healthcare applications of a GRAS nanomaterial, particularly in the areas of infectious
               diseases and metabolic disorders.

               Working with internal and external groups and senior management, timely and
               effectively addressed formulation development, physical/chemical stability and scale up
               and manufacturing issues with proprietary new chemical entities, further advancing their
               clinical development.

               Prepared and submitted to senior management of a client company, a technical
               assessment of an outside developed formulation/drug delivery technology as an in-
               licensing opportunity.

               Assisted a contract research organization that provides analytical and formulation support
               services with strategic and technical guidance.

               Assisted a large diversified company on strategic plans and provided technical direction
               on product development and commercialization aspects of a new drug delivery
               technology.

               Assisted an investment firm in their due diligence process and acquisition of a privately
               held biopharma company.

               Developed and served as professor in-charge of a new short course for an academic
               institution on the Formulation and Drug Delivery Applications of Nanoparticles.

               Developed and served as instructor of a Biotechnology Laboratory Operational
               Management short course offered by an academic institution.

2017-present   Smart Health Activator – member of the Ops Team (Operations Team). A non-profit
               organization advancing commercialization of biotechnology being developed by Midwest
               Universities. Assists on due diligence matters for new molecular entities, formulation,
               delivery and development aspects.

2003 –2004     Vice President, Research and Development, Morton Grove Pharmaceuticals,
               Vernon Hills, Illinois. Reported directly to the President & CEO.

               Led all internal and external product development activities in the areas of generic oral
               liquids, suspensions, syrups, inhalation solutions, nasal sprays and topical formulations
               (shampoos, lotions). Direct reports included: formulation and analytical method
               development and validation, process and instrument/computer validation.

               Major Accomplishment: Instrumental in revamping the company’s R&D efforts and
               building the team.




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2001- 2003     Vice President, Research & Development (1/01-7/02) and Consultant (8/02-12/02)
               DOR BioPharma, Inc (formerly ENDOREX Corporation), Lake Forest, Illinois.
               Reported directly to the President & CEO.

               Major Accomplishments:

               Expanded the company’s R&D team including outside consultants.

               Streamlined resources and focused R&D activities of the company.

               Managed R&D collaborations with two major pharmaceutical companies.

               Managed contract manufacturing, stability testing and regulatory filings of OrBec (oral
               beclomethasone dipropionate, IR and CR tablet) a Phase II/III drug product for Graft-vs-
               Host Disease (GVHD) and Grohn’s disease.

               Led company’s vaccine program (tetanus and influenza) using lipid nanoparticle and
               microparticle   formulation approaches along animal immunization studies upon
               subcutaneous, peroral and nasal administration.

               Expanded company’s drug delivery platform and intellectual property portfolio. Created
               3 new technology platforms: LPM (lipid polymer micelles) for enhancing the intestinal
               absorption of water-soluble drugs/peptides and LPE/PLP (lipid polymer
               emulsions/polymer lipid particles) for enhancing the solubilization and oral absorption of
               water-insoluble drugs. Preclinical proof-of-concept of enhanced oral bioavailability has
               been demonstrated with leuprolide and paclitaxel, respectively.

               Primary inventor of four WO patents and presented company’s technologies and product
               portfolio at six national/international meetings and to business and financial
               communities.

               In July of 2002 after the company adapted the implementation of a major restructuring
               and downsizing plan, served as a consultant of Oradel Systems Inc. a subsidiary of DOR
               BioPharma to further develop and/or out license these technologies to big Pharma or
               other drug delivery companies.

1997-2000      Director of Research, SONUS Pharmaceuticals, Bothell, Washington. Reported
               directly to the President & CEO.

               Major Accomplishments:

               Established the company’s drug delivery program and expanded its technology base and
               intellectual property portfolio. Created and developed the company’s TOCOSOL drug
               delivery technology.

               Leading a team of scientists, developed a novel, stable, filter-sterilizable and efficacious
               injectable nanoemulsion of paclitaxel (TOCOSOL-Paclitaxel) from idea inception to
               scale up, preclinical evaluation and initiation of clinical studies.

               Made significant contributions to the company’s efforts to build research and
               development collaborations with big pharmaceutical companies.

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1995-1997      Section Head, Formulation Development, Pharmaceutical and Analytical Research
               and Development, Pharmaceutical Products Division, Abbott Laboratories, North
               Chicago, Illinois.

               Major Accomplishments:

               Led project activities on formulation development, scale-up and manufacturing of oral
               liquid solutions, liquid-filled soft gelatin and semi-solid-filled hard gelatin capsule
               formulations of cyclosporine.

               Contributed to the commercialization of a generic cyclosporine formulation from
               preclinical development to clinical manufacturing and bioequivalency testing along with
               all necessary material (CMC section) for the ANDA. Gengraf® approved by the FDA on
               May 15, ’00 as cyclosporine capsules, USP (bioequivalent to Novartis Neoral).

               Led prior art search and patent filing strategy on generic cyclosporine formulations that
               resulted in 2 major patent filings. Major inventor on the Gengraf patent (US 6, 008,
               192, December 28, 1999).

               Key member of a multi-disciplinary Drug Delivery Technology Evaluation Team within
               the Formulation Center that interfaced with Corporate Licensing and Business
               Development to evaluate outside developed technologies with potential applications to
               Abbott’s compounds.

1994-1995      Senior Investigator/Team Leader, Pharmaceutical Product Development,
               Pharmaceutical Technologies, SmithKline Beecham Pharmaceuticals, King of
               Prussia, Pennsylvania.

               Major Accomplishment:

               Led a project team that developed a Phase I formulation of a water-soluble molecule
               which in preclinical studies in dogs and primates
               showed enhanced oral absorption compared to a solution formulation.

1990 -1994     Senior Investigator, Drug Delivery Department, Pharmaceutical Technologies,
               SmithKline Beecham Pharmaceuticals, King of Prussia, Pennsylvania.

               Major Accomplishments:

               Interfaced between Discovery Programs and Development Project Teams within
               SmithKline Beecham, to identify early development candidates and address pre-
               formulation, formulation development and drug delivery issues with various preclinical
               compounds, development compounds and product line extensions.

               Established a drug delivery program and a useful lipid microemulsion database using
               model and proprietary water-soluble molecules/peptides from idea inception and
               formulation development to preclinical evaluation for toxicity and oral bioavailability
               assessment.

               Creation of a strong intellectual property portfolio in the area of oral delivery of water-
               soluble molecules/peptides using microemulsions. Invented and developed (hands-on)

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               lipid microemulsion formulations that significantly improved the oral absorption of
               poorly absorbed drugs/peptides in animal models..

               Led research activities on the feasibility of liposomal and emulsion formulations to
               improve the efficacy and reduce toxicity of antitumor and antiviral drugs upon parenteral
               administration and comparison to drug solutions or suspensions.

               Provided several technical appraisals/reports on outside developed drug delivery
               systems/technologies with recommendations for potential licensing.

1988 - 1989    Project Leader/Liposome Technology Development, Lipogen Inc. Knoxville,
               Tennessee.

               Major Accomplishments :

               Provided technical and management support of a group of scientists on the development
               of a homogeneous liposome-based immunoassay which allows rapid qualitative (yes/no),
               or quantitative detection of a variety of classes of analyte i.e. therapeutic drugs in
               biological fluids (serum or urine).

               Interfaced group's activities to those of the Marketing and Quality Control departments.

                Developed a homogeneous liposome-based immunoassay for the detection and
                quantification of therapeutic drugs and other analytes in biological fluids.

1987-1988      Research Scientist and Senior Research Scientist/Formulations, Lipogen Inc.
               Knoxville, Tennessee.

               Major Accomplishments:

               Research and Development in the area of drug delivery systems using liposomes and
               other lipid-based carriers. Hands-on experience with drug-liposome formulation and
               physical characterization, lipid-antibody conjugation (immunoliposomes), design and
               formulation of phospholipid and other lipophilic prodrugs in liposomes, and stability,
               sterilization and scale-up of liposomal drugs.

               Developed a lipid admixture for the solubilization of lipophilic and other hydrophobic
               compounds that can be administered parenterally or orally.

               Liposome formulation and characterization, kinetic and thermodynamic studies of a
               homogeneous liposome-based immunoassay.

               As a principal investigator, prepared and submitted to NIH two Small Business
               Innovation Research (SBIR) Phase I grants, on a) Formulation and Antitumor Activity of
               Lipophilic Methotrexate and, b) Target-Specific Delivery of Lipophilic Anticancer
               Drugs. Both were highly rated but not approved for funding.

1976           Industrial Internship, Kyknos Canning Company, Nafplion, Greece.

               Work involved chemical analysis of canned fruits and vegetables such as acidity, solid
               content and other quality tests.

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Academic Research & Teaching

2014 – 2016     Affiliate Professor of Biopharmaceutical Sciences, Roosevelt University, College of
                Pharmacy, Schaumburg, Illinois.

                Member of the Biopharmaceutical Sciences Research Council.

2012-2013       Affiliate Associate Professor of Biopharmaceutical Sciences, Roosevelt University,
                College of Pharmacy, Schaumburg, Illinois.

                Member of the Biopharmaceutical Sciences Research Council.

2007-2009       Professor in-charge, University of Wisconsin, School of Pharmacy, Extension
                Services in Pharmacy.

                Coordinator and co-instructor of the annual short course on “Nanoparticles: Applications
                in Formulation and Drug Delivery”.

1998 - 2000     Associate Professor (Affiliate), Department of Pharmaceutics, University of
                Washington, Seattle, Washington.

                Co-instructor in a Pharmaceutical Biotechnology course and career mentor for graduate
                students. Research collaborations in drug transport and delivery.

1987- 1989      Assistant Professor (Adjunct), Biochemistry Department, University of Tenessee,
                Knoxville, Tennessee.

                Co-instructor in a physical chemistry course (graduate level). Topics covered: lipid and
                membrane dynamics, biological spectroscopy (NMR, EPR, IR and Raman) and liposome
                technology.

1985 - 1987     Associate Research Scientist, (Equivalent to Assistant Research Professor),
                Department of Pharmacology and the Comprehensive Cancer Center, Yale
                University School of Medicine, New Haven, Connecticut.

                Research focused on the interaction of anthracyclines with lipid bilayers using
                Differential Scanning Calorimetry, as well as on size characterization of liposomes using
                Sedimentation Field Flow Fractionation, Electron Microscopy and Gel-Filtration.

1983 - 1985     Postdoctoral Fellow, Department of Pharmacology, Yale University School of
                Medicine, New Haven, Connecticut.

                Reseach focused on: a) adriamycin-induced fusion of liposomes using EPR-spin-
                labelling, DSC, and Electron Microscopy; b) location of anthracyclines in lipid bilayers
                by paramagnetic quenching studies; and c) spin-trapping studies of hydroxyl and
                superoxide free radicals generated by the bioactivation of anticancer antibiotics.

1978 - 1980     Research Assistant, Brown University, Providence, Rhode Island.

                Thesis reseach on the physical properties of long-chain fatty acyl-CoAs using Surface
                Tension, Conductivity, Fluorescence and Analytical Ultracentrifuge. Early work involved
                enzymatic studies with membrane-bound acyltransferace in a cell-free system to

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                    understand how the activity of the enzyme is controlled by the physical state of the lipid
                    bilayer.

1977 - 1983         Teaching Assistant, Chemistry Department and Division of Biology and Medicine,
                    Brown University, Providence, Rhode Island.

                    Assisted in the teaching of Physical, Organic Chemistry and Biochemistry.
                    Responsibilities included lectures on concepts and techniques pertaining to laboratory
                    experiments, and preparation and supervision of laboratory sections and evaluation of
                    student progress by grade assignment.

1976-1977           Teaching Assistant, Inorganic Chemistry Department, Athens University, Athens,
                    Greece.

                    Duties included preparation and supervision of laboratory sections.

1977                Part-time Teacher in Chemistry, Saint John Institute, Limassol, Cyprus.

                    Preparation of high school students for university entrance examinations (G.C.E. level).

Special Skills
Technical           In depth-knowledge of the formulation and drug delivery science. Core competency:
                    physical chemistry and biopharmaceutics of drug delivery systems with research and
                    development expertise in lipid-based systems.

                    Product development experience (formulation, analytical and process development and
                    manufacturing) of parenteral, oral and topical formulations.

                    Working knowledge of colloid and surface chemistry techniques, spectroscopic and
                    bioanalytical methods, lipid and membrane biochemical and biophysical methodologies.

                    Computer skills : MacIntosh and IBM/PC using several programs, such as, Sigma Plot,
                    Prism, Microsoft Office (Word, Excel, Project and Power Point).

Management          Supervisory and Project Management skills. The background of people
                    supervised include: chemists, chemical engineers, biochemists, biologists and
                    pharmacists at a B.Sc, M.Sc and Ph.D levels, as well as, undergraduate and graduate
                    students in the aforementioned disciplines. Experienced in both line and matrix
                    management. Proactive and coaching management style. Results oriented with excellent
                    organization and communication skills.

                    Networking skills . Ability to interface with various levels of management and groups
                    both internally and externally and achieve results working with multiple
                    teams/disciplines.

Honors and Awards

9/73 - 6/77         Fellowship for Academic Excellence, National Fellowship Foundation of Greece.

9/84 - 9/85         Brown-Coxe Postdoctoral Fellowship, Yale University School of Medicine.



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6/85 - present   Invited reviewer of research papers and review articles published in various Biochemical,
                 Pharmaceutical and Medical Journals.

1994- present    Member of the planning committee of the Annual Industrial Pharmaceutical Research
                 and Development (June Land O' Lakes) Pharmaceutical Conference.

1997             Chair of the June ‘97 Land O’ Lakes Pharmaceutical Conference on “Challenges and
                 Prospects in the Design and Development of Oral Controlled Release Products”,
                 June 2-6, 1997, Devil’s Head Lodge-Merrimac, WI.

2002-2003        Scientific Advisory Board member of the conference on Peptide and Protein
                 Formulation Strategies for Drug Delivery and Development organized by the Institute
                 of International Research.

2003             Chair, Pre-conference Symposium on “Identifying Opportunities and Overcoming
                 Challenges in Oral Protein and Peptide Delivery” of the 2nd IIR Protein & Peptide
                 Formulation Strategies for Drug Development and Delivery, March 31- April 2, 2003,
                 Boston, MA.

2003             Invited Theme Issue Editor “Advances in Lipid-Based Drug Solubilization and
                 Targeting” Adv. Drug Del. Rev. 56(9) 7 May, 2004.

2006 - 2008      Chair, Lipid-Based Drug Delivery Systems Focus Group of AAPS.

2006             Co-Chair, 2006 BIO Entrepreneurial Boot Camp for Chief Scientific Officers and
                 Academic Researchers, April 8-9, Chicago, Illinois.

2007             Co-Chair, AAPS Workshop “Effective Utilization of Lipid-Based Systems for
                 Enhancing the Delivery of Poorly Soluble Drugs: Physicochemical,
                 Biopharmaceutical and Product Development Considerations”, March 5-6, 2007,
                 Bethesda, MD.

2007             Co-chair, iiBIG Conference “New Directions for Drug Delivery”, October 29-30, 2007,
                 Las Vegas, NV.

2007-2009        Coordinator and Professor in-charge, short course “Nanoparticles: Applications in
                 Drug Formulation and Delivery”, Univ.of Wisconsin, Extension Services in Pharmacy.

2008 - 2009      Past Chair, AAPS Lipid-Based Drug Delivery Systems Focus Group

2009 - 2011      Chair, AAPS Nanotechnology Focus Group.

2010             Elected Fellow of the American Association of Pharmaceutical Scientists (AAPS)

2009-present     Editorial Advisory Board Member, Recent Patents in Drug Delivery and Formulation,
                 Bentham Science Publishers.

2011             Chair, AAPS Drug Delivery Workshop “Emerging Oral Delivery Strategies and
                 Technologies to Enable Biopharmaceutical Performance of BCS II, III and IV
                 Molecules”, April 14-15, 2011, Baltimore, MD.



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2011               Co-Chair, 4th Annual Nanotechnology Symposium, Sullivan University, College of
                   Pharmacy, September 23-24, 2011, Louisville, KY.

2012               Chair, 47th AAPS Arden House Conference “Nanoscience in Pharmaceuticals:
                   Translating Fundamental Understanding to Practical Application in Drug and
                   Device Development”, March 11-14, 2012, The Thayer Hotel, West Point, NY.

11/2012-11/2013    Vice Chair, AAPS Formulation Design and Development (FDD) Section of AAPS.

11/2013-11/2014    Chair-Elect, AAPS Formulation Design and Development (FDD) Section of AAPS.

2013               Chair, Program Committee, Drug Discovery and Development Track, BIO2013
                   International Convention, April 22-25, 2013, Chicago, IL.

2012-present       Advisory Committee Member, Nanotechnology Employment, Education and Economic
                   Development, Oakton Community College, Oakton, IL.

2013               Organizer and Co-Chair, Sort Course on “Quality Control Aspects of Nanoparticulate
                   Dugs: Manufacturing, Characterization and Regulatory Considerations”, Nov. 10,
                   2013, 2013 AAPS Annual Meeting, San Antonio, TX.

2013               Chair, 3rd International Conference and Exhibition on Pharmaceutics & Novel Drug
                   Delivery Systems (Pharmaceutica-2013), OMICS Group, April 8-10, 2013,
                   Northbrook, IL.

2014               Chair, 4th International Conference and Exhibition on Pharmaceutics & Novel Drug
                   Delivery Systems (Pharmaceutica-2014), OMICS Group, March 24-26, 2014, San
                   Antonio, TX.

11/2014-10/2015    Chair, Formulation Design and Development (FDD) Section of AAPS.

7/28/2015          2016 AAPS Annual Meeting Jamboree Enterprise Award Recipient.

8/2015 – 4/2021    Associate Editor and Editor, AAPS Open Journal.

10/26/2015         Formulation Design and Development (FDD) Section Chair and Leadership Award,
                   American Association of Pharmaceutical Scientists (AAPS).

2018               Chair, 12th World Drug Delivery Summit, Annual America Congress Organization,
                   September 24-26, 2018, Chicago, Illinois.

2021               Recipient of the 2021 International Pharmaceutical Excipients Council (IPEC)
                   Foundation Henk de Jong Industrial Research Award for outstanding achievements
                   in Excipient Innovation and Research.

Professional Organizations

                   Past member of the American Biophysical Society, American Association for Cancer
                   Research, American Association for the Advancement of Science and the New York
                   Academy of Sciences, American Chemical Society and the Controlled Release Society.
                   Active member of the American Association of Pharmaceutical Scientists and BIO/iBIO.

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Languages
                    Native is Greek, fluent in English, some knowledge of French.

Recreational Activities

                    Strong interest in Byzantine art and music. Enjoys mount hiking, bicycling and sports
                    both as spectator and participant.

References          Available upon request.




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                       PUBLICATIONS, PRESENTATIONS AND PATENTS

Original Research Papers

       1.    Panayiotis P. Constantinides and Joseph M. Steim (1985) " Physical Properties of Fatty Acyl-
             CoAs: Critical Micelle Concentrations, Micellar Size and Shape " J. Biol. Chem. 260, 7573
             - 7580.

       2.    Panayiotis P. Constantinides and Joseph M. Steim (1986), " Solubility of Palmitoyl-CoA in
             Acyltransferase-Assay Buffers Containing Magnesium Ions" Arch. Biochem. Biophys. 250,
             267 - 270.

       3.    Panayiotis P. Constantinides and Joseph M. Steim (1988) " Micellization of Fatty Acyl CoA
             Mixtures and Its Relevance to the Fatty Acyl Selectivity of Acyltransferases" Arch.
             Biochem. Biophys. 261, 430 - 436.

       4.    Chris A. Pritsos, Panayiotis P. Constantinides, Thomas R. Tritton, David C. Heimbrook and
             Alan C. Sartorelli (1985) " Use of High Performance Liquid Chromatography to Detect
             Hydroxyl and Superoxide Radicals Generated from Mitomycin C " Anal. Biochem. 150,
             294 - 299.

       5.    Panayiotis P. Constantinides, Naoyoshi Inouchi, Thomas R. Tritton, Alan C. Sartorelli, and
             Julian M. Sturtevant (1986) " A Scanning Calorimetric Study of the Interaction of
             Anthracyclines with Neutral and Acidic Phospholipids Alone and in Binary Mixtures " J.
             Biol. Chem. 261, 10196 - 10203.

       6.    Panayiotis P. Constantinides, Thomas R. Tritton, and Alan C. Sartorelli (1988), "Interaction of
             Adriamycin with Single and Multibilayer Dipalmitoylphosphatidylcholine Vesicles: Spin-
             labelling and Calorimetric Study " J. Liposome Res. 1, 35 - 62.

       7.    Robert Dreyer, Edward Hawrot, Alan C. Sartorelli and Panayiotis P. Constantinides (1988) "
             Sedimentation Field Flow Fractionation of Fused Unilamellar Vesicles: Comparison with
             Electron Microscopy and Gel Filtration " Anal. Biochem. 175, 433 - 441.

       8.    Panayiotis P. Constantinides, Naoyoshi Inouchi, Alan C. Sartorelli and Julian M. Sturtevant
             (1989) " Interaction of Adriamycin and N-Trifluoroacetyladriamycin-14-valerate with
             Cardiolipin-Containing Lipid Bilayers " J. Liposome Res. 1, 245 - 260.

       9.    Panayiotis P. Constantinides, Lily Ghosaini, Naoyoshi Inouchi, Shinichi Kitamura,
             Ramakrishnan Seshadri, Mervyn Israel, Alan C. Sartorelli and Julian M. Sturtevant (1989) "
             Interaction of N-Alkylanthracyclines with Lipid Bilayers: Correlations Between Partition
             Coefficients, Lipid Phase Distributions and Thermotropic Behavior " Chem. Phys. Lipids
             51, 105 - 118.

       10.   Panayiotis P. Constantinides, Yan Yan Wang, Thomas G. Burke, and Thomas R. Tritton (1990)
             "Tranverse Location of Anthracyclines in Lipid Bilayers: Paramagnetic Quenching
             Studies " Biophys. Chem. 35, 259-264.

       11.   Bruce Babbitt, Lisa Burtis, Patrick Dentinger, Panayiotis Constantinides, Larry Hillis, Barbara
             McGirl and Leaf Huang (1993) "Contact-Dependent, Immunecomplex-Mediated Lysis of
             Hapten-Sensitized Liposomes" Bioconjugate Chem. 4, 199-205.

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   12.   Panayiotis P. Constantinides, Jean-Paul Scalart, Cindy Lancaster, Joseph Marcello, Gary Marks,
         Harma Ellens and Philip Smith (1994) "Formulation and Intestinal Absorption
         Enhancement Evaluation of Water-in-Oil Microemulsions Containing Medium-Chain
         Glycerides " Pharm. Research 11 (10), 1385-1390.

   13.   Panayiotis P. Constantinides, Cindy M. Lancaster, Joseph Marcello, D. Chiossone, Donald
         Orner, Ismael Hidalgo, Philip L. Smith, Ani B. Sarkahian, Seang H. Yiv and Albert J. Owen
         (1995) "Enhanced Intestinal Absorption of an RGD Peptide from Water-in-Oil
         Microemulsions of Different Composition and Particle Size", J. Control. Rel., 34, 109-116.

   14.   Panayiotis P. Constantinides and Seang H. Yiv (1995) "Particle Size Determination of Phase-
         Inverted Water-in-Oil Microemulsions Under Different Dilution and Storage Conditions",
         Int. J. Pharm. 115, 225-234.

   15.   Panayiotis P. Constantinides, Gus Welzel, Harma Ellens, Philip L. Smith, Sandy Sturgis, Seang
         H. Yiv and Albert J. Owen (1996) "Water-in-oil Microemulsions Containing Medium-Chain
         Fatty Acid/Salts : Formulation and Intestinal Absorption Enhancement Evaluation"
         Pharm. Res. 13, 210-215.

   16.   Hung-Yuan Cheng, Cynthia S. Randall, Walter W. Holl, Panayiotis P. Constantinides, Tian-Li
         Yue and Giora Z. Feuerstein (1996)“Carvedilol-Liposome Interaction: Evidence for Strong
         Association with the Hydrophobic Region of Bilayers", Biochim. Biophys. Acta 1284, 20-28.

   17.   Panayiotis P. Constantinides and Jean-Paul Scalart (1997) " Formulation and Physical
         Characterization of Water-in-Oil Microemulsions Containing Long- versus Medium-
         Chain Glycerides " Int. J. Pharm. 158: 57-68 (1997).

   18.   Panayiotis P. Constantinides, Karel Lambert, Alexander K. Tustian, Wenwen Ma, Brian
         Schneider, Salima Lalji, Bryan Wentzel, Dean Kessler, Dilip Worah and Steven C. Quay (2000)
         “Formulation Development and Antitumor Activity Evaluation of a Filter-Sterilizable
         Emulsion of Paclitaxel”, Pharm. Res. 17 : 175-182.

   19.   Pavel Gershkovich, Jerald Darlington, Panayiotis P. Constantinides and Kishor M. Wasan
         (2009) Inhibition of Intestinal Absorption of Cholesterol by Surface-Modified
         Nanostructured Aluminosilicate (NSAS) Compounds. J. Pharm. Sci.98: 2390-2400.

   20.   Olena Sivak, Jerald Darlington, Pavel Gershkovich, Panayiotis P. Constantinides and Kishor M.
         Wasan (2009) Protonated Nanostructured Aluminosilicate Reduces Plasma Cholesterol
         Concentrations and Atherosclerotic Lesions in Apolipoprotein Deficient Mice Fed a High
         Cholesterol and High Fat Diet, Lipids Health Dis. Jul 28; 8 (1) : 30, online publication.

   21.   G. Xie, T. Nie, G.C. Mackenzie, Y. Sun, L. Huang, N. Ouyang, N. Alston, O.T. Murray, P.P.
         Constantinides, L. Kopelovich and B. Rigas (2011), The Metabolism and Pharmacokinetics
         of Phospho-sulindac (OXT-328) and the Effect of Difluoromethylornithine, Br. J.
         Pharmacol. 2011 Sep 28. Doi:10.1111/j.1476-5381.2011.01705.x [Epub].              .

   22.   George Mattheolabakis, Ting Nie, Panayiotis P. Constantinides and Basil Rigas (2012),
         Sterically Stabilized Liposomes Incorporating the Novel Anticancer Agent Phospho-
         Iburpofen (MDC-917): Preparation, Characterization and In Vitro/In Vivo Evaluation,
         Pharm. Res. 29: 1435 - 1443.



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       23.      Chi C. Wong, Ka-Wing Cheng, Gang Xie, Dingying Zhou, Cai-Hua Zhu, Panayiotis P.
                Constantinides and Basil Rigas (2012), Carboxyesterases 1 and 2 Hydrolyse Phospho-
                NSAIDs to Their Pharmacological Activity, J. Pharmacol.. Exp. Ther. 340:422-432.

       24.      Ting Nie, Chi C. Wong, Niche Alston, Patrick Aro, Panayiotis P. Constantinides and Basil
                Rigas (2012), Phospho-Ibuprofen (MDC-917) Incorporated in Nanocarriers: Anticancer
                Activity In Vitro and In Vivo, Br.J.Pharmacol. 166: 991-1001.

       25.      K.A.Wing Cheng, Georgios Mattheolabakis, C.C.Wong, Nengtai Ouyang, Liqun Huang,
                Panayiotis P. Constantinides and Basil Rigas (2012) Topical Phosphor-Sulindac (OXT-328) Is
                Effective in the Treatment of Non-Melanoma Skin Cancer, Int. J. Oncol. 41: 1199-1203.

       26.      C. Zhu, K.W.Cheng, N. Ouyang, L. Huang, Y. Sun, P.P.Constantinides and B. Rigas (2012),
                Phosphosulindac (OXT-328) Selectively Targets Breast Cancer Stem Cells In vitro and in
                Human Breast Cancer Xenografts. Stem Cells, May 31, 2012, doi: 10.1002/stem.1139 [E-
                pub].

       27.      G.Xie, C.C.Wong, K.W.Cheng, L. Huang, P.P.Constantinides and B. Rigas (2012)
                Regioselective Oxidation of Phospho-NSAIDs by Human Cytochrome P450 and Flavin
                Monooxygenase Isoforms : Implications for Their Pharmacokinetic Properties and Safety,
                Br. J. Pharmacol. 167: 222-232.

       28.      G.Xie, C.C.Wong, K.W.Cheng, L. Huang, P.P. Constantinides and B. Rigas (2012) In Vitro
                and In Vivo Studies of Phospho-Aspirin (MDC-22), Pharm Res 29 : 3292-3301.

       29.      R. Zhu, K.W.Cheng, G. Makenzie, L. Huang, Y. Sun, G.Xie, K.Vrankova, P.P.Constantinides
                and B. Rigas (2012) Phospho-Sulindac (OXT-328) Inhibits the Growth of Human Lung
                Cancer Xenografts in Mice : Enhanced Efficacy and Mitochondria Targeting by its
                Formulation in Solid Lipid Nanoparticles, Pharm Res. 29 : 3090-3101.

       30.      George Mattheolabakis, Chi C. Wang, Yu Sun, Carol Ann Amelia, Robert Richards, Panayiotis
                P. Constantinides and Basil Rigas (2014) Pegylation improves the pharmacokinetics and
                bioavailability of small-molecule drugs hydrolysable by esterases : A study of phosphor-
                ibuprofen, J. Pharmacol. Exp. Ther. 351: 61-66.

Commentaries

            1. Panayiotis P. Constantinides, Subhashis Chakraborty and Dali Shukla, Considerations and
               Recommendations on Traditional and Non-traditional Uses of Excipients in Oral Drug
               Products. AAPS Open (2016) 2(1), 1-6 DOI 10.1186/s41120-016-0004-3.

            2. Panayiotis P. Constantinides, Join the Dialogue: Do We Need an Excipient Classification
               System Based on Their Traditional and Non-Traditional Uses in Drug Products? AAPS
               Blog Article posted on July 14, 2016.

Review Articles/Book Chapters/Book Reviews

       1.       Panayiotis P. Constantinides (1995) "Lipid Microemulsions for Improving Drug Dissolution
                and Oral Absorption: Physical and Biopharmaceutical Aspects", Pharm. Res. 12: 1561-
                1572.



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   2.    Panayiotis P. Constantinides and Ron Liu (2000) “Micellization and Drug Solubility
         Enhancement ” in Water-Insoluble Drug Formulation (Liu, R. Ed.), Chapter 9, pp. 213-277,
         Interpharm Press Inc., Denver, Colorado.

   3.    Panayiotis P. Constantinides (2000) “Self-Emulsifying Drug Delivery Formulations in the
         21st Century: Challenges and Opportunities” in Controlled Drug Delivery: Designing
         Technologies for the Future (K. Park and R.J. Mrsny, Eds), ACS Symp. Series 752, 284 – 296.

   4.    Panayiotis P. Constantinides and Kishor M. Wasan (2004) “Advances in Lipid-Based Drug
         Solubilization and Targeting”, in Advances in Lipid-Based Drug Solubilization and Targeting
         (Constantinides, P.P. and Wasan, K. Eds), Adv. Drug Del. Rev., 56 (9) pp. 1239-1240.

   5.    Panayiotis P. Constantinides, Alex Tustian and Dean Kessler (2004) “Tocol Emulsions for
         Drug Solubilization and Parenteral Delivery” in Advances in Lipid-Based Drug
         Solubilization and Targeting (Constantinides, P.P. and Wasan, K. Eds), Adv. Drug Del. Rev., 56
         (9) pp. 1243-1255.

   6.    Panayiotis P. Constantinides, Jihong Han and Stanley S. Davis (2006) “Advances in the Use of
         Tocols as Drug Delivery Vehicles”, Pharm. Res. 23 (2) 243-255.

   7.    Panayiotis P. Constantinides and Kishor M. Wasan (2007) “Lipid Formulation Strategies for
         Enhancing Intestinal Transport and Absorption of P-glycoprotein (P-gp) Substrate Drugs:
         In vitro/In vivo Case Studies”, J. Pharm. Sci. 96 (2) 235-248.

   8.    Panayiotis P. Constantinides, Mahesh Chaubal and Robert Shorr (2008) “Advances in Lipid
         Nanodispersions for Parenteral Drug Delivery and Targeting”, theme issue on Lipid-Based
         Systems for Enhanced Delivery of Poorly Soluble Drugs (Christopher J.H. Porter, Kishor M.
         Wasan and Panayiotis P. Constantinides, Editors) Adv. Drug Del. Rev. 60, pp. 757-767.

   9.    Panayiotis P. Constantinides (Book Review). Role of Lipid Excipients in Modifying Oral and
         Parenteral Drug Delivery. Kishor M. Wasan (Ed.), Wiley-Interscience 2007. Drug Dev. Ind.
         Pharm. (2008) 34(5): 558.

   10.   Navdeep Kaur, Ashwini Gadre, Panayiotis P. Constantinides and Yashwant Pathak (2010)
         Nanomedicine: Trends and Perspectives on Technologies and Products, in Advances in
         Nanotechnology and Applications, Vol. 2, Center for Nanotechnology, Education, Research and
         Applications, Sullivan University, College of Pharmacy, Louisville, KY.

   11.   Panayiotis P. Constantinides (2011) Advances in Nanotechnology and Commercialization
         Perspectives, Foreword in Advances in Nanotechnology and Applications, Vol. 3, Center for
         Nanotechnology, Education, Research and Applications, Sullivan University, College of
         Pharmacy, Louisville, KY.

   12.   Roy Haskell, Panayiotis P. Constantinides and Duxin Sun “Perspectives in Pharmaceutical
         Nanotechnology”, cover article, AAPS News Magazine January 2012.

   13.   George Mattheolabakis, Basil Rigas and Panayiotis P. Constantinides (2012), Nanodelivery
         Strategies in Cancer Chemotherapy: Biological Rationale and Pharmaceutical
         Perspectives, Nanomedicine 7 (10): 1577-1590.




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        14.       Liu Changxiao, Panayiotis P. Constantinides, Yazhuo, Li (2014) R&D in Drug Innovation:
                  Reflections from the 2013 Bioeconomy Conference in China, Lessons Learned and Future
                  Perspectives, Acta Pharmaceutica Sinica B, 4 (2) : 112-119.

Interview Publications

             1. Oral Drug Delivery Technologies: Tackling Clinical and Commercial Challenges”,
                Deborah Erickson, Fierce Pharma, March 2012.

             2. Nanoparticles : A Look Forward technical retrospective, a look ahead at challenges and
                opportunities for the development of nanoparticle drug delivery systems, Amy Ritter
                (Moderator), BioPharm International, 25 (6) : 28 (2012).

             3.   Nanoformulations, Q&A session with Biopharmaceutical & Drug Delivery Consulting, LLC
                  moderated by Amy Ritter, Pharm Tech, July 2012.

             4. IPEC Foundation Recognizes Panayiotis P. Constantinides, a recipient of the 2021 IPEC
                Foundation Henk de Jong Industrial Research Achievement for Excipient Technology Award.
                Published in the February 2022 Issue of IPEC Americas Insider.

Professional Development Articles

   1.             Panayiotis P. Constantinides, Building a Consulting Business : A Practitioner’s Perspective,
                  AAPS News Magazine May 2016, pp. 31-34.

Abstracts/Poster Presentations

        1.        Panayiotis P. Constantinides, Naoyoshi Inouchi, Thomas R. Tritton, Alan C. Sarorelli, and
                  Julian M. Sturtevant (1986) "Comparative Study of the Interaction of Anthracyclines with
                  Lipid Bilayers Using High Sensitivity Differential Scanning Calorimetry " Biophysical J.
                  49, 511. Presented at the 30th Annual Biophysical Society Meeting, February 9-13, 1986, San
                  Francisco, California.

        2.        Panayiotis P. Constantinides, Naoyoshi Inouchi, Alan C. Sartorelli, and Julian M. Sturtevant
                  (1986) " Interaction of Anthracyclines with Cardiolipin-Containing Neutral and Acidic
                  Liposomes Using High Sensitivity Differential Scanning Calorimetry " Delivered at the 41st
                  Calorimetry Conference, August 17-22, 1986, Somerset, New Jersey, Abstract No. 79.

        3.        Panayiotis P. Constantinides, Lily Ghosaini, Naoyoshi Inouchi, Shinichi Kitamura,
                  Ramakrishnan Seshadri, Mervyn Israel, Alan Sartorelli, and Julian M. Sturtevant (1987) "
                  Interaction of N-Alkylanthracyclines with Lipid Bilayers Using High Sensitivity
                  Differential Scanning Calorimetry " Biophysical J. 51, 239. Delivered at the 31st Annual
                  Biophysical Society Meeting, February 22-26, 1987, New Orleans, Louisiana.

        4.        Panayiotis P. Constantinides, Jean-Paul Scalart, C. Lancaster, J. Marcello, G. Marks, H. Ellens
                  and P. Smith (1993), "Water-in-Oil Microemulsions Containing Medium-Chain Glycerides:
                  Formulation and Absorption Enhancement Evaluation in the Rat" Proceed. Intern. Symp.
                  Control. Rel. Bioact. Mater. 20: 184-185. Delivered at the 20th International Symposium of the
                  Controlled Release Society, July 25-28, 1993, Washington, DC.

        5.        Panayiotis P. Constantinides, Jean-Paul Scalart, Cindy Lancaster, Joseph Marcello, Gary Marks,
                  Harma Ellens, P. Smith, Andrew Nichols, Janice Vasko, Paul Koster, Gerald Rhodes, C.

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         Miller-Stein, Richard Simpson, Fadia Ali and James Samanen (1994) "Enhancement of RGD
         Peptide Oral Activity with a Water-in-Oil Microemulsion". Presented at the Gordon
         Conference on Chemistry and Biology of Peptides, February 13-17, 1994 , Ventura, CA.

   6.    Panayiotis P. Constantinides, Patrick Dentinger and Leaf Huang (1994), "Incorporation  of
         Lipophilic Drugs into Liposomes from Lipid : Ethanol Admixtures and Comparisons with
         Conventional Liposomes". Proceed. Intern.. Symp. Control. Rel. Bioact. Mater. 21, 501-50,
         June 27-30, 1994, Nice, France.

   7.    Panayiotis P. Constantinides, Cindy Lancaster, J. Marcello, D. Chiossone, D. Orner, I. Hidalgo,
         A. Sarkahian, S. H. Yiv, A. B. Owen and P. L. Smith, (1994) "Oral Absorption Enhancement
         of an RGD Peptide from Water-in-Oil Microemulsions of Different Composition and
         Particle Size". Proceed. Intern. Symp. Control. Rel. Bioact. Mater. 21, 62-63, June 27-30,
         1994, Nice, France.

   8.    Panayiotis P. Constantinides and Seang H. Yiv, (1994), " Particle Size Determination of
         Phase-Inverted Water-in-Oil Microemulsions Under Different Dilution and Storage
         Conditions" Proceed. Intern. Symp. Control. Rel. Bioact. Mater. 21,766-767. June 27-30,1994,
         Nice, France.

   9.    Gary. J. Marks, Gus. Welzel, Philip. L. Smith, Panayiotis .P. Constantinides and H. Ellens,
         (1995), "Bioavailability Enhancement of Hydrophilic Molecules by Medium-Chain
         Glycerides in the Rat". Presented at the Intern. Symp. Control. Rel. Bioact. Mater 22, July
         30-August 4, 1995, Seattle, WA.

   10.   Panayiotis P. Constantinides, Gus Welzel, Harma Ellens, Philip L. Smith, Sandy Sturgis, Seang
         H. Yiv and Albert J. Owen (1996) "Water-in-oil Microemulsions Containing Medium-
         Chain Fatty Acid/Salts : Formulation and Intestinal Absorption Enhancement Evaluation
         ". Presented at the annual meeting of the American Association of Pharmaceutical Scientists,
         October 27-31, 1996, Seattle, WA.

   11.   Panayiotis P. Constantinides, Karel Lambert, Alexander K. Tustian, Wenwen Ma, Brian
         Schneider, Salima Lalji, Bryan Wentzel, Dean Kessler, Dilip Worah and Steven C. Quay,
         “Reduced Toxicity and Improved Efficacy of Paclitaxel Incorporated in Oil-in-Water
         Emulsions” presented at the AAPS Annual Meeting, November 15-19, 1998, San Francisco,
         California.

   12.   Panayiotis P. Constantinides, Dean Kessler, Alexander Tustian, Karel Lambert and Eric A.
         Rowinsky “ Antitumor Activity of QW8184, an Injectable Paclitaxel Emulsion, and
         Taxol in the B16 Melanoma and IGROV-1 Ovarian Tumor Xenograft Models in Mice”
         presented at the AACR-NCI-EORTC International Conference on “Molecular Targets and
         Cancer Therapeutics: Discovery, Development and Clinical Validation”, November 16-19 ,
         1999, Washington, DC.

   13.   Eun-Hyun Jang, Likan Liang and Panayiotis P. Constantinides, “Factors Controlling the In
         Vitro Release of Rhodamine-Dextran from Polymerized Liposomes in Simulated Intestinal
         Fluid”, 29th Annual Meeting and Exposition of the Controlled Release Society, July 20-25,
         2002, Seoul, Korea.

   14.   Panayiotis P. Constantinides, Likan Liang, Eun-Hyan Jang, David J. Fast, Liangxiu He, Lanlan
         Li and Kayode Opeifa “Enhanced Intestinal Absorption of LHRH and Leuprolide In The

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                Rat from Lipid Polymer Micelles”, 29th Annual Meeting and Exposition of the Controlled
                Release Society, July 20-25, 2002, Seoul, Korea.

       15.      Panayiotis P. Constantinides, Likan Liang, David J. Fast, Sumeet Dagar, Liangxiu He, Lanlan Li
                and Kayode Opeifa “Bioavailability Enhancement of Leuprolide Upon Intraduodenal
                Administration in Dogs from Lipid Polymer Micelles (LPM)”, 2002 Annual AAPS
                Meeting and Exposition, November 10 – 14, 2002, Toronto, Canada.

       16.      Dave J. Fast, Reena Patil, Kevin Bosman and Panayiotis P. Constantinides, “Lipid Polymer
                Emulsions (LPE) Incorporating P-glycoprotein Inhibitors Enhance the Intestinal
                Absorption of Paclitaxel”, 2002 Annual AAPS Meeting and Exposition, November 10 – 14,
                2002, Toronto, Canada.

       17.      Jerry W. Darlington and Panayiotis P. Constantinides. Virus Inactivation by Nanobentonite
                in Suspended Cells and on Hard Surfaces. BIO 2007 International Convention, Innovation
                Corridor Poster Session, May 6-9, 2007, Boston, MA

       18.      Olena Sivak, Pavel Gershkovich, Jerald Darlington, Panayiotis P. Constantinides and Kishor M.
                Wasan. Potential Anti-hyperlipidemic Activity of Nanoscale Aluminosilicate (NSAS) in
                Rabbits. 2008 AAPS Annual Meeting and Exposition, November 16-20, 2008 Atlanta, GA

       19.      Pavel Gershkovich, Olena Sivak, Jerald Darlington, Panayiotis P. Constantinides and Kishor M.
                Wasan. Inhibition of Intestinal Absorption of Cholesterol by Novel Aluminosilicates
                (NSAS) compounds. 2008 AAPS Annual Meeting and Exposition, November 16-20, 2008
                Atlanta, GA.

       20.      Pavel Gershkovich, Jerald Darlington, Panayiotis P. Constantinides and Kishor M. Wasan.
                Protonated Nanoscale Aluminosilicate (NSAS) Reduces Plasma Cholesterol
                Concentrations and Atherosclerotic Lesion Formation in Apolipoprotein E (ApoE)-
                Deficient Mice”. 2009 AAPS Annual Meeting and Exposition, November 8-12, 2009, Los
                Angeles, CA.

Invited Talks

       1.       Panayiotis P. Constantinides, Jean-Paul Scalart, Joe Marcello, Richard Kirsh and Phil Smith
                (1991) "Optimization and Utilization of Microemulsion Delivery Systems for Oral
                Administration of Peptidergic Drugs" 2nd Annual SmithKline Beecham Drug Delivery
                Workshop, June 25-26, 1991, Harlow, UK.

       2.       Panayiotis P. Constantinides and Jean-Paul Scalart "Self-Emulsifying Water-in-Oil
                Microemulsions in Drug Delivery: Formulation and Physical Characterization" First
                International Conference on Pharmaceutical Science and Technology and the ACS Fine
                Particle Society, August 24-28, 1993, Chicago, Illinois.

       3.       Panayiotis P. Constantinides "Self-Emulsifying Water-in-Oil Microemulsions in Drug
                Delivery: Formulation and Oral Absorption Enhancement Evaluation" "Emulsion Day"
                symposium, SmithKline Beecham Consumer Brands, Nov. 1, 1993, Weybridge, UK.

       4.       Panayiotis P. Constantinides, "Intestinal Absorption Enhancement Using Microemulsion
                Formulations", Second International Symposium on Pharmaceutical Sciences and Technology
                of the Fine Particle Society, July 25-28, 1994, E. Brunswick, NJ.


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   5.    Panayiotis P. Constantinides and Seang H. Yiv, "Particle Size Measurements of Phase
         Inverted Water-in-Oil Microemulsions", lead lecture at the Second International Symposium
         on Pharmaceutical Sciences and Technology of the Fine Particle Society, July 25-28, 1994, E.
         Brunswick, NJ.

   6.    Panayiotis P. Constantinides, Patrick Dentinger and Leaf Huang, "Admixture Liposomes
         Solubilizing Lipophilic Drugs: Characterization and Potential Applications", Second
         International Conference on Pharmaceutical Sciences and Technology of the Fine Particle
         Society, July 25-28, 1994, E. Brunswick, NJ.

   7.    Panayiotis P. Constantinides, "Formulation Strategies to Improve the Oral Absorption of
         Poorly Absorbed Drugs", invited quest seminar at the Philadelphia College of Textiles and
         Science, October 20, 1994 Philadelphia, PA.

   8.    Panayiotis P. Constantinides, "Formulation Design/Development Considerations of
         Multiphase Systems for Parenteral and Oral Drug Delivery", invited speaker and a member
         of the organizing committee of the 37th Annual International Industrial Pharmaceutical
         Research and Development Land O' Lakes Conference on "Multiphase Systems for Parenteral
         and Oral Drug Delivery: Physical and Biopharmaceutical Aspects", June 5-9, 1995, Merrimac,
         Wisconsin.

   9.    Panayiotis P. Constantinides, "Water-in-oil Microemulsions for Oral Delivery of
         Drugs/Peptides with High Aqueous Solubility and Low Membrane Permeability",
         delivered at the American Chemical Society's "Conference on Formulations and Drug
         Delivery", October 10-13, 1995, Boston, Massachusetts.

   10.   Panayiotis P. Constantinides, “Lipid Microemulsions as a Novel Dosage Form for Poorly
         Absorbed Drugs”, delivered at the Food and Drug Administration Agency, October 18,
         1996, Rockville, Maryland.

   11.   Panayiotis P. Constantinides, “Drug Development Aspects with Water-in-Oil
         Microemulsions for Oral Delivery of Poorly Absorbed Water-Soluble Drugs/Peptides ”,
         delivered at the symposium on Lipid-based systems for oral drug delivery: Physiological,
         Mechanistic and Product Development Perspectives, Nov. 3, 1997 AAPS Annual Meeting,
         Boston, MA.

   12.   Panayiotis P. Constantinides, “Physical and Biopharmaceutical Aspects of Self-Emuslifying
         Microemulsion Systems for Oral Drug Delivery”, delivered at Pharmacia & Upjohn
         (Pharmaceutical Development), February 2, 1998, Kalamazoo, Michigan.

   13.   Panayiotis P. Constantinides, “Challenges and Opportunities in the Use of Self-Emulsifying
         Drug Delivery Systems for Oral Drug Delivery and Intestinal Absoprtion Enhancement”,
         delivered on March 11, 1999, University of Washington School of Pharmacy, Department of
         Pharmaceutics and Medicinal Chemistry.

   14.   Panayiotis P. Constantinides, “Self-Emulsifying Drug Delivery Systems in the 21st Century :
         Challenges and Opportunities”, delivered at the ACS Symposium on “Drug Delivery in the
         21st Century”, March 21-23, 1999, Anaheim, California.

   15.   Panayiotis P. Constantinides, “Product Development Opportunities with Alternative Drug
         Delivery Systems for Marketed Chemotherapeutics”, delivered at the IBC Conference on

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         “Drug Delivery Systems: Strategies for Competitive Advantage”, May 24-25, 1999,
         Washington, DC.

   16.   Panayiotis P. Constantinides, “Lipid Microemulsions in Drug Solubilization and Delivery”,
         delivered at the ACS Symposium “Microemulsions: Properties and Applications”, August 20
         – 21, 2000, Washington, DC.

   17.   Panayiotis P. Constantinides, Karel J. Lambert, Alex K. Tustian, Salima Lalji and Dean Kessler,
         “Stable and Efficacious Filter Sterilizable Tocol Microemulsions- A Case Study with
         Paclitaxel”, invited paper at the Pharmaceuticals 2000 virtual conference (internet based),
         November 6-10, 2000.

   18.   Michael S. Rosen and Panayiotis P. Constantinides, “ Oral Drug/Peptide : Commercial and
         Technological Challenges”, delivered at the 6th US-Japan Symposium on Drug Delivery
         Systems, Dec. 16-21, 2001, Maui, Hawaii.

   19.   Panayiotis P. Constantinides, “Emulsion and Micellar Nanoparticles for Oral Drug/ Peptide
         Delivery”, delivered at the Gordon Research Conference on Drug Carriers in Medicine &
         Biology, Feb. 24 – March 1, 2002, Ventura, California.

   20.   Panayiotis P. Constantinides “Lipid Microemulsions and Micellar Nanoparticles for Oral
         Drug/Peptide Delivery” invited talk at the Particles 2002 International Conference:
         Medical/Biochemical, Diagnostic, Pharmaceutical, and Drug Delivery Applications of
         Particle Technology, April 20-23, 2002, Orlando, Florida.

   21.   Panayiotis P. Constantinides “Lipid Polymer Micelles and Emulsions for Improving Oral
         Drug/Peptide Absorption”, presented at the 19th Technology Transfer Forum of the
         Technology Catalysts, Inc., May 12-14, 2002, Reston, Virginia.

   22.   Panayiotis P. Constantinides, “Development of Oral Peptide Formulations Using Lipid-
         Based Microemulsion and Micellar Delivery Systems”, delivered at the Protein & Peptide
         Formulation Strategies for Drug Development and Delivery ,pre-conference workshop on
         Strategies for Formulating Macromolecules for Oral Delivery, August 19-20, 2002, San
         Francisco, California, presented by the Institute for International Research and Drug Delivery
         Partnerships.

   23.   Panayiotis P. Constantinides, Charles Conover, Steven J. Prestrelski and Thomas Tice, panel
         discussion on “Managing Intellectual Property During Drug Delivery Partnerships”,
         Protein & Peptide Formulation Strategies for Drug Development and Delivery, August 19-20,
         2002, San Francisco, California.

   24.   David J. Fast, Reena Patil, Kevin Bosman, Lori-Pokorsky Loy and Panayiotis P.
         Constantinides, “Enhancement of Paclitaxel Transport and Intestinal Absorption Using
         Lipid Polymer Emulsions (LPE) Incorporating P-glycoprotein Inhibitors”, International
         Symposium on Tumor Targeted Delivery Systems sponsored by CRS/NCI, September 23-25,
         2002, Bethesda, Maryland.

   25.   Panayiotis P. Constantinides, “Identifying Opportunities and Overcoming Challenges in
         Oral Protein and Peptide Delivery” Pre-conference Symposium chair and introductory talk,
         2nd Intern.. Institute of Research (IIR) Protein & Peptide Formulation Strategies for Drug
         Development and Delivery, March 31- April 2, 2003, Boston, MA.

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   26.   Panayiotis P. Constantinides, “Dispersed Systems in Oral Peptide/Protein Delivery :
         Microemulsion and Micellar Systems” invited talk at the Pre-conference Symposium of the
         2nd IIR Protein & Peptide Formulation Strategies for Drug Development and Delivery, March
         31- April 2, 2003, Boston, MA

   27.   Panayiotis P. Constantinides, “Formulation Strategies to Overcome Drug Absorption
         Barriers Due to Intestinal Efflux Pumps”, invited talk at the IIR’s Oral Drug Delivery
         Conference, June 23-24, 2003, Boston, MA.

   28.   Panayiotis P. Constantinides, “Overcoming Biological Barriers to the Oral Absorption of
         Small Molecule and Macromolecular Drugs Using Lipid-Based Systems”, invited talk at the
         University of Cyprus, March 31, 2004, Nicosia, Cyprus.

   29.   Panayiotis P. Constantinides, “Intravascular and Oral Delivery of the Chemotherapeutic
         Drug Paclitaxel Using Microemulsifying Lipid Systems “, invited talk at Hebrew
         University, April 14, 2004, Jerusalem, Israel.

   30.   Panayiotis P. Constantinides, “Advanced Tocol Emulsions and Lipid Polymer Emulsions for
         Parenteral and Oral Delivery of Poorly Soluble Drugs”, invited talk at Eastman Chemical,
         May 14, 2004, Kingsport, TN.


   31.   Panayiotis P. Constantinides, “Case Study : Injectable Drug Products” invited talk at the
         2004 June Land O’ Lakes Conference on “Role of Excipients in Solubility and Bioavailability
         Enhancement : Current Approaches, Unmet Needs, and Future Directions”, Merrimac,
         Wisconsin, June 7-11, 2004.

   32.   Panayiotis P. Constantinides “Effective Utilization of Lipid-Based Systems to Enhance
         Solubility and Bioavailability of Small Molecule and Macromolecule Drugs”, invited talk at
         ALZA Corporation/Johnson & Johnson, September 24, 2004, Mountain View, CA.

   33.   Panayiotis P. Constantinides, “Scientific and Technological Advances of Nanotechnology””,
         moderator and panelist, session on “Nanotechnology and Drug Therapy” of the 2004
         Marketplace Meeting sponsored by the Illinois Biotech Industry Organization (IBIO), October
         25-26, 2004, Chicago, Illinois.

   34.   Panayiotis P. Constantinides, “Effective Utilization of Oral Lipid Formulations to
         Overcome Intestinal Drug Transport and Membrane Permeability Barriers”, invited talk
         at the Barnett International Conference on “Lipid-Based Formulations/Drug Delivery”,
         September 29-30, 2004, Philadelphia, PA.

   35.   Panayiotis P. Constantinides, “Tocol Emulsions for Drug Solubilization and Parenteral
         Delivery”, invited talk at the symposium “New Developments in Parenteral Lipid-Based Drug
         Delivery Systems”, (P. Constantinides and K. Wasan, symposium organizers), 2004 American
         Association of Pharmaceutical Scientists, Annual Meeting, November 7-11, 2004, Baltimore,
         MD.

   36.   Panayiotis P. Constantinides, “Opportunities and Challenges in the Development of
         Combination Products of Oral Drugs with P-glycoprotein Limited Absorption”, invited
         talked at the Parexel Conference on “Fixed Combination Product Development”, March 7-8,
         2005, San Diego, CA.


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   37.   Panayiotis P. Constantinides, “Drug Solubillity and Bioavailability Enhancement Using
         Lipid Emulsion and Micellar Systems”, invited talk at the University of Kentucky, College of
         Pharmacy, April 1, 2005, Lexington, KT.

   38.   Panayiotis P. Constantinides, “Biopharmaceutical and Pharmaceutical Technology Aspects
         of Combination Drug Development : Oral Drugs with P-glycoprotein Limited
         Absorption”, invited talked at the Parexel’s Conference on “Combination Product
         Development : Leveraging the Current Scientific, Regulatory and Legal Environment to Gain
         Regulatory Approval ”, June 9-10, 2005, Brussels, Belgium.

   39.   Panayiotis P. Constantinides, “Development of Lipid Formulations for Oral Drugs
         Exhibiting P-glycoprotein Limited Absorption “, invited talk at the Chicagoland
         Pharmaceutical Discussion Group, December, 1, 2005.

   40.   Panayiotis P. Constantinides, “Project, Product or Company : A CSO Perspective”, invited
         talk at the BIO 2006 Entrepreneurial Boot Camp for Chief Scientific Officers and Academic
         Researchers, Session 4, April 8-9, 2006, Chicago, IL.

   41.   Panayiotis P. Constantinides, “Critical Role of Biopharmaceutics in Bridging Product
         Quality and Product Performance”, invited talk at the symposium Challenges and
         Opportunities on the Critical Path to Lipid-Based Oral Dosage Forms-Assessment of Product
         Quality, Product Performance and Therapeutic Equivalence”, Annual AAPS Meeting and
         Exhibition, October 29-November 2, 2006, San Antonio, TX.

   42.   Panayiotis P. Constantinides, “Advances in the Use of Lipid-Based Systems for Parenteral
         Drug Delivery”, invited talk at the AAPS Workshop on Effective Utilization of Lipid-Based
         Systems to Enhance the Delivery of Poorly Soluble Drug : Physicochemical, Biopharmaceutical
         and Product Development Considerations (P.P.Constantinides and C.H. Porter, organizers),
         March 5-6, 2007, Bethesda, MD.

   43.   Panayiotis P. Constantinides, “Overcoming Physicochemical and Biological Barriers to
         Drug/Peptide Delivery Using Lipid-Based Systems” invited seminar at the Faculty of
         Pharmaceutical Sciences, University of British Columbia, Vancouver, BC, Canada, March 13,
         2007.

   44.   Panayiotis P. Constantinides, “Project, Product or Company : A CSO Perspective”, invited
         talk at the BIO 2007 The Biotechnology Entrepreneurship Boot Camp, Session 4, May 6-9,
         2007, Boston, MA.

   45.   Panayiotis P. Constantinides, course coordinator and lead faculty on “Nanoparticles :
         Applications in Drug Formulation and Delivery”, University of Wisconsin Extension
         Services in Pharmacy, May 21-23, 2007, Madison, WI.

   46.   Panayiotis P. Constantinides, “Advances and Future Developments in Drug Delivery
         Nanotechnology”, invited Workshop A talk, iiBIG conference on “New Directions for Drug
         Delivery”, (co-chaired by Panayiotis P. Constantinides and Mahesh Chaubal), October 29-30,
         2007, Las Vegas, NV.

   47.   Panayiotis P. Constantinides, “Lipid Formulation Strategies for Enhancing Solubility and
         Permeability of BCS IV Drugs : In Vitro/In vivo Case Studies”, invited talk at the
         symposium BCS IV Drugs : Develop or Discard, 2007 AAPS Annual Meeting, Nov. 11- 15,
         2007, San Diego, CA.

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   48.   Panayiotis P. Constantinides, moderator and speaker in a Workshop on “Biomedical
         Nanotechnology: Progressing from Bench to Clinic to Commercialization”, iBIO IndEx
         2008, Feb. 20, 2008, Chicago, IL.

   49.   Panayiotis P. Constantinides, course coordinator and lead faculty on “Nanoparticles :
         Applications in Drug Formulation and Delivery”, University of Wisconsin Extension
         Services in Pharmacy, May 12-14, 2008, Madison, WI.

   50.   Panayiotis P. Constantinides “Oral and Injectible Nanoparticles”, invited talk at the 50th
         Annual June LOL International Industrial Pharmaceutical R&D Conference “Designing Drug
         Delivery Systems : Past, Present and Future Opportunities for Treating Our Patients”,
         June 2-6, 2008, Merrimac, Wisconsin.

   51.   Panayiotis P. Constantinides, “Project, Product or Company : A CSO Perspective”, invited
         talk at the BIO 2008 The Biotechnology Entrepreneurship Boot Camp , Session 4, June 16-17,
         2008, San Diego, CA.

   52.   Panayiotis P. Constantinides “Diversity and Versatility of Lipids in Enhancing the Delivery
         of Drugs: Physicochemical and Biopharmaceutical Aspects”, session on Lipids in
         Pharmaceutics (A.Tselepis and P.P. Constantinides, co-chairs), 6th Euro Fed Lipid Congress,
         Sept. 7-10, 2008, Athens, Greece.

   53.   Panayiotis P. Constantinides “Scientific and Technological Advances in Nanoparticles for
         Drug Formulation and Delivery” and “Oral Self-Assembled Lipid Nanostructures in Drug
         Delivery: Physicochemical and Biopharmaceutical Aspects”, Nanomedicines 08 Intensive
         Course and Drug Delivery Workshop, Sept. 12-22, 2008, University of Patras, Greece.

   54.   Panayiotis P. Constantinides “Formulation Development Considerations for Liquid-Filled
         Hard Capsules”, a symposium on Emerging Technologies: Liquid Fill Hard Capsule
         Technology in the Pharmaceutical Industry, AAPS Annual Meeting, November 16-20, 2008,
         Atlanta, GA.

   55.   Panayiotis P. Constantinides, “Advances in Lipid Nanodispersions and Nanoparticles for
         Non-Oral Drug Delivery and Targeting” invited keynote talk at the workshop “Scientific and
         Technological Advances in the Use of Lipid-Based Drug Delivery Systems for Bioavailability
         Enhancement and Tissue Targeting”, March 9-11, 2009, Baltimore, MD.

   56.   Panayiotis P. Constantinides “Product Development Considerations on the Use of
         Nanoparticles in Drug Formulation and Delivery”, invited talk in the conference Challenges
         in Global Product Development: Developing Rugged and Robust Products, Processes and
         Specifications, March 31 - April 2, 2009, Bar Ilan University, Tel Aviv, Israel.

   57.   Panayiotis P. Constantinides “Nanoparticles : Definitions and Product Development
         Considerations”, invited panel talk at the Roundtable Nanoparticles-Are They Ever Going to
         Amount to Anything, 2009 AAPS Annual Meeting, November 8-12, 2009, Los Angeles, CA.

   58.   Panayiotis P. Constantinides “Why, When and What Lipid-Based Formulations and Dosage
         Forms to Consider with BCS II and IV Compounds”, invited talk at the 2010 June LOL
         Pharmaceutical Conference on Science-Driven Drug Product Development Strategies to
         Achieve Proof of Concept, June 7-11, 2010, Merrimac, WI.


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   59.   Panayiotis P. Constantinides “Pharmaceutical Nanoparticulate Systems : Case Studies and
         Product Development Considerations”, invited keynote talk at the 3rd Annual
         Nanotechnology Symposium, September 24-25, 2010, Sullivan University, Louisville, KY.

   60.   Panayiotis P. Constantinides “Enhancing Solubility, Intestinal Permeability and
         Bioavailability with Lipids: Principles and Case Studies with BCS II, III and IV
         Molecules”, seminar, November 19, 2010, Cubist Pharmaceuticals, Lexington, MA.

   61.   Panayiotis P. Constantinides, panelist in the workshop on “Working with Industry: Designing
         Your Academic Research for Successful Collaboration: Part I, Basic Sciences Research”,
         January 13, 2011, Rush University Medical Center, Chicago, IL.

   62.   Panayiotis P. Constantinides, organizer and panelist, panel on “Commercializing
         Nanobiotechnology: Research, Development, Legal and Investment Perspectives”, iBIO
         2011 IndEx, February 15-16, 2011, Chicago, IL.

   63.   Panayiotis P. Constantinides “Improving Poor Biopharmaceutical Properties of Small
         Molecules and Macromolecules with Lipids: Rationale, Achievements and Challenges”,
         invited talk at the 2011 AAPS Drug Delivery Workshop on Emerging Oral Delivery Strategies
         and Technologies to Enable Biopharmaceutical Performance of BCS II, III and IV Molecules,
         April 14-15, 2011, Baltimore, MD.

   64.   Panayiotis P. Constantinides “Product Development Considerations with Targeted
         Nanotheragnostics”, invited talk at the symposium on Targeted Nanotheragnostics : Scientific
         Achievements and Commercialization Challenges, 2011 AAPS National Biotechnology
         Conference, May 16-18, 2011, San Francisco, CA.

   65.   Panayiotis P. Constantinides “Solubility and/or Permeability Enhancement Using Lipids:
         Case Studies”, invited talk at the 2011 June LOL Pharmaceutical Conference on Solubility and
         Bioavailability Enhancement: Product Development Strategies for Classic Challenges, June 6-
         10, 2011, Merrimac, WI.

   66.   Panayiotis P. Constantinides “Nanoparticle Strategies in Cancer Drug Delivery:
         Biopharmaceutical Perspectives”, Plenary Lecture, 4th Annual Nanotechnology Symposium,
         September 23 - 24, 2011, Sullivan University, Louisville, KY.

   67.   Panayiotis P. Constantinides “Pharmaceutical Nanoparticulate Systems: Principles, Case
         Studies and Product Development Considerations”, invited speaker by the AAPS Greater
         Maryland Discussion Group (GMDC), October 11, 2011, University of Maryland, School of
         Pharmacy, Baltimore, MD.

   68.   Panayiotis P. Constantinides, organizer, moderator and panelist on “Solid Self-Emulsified
         Water-in-Oil Microemulsions, Reverse Micelles and Nanoparticles”, Roundtable on
         Transforming Oral Liquid Lipid Formulations of BCS II, III and IV Molecules to Solid Dosage
         Forms: Prospects and Challenges, 2011 AAPS Annual Meeting, October 23-27, 2011,
         Washington, DC.

   69.   Panayiotis P. Constantinides “Pharmaceutical Emulsions and Related Systems for Oral and
         Topical Administration: Principles, Characterization and Cases Studies” seminar,
         December 2, 2011, Merck Consumer Care, Memphis, TN.



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   70.   Panayiotis P. Constantinides “Pharmaceutical Nanoparticulate Systems: Principles, Case
         Studies and Product Development Considerations”, webinar, December 13, 2011 Johnson &
         Johnson Science Forum/Delivery Technology Update.

   71.   Panayiotis P. Constantinides “Lipidic Nanoparticulates : Design and Development
         Considerations and Case Studies”, invited talk at the 47th AAPS Arden House Conference
         Nanoscience in Pharmaceuticals: Translating Fundamental Understanding to Practical
         Application in Drug and Device Development, March 11-14, 2012, The Thayer Hotel, West
         Point, NY.

   72.   Panayiotis P. Constantinides, “Enabling Oral Drug Delivery with Lipids : Trends and
         Perspectives” invited talk at the 2012 AAPS Workshop Lipid-Based Delivery for Improving
         Drug Absorption : Mechanistic Understanding and Practical Approaches, April 23-24, 2012,
         Baltimore, MD.

   73.   Panayiotis P. Constantinides, “Parenteral and Oral Lipid Nanodispersions for Small
         Molecules and Macromolecule Delivery: Biopharmaceutical Considerations and Case
         Studies”, invited talk at the symposium Advances in Lipid-Based Nanoparticulate Systems for
         Drug and Vaccine Delivery, CSPS Conference “Modern Therapeutics 2012: Advances in
         Physiology, Pharmacology & Pharmaceutical Sciences”, June 12-15, 2012, Toronto, Canada.

   74.   Panayiotis P. Constantinides “Nanoparticle Technologies in Drug Formulation and Delivery
         : Design and Development Considerations and Case Studies”, invited distinguished speaker
         at the Innovative Technologies in Healthcare Global Seminar sponsored by Evonik, March 5-6,
         2013, Mumbai, India.

   75.   Panayiotis P. Constantinides, “Oral Lipid-Based Systems in Drug Development and Life
         Cycle Management” invited quest lecture at VerGo Pharma and India Pharmaceutical
         Association, March 8, 2013, Verna, Goa, India.

   76.   Panayiotis P. Constantinides “Advances in Nano Drugs for Cancer Chemotherapy :
         Biopharmaceutical Trends and Perspectives and Case Studies”, keynote talk at the 3rd
         International Conference and Exhibition on Pharmaceutics & Novel Drug Delivery Systems
         (Pharmaceutica-2013), OMICS Group, April 8-10, 2013, Northbrook, IL.

   77.   Panayiotis P. Constantinides, “Project, Product or Company : A CSO/CTO Perspective”,
         invited talk and panelist at the BIO 2013 Biotechnology Entrepreneurship Boot Camp , Session
         3, April 21-22, 2013, Chicago, IL.

   78.   Panayiotis P. Constantinides “Entrepreneurship and Starting a New Business” panelist in a
         roundtable on Biotech Career Transition: Adaptability to Change and Strategies for Success,
         (P.P. Constantinides and P. Ramsey, organizers), 2013 AAPS National Biotechnology
         Conference, May 20-22, 2013, San Diego, CA.

   79.   Panayiotis P. Constantinides “The Scientific Basis for Fixed Dose Combination Products:
         Opportunities and Challenges”, invited talk at the 2013 June LOL Conference on Fixed Dose
         Combination Drug Development: Clinical, Formulation and Regulatory Challenges, June 3-6,
         2013, Madison, WI.

   80.   Panayiotis P. Constantinides “Integrated Drug Discovery and Development Strategy and
         Models”, invited talk and co-chair, Session II R&D in Drug Innovation, Bio Eco 2013, June 25-
         26, 2013, Tianjin Institute of Pharmaceutical Research, Tianjin, China.

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   81.   Panayiotis P. Constantinides “Nanoparticles Technologies in Drug Delivery : Design and
         Development Considerations and Case Studies” invited seminar at Nankai University,
         College of Life Sciences, June 26, 2013, Tianjin, China.

   82.   Panayiotis P. Constantinides “Trends and Perspectives in Oral Lipid-Based Formulations
         and Dosage Forms for Immediate, Sustained/Controlled Drug Release”, invited seminar at
         CoSci Med-Tech Ltd, June 28, 2013, Beijing, China.

   83.   Panayiotis P. Constantinides “Drug Emulsions/Microemulsions/Nanoemulsions : Quality
         Characteristics and Performance Assessment”, invited talk in the mini-symposium
         Overcoming Physical Stability Challenges with Multiphase Lipid Dispersed Systems and Impact
         on Product Quality and Performance, 2013 AAPS Annual Meeting, November 10-14, 2013,
         San Antonio. TX.

   84.   Panayiotis P. Constantinides “Enabling the Development and Life Cycle Management of
         Oral Poorly Soluble Drugs Using Lipid-Based Drug Delivery Systems”, invited keynote talk
         at the 4th International Conference and Exhibition on Pharmaceutics and Novel Drug Delivery
         Systems, March 24-26, 2014 San Antonio, TX.

   85.   Panayiotis P. Constantinides “Parenteral and Oral Nanoemulsions and Nanosuspensions:
         Processing, Characterization and In Vitro/In Vivo Performance Assessment”, invited talk
         and Chair, Solubility and Bioavailability Enhancement Workshop : Accelerating Translation of
         Challenging Compounds from Discovery to Clinical Testing and the Market, Ascendia
         Pharmaceuticals, LLC, April 28, 2014, North Brunswick, NJ.

   86.   Panayiotis P. Constantinides “Solubility and Bioavailability Enhancement in Drug
         Development : Drivers, Technologies to Consider and Assessment Strategies”, invited
         keynote talk, Evonink’s 5th Solubility and Bioavailability Enhancement Symposium Utilizing
         Pharmaceutical Melt Extrusion and Spray Drying Techniques, May 13-14, 2014, South
         Plainfield, NJ.

   87.   Panayiotis P. Constantinides “Advances in Parenteral Drug Nanodispersions : Processing,
         Characterization and Case Studies”, invited talk at the University of Nebraska Medical
         Center , Biopharma R&D Symposium, June 5-6, 2014, Omaha, NE.

   88.   Panayiotis P. Constantinides “Overview of Particle Engineering Needs in Pharma”, co-
         organizer, speaker and panelist, Preconference Workshop on “Particle Engineering
         Technology Selection and Partnership: A Roadmap to Commercialization”, 2014 June LOL
         Conference, “Particle Engineering in API and Drug Product Design”, June 9-12, 2014,
         Madison, WI.

   89.   Panayiotis P. Constantinides “Advancing Oral Peptide Formulations to Clinic and
         Commercialization : Development Considerations”, invited talk at the Workshop “Oral
         Peptide/Protein Delivery”, July 12-13, 2014, CRS Annual Meeting, Chicago, Illinois.

   90.   Panayiotis P. Constantinides “Oral Emulsions, Microemulsions and Reverse Micelles for
         BCS II/IV and III Molecules”, invited talk at the AAPS Workshop Improving Bioavailability
         by Lipid-Based Delivery Approaches, November 1-2, 2014, San Diego, CA.

   91.   Panayiotis P. Constantinides “Excipients as Inhibitors of the Absorption of Dietary
         Cholesterol : Principles and Case Studies with Nanostructured Aluminosilicates”, invited

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          talk at the symposium on Excipients as Atypical Actives in Nutraceuticals and Pharmaceuticals
          : Applications and Development Considerations, 2014 AAPS Annual Meeting, November 2-6,
          2014, San Diego, CA.

   92.    Panayiotis P. Constantinides “Oral Lipid-Based Formulations as Enabling Strategy in Drug
          Discovery and Life Cycle Management”, invited speaker and member of the organizing
          committee, 1st International Congress of Controlled Release Society-Greek Local Chapter, May
          27-28, 2015, Athens, GREECE.

   93.    Panayiotis P. Constantinides “Non-Traditional Uses of Pharmaceutical Excipients :
          Applications and Development Considerations”, invited speaker, 1st International Workshop
          of MD Pharmacon Pharmaceutical Services Ltd on Advances in Scientific-Regulatory Issues in
          Drug Development and Authorization Processes, May 29, Athens, Greece.

   94.    Panayiotis P. Constantinides “Parenteral Drug Nanodispersions : Manufacturing,
          Characterization and In Vitro/In Vivo Performance Evaluation”, keynote talk at OMICS
          Parenterals-2015 Conference, August 17-19, 2015, Chicago, Illinois.

   95.    Panayiotis P. Constantinides “Addressing Solubility and/or Permeability Challenges in
          Drug Development : Best Practices”, speaker and organizer, short course on Assessing and
          Applying Enabling Delivery Technologies and Formulation Tools to Oral Small Molecule (BSC
          II/IV) and Peptide Therapeutics (BCS III), 2015 AAPS Annual Meeting, October 25-29,
          Orlando, FL.

   96.    Panayiotis P. Constantinides “Starting a New Pharma/Biotech Company or Consulting
          Business: Why, What and How?” professional development mini-session, 2015 AAPS
          Annual Meeting, October 25-29, Orlando, FL.

   97.    Panayiotis P. Constantinides “ Effective Use of Lipids in Drug Delivery : Key
          Considerations and Best Practices” invited talk at the Workshop Enabling the Development
          of Oral Therapeutics with Innovation in Lipid Formulation Technologies, September 19-20,
          2016, Plainsboro, NJ.

   98.    Panayiotis P. Constantinides “Dispersed Systems for Oral Peptides Incorporating
          Permeation Enhancers and Peptide Stabilizers” invited panelist in a dialogue and debate
          session Getting Oral Peptides to the Market : To Conjugate and/or Disperse the Peptide?, 2016
          AAPS Annual Meeting, November 13-17, 2016, Denver, CO.

   99.    Panayiotis P. Constantinides “Oral Lipid Formulation Case Studies: Linking Drug Product
          Quality to Performance”, invited talk at the 2017 June Land O’Lakes Pharmaceutical
          Conference, Material Sciences Approaches to Improving Drug Delivery Performance: From
          Discovery Through Manufacturing, June 5-8, 2017, Madison, WI.

   100.   Panayiotis P. Constantinides “Evolution of Excipient Use in Drug Products: Traditional and
          Non-traditional Uses and Implications in Excipient Selection and Formulation
          Development”, invited talk AAPS Short Course Pharmaceutical Excipients:
          Biopharmaceutical, Quality Control and Regulatory Considerations, 2017 AAPS Annual
          Meeting, November 12-15, 2017, San Diego, CA.

   101.   Panayiotis P. Constantinides “Academia-Industry Partnerships: Success Considerations
          and Lessons Learned” invited talk in the symposium Academia-Biotech/Pharma Industry


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              Partnerships: Opportunities and Challenges, 2017 AAPS Annual Meeting, November 12-15,
              2017, San Diego, CA.


       102.   Panayiotis P. Constantinides “Development and Commercialization of Oral
              Peptides/Proteins: Trends and Perspectives”, keynote talk at the 12th World Drug Delivery
              Summit, September 24-26, 2018, Chicago, IL.

       103.   Panos P. Constantinides and Ronak Savla, co-presenters, “Is an Oral Lipid-Based
              Formulation Best for Your Molecule? Insights from exclusive survey on strategies for
              poorly soluble molecules”, March 27, 2019 Catalent Webinar.

Issued US and EP Patents

       1.     Laman A. Al-Razzak, Panayiotis P. Constantinides, Dilip Kaul, John Lipari, Lisa McChesney-
              Harris and Bashar Y. Abdullah “Hydrophilic Binary Systems for the Administration of
              Lipophilic Compounds”, US Patent 6,008,192 , December 28, 1999. This invention discloses
              binary pharmaceutical compositions comprising (i) a cyclosporine compound, (ii) a hydrophilic
              phase and (iii) a surfactant, provide bioavailability of the active ingredient which is equivalent
              to that provided by ternary compositions, but without the need for a lipophilic phase.

       2.     Karel Lambert, Panayiotis P. Constantinides and Steven C. Quay “Emulsion Vehicle for
              Poorly Soluble Drugs”, US 6,458,373, October 1, 2002. An emulsion of -tocopherol,
              stabilized by biocompatible surfactants, as a vehicle or carrier for therapeutic drugs, which is
              substantially ethanol-free and which can be administered to animals or humans by various
              routes is disclosed. Also included in the emulsion is PEGylated vitamin E. PEGylated -
              tocopherol includes polyethylene glycol subunits attached by a succinic acid diester at the ring
              hydroxyl of vitamin E and serves as a primary surfactant, stabilizer and a secondary solvent in
              emulsions of -tocopherol.

       3.     Panayiotis P. Constantinides, Karel Lambert, Alexander Tustian and Andrew Nienstedt, “
              Compositions of Tocol-Soluble Therapeutics”, US 6,479,540, November 12, 2002. Tocol-
              based compositions of charged amphiphilic and water soluble pharmaceutically active
              compounds or their charged precursors are prepared by forming a tocol-soluble ion pair with an
              oppositely charged ion-pair forming compound capable of forming a tocol-soluble ion-pair with
              the active compound. Also disclosed are novel compounds tocopherolsuccinate-aspartate and
              tocopherolsuccinate-glutamate, which are useful as ion-pair forming compounds.

       4.     Karel Lambert, Panayiotis P. Constantinides, Alex Tustian and Steven C. Quay, “Emulsion
              Vehicle for Poorly Soluble Drugs”, US 6,660,286, December 9, 2003. An emulsion
              incorporating one or more tocols, a co-solvent and, stabilized by biocompatible surfactants, as a
              vehicle or carrier for therapeutic drugs, which is substantially ethanol free and which can be
              administered to animals or humans by various routes is disclosed. Also included in the emulsion
              is PEGylated vitamin E, PEGylated -tocopherol includes polyethylene glycol subunits attached
              by a succinic acid diester at the ring hydroxyl of vitamin E and serves as a primary surfactant,
              stabilizer and a secondary solvent in tocol emulsions.

       5.     Karel Lambert, Panayiotis P. Constantinides, Alex Tustian and Steven C. Quay, “Emulsion
              Vehicle for Poorly Soluble Drugs”, US 6,667,048, December 12, 2003.

       6.     Robert E. Dudley and Panayiotis P. Constantinides, “Pharmaceutical Delivery Systems for
              Hydrophobic Drugs and Compositions Comprising Same”, US 8,241,664, August 14, 2012.
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   7.    Robert E. Dudley and Panayiotis P. Constantinides, “Pharmaceutical Delivery Systems for
         Hydrophobic Drugs and Compositions Comprising Same”, EP1871384, 1/2/2008.

   8.    Panayiotis P. Constantinides, Likan Liang and Eun-Hyun Jang, “Stabilized Reverse Micelle
         Compositions and Uses Thereof”, EP 1460992, 3/11/2009.

   9.    Panayiotis P. Constantinides, Likan Liang and Eun-Hyun Jang, “Stabilized Reverse Micelle
         Compositions and Uses Thereof”, US 8,535,650, September 17, 2013.

   10.   Arthur Michaelis and Panayiotis P. Constantinides, “Pharmaceutical Compositions and Uses
         Thereof”, EP2056835, 5/13/2009.

   11.   Jerald W. Darlington and Panayiotis P. Constantinides, “Cholesterol-Interacting Layered
         Phyllosilicates and Methods of Reducing Hypercholesteremia in a Mammal”, EP2167069,
         10/26/2011. Layered phyllosilicates are useful for adsorbing and/or binding to cholesterol and,
         thereby, reducing blood cholesterol in a patient. Accordingly, provided herein isa method of
         reducing hypercholesteremia in a mammal comprising administering to said mammal a layered
         phyllosilicate material alone and in combination with other cholesterol-reducing agents in an
         amount effective to reduce hypercholesteremia in said mammal.

   12.   Jerald W. Darlington and Panayiotis P. Constantinides, “Cholesterol-Interacting Layered
         Phyllosilicates and Methods of Reducing Hypercholesteremia in a Mammal”, US
         8,481,084, July 9, 2013.

   13.   Robert E. Dudley and Panayiotis P. Constantinides, “Oral Testosterone Ester Formulations
         and Methods of Treating Testosterone Deficiency Comprising Same”, US 8,492,369, July
         23, 2013.

   14.   Robert E. Dudley and Panayiotis P. Constantinides, “Oral Testosterone Ester Formulations
         and Methods of Treating Testosterone Deficiency Comprising Same”, US 8,778,916, July
         15, 2014.

   15.   Robert E. Dudley and Panayiotis P. Constantinides, “Pharmaceutical Delivery Systems for
         Hydrophobic Drugs and Compositions Comprising Same”, US 8,778,917, July 15, 2014.

   16.   Robert E. Dudley and Panayiotis P. Constantinides, “Pharmaceutical Delivery Systems for
         Hydrophobic Drugs and Compositions Comprising Same”, US 8,828,428, September 9,
         2014.

   17.   Wael Salameh and Panayiotis P. Constantinides “Use of Oral Pharmaceutical Products
         Combining Testosterone Esters with Hypolipidemic Agents”, US 10,245,273, April 2, 2019.

   18.   Robert E. Dudley and Panayiotis P. Constantinides, “Pharmaceutical Delivery Systems for
         Hydrophobic Drugs and Compositions Comprising Same”, US 11,179, 402, November 23,
         2021.

   19.   Robert E. Dudley and Panayiotis P. Constantinides, “Oral Testosterone Ester Formulations
         and Methods of Treating Testosterone Deficiency Comprising Same”, US 11, 179, 403,
         November 23, 2021.

   20.   Christopher Kevil, Anthony Giordano, Douglas R. Flanagan and Panayiotis P. Constantinides
         “Pharmaceutical Formulations of Nitrite and Uses Thereof”, US 10,307,441, June 4, 2019.
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      21.    Christopher Kevil, Anthony Giordano, Douglas R. Flanagan and Panayiotis P. Constantinides
             “Pharmaceutical Formulations of Nitrite and Uses Thereof”, US 10,463,689, November 5,
             2019.

WO Patents
      A.     The following patents disclose "Microemulsion Compositions with Improved Drug
             Delivery/Absorption Characteristics" Drug Delivery Department, SmithKline Beecham
             Pharmaceuticals, King of Prussia, Pennsylvania.

      1.     Panayiotis P. Constantinides, "W/O Microemulsions", WO 93/02664, 18 February 1993,
             describes water-in-oil microemulsion compositions where the lipophilic phase is comprising of
             medium-chain glycerides (mono-, di-, and triglycerides).

      2.     Panayiotis P. Constantinides, "W/O Microemulsions", WO 93/02665, 18 February 1993,
             describes water-in-oil microemulsion compositions where the lipophilic phase is comprising of
             long-chain glycerides and sorbitan esters.

      3.     Panayiotis P. Constantinides, "Compositions", WO 94 / 08603, 28 April 1994, describes
             water-in-oil microemulsions where the lipophilic phase is comprising interesterified medium-
             and long-chain glycerides or sorbitan esters.

      4.     Panayiotis P. Constantinides, "Therapeutic Microemulsions", WO 94 / 08605, 28 April 1994,
             describes microemulsion compositions where the lipophilic phase is comprising physical
             mixtures of medium- and long-chain glycerides or sorbitan esters.

      5.     Panayiotis P. Constantinides and Seang H. Yiv ,"Pharmaceutical Emulsion Compositions"
             WO 94 / 08610, 28 April 1994, describes microemulsion compositions where the lipophilic
             phase is comprising in addition to glycerides (mono-, di-, triglycerides) or sorbitan esters,
             medium-chain fatty acids/salts.

      6.     Panayiotis P. Constantinides, "Microemulsions Containing Pharmaceutical Compositions",
             WO 94/19000, 1 September, 1994, describes pharmaceutical compositions in the form of
             microemulsions comprising an oil, a mixture of high and low HLB surfactants in which the high
             HLB surfactant comprises an aliphatic, aryl or aliphatic-aryl sulfate, sulfonate or sulfosuccinate
             or salt thereof, an aqueous phase and a biologically active agent.

      7.     Panayiotis P. Constantinides, "Microemulsions Comprising Therapeutic Peptides", WO
             94/19001, 1 September, 1994, describes pharmaceutical compositions in the form of
             microemulsions comprising an oil, a mixture of high and low HLB surfactants in which the high
             HLB surfactant comprises a medium-chain alkyl/dialkyl sulfate, sulfonate or sulfosuccinate salt
             dissolved in a polyhydric alcohol, an aqueous phase and optionally further comprises a
             biologically active agent .

      8.     Panayiotis P. Constantinides, "Pharmaceutical Compositions", WO94/19003, 1 September,
             1994, describes pharmaceutical compositions in the form of microemulsions comprising an oil,
             a mixture of high and low HLB surfactants in which the oil is a propylene glycol or polyol ester
             of medium-chain fatty acids, and high HLB surfactant comprises a medium-chain alkyl/dialkyl
             sulfate, sulfonate or sulfosuccinate salt dissolved in a polyhydric alcohol, an aqueous phase and
             optionally further comprises a biologically active agent.



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   9.        Panayiotis P. Constantinides, "Camptothecin Formulations", WO 95/08986, 6 April 1995.
             This invention provides for the novel formulations of Camptothecin and its structurally related
             analogs in multilamellar or unilamellar vesicles. These novel formulations provide improved
             pharmacokinetics and pharmacodynamics for the compounds herein and thereby lowering the
             dose-dependent toxicity for use in anticancer treatments.

   B.        The following discloses “Self-emulsifying lipid-based systems for oral administration of
             lipophilic drugs “, Formulation Development Center, Pharmaceutical & Analytical R&D,
             Pharmaceutical Products Division, Abbott Laboratories, North Chicago, Illinois.

   1.        Laman A. Al-Razzak, Panayiotis P. Constantinides, Rong Gao, Dilip Kaul, John Lipari,
             Terrence Mazer and Lisa McChesney-Harris “Lipophilic Binary Systems for the
             Administration of Lipophilic Compounds”, WO98/40051, 17 September 1998. This
             invention discloses binary pharmaceutical formulations comprising (i) a cyclosporine
             compound, (ii) a lipophilic phase and (iii) a surfactant provide bioavailability of the active
             ingredient which is equivalent to that provided by ternary compositions, but without the need for
             a hydrophilic phase.

   C.        The following patents disclose were filed by SONUS Pharmaceuticals, Bothell, Washington.

   1.        Karel Lambert, Dean Kessler, Andrew Nienstedt, Greg Hartgraves and Panayiotis P.
             Constantinides “Tocol-Based Compositions Containing Amiodarone”, AU 9482601, 8 April
             2002.

   2.        Nagesh Palepu, Dean Kessler, Alexander K. Tustian, Steven C. Quay, Panayiotis P.
             Constantinides and Karel J. Lambert, “Method for Treating Colorectal Carcinoma Using a
             Taxane/Tocopherol Formulation”, US2003087954, 8 May, 2003.

   D. The following patent applications filed with the US PTO by DOR BioPharma, disclose Lipid
      Polymer Micelles (LPM) for the delivery of water-soluble drugs/peptides (1, 2) and Lipid
      Polymer Emulsions (LPE) and Polymer Lipid Particles (PLP) for the solubilization and
      delivery of water-insoluble drugs (3,4):

        1.       Eun-Hyun, Likan Liang and Panayiotis P. Constantinides, “Reverse Micelle Compositions
                 and Uses Thereof”, WO 03047494, 12 June, 2003.
        2.       Eun-Hyun, Likan Liang and Panayiotis P. Constantinides, “Stabilized Reverse Micelle
                 Compositions and Uses Thereof “, WO 03047493, 12 June, 2003.
        3.       Panayiotis P. Constantinides, Likan Liang and Reena Patil, “Lipid Particles and
                 Suspensions and Uses Thereof “, WO 03057128, 17 July, 2003.
        4.       Panayiotis P. Constantinides, Likan Liang, Reena Patil and Elijah Bolotin, “Monoterpene
                 Compositions and Uses Thereof “, WO 03057193, 17 July, 2003

   E. Co-inventor in the following published patent applications with client companies.

        22.      Robert E. Dudley and Panayiotis P. Constantinides, “Pharmaceutical Delivery Systems
                 for Hydrophobic Drugs and Compositions Comprising Same”, WO 113505A2, 26
                 October 2006. A drug delivery system for oral administration of hydrophobic drugs with
                 enhanced and extended absorption and improved pharmacokinetics is provided. In one
                 embodiment, formulation comprising testosterone and testosterone esters, e.g. testosterone
                 palmitate, are disclosed. Methods of treating a hormone deficiency or effective male
                 contraception with the inventive formulations are also provided.

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     23.    Arthur Michaelis and Panayiotis P. Constantinides, “Pharmaceutical Compositions and
            Uses Thereof”, WO 117556A2, 18 October 2007. It features pharmaceutical compositions
            including Rifalazil, a surfactant, and a lipophilic antioxidant and methods of use thereof.

     24.    John Hughes, Jerald W. Darlington, Jr., and Panayiotis P. Constantinides, “Virus-
            Interacting Layered Phyllosilicates and Methods of Inactivating Viruses on Animate
            and Inanimate Surfaces”, US 2007/ 0224293 A1, 27 September, 2007. Layered
            phyllosilicates are useful for adsorbing and/or binding to and, thereby, inactivating viruses.
            Accordingly, provided herein is a method of inhibiting transfer of a virus to a surface
            comprising contacting the surface with a composition comprising a layered phyllosilicate
            material in an amount sufficient for inhibiting the transfer of the virus thereto. Also
            provided are methods of inactivating a virus on a surface comprising contacting the surface
            with a composition comprising a layered phyllosilicate material in an amount sufficient to
            inactivate said virus.

     25.    John Hughes, Panayiotis P. Constantinides, and Jerald W. Darlington, Jr. “Virus-
            Interacting Layered Phyllosilicates and Methods of Inactivating Viruses in the
            Gastrointestinal Tract”, US 2007/ 0231412 A1, 4 October, 2007. Layered phyllosilicates
            are useful for adsorbing and/or binding to and, thereby, inactivating viruses. Accordingly,
            provided herein is a method of inactivating a virus in the gastrointestinal tract of a
            mammalian subject comprising administering to said subject a composition comprising a
            layered phyllosilicate material in an amount effective for virus inactivation. Also provided
            are methods of treating a viral infection in the gastrointestinal tract of a mammalian subject.
            Methods of delivering a therapeutic agent to a mammalian subject and methods of
            inactivating a virus in waste expelled from a mammal are also provided.

      26.   Christopher Kevil, Anthony Giordano, Douglas R. Flanagan and Panayiotis P.
            Constantinides “Pharmaceutical Formulations of Nitrite and Uses Thereof”,
            US2011/0086069 A1, April 14, 2011. The present invention relates to pharmaceutical
            compositions of nitrites such as inorganic nitrites, or any pharmaceutically acceptable salts,
            solvates, or prodrugs thereof, and the medical use of these compositions. The
            pharmaceutical compositions, which can be formulated for oral administration, can provide
            immediate release or extended release of the nitrite ion (NO2-). The pharmaceutical
            compositions of the invention are useful, for example, for the treatment of chronic
            ischemia.

      27.   Christopher Kevil, Anthony Giordano, Douglas R. Flanagan and Panayiotis P.
            Constantinides “Pharmaceutical Formulations of Nitrite and Uses Thereof”,
            EP10824097, 31 July 2013.

      28.   Wael Salameh and Panayiotis P. Constantinides “Use of Oral Pharmaceutical Products
            Combining Testosterone Esters with Hypolipidemic Agents”, WO 2015/100406.

      29.   Robert E. Dudley, Panayiotis P. Constantinides and James A. Longstreth “Methods of
            Treating Testosterone Deficiency”, US 2017/0246184, August 31, 2017.




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                          Basic Principles of Pharmacokinetics*
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           Pharmacokinetics may be defined as what the body does to a drug. It deals with the absorption, distribution,
         and elimination of drugs but also has utility in evaluating the time course of environmental (exogenous)
         toxicologic agents as well as endogenous compounds. An understanding of 4 fundamental pharmacokinetic
         parameters will give the toxicologic pathologist a strong basis from which to appreciate how pharmacokinetics
         may be useful. These parameters are clearance, volume of distribution, half-life, and bioavailability.
           Kevwords.     Clearance; volume of distribution; half-life; bioavailability; extraction ratio

                         INTRODUCTION                                               texts may be consulted for further elucidation      of
      An understanding of the basic principles of phar-                             these and other more detailed principles (4, 5, 8, 12,
   macokinetics is necessary to appreciate how this                                 15).
   discipline may serve as a tool for the toxicologic
   pathologist in understanding models that can be used                                                        CLEARANCE
   for predicting and assessing drug-related toxic re-                                  Clearance is the measure of the ability of the body
   sponses. Pharmacokinetics may be defined as what                                 to eliminate a drug. Clearance is expressed as a vol-
   the body does to a drug. It deals with the absorption,                           ume per unit of time.     Clearance is usually further
   distribution, and elimination of drugs but also has                              defined as blood clearance (CL,), plasma clearance
   utility in evaluating the time course of environ-                                (CLp), or clearance based on the concentration of
   mental (exogenous) toxicologic agents as well as en-                             unbound or free drug (CL.), depending on the con-
   dogenous compounds. A fundamental hypothesis of                                  centration measured (Cb, Cp, or CJ.
   pharmacokinetics is that a relationship exists be-                                  Clearance by means of various organs of elimi-
   tween a pharmacologic or toxic effect of a drug and                              nation is additive. Elimination of drug may occur
   the concentration of that drug in a readily accessible                           as a result of processes that occur in the liver, kidney,
   site of the body (e.g., blood). This hypothesis has                              and other organs. Division of the rate of elimination
   been documented for many drugs (5, 6), although                                  for each organ by a concentration of drug (e.g., sys-
    for some drugs no clear relationship has, as yet, been                          temic concentration) will yield the respective clear-
    found between pharmacologic effect and plasma or                                ance by that organ. Added together, these separate
    blood concentrations. An understanding of 4 fun-                                clearances will equal total systemic clearance:
    damental pharmacokinetic parameters will give the
    toxicologic pathologist a firm basis from which to                                           C~CpatlC + CL-n.1 + CLo1hcr = CLyS1Cfi11O~   (I)
    appreciate how pharmacokinetics may be useful.                                   Other routes of elimination could include that in
    These parameters are clearance, a measure of the                                 saliva or sweat, partition into the gut, and metab-
    body’s ability to eliminate drug; volume of distri-                              olism at sites other than the liver (e.g., nitroglycerin,
    bution, a measure of the apparent space in the body                              which is metabolized in all tissues of the body).
    available to contain the drug; half-life, a measure of                              Figure 1 depicts how a drug is removed from the
    the time required for a substance to change from                                 systemic circulation when it passes through an elim-
    one concentration to another; and bioavailability,
                                                                                     inating organ. The rate of presentation of a drug to
    the fraction of drug absorbed as such as the systemic                            a drug-eliminating organ is the product of organ
    circulation. These 4 parameters will be discussed                                blood flow (Q) and the concentration of drug in the
     here in detail. A number of classic pharmacokinetic                             arterial blood entering the organ 1C~). The rate of
                                                                                     exit of a drug from the drug eliminating organ is the
      *
        Address correspondence to: Dr. Leslie Z. Benet. Department
                                                                                     product of the organ blood flow (Q) and the con-
    of Pharmacy. University of California. San Francisco, California                 centration of the drug in the venous blood leaving
    94143-0446.                                                                      the organ (C~ ). By mass balance, the rate of elimi-
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                      FIG. 1.-A schematic representation of the concentration-clearance relationship.


    nation (or extraction) of a drug by a drug-eliminating                      It is obvious from Equation 6 that an organ’s clear-
    organ is the difference between the rate of presen-                         ance is limited by the blood flow to that organ (i.e.,
    tation and the rate of exit:                                                when ER        1 ). Among the many organs that are
                                                                                                       =




                                                                                capable of eliminating drugs, the liver has the high-
                                                                                est metabolic capability. The liver may also clear
                                                                                drug by excretion in the bile. Kidney eliminates drugs
                                                                                primarily by excretion into the urine, but kidney
                                                                                metabolism may occur for some drugs.
    Extraction ratio (ER) of an organ can be defined as                            Drug in blood is bound to blood cells and plasma
    the ratio of the rate of elimination to the rate of                         proteins such as albumin and al-acid glycoprotein.
    presentation:                                                               Only unbound drug molecules can pass through he-
                                                                                patic membranes into the hepatocytes where they
                                                                                are metabolized by hepatic enzymes or transported
                                                                                into the bile. Thus, to be eliminated, the drug mol-
                                                                                ecules must partition out of the red blood cells and
    The maximum possible extraction ratio is 1.0 when
                                                                                dissociate from plasma proteins to become unbound
    no drug emerges into the venous blood upon pre-
                                                                                or free drug molecules. The ratio of the unbound
    sentation to the eliminating organ (i.e., C,, 0). The
                                                     =




    lowest possible extraction ratio is zero when all the                       drug concentration (C&dquo;) to total drug concentration
    drug passing through the potential drug-eliminating                          (C) is defined as the fraction unbound (fu):
    organ appears in the venous blood (i.e., Cy       CB).=




    Drugs with an extraction ratio more than 0.7 are by
    convention considered as high extraction ratio drugs,
    whereas those with an extraction ratio less than 0.3
    are considered as low extraction ratio drugs.
                                                                                 Because an equilibrium exists between the unbound
      The product of organ blood flow and extraction                             drug molecules in the blood cells and the plasma,
    ratio of an organ represents a rate at which a certain                       the rate of elimination of unbound drugs is the same
    volume of blood is completely cleared of a drug.                             in the whole blood as in the plasma at steady state.
    This expression defines the organ clearance (CLorgan)                        Thus,
    of a drug.

                                                                                 where the subscripts p, b, and u refer to plasma,
                                                                                 blood, and unbound, respectively.
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      Since the pioneering discussions of clearance in                               TABLE 1. - Pharmacokinetic parameters of chlordiaz-
    the early 1970s (11. 13), much has been made of                               epoxide and imipramine in 70-kg humans.
    the differences between high and low clearance (ex-
    traction ratio) drugs and the interpretation of the
    effects of pathological and physiologic changes on
    the kinetics of drug elimination processes. Utilizing
    the simplest model of organ elimination. designated
    the venous equilibration or well-stirred model, the
    blood clearance of an organ can be expressed ac-
    cording to the following relationship:
                                   irB   roT




    Here, (fu)b represents fraction unbound in the blood                          Elimination of both chlordiazepoxide and imipra-
    and CLi,,, represents intrinsic clearance of the organ,                       mine were studied in an in vitro rat microsomal
    that is, the ability of the organ to clear unbound                            system prepared from livers of rats that were in-
    drug when there are no limitations due to flow or                             jected with phenobarbital (an inducer of the P-450
    binding considerations. Knowing that organ clear-                             enzyme family). In this in vitro system, the elimi-
    ance is equal to the product of organ blood flow and                          nation of both drugs was higher in the phenobar-
    extraction ratio of the organ (Equation 6), according                         bital-induced microsomes than in control micro-
    to the well-stirred model, then                                               somes. In vivo measured clearance of chlordiaze-
                                                                                   poxide in rats who had received phenobarbital was
                                                                                   higher than the control rats (no phenobarbital ad-
                                                                                   ministration). This is due to the fact that induction
     Examining Equations 9 and 10, one finds that for                              of enzymes by phenobarbital increases the hepatic
     drugs with a low extraction ratio Qorgan is much great-                       CLin, and, because for this low extraction ratio drug
     er than (f~)~ . CL,~,; thus, clearance is approximated                        CL,,cpaUC ~ (fJb’ CLtnto a higher CL is measured in
     by (f~)~ . CL;~,. However, in the case of a high ex-                          the presence of phenobarbital. In contrast, the in
     traction ratio drug (i.e., ER approaching 1.0), (fJb’                         vivo measured clearance of imipramine in rats that
     CL;~, is much greater than Qorgan, and clearance ap-                          received phenobarbital could not be differentiated
     proaches Qorgan- Therefore, the clearance of a high                           from that measured in control rats. This is due to
     extraction ratio drug is perfusion rate-limited.                              the fact that the value of (fJb’ CL,,,, for imipramine
     Eauations 11 and 12 describe these two cases:                                 is already greater than liver blood flow. Thus, in
                                                                                    vivo, liver blood flow is the limiting factor for the
                                                                                    elimination of this drug and, because of this, enzyme
                                                                                    induction will not substantially affect clearance of
                                                                                     imipramine.
                                                                                       The ability of an organ to clear a drug is directly
                                                                                     proportional to the activity of the metabolic en-
                                                                                     zymes in the organ. In fact, it is now well recognized
                                                                                     that the product (fJb’ CLint is the parameter best
       Examples of low and high extraction ratio drugs                               related to the Michaelis-Menten enzymatic satura-
     are chlordiazepoxide and imipramine, respectively.                              bility parameters of maximum velocity (Vmax) and
     The pharmacokinetic parameters for both drugs in                                the Michaelis constant (Km) as given in Equation
     humans are shown in Table I (6). Due to the low                                 13, where Corpn is the total (bound + unbound)
     recovery in the urine (% excreted unchanged), one                               concentration ofdrue in the or2.an of elimination:
     may assume that these drugs are mainly eliminated
     by the liver. Thus, hepatic extraction ratios for
     chlordiazepoxide and imipramine are 0.02 and 0.7,
     respectively. Note that the value of (fJb -CLint (35.8)
     for chlordiazepoxide is much lower than liver blood                              Thus. only low extraction ratio drugs will exhibit
     flow (1,500 mlimin) and conversely the value of                                  saturable elimination kinetics follow ing intravenous
     (fu)b’ CLmt for imipramine is more than twice the                                dosing. However, as shown subsequentIN in Equa-
      value of liver blood flow. Thus, elimination (clear-                            tion 29. AUCs (area under the curves) following oral
      ance) of chlordiazepoxide is limited by fraction un-                            doses wilt be inversely related to CL,n, for both high
      bound and the intrinsic clearance of the li~=er. where-                         and low extraction ratio drugs.
      as that of imipramine is limited by liver blood flow.                              Most drugs are administered on a multiple dosing

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    regimen, whereby after some time drug concentra-                                            relatively hydrophobic digoxin has a high apparent
    tions reach a steady-state level. At steady state, the                                      volume of distribution because it distributes pre-
    rate of drug input to the body is equal to the rate of                                      dominantly into muscle and adipose tissue, leaving
    drug elimination from the body. The input rate is                                           only a very small amount of drug in the plasma in
    given by the dosing rate (dose/T, where T is the dos-                                       which the concentration of drug is measured.
    ing interval) multiplied by the drug availability (F),                                        At equilibrium, the distribution of a drug within
    whereas the rate of elimination is given by clearance                                       the body depends on binding to blood cells, plasma
    multiplied by the systemic concentration (C). That                                          proteins, and tissue components. Only the unbound
    is, at steady state,                                                                        drug is capable of entering and leaving the plasma
                                                                                                and tissue compartments. Thus, the apparent vol-
                                                                                                ume can be expressed as follows:

                                                                                                                                  f


    When Equation 15 is integrated over all time from
    0 to infinity, Equation 16 results:                                                         where Vp is the volume of plasma, VTW is the aque-
                  -   ..
                       -   ,   .   --   ,   ,   .   -   - -,                    ,   ,   ,,
                                                                                                ous volume outside the plasma, fu is the fraction
                                                                                                unbound in plasma, and fu,, is the fraction unbound
    where AUC is the area under the concentration-                                              in tissue. Thus, a drug that has a high degree of
    time curve and F is the fraction of dose available                                          binding to plasma proteins (i.e., low fu) will generally
    to the systemic circulation.                                                                exhibit a small volume of distribution. Unlike plas-
      Thus, clearance may be calculated as the available                                        ma protein binding, tissue binding of a drug cannot
    dose divided by the AUC:                                                                    be measured directly. Generally, this parameter is
                                                                                                assumed to be constant unless indicated otherwise.
                                                                                                  Several volume terms are commonly used to de-
                                                                                                scribe drug distribution, and they have been derived
    As described in the text following Equation 12, the                                         in a number of ways. The volume of distribution
    maximum value for organ clearance is limited by                                             defined in Equation 19, considers the body as a
    the blood flow to the organ. The average blood flows                                         single homogeneous pool (or compartment) of body
    to the kidneys and the liver are, respectively, ap-                                          fluids. In this 1-compartment model, all drug ad-
    proximately 72 and 90 L/hr.                                                                  ministration occurs directly into the central com-
                                                                                                 partment (the site of measurement of drug concen-
                 VOLUME OF DISTRIBUTION                                                          tration, usually plasma), and distribution of drug is
      Volume of distribution (V) relates the amount of                                           considered to be instantaneous throughout the vol-
    drug in the body to the concentration of drug in the                                         ume. Clearance of drug from this compartment oc-
    blood or plasma, depending on the fluid in which                                             curs in a first-order fashion, as defined in Equation

    concentration is measured. This relationship is de-                                          20; that is, the amount of drug eliminated per unit
    fined by Equation 18:                                                                        time depends on the amount (concentration) of drug
                                                                                                 in the body compartment. Figure 2A and Equation
                                                                                                 20 describe the decline of plasma concentration with
                                                                                                 time for a drug introduced into this compartment:
       For an average 70-kg human, the plasma volume
    is 3 L, the blood volume is 5.5 L, the extracellular
    fluid outside the plasma is 12 L, and the total body
    water is approximately 42 L. However, many clas-                                             where k is the rate constant for elimination of the
    sical drugs exhibit volumes of distribution far in                                           drug from the compartment. This rate constant is
    excess of these known fluid volumes. The volume                                              inversely related to the half-life of the drug (k    =




    of distribution for digoxin in a healthy volunteer is                                        0,693/t,/,),
    about 700 L, which is approximately 10 times great-                                             In this case (Fig. 2A), drug concentrations were
    er than the total body volume of a 70-kg human.                                              measured in plasma 2 hr after the dose was admin-
    This serves to emphasize that the volume of distri-                                          istered. The semi-logarithmic plot of plasma con-
    bution does not represent a real volume. Rather, it                                          centration versus time appears to indicate that the
    is an apparent volume that should be considered as                                           drug is eliminated from a single compartment by a
    the size of the pool of body fluids that would be                                            first-order process (Equation 20) with a half-life of
    required if the drug were equally distributed                                                4 hr (k     0.693/t, = O.I73 hr-’). The volume of
                                                                                                                 =




    throughout all portions of the body. In fact, the                                            distribution may be determined from the value of


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     FIG. 2.-Plasma concentration-time curves following intravenous administration of a drug (500 mg) to a 70-kg human.



    Cp obtained by extrapolation to t      =
                                               0 (Cp°      =
                                                               16 lagl               that volume at the same concentration as that in the
    ml). In this example, the volume of distribution for                             measured fluid (plasma or blood). This volume can
    the I-compartment model is 31.3 L or 0.45 L/kg (V                                be determined by the use of areas, as described by
    =
       dose/CPO). The clearance for this drug is 92 ml/                              Benet and Galeazzi (3):
    min; for a 1-compartment model, CL k ~ V .      =

                                                                                                             ~ -1 - - -&dquo;   í ... T T’ 6 r&dquo;&dquo;’B.
        For    most  drugs, however, the idealized
    1-compartment model discussed earlier does not de-
    scribe the entire time course of the systemic con-
    centrations. That is, certain tissue reservoirs can be                           where AUMC is the area under the first moment of
    distinguished from the central compartment, and                                  the curve that describes the time course of the plas-
    the drug concentration appears to decay in a manner                              ma or blood concentration, that is, the area under
    that can be described by multiple exponential terms                              the curve of the product of time t and plasma or
    (Fig. 2B). Two different terms have been used to                                 blood concentration C over the time span 0 to in-
    describe the volume of distribution for drugs that                                finity.
    follow multiple exponential decay. The first, des-                                   Although Varea is a convenient and easily calcu-
    ignated Vare3’ is calculated as the ratio of clearance                            lated parameter, it varies when the rate constant for
     to the rate constant describing the terminal decline                             drug elimination changes, even when there has been
     of concentration during the elimination (final) phase                            no change in the distribution space. This is because
     of the logarithmic concentration versus time curve:                              the terminal rate of decline of the concentration of
                                                                                      drug in blood or plasma depends not only on clear-
                                                                                      ance but also on the rates of distribution of drug
                               n
                                     n,&dquo;--~J
                                                                                      between the central and final volumes. V_ does not
                                                                                      suffer from this disadvantage (4).
         The calculation of this parameter is straightfor-                                In the case of the example given in Fig. 2, sam-
     ward, and the volume term may be determined after                                 pling before 2 hr indicated that the drug follows
     administration of drug by intravenous or enteral                                  multiexponential kinetics. The terminal disposition
     routes (where the dose used must be corrected for                                 half-life is 4 hr. clearance is 103 ml~’min (calculated
     bioavailability). However, another multicompart-                                  from a measurement of AUC and Equation 17), V ana
     ment volume of distribution may be more useful,                                   is ’~8 L (Equation 21), and V&dquo; is 25.4 L (Equation
     especially when the effect of disease states on phar-                             22). The initial, or &dquo;central,&dquo; distribution volume
        macokinetics is to be determined. The volume of                                for the drug (V   =
                                                                                                            dose CpO) is 16.1 L. This example
        distribution at steady state (V ss) represents the vol-                        indicates that multicompartment kinetics may be
        ume in which a drug would appear to be distributed                             overlooked when sampling at early times is neglect-
        during steady state if the drug existed throughout                             ed. In this particular case. there is only a 10% error


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     in the estimate of clearance when the multicom-                                  concentrations to reach one-half (or 50%) of the
     partment characteristics are ignored. However, for                               expected steady-state concentration. For the sim-
     many drugs multicompartment kinetics may be ob-                                  plest case, the 1-compartment model (Fig. 2A), half-
     served for significant periods of time, and failure to                           life may be determined readily and used to make
     consider the distribution phase can lead to signifi-                             decisions about drug dosage. However, as indicated
     cant errors in estimates of clearance and in predic-                             in Fig. 2B, drug concentrations in plasma often fol-
     tions of the appropriate dosage.                                                 low a multiexponential pattern of decline; 2 or more
        Volume of distribution is a useful parameter for                              half-life terms may thus be calculated.
     determining loading doses. For drugs with long half-                                Early studies of pharmacokinetic properties of
     lives, the time to reach steady state (see the Half-                             drugs in disease states were compromised by their
     Life section) is appreciable. In these instances, it                             reliance on half-life as the sole measure of altera-
     may be desirable to administer a loading dose that                               tions of drug disposition. Only recently has it been
     promptly raises the concentration of drug in plasma                              appreciated that half-life is a derived parameter that
     to the projected steady-state value. The amount of                               changes as a function of both clearance and volume
     drug required to achieve a given steady-state con-                               of distribution. A useful approximate relationship
     centration in the plasma is the amount of drug that                              among the clinically relevant half-life, clearance, and
     must be in the body when the desired steady state                                volume of distribution is given by
     is reached. For intermittent dosage schemes, the
     amount is that at the average concentration. The
     volume of distribution is the proportionality factor
                                                                                                                 (0.693).~ vC
                                                                                                            t, = (0.693)
                                                                                                            tv f--                       (24)
     that relates the total amount of drug in the body to                             Equation     24 is exact for a drug following
     the concentration in the plasma. When a loading                                  1-compartment kinetics.
     dose is administered to achieve the desired steady-                                 In the past, the half-life that was usually reported
     state concentration, then                                                        corresponded to the terminal log-linear phase of
                                                                                      elimination. As greater analytical sensitivity has been
                    loading dose Cp,ss’ Vss
                                     =
                                                       (23)
                                                                                      achieved, the lower concentrations measured ap-
        For most drugs, the loading dose can be given as                              peared to yield longer and longer terminal half-lives.
     a single dose by the chosen route of administration.                             For example, a terminal half-life of 5 3 hr is observed
     However, for drugs that follow complicated multi-                                for gentamicin, and biliary cycling is probably re-
     compartment pharmacokinetics, such as a                                          sponsible for a 120-hr terminal t,/, value reported
     2-compartment model (Fig. 2B), the distribution                                  for indomethacin. The relevance of a particular half-
     phase cannot be ignored in the calculation of the                                life may be defined in terms of the fraction of the
     loading dose. If the rate of absorption is rapid rel-                            clearance and volume of distribution that is related
     ative to distribution (this is always true for intra-                            to each half-life and whether plasma concentrations
     venous bolus administration), the concentration of                               or amounts of drug in the body are best related to
     drug in plasma that results from an appropriate                                  measures of response (1).
     loading dose can initially be considerably higher than                              Clearance is the measure of the body’s ability to
     desired. Severe toxicity may occur, although tran-                               eliminate a drug. However, the organs of elimina-
     siently. This may be particularly important, for ex-                             tion can only clear drug from the blood or plasma
     ample, in the administration ofantiarrhythmic drugs,                             with which they are in direct contact. As clearance
     where an almost immediate toxic response is ob-                                  decreases, due to a disease process, for example,
     tained when plasma concentrations exceed a partic-                               half-life would be expected to increase. However,
     ular level. Thus, while the estimation of the amount                             this reciprocal relationship is exact only when the
     of the loading dose may be quite correct, the rate of                            disease does not change the volume of distribution.
     administration can be crucial in preventing exces-                               For example, the half-life of diazepam increases with
     sive drug concentrations. Therefore, for drugs such                              increasing age; however, it is not clearance that
     as antiarrhythmics, even so-called &dquo;bolus&dquo; doses are
                                                                                      changes as a function of age but the volume of dis-
     administered by a slow &dquo;push&dquo; (i.e., no faster than                    tribution (10). Similarly, changes in protein binding
     50 mg/min).                                                                      of the drug may affect its clearance as well as its
                                                                                      volume of distribution, leading to unpredictable
                             HALF-LIFE
                                                                                      changes in half-life as a function of disease. The half-
        The half-life (t,,_) is the time it takes for the plasma                      life of tolbutamide, for example, decreases in pa-
     concentration or the amount of drug in the body to                               tients with acute viral hepatitis, exactly the opposite
     be reduced by 50%. When drug is being adminis-                                   from what one might expect. The disease appears
     tered as multiple doses or as a zero-order infusion,                             to modify protein binding in both plasma and tis-
     half-life also represents the time it takes for drug                             sues, causing no change in volume of distribution


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    but an increase in total clearance because higher                                TABLE II.-Percentages of steady-state concentration
    concentrations of free drug are present (14).                                  reached upon multiple dosing or during constant rates of
                                                                                   infusion as a function of number of half-lives.
       Although it can be a poor index of drug elimi-
    nation, half-life does provide an important indica-
    tion of the time required to reach steady state after
    a dosage regimen is initiated (i.e.. 4 half-lives to
    reach approximately 94% of a new steady state). the
    time for a drug to be removed from the bodn,. and
    a means to estimate the appropriate dosing interval.
       If the dosing interval is long relative to the half-
    life, large fluctuations in drug concentration will oc-
    cur. On the other hand, if the dosing interval is short                         ratio drugs, this first-pass loss, or decrease in oral
    relative to half-life, significant accumulation will oc-
                                                                                    bioav ailability. will be markedly greater than for low
    cur. The half-life parameter also allows one to pre-                            extraction ratio drugs.
    dict drug accumulation within the body and quan-                                  The fraction of an oral dose available to the sys-
    titates the approach to plateau that occurs with mul-                           temic circulation considering both absorption and
    tiple dosing and constant rates of infusion. Con-                               the first-pass effect can be found by comparing the
    ventionally, 31/3 half-lives are used as the time                               ratio of AUCs following oral and intravenous dos-
    required to achieve steady state under constant in-                             ing:
    fusion. The concentration level achieved at this time
    is already 90% of the steady-state concentration (Ta-
    ble II), and, clinically, it is difficult to distinguish a
     10% difference in concentrations.
                                                                                     Assuming the drug is completely absorbed intact
                        BIOAVAILABILITY                                              through the gastrointestinal tract, and that the only
                                                                                     extraction takes place at the liver, then the maxi-
       The bioavailability of a drug product via various
                                                                                     mum bioavailability (Fmax) is
    routes of administration is defined as the fraction
    of unchanged drug that is absorbed intact and reach-
    es the site of action, or the systemic circulation fol-

    lowing administration by any route. For an intra-                                Combining Equations 6 and 26 results in the fol-
    venous dose of a drug, bioavailability is defined as                             lowing relationship for maximum bioavailability:
    unity. For drug administered by other routes of ad-
    ministration, bioavailability is often less than unity.
    Incomplete bioavailability may be due to a number
    of factors that can be subdivided into categories of                             For high extraction ratio drugs, where CL,,«t,~ ap-
    dosage form effects, membrane effects, and site of                               proaches Qhepauc’ F may, will be small. For low extrac-
    administration effects. Obviously, the most avail-                               tion ratio drugs, Qhepauc is much greater than B.. ~ f~tlC~
    able route of administration is direct input at the                              therefore, F max will be close to 1.
    site of action for which the drug is developed. This                                The relationship between clearance and bioavail-
    may be difficult to achieve because the site of action                           ability for high and low extraction ratio drugs is
    is not known for some disease states, and in other                               summarized in Fig. 3. Equation 9 describes the sim-
    cases the site of action is completely inaccessible                              plest model for organ elimination and the approx-
     even when drug is placed into the bloodstream. The                              imate relationships or boundary conditions are giv-
     most commonly used route is oral administration.                                en for high and low extraction substances (Equations
     Orally administered drugs may decompose in the                                   12 and 1 1, respectively). Substituting Equation 9
     fluids of the gastrointestinal lumen or be metabo-                              into Equation 27, yields Equation 28 as given in Fig.
     lized as they pass through the gastrointestinal mem-                            3. The boundary conditions for Fm.n are also given.
     brane. Once a drug passes into the hepatic portal                               Much has been made of the comparison of clearance
     vein, it may be cleared by the liver before entering                            and bioavailability for high and low extraction com-
     into the general circulation. The loss of drug as it                            pounds. However, in both therapeutics and toxi-
     passes through drug-eliminating organs for the first                            cology. the primary concern will be with the actual
     time is defined as the first-pass effect. For example,                          exposure following an oral dose. because this is the
     in Fig. 1, the availability of an oral dose of a drug                           measure of how much drug or toxic substance be-
     eliminated by the liver will be less than an intra-                             comes available following ingestion by the most fre-
     venous dose, due to the first-pass loss of drug through                         quent route of administration. This measure of ex-
     the liver following oral dosing. For high extraction                             posure (AUC) following oral dosing is given by


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     FIG. 3.-Critical equations utilizing the well-stirred model to define clearance, maximum oral bioavailability, and
    maximum area under the curve following an oral dose for high and low extraction ratio drugs.



     Equation 29. Note that Equation 29 holds for both                            of the liver to remove or clear unbound drug is the
     high and low extraction ratio compounds.                                     determining factor following an oral dose.
       Equation 29 indicates that for drugs like chlor-                             This is illustrated by data from hemodialysis pa-
     diazepoxide or imipramine, which are essentially                             tients for the nonsteroidal anti-inflammatory drug
     completely absorbed and eliminated exclusively by                            etodolac (7), which revealed a decrease in protein
     hepatic metabolism, the area under the concentra-                            binding and total drug concentrations. No change
     tion versus time curve (AUC) is predicted by the                             in half-life was observed. Looking more carefully at
     oral dose divided by the fraction unbound (f&dquo;)b and                     data from a subgroup of 5 of these patients, there
     the intrinsic ability of the liver to eliminate the un-                       was no difference in unbound etodolac concentra-
     bound drug (CL;nt).                                                           tions compared with normal subjects. Thus, al-
       As discussed earlier, only the unbound drug can                             though protein binding changes in hemodialysis pa-
     exert a pharmacologic effect. Thus, another impor-                            tients, the unbound concentration does not change
     tant parameter to consider is the unbound area un-                            as   predicted by Equation 30; therefore, altering eto-
     der the curve (AVCJ. If both sides of Equation 29                             dolac dosage should not be necessary (2).
     are multiplied by (fu)b, it can be seen in Equation                             Recently, bioavailability and clearance data ob-
     30 that the area under the curve unbound is a func-                           tained from a cross-over study of cyclosporine ki-
     tion only of the oral dose and the intrinsic ability                          netics before and after rifampin dosing revealed a
     of the liver to eliminate the drug:                                           new understanding of drug metabolism isozymes
                                                                                   and the disposition of this compound (9). Healthy
                                                                                   volunteers were given cyclosporine, intravenously
                                                                                   and orally, before and after their cytochrome P-450
                                                                                   3A enzymes were induced by rifampin. As expected,
     Because it is generally believed that pharmacody-                             the blood clearance of cyclosporine increased from
     namic response is related to unbound concentration,                           0.31 to 0.42 L/hr/kg due to the induction of the
     Equation 30 indicates that only the intrinsic ability                         drug’s metabolizing enzymes (i.e., an increase in

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                                                                                                                                                      123

                  in Equation 13). There was no change in vol-
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            ume   of distribution, but there was a dramatic de-                                     tal determination of the steady-state volume of dis-
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            dosing. But if one predicts on the basis of phar-                                       tribution. and elimination. In: Goodman and Gil-
            macokinetics what the maximum bioavailability (as                                       man’s The Pharmacological Basis of Therapeutics,
            calculated by Equation 27 with an hepatic blood                                         AG Gilman, TW Rall, AS Nies, and P Taylor (eds).
            flow of 90 L/hr/70 kg) would be before and after                                        Pergamon Press. New York. pp. 3-32.
            rifampin dosing, the maximum bioavailability would                                   6. Benet LZ and Williams RL (1990). Design and op-
            decrease from 77 to 68%. Thus, there would be an                                        timization ofdosage regimens: pharmacokinetic data.
            expected cyclosporine bioavailability decrease of                                       In: Goodman and Gilman’s The Pharmacological Ba-
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            approximately 12% on the basis of the clearance                                         and P Taylor (eds). Pergamon Press, New York, pp.
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            dose of cyclosporine occurs in the gut), would not                                        macokinetics, 2nd ed. Lea & Febiger, Philadelphia.
            have been realized had pharmacokinetics not been                                    13. Wilkinson G and Shand DG (1975). The physiolog-
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                                   EXHIBIT 3
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                                                           Research Article

 Case Studies for Practical Food Effect Assessments across BCS/BDDCS Class
 Compounds using In Silico, In Vitro, and Preclinical In Vivo Data

 Tycho Heimbach,1,2 Binfeng Xia,1 Tsu-han Lin,1 and Handan He1


                   Received 14 June 2012; accepted 26 September 2012; published online 10 November 2012
                   Abstract. Practical food effect predictions and assessments were described using in silico, in vitro, and/or
                   in vivo preclinical data to anticipate food effects and Biopharmaceutics Classiﬁcation System (BCS)/
                   Biopharmaceutics Drug Disposition Classiﬁcation System (BDDCS) class across drug development
                   stages depending on available data: (1) limited in silico and in vitro data in early discovery; (2) preclinical
                   in vivo pharmacokinetic, absorption, and metabolism data at candidate selection; and (3) physiologically
                   based absorption modeling using biorelevant solubility and precipitation data to quantitatively predict
                   human food effects, oral absorption, and pharmacokinetic proﬁles for early clinical studies. Early food
                   effect predictions used calculated or measured physicochemical properties to establish a preliminary
                   BCS/BDDCS class. A rat-based preclinical BCS/BDDCS classiﬁcation used rat in vivo fraction absorbed
                   and metabolism data. Biorelevant solubility and precipitation kinetic data were generated via animal
                   pharmacokinetic studies using advanced compartmental absorption and transit (ACAT) models or in
                   vitro methods. Predicted human plasma concentration–time proﬁles and the magnitude of the food
                   effects were compared with observed clinical data for assessment of simulation accuracy. Simulations and
                   analyses successfully identiﬁed potential food effects across BCS/BDDCS classes 1–4 compounds with an
                   average fold error less than 1.6 in most cases. ACAT physiological absorption models accurately
                   predicted positive food effects in human for poorly soluble bases after oral dosage forms. Integration of
                   solubility, precipitation time, and metabolism data allowed conﬁdent identiﬁcation of a compound’s BCS/
                   BDDCS class, its likely food effects, along with prediction of human exposure proﬁles under fast and fed
                   conditions.
                   KEY WORDS: absorption modeling; BCS/BDDCS; food effect prediction; human PBPK model; oral
                   bioavailability.



 INTRODUCTION                                                               solubility and metabolism has been applied for anticipating
                                                                            food effects (7). However, the BDDCS is apparently less
      The effect of food on drug absorption can be mediated                 frequently used by pharmaceutical scientists (8), possibly due
 through various mechanisms, including enhancement in drug                  to its perceived complexity. The BDDCS system assigns a
 solubility, change of gastrointestinal (GI) pH and mobility,               drug classiﬁcation using human in vivo drug metabolism data
 delayed stomach emptying, increased bile salt concentration,               in lieu of human intestinal permeability to demonstrate that
 or direct interactions with the drug (1, 2). Food effects may              the extent of absorption is greater than 90% (7). Recently,
 signiﬁcantly alter the systemic availability of orally dosed               Benet et al. utilized in silico/in vitro physicochemical param-
 drugs which can impact pharmacological responses or safety                 eters (e.g., LogP) to assign BDDCS class and probability of
 margins (3–5). Fleisher, Wu, and Benet used the Biopharma-                 metabolism for new chemical entities (NCEs; 10). A BDDCS
 ceutics Classiﬁcation System (BCS; 6) to predict the direction             class could be used to identify likely food effects in early drug
 and change in the extent of drug exposure affected by food                 discovery stages. However, concentration–time proﬁles for
 (1, 7). The Biopharmaceutics Drug Disposition Classiﬁcation                clinical trials could not be predicted (e.g., Cmax as peak
 System (BDDCS; 8, 9) which classiﬁes compounds by                          plasma concentration or area under the curve (AUC) as area
                                                                            under the plasma concentration time curve) after various
                                                                            dosage forms. The BCS/BDDCS system may only provide a
 Electronic supplementary material The online version of this article       rough prediction for high-fat meal effects for drug products
 (doi:10.1208/s12248-012-9419-5) contains supplementary material,           with limited formulation optimization. In reality, the effects of
 which is available to authorized users.                                    a meal on drug absorption and systemic exposure can be
 Tycho Heimbach and Binfeng Xia contributed equally to this work.           formulation dependent, and may be exacerbated with higher
 1
   Novartis Institutes for BioMedical Research, DMPK, One Health            doses. The prediction of whether orally dosed drug product
   Plaza 436/3253, East Hanover, New Jersey 07936, USA.                     will show a food effect in human can be challenging,
 2                                                                          especially when an insoluble compound has undergone
   To whom correspondence should be addressed. (e-mail:
   Tycho.Heimbach@Novartis.com)                                             formulation optimization. In theory, a solubility-optimized

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 formulation can convert a BCS class 2 drug to exhibit class 1              During early discovery stages, readily available calculat-
 behavior when the dose number is reduced to less than 1 (6).         ed in silico or in vitro parameters may be used to deﬁne a
 For example, solid dispersions, nanocrystals, self-emulsifying       preliminary BCS/BDDCS (pBCS/pBDDCS). The pBDDCS
 drug delivery systems, and soluble cyclodextrin complexes            can be used to identify a food effect, as in silico predicted
 have been successfully used to improve solubility for poorly         parameters, e.g., the calculated log of the octanol/water
 water-soluble drugs (classes 2 or 4; 11). In such cases,             partition coefﬁcient (clog P), correlated with the probability
 predictions using the conventional BCS/BDDCS classes can             of extensive metabolism for orally dosed drug (10). The
 fail or be inadequate. Traditionally, food effects have been         pBCS/pBDDCS class deﬁned by in silico/in vitro parameters
 assessed using dog in vivo studies with some success (12–15).        can be conﬁrmed once metabolism and extent of absorption
 However, the extent of food effect (changes on Cmax, AUC)            have been characterized in rats; the most commonly used
 observed in dogs may not always translate directly to the            preclinical species (Fig. 1). When in vivo radiolabeled mass
 human situation, and mechanistic understanding can be                balance and excretion studies have been conducted, a
 limited without the use of mechanistic models (16).                  preclinical BCS/BDDCS classiﬁcation based on rat data
       Recently, there has been a growing interest to evaluate        (rBCS/rBDDCS) can be established. The pBCS/pBDDCS
 the in vivo drug product performance with simulated                  and rBCS/rBDDCS, if consistent, will provide a rational
 pharmacokinetic (PK) proﬁles using physiologically based             estimate of human BCS/BDDCS class (hBCS/hBDDCS) to
 (PB) absorption models that are combined with a PK                   qualitatively predict likely human food effects. The practical
 disposition model (17). Now, the integration of in vitro, in         approach to qualitatively predict or assess food effects from
 silico, and in vivo data is greatly facilitated due to advances of   early discovery through candidate selection stages is de-
 physiologically based pharmacokinetic (PBPK) modeling                scribed in Table I for seven Novartis compounds across
 tools, such as GastroPlus (18, 19), Simcyp (20, 21), and             BCS/BDDCS classes. The predictability of food effects using
 STELLA (22–24). Integration of in vitro dissolution/solubility       BCS/BDDCS relies on appropriate classiﬁcation using multi-
 data generated in biorelevant media (25, 26) with in silico          ple parameters (e.g., fraction absorbed, permeability, dose
 simulation tools (18, 19, 27, 28) may complement or even             number, transporter effects, drug metabolism after intrave-
 substitute animal models for quantitative assessment of the          nous dosing) as shown in Fig. 1 and Table I. As the
 food effects trends. Although universally predictive food            conventional four class BCS/BDDCS cannot provide com-
 effect models remain elusive, even with advanced in silico           plete mechanistic information, food effects of some drug
 advanced compartmental absorption transit (ACAT) models,             products may be not be predicted correctly, e.g., when drug
 appropriate model selection, and parameterization of bio-            delivery systems have been designed to improve oral
 pharmaceutical properties can enable pharmaceutical scien-           absorption. To overcome these limitations and to predict
 tists to predict food effect risks successfully. Here, several       human exposure proﬁles, physiologically based absorption
 case examples related to practical food effect predictions and       models have been used to link drug products properties with
 analyses across all BCS/BDDCS classes, using in silico               in vivo performance (3).
 predictions, in vitro biorelevant precipitation/solubility data,           Physiologically based models which integrate anatomical
 in vitro transporter kinetics, and in vivo animal models are         and physiological parameters of gastrointestinal tracts in
 described for all drug development stages.                           preclinical species and humans, along with physicochemical
                                                                      drug product formulation properties, have been used to
                                                                      predict absorption and disposition (18–24, 30–32). These
 MATERIALS AND METHODS
                                                                      approaches have been applied during formulation develop-
                                                                      ment; yet their practical application in the prediction of
 Computer Hardware and Software                                       human food effects has not been described extensively.
                                                                      Heimbach et al. reported the practical application of preclin-
      GastroPlus (version 7.0, Simulations Plus, Inc, CA,             ical and clinical PK/PD modeling by integrating in vitro and
 USA) or Simcyp simulator (v11, Simcyp Limited, Shefﬁeld,             preclinical in vivo data for the anticipation of human doses
 UK) were run on a Lenovo computer with Intel® Core™ i5               (30). Here, we used a similar strategy to predict potential
 processor. These programs enable the prediction of rate and          food effect outcomes that can be conducted by both DMPK
 extent of oral drug absorption from the gastrointestinal tract       and formulation scientists. Brieﬂy, the projection processes
 using ACAT or the advanced drug absorption and metabo-               may include the following steps: (a) characterization of
 lism (ADAM) model based on an absorption model original-             preclinical PK and related biopharmaceutical parameters
 ly established by Yu and Amidon (29). With the input of              under fasted and fed state; (b) correction interspecies differ-
 physicochemical properties (e.g., solubility, permeability,          ences; (c) scaling of preclinical in vitro and in vivo parameters
 LogP, pKa, particle sizes), dissolution rates for solid formu-       to human situation; and (d) prediction of human PK proﬁles
 lations, and systemic PK parameters human concentration              in presence or absence of meals.
 time proﬁles can be generated.                                             Differences in physiological conditions between fasted
                                                                      and fed states can impact oral absorption and food effects (1).
 General Strategy for Human Food Effect Predictions                   Therefore, physiological parameters, either obtained from the
                                                                      literature or from default ACAT values, must be carefully
      A ﬂow chart for the qualitative and/or quantitative             examined and selected. Solubility measured in biorelevant
 evaluations of food effects suitable for early discovery, drug       media can be more predictive for in vivo drug solubilization
 candidate selection, and clinical development is shown in            than solubility measured in aqueous buffers (33). In vivo
 Fig. 1.                                                              dissolution in ACAT models can be calculated with modiﬁed
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 Practical Food Effect Assessments                                                                                                    145




   Fig. 1. Flowchart for “practical” food effect predictions across BCS/BDDCS classes from early discovery through clinical development
   using in silico, in vitro, and preclinical in vivo data
                                                                                                                                                                                                    146




                                         Table I. In silico, In vitro, and In vivo Data to Predict the BCS/BDDCS Class of Seven Novartis Compounds

Parameter                                NVS732            NVS406            NVS562               NVS701                     NVS001                       NVS169                   NVS113
In silico preliminary BCS/BDDCS
Calculated log P, or LogDpH07.4              0.83                3.4               5.0                 4.5               1.0 (log DpH07.4)                     5.0                    4.6
Calc. human perm., Peff (10−4 cm/s)a     0.56 (low)         2.47 (high)        3.13 (high)         1.34 (low)                1.63 (low)                    0.21 (low)             1.24 (low)
Calc. intrinsic solubility (mg/mL)b     14.1 (high)        0.0026 (low)       0.0036 (low)        0.0028 (low)              6.77 (high)                   0.077 (low)             0.11 (low)
Probability of extensive metabolism         Low                High               High                High                      Low                           High                   High
pBCS/pBDDCS class                            3/3                2/2                2/2                 4/2                       3/3                           4/2                    4/2
Rat BDDCS (ADME study with radiolabeled compounds)
Rat dose numberc                              2.8              1286               3214                 857                      0.007                         6.59                   51.4
Fa (%)d                                       87                 45                >80               26–34                        8.5                          29                     27
Elimination pathway in Rat (% of dose recovered after an i.v. administration)
                                                                                       e
Urinary excretion of intact drug             26.9                0.1               0.5                 0.0                        5.0                         2.54                   < 0.1
Biliary excretion + GI secretion              8.6                9.7              99.5e               15.3                       77.7                         15.4                    35
Percent metabolism                           64.3               90.2              N/A                 84.7                       17.3                         81.3                    65
rBCS/rBDDCS class                              1                  2                 2                   2                          3                            2                      2
Human BCS/BDDCS
Dose number for drug                        0.013               600               1500                 400                      0.003                   3.07, 0.51 (ME)          24, 1.7 (SF)
  substances (DS)f
F or Fa (%), fasted condition               F: 85          F: 20 (susp.) Fa: 50–97 (G + pred.) Fa <30 (G + pred.)             F: ∼3.0              Fa >90 (ME) Simcyp pred. Fa >92 (SF) G + pred.
Transporter effects                  Weak P-gp substrate P-gp substrate Minimal P-gp effects Weak P-gp substrate Substrate for uptake transporters       P-gp substrate     Weak P-gp substrate
Pred. hBCS/BDDCS Classg                        1                  2                 2                   2                          3                            2                      2
Pred. human food effects                     No               Positive           Positive           Positive                  Negative                         No                     No
Obs. human food effectsh                     No               Positive           Positive           Positive                  Negative                         No                  Negative
Obs. hBCS/hBDDCS Classg                        1                  2                 2                   2                          3                            2i                     4j

a
   Human effective permeability was calculated by GastroPlus ADMET predictor. Metoprolol was used as a high permeability marker, thus calculated Peff >1.8×10−4 cm/s indicate high permeability
b
   Lowest water solubility (milligrams per milliliter) over the pH range 1–8 calculated by GastroPlus ADMET predictors. A value>0.5 mg/mL was deﬁned as high solubility
c
  Dose number (rat)0human equivalent dose (milligrams per kilogram)/water solubility of drug substance (milligrams per milliliter)/maximum dose volume (10 mL/kg). The equivalent dose in rats is
  approximately 6 fold of the highest human dose tested in clinical food effects study
d
   Fraction absorbed calculated based on the following equation (41). If non-radiolabeled compounds are used, Fa can be estimated by equation of “Fa ¼ F=ð1  CLb =QH Þ ”, where QH (hepatic
   blood ﬂow)03.3 L/h/kg and CLb is the blood clearance
e
  Compound related radioactivity recovered
f
  Dose number (human)0dose (milligrams)/water solubility of drug substance or formulation (milligrams per milliliter)/maximum dose volume (250 mL). Water solubility of each compound is listed
  in Table II
g
   The hBCS/BDDCS class is predicted based on estimated or observed human bioavailability for clinical service dosage form. The category of human BDDCS class for a compound can be
   formulation and dose dependent. The hBCS/BDDCS of a drug product is ﬁnalized or conﬁrmed by the direction of observed human food effects
h
   The observed magnitudes for clinical food effects for each compound were listed in Table III
i
  Lack of food effect demonstrates potential class 1 behavior, due to low dose and optimized formulation
j
  Negative food effect may be the result of optimized solubility in fasted state
DS drug substance, ME microemulsion, SF solid formulation
                                                                                                                                                                                                    Heimbach, Xia, Lin and He
                                                                                                                                                                                                                                Case 2:21-cv-14271-SRC-JSA Document 102 Filed 10/10/23 Page 116 of 175 PageID: 3093
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 Noyes–Whitney equations or be described by in vitro                       appropriated scaling factors (SF) that were optimized using
 dissolution data (19). The latter approach predicted the                  existing clinical data under the fasted state are included in the
 dissolution process for formulations containing various exci-             PBPK model. When food inhibits absorptive transporters, SF
 pients and complex matrices when in vitro and in vivo                     can be optimized by ﬁtting the observed fed PK proﬁles. This
 dissolution rate could be correlated (25, 26). Precipitation in           was done via increasing SF for the Michaels constant (Km) or
 the intestinal lumen can occur for poorly water soluble basic             decreasing SF for maximal velocity of drug uptake (Jmax). For
 drugs at low gastric pH in the stomach (1, 22). With a meal, in           BCS class 4 compounds, it is challenging to anticipate the
 vivo precipitation can be delayed due to a higher degree of               direction of food effects, as food effects can be formulation
 supersaturation as the fed state pH is slightly lower and bile            and dose dependent as both solubility and permeability can
 salt concentration is elevated (22). In the ACAT model, the               be the rate limiting steps for absorption. For BCS 4 class
 precipitation process can be characterized by the precipita-              drugs, our PBPK models obtained key absorption parameters
 tion time, which represents the time for drug particles to                (e.g., solubility and permeability) by ﬁtting observed PK
 precipitate from solution when the local concentration                    proﬁles from preclinical animal studies in which clinically
 exceeds the drug solubility. Direct measurements of in vivo               relevant formulations had been administered prior to clinical
 precipitation time are impractical and difﬁcult. Here, we                 trials. The optimized parameters were then used for prospec-
                                                                           tive prediction of human food effects in human PBPK
 describe how precipitation time can be estimated from
                                                                           models. A general ﬂow chart for quantitative food effect
 physiologically based absorption models for BCS 2 drugs.
                                                                           prediction using preclinical in vitro and in vivo data by
 An in vitro model for predicting the precipitation process of
                                                                           physiologically based absorption modeling is shown in Fig. 2.
 poorly soluble weak bases in the fasted and fed intestinal
 ﬂuid has been reported, and a correlation between in vitro
 precipitation and in vivo absorption has been observed (34),              PBPK Modeling and Human Pharmacokinetics Predictions
 suggesting that precipitation time could be estimated using in
 vitro methods. Alternatively, since dog studies are often used                 Simulated human PK proﬁles were compared with
 to predict human food effects (15), a method which estimates              observed data for each dose cohort from fasted and fed
 human precipitation time under fasted and fed condition by                studies (Table III). Noncompartmental analysis was used to
 ﬁtting PK data from dog food effect studies is proposed                   calculate PK parameters for predicted and observed human
 (Fig. 2).                                                                 PK proﬁles using the WinNonlin Phoenix v6.1 (Pharsight,
      For some drugs, absorptive transporters are involved in              Sunnyvale, CA, USA). Area under the plasma concentration
 oral absorption. For a BCS class 3 drug which is a substrate              time curve (AUC) was calculated using trapezoidal calcula-
 for intestinal absorptive transporters, a “reverse pharmacoki-            tion method, and peak plasma concentration (Cmax) was
 netic” approach was used retrospectively to understand the                directly determined from the observed and predicted plasma
 underlying mechanism because the scaling factors of enzyme                concentration time curves. The magnitude of food effect was
 expression level from in vitro cell lines to the in vivo values in        measured in terms of the fold changes of AUC and Cmax
 intestines remain unknown. In vitro Michaels–Menten kinetic               under fed state versus fasted state. The accuracy of prediction
 data obtained from transfected expressed cells together with              for food effect magnitude was evaluated by the fold error




                  Fig. 2. General ﬂowchart for quantitative food effect prediction using physiologically based absorption modeling
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 which has been published previously (Eq. 1; 33, 35–37). A        were measured and incorporated in ACAT model for the
 prediction fold error that falls below 2 was deﬁned as an        prediction of in vivo solubility in each gastrointestinal region.
 accurate prediction.
                                                                  Case Study 3: Food Effect Prediction using Two-Step
                      FE ¼ 10jlogð Observed Þj
                                   Predicted
                                                            ð1Þ   Dissolution and Precipitation Data

                                                                        NVS562 is a poorly soluble, lipophilic weak base (pKa0
 Models and Modeling Parameters Used                              5.0) with high calculated human effective permeability and
                                                                  high in vivo absorption (80%) in the rat (Table I). For-
      A PBPK model was established for each compound to           mulations used in the clinical trials included a self-emulsifying
 simulate PK proﬁle under fasted and fed condition, using         solution (SEDDS) of the free base and a tablet of a stable
 available in vitro and in vivo parameters summarized in          salt. Solubility values for tablet or SEDDS formulations were
 Table II for seven compounds. Table III lists the modeling       measured in different biorelevant media (Table II). NVS562
 approaches as “prospective prediction” or/and “retrospective     dissolution and supersaturation behaviors were evaluated
 analysis”. The GastroPlus default human or dog physiology        using a two-step dissolution method for each formulation.
 (Opt-Log D model) or Simcyp default ADAM model in v11            Initially, the drug release proﬁle was investigated in 500 ml of
 were used, except for lower gastric pH values (pH02, default     simulated gastric ﬂuid (pH1.6) using the U.S. Pharmacopeia
 pH03–5) in pentagastrin-treated dogs. The compound’s             (USP) paddle method at a rotating speed of 50 rpm at 37°C.
 PBPK disposition parameters were calculated directly from        After 60 min, the prewarmed (37°C) FaSSIF or FeSSIF
 available intravenous PK proﬁles obtained from clinical          medium (2×, 500 mL) was added and drug started to
 studies or were projected from preclinical PK parameters         precipitate. A 5 mL sample of the solution was taken out
 and proﬁles (see Electronic Supplementary Material). For         periodically from 0 to 180 min, and the same amount of the
 selected case studies, parameter sensitivity analyses were       medium at the same temperature was replaced. To quantita-
 performed in two- or three-dimension response plots to           tively compare the precipitation kinetics of both formulations,
 explore the interaction between parameters and their inﬂu-       the area under the curve (AUCP, in vitro) and the area under
 ence on extent of absorption (Fa) under fasted and/or fed        the ﬁrst moment-versus-time curve (AUMCP, in vitro) of the
 conditions.                                                      remaining soluble compound (%) versus time in precipitation
                                                                  proﬁle were calculated from 60 min to 180 min of the
                                                                  incubation time. A higher AUC for a precipitation proﬁle
 Case Study 1: Food Effect Predictions for a BCS/BDDCS
                                                                  represented less precipitation after medium changes. The in
 Class 1 Drug
                                                                  vitro mean precipitation time (MPT) was deﬁned as the
                                                                  average time for the drug to solubilize or supersaturate in the
      NVS732 is a weak base with high solubility and moderate
                                                                  solution, and was calculated by the Eq. 2.
 permeability (Tables II and III). The oral bioavailability (F)
 was moderate-to-high after dosing solutions with 94%, 64%,                                   AUMCP;in vitro
 and 96%, in mice, rats, and dogs, respectively. Clinical food                        MPT ¼                                    ð2Þ
                                                                                              AUCP;in vitro
 effect studies were conducted using a two-period, open label,
 single dose, and cross-over design in healthy volunteers.             NVS562 human food effect was studied after a 50 mg
 Subjects were randomized to receive single oral doses of         single dose given as either SEDDS capsule or tablet under
 100 mg (fasted and fed). In this model, the default mean         fasted and fed conditions. The calculated values of in vitro
 precipitation time of 900 s was used. The solubility of NVS732   MPT were used as initial estimates of the in vivo precipitation
 was also measured in biorelevant media, i.e. simulated gastric   time in the GastroPlus ACAT model.
 ﬂuid (SGF, pH1.6 with 0.08 mM sodium taurocholate),
 FaSSIF (pH6.5 with 3 mM sodium taurocholate), and FeSSIF
 (pH5 with 10 mM sodium taurocholate), and the measured           Case Study 4: Food Effect Predictions Using the Dog Model
                                                                  for Weak Bases
 values were incorporated in the ACAT model.
                                                                       NVS701 is a weak base with moderate to high perme-
 Case Study 2: Food Effect Prediction using Biorelevant           ability based on Caco-2 permeability and calculated human
 Solubility Data                                                  effective permeability (Peff) as listed in Tables I and II.
                                                                  NVS701 has low and pH-dependent solubility (Tables I and
      NVS406 is a weak base with low, pH-dependent solubil-       II). A signiﬁcant positive food effect was observed with a
 ity and high permeability. In human, PK studies after IV         capsule formulation (capsule F1) of 200 mg dose as Cmax and
 dosing were conducted and CL and Vss were determined as          AUC increased by about twofold when administered 30 min
 0.044 L/h/kg and 2.0 L/kg. NVS406 was mainly eliminated by       after a high fat meal. As a positive food effect was
 hepatic metabolism and renal excretion was a minor elimina-      undesirable, formulation approaches were proposed to slow
 tion pathway (<10% of dose), regardless of the dosing route.     drug precipitation in the intestine to maximize the bioavail-
 A single dose of 150 or 450 mg was given as a coarse             ability under the fasted state. A microemulsion formulation
 suspension formulation in fasted and fed condition in a          (Capsule F2) was developed with the expectation to provide
 clinical study. The default fasted or fed human ACAT             higher solubility and to prevent precipitation. Both F1 and F2
 physiology model was selected for the predictions. Solubility    capsules (50 mg) were tested in dogs under fasted and high
 in different biorelevant media (SGF, FaSSIF, and FeSSIF)         fat meal conditions. GastroPlus ACAT models were
                                           Table II. PBPK Input Modeling Parameters for Clinical Food Effect Prediction of Seven Novartis Compounds

PBPK Model Parameter                          NVS732            NVS406                NVS562                      NVS701                   NVS001                  NVS169                     NVS113

Biopharmaceutical Properties
Acid/Base                                       Base              Base                   Base                        Base                    Acid                 Ampholyte                  Ampholyte
MW (g/mol)                                     ∼300               >350                   >500                        >500                    >600                     >600                       >600
Measured Log D at pH 7.4                        0.83                1.3                   5.03                         4.7                   1.01                      5.0                       2.81
pKaa                                             7.4                3.7                    5.0                   3.5, 4.2, 6.2                8.4           5.8 (acid), 8.36 (base)     4.8 (acid), 4.2 (base)
Formulations                                   Tablet          Suspension      (1) SEDDS, (2) Tablet    (1) Capsule F1,(2) Capsule F2       Tablet              (1) DS, (2) ME             (1) DS, (2) SF
Obs. water solubility (mg/mL)                   >30               0.003                 0.0004                       0.002                   350          (1) 0.13, (2) 0.78 (ﬁtted)f    (1) 0.005, (2) 0.07
SGF solubility at pH1.2 (mg/mL)                  30                0.03             (1)2.48, (2) 2.3                    2                     350                   (1) 0.65            (1) 0.0010, (2) 0.011
FaSSIF solubility at pH6.0                      6.38              0.004           (1) 0.10, (2) 0.026        (1) 0.0083, (2) 0.05            N/A                    (1) 0.23             (1) 0.0085, (2) 0.5
FeSSIF solubility at pH5.4                      6.87               0.10           (1) 0.10, (2) 0.047         (1) 0.022, (2) 0.09            N/A                     (1) 0.4              (1) 0.045, (2) 1.0
                                                                                                                                                                                                                 Practical Food Effect Assessments




Caco-2 permeability (10−6 cm/s, A to B)          1.5                17                     2.0                         5.3                  0.015             0.5; 3.7 (passive)g                 2.4
Effective Human permeabilityb(10−4 cm/s)        0.81                3.0                   0.95                 1.71, 6.15 (dog)             0.067              0.45, 1.78 (ﬁtted)          1.0, 3.70 (dog)
Particle radius (μm)c                            25                 25                     25                          19                     25                    Set as 1                   Set as 1
Diffusion Coefﬁcients (cm2/s)                  0.771               0.75                  0.697                        0.65                   0.49                     0.402                     0.506
Particle density (g/mL)                          1.2                1.2                    1.2                         1.2                    1.2                      1.2                        1.2
Precipitation time (s)—fasted                   900                900           (1) 6,000, (2) 6,000        (1) 1,800, (2) 2,500            900                       900                       900
Precipitation time (s)—fed                      900                900           (1) 3,500, (2) 6,000        (1) 6,000, (2) 8,000            900                       900                       900
Pharmacokinetic propertiesd
Human                                      2-comp. ﬁt-obs.   3-comp. ﬁt-obs.      2-comp. ﬁt-pred.             2-comp. ﬁt-pred.         3-comp. ﬁt-obs.       2 -comp. ﬁt-pred.           2 -comp. ﬁt-pred.
Preclinical:                                    N/A               N/A                  N/A                  3-comp. ﬁt (dog) obs.            N/A            2-comp. ﬁt (rat) obs.       2-comp. ﬁt (dog) obs.
Hepatic FPEe (%)                                 10                 3.5                  1.5                      10, 30 (dog)                 10                60, 95 (dog)                 2, 2 (dog)
Fraction unbound in plasma (fup)                 0.9               0.04                 0.03                     1.6, 0.9 (dog)               0.5                    0.136                       0.006
Blood to plasma partitioning ratio              0.97               0.73                 0.58                    0.68, 0.8 (dog)               0.83                    0.62                        0.57
Clearance (L/h/kg)                              0.57              0.044                0.015                   0.11, 0.54 (dog)              0.128                    0.38                       0.018
Volume of distribution (L/kg)                     1                  2                  3.39                     2.1, 2.5 (dog)                3.8                     1.3                        0.40

a
  Experimental pKa values were used for NVS732, NVS406, NVS562, NVS701, NVS001 and in silico calculated pKa values were used for NVS169 and NVS113
b
  The values of effective human permeability were calculated from measured Caco-2 apparent permeability using the GastroPlus converter. A value >1.8×10−4 cm/s (metoprolol) indicates high
  human permeability. Mannitol, a low permeability marker has a value of 0.3×10−4 cm/s
c
  The default value of 25 μm in GastroPlus built-in model was used as the particle radius if such information is not available. For NVS169 and NVS113, the particle radius was both set as 1 μm since
  oral solution or ﬁne dispersion formulation were used respectively
d
  All pharmacokinetic parameter listed are values for human unless annotated. For clearance and volume values listed are either predicted (pred.) via allometry or are observed (obs.) clinical data
e
  First-pass extraction (FPE0CLb/QH) where QH is the hepatic blood ﬂow and CLb is the blood clearance
f
  Bile salt dissolution model is not used in this model. The solubility is enhanced by the formulation and is assumed to be constant across the physiological pH range (1–8)
g
  The apparent Caco-2 permeability was measured in the presence of a potent P-gp inhibitor and the efﬂux ratio (B->A/A->B) was reduced from 50- to 1.5-fold
                                                                                                                                                                                                                 149
                                                                                                                                                                                                                                                     Case 2:21-cv-14271-SRC-JSA Document 102 Filed 10/10/23 Page 119 of 175 PageID: 3096
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 150                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Heimbach, Xia, Lin and He




                                                                                                                                                                                                                                                                                                                                                                                                             Prospective prediction and/or retrospective analysis are done to analyze the human food effects. In this study, if the parameters used in the models are not optimized using observed human PK data
  Table III. Summary of Observed and Predicted Food Effects (Represented as Fold Difference) for Seven Novartis Compounds with Respect to Area Under the Plasma Concentration–Time Curve




                                                                                                                                                                                                                                                                                                                       Suspension: 5.57 (4.62)d; liquid form: 1.30 (0.99)d




                                                                                                                                                                                                                                                                                                                                                                                                             in the food effect study, the modeling approach is considered as prospective prediction. Retrospective analysis can be used to reﬁne the model if parameters in the model are unknown or can not
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   developed by ﬁtting the corresponding concentration-time




                                                                                                                                                                                                                                          Observed Prediction fold error Dog observed AUC (Cmax) Ratio (fed/fasted)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   proﬁles for each dog cohort with an optimized MPT. The
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   obtained MPT values from the dog models were directly
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   used in the human model to simulate the absorption under
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   corresponding dosing scenarios. The human food effect was
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   studied in healthy volunteers in a two-period, open label,




                                                                                                                                                                                                                                                                                                                                                                             2.04 (1.73)d
                                                                                                                                                                                                                                                                                                                                                                             1.53 (1.39)d


                                                                                                                                                                                                                                                                                                                                                                                            1.09 (1.03)d
                                                                                                                                                                                                                                                                                                                                                                             0.14 (0.08)e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   single dose, cross-over clinical trial for both formulations. In
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   two study periods, subjects were randomized to receive a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   single 200 mg dose under fasted and fed condition. Absorp-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   tion modeling was performed for each formulation under
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   fasted or fed conditions.


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Case Study 5: Negative Food Effect for a BCS/BDDCS Class
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   3 Drug

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        NVS001 is a moderate to strong base (pKa08.4) with a
                                                                                                                                                                                                                                                                                                                      1.04b, 1.08c
                                                                                                                                                                                                                                                                                                                      1.01b, 1.07c




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   relatively low lipophilicity at physiological pH (log DpH07.4 0
                                                                                                                                                                                                                                                                                                                          1.12
                                                                                                                                                                                                                                                                                                                          1.09
                                                                                                                                                                                                                                                                                                                          1.58


                                                                                                                                                                                                                                                                                                                          1.10
                                                                                                                                                                                                                                                                                                                          1.05
                                                                                                                                                                                                                                                                                                                          1.15
                                                                                                                                                                                                                                                                                                                          1.13
                                                                                                                                                                                                                                                                                                                          1.37




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   1.01) (Table II). NVS001 has a high water solubility and low
                                                                                                                                                                                           Human AUC0−last ratio (fed/fasted)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Caco-2 permeability (Tables I and II). NVS001 is a high
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   afﬁnity (Km: 3 μM) and moderate-capacity (Jmax: 29×10−5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   nmol/min∙cm2) substrate for the p-glycoprotein and is
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   transported by organic anion-transporting peptide
                                                                     (AUC0−last) and Peak Plasma Concentration (Cmax)




                                                                                                                                                                                                                                                                                                                      0.88
                                                                                                                                                                                                                                                                                                                      4.35
                                                                                                                                                                                                                                                                                                                      4.34
                                                                                                                                                                                                                                                                                                                      1.01
                                                                                                                                                                                                                                                                                                                      1.59
                                                                                                                                                                                                                                                                                                                      1.55
                                                                                                                                                                                                                                                                                                                      1.35
                                                                                                                                                                                                                                                                                                                      0.31
                                                                                                                                                                                                                                                                                                                      1.01
                                                                                                                                                                                                                                                                                                                      0.71




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   OATP2B1 in HEK293 cells with an estimated Km of 72 μM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   and a maximum uptake clearance of 0.5 μL/min/mg protein.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   The majority of the absorbed oral dose was eliminated
                                                                                                                                                                                                                                                                                                                      0.97b, 0,94c
                                                                                                                                                                                                                                                                                                                      1.57b, 1.70c
                                                                                                                                                                                                                                          Observed Prediction fold error Predicted




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   unchanged in the feces (77.7%) (Table I). NVS001 was orally
                                                                                                                                                                                                                                                                                                                          0.99
                                                                                                                                                                                                                                                                                                                          3.98
                                                                                                                                                                                                                                                                                                                          6.86


                                                                                                                                                                                                                                                                                                                          1.71
                                                                                                                                                                                                                                                                                                                          1.42
                                                                                                                                                                                                                                                                                                                          0.27
                                                                                                                                                                                                                                                                                                                          1.14
                                                                                                                                                                                                                                                                                                                          0.97




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   administrated to fasted and non-fasted primates and food
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   reduced Cmax and AUC(0−∞) by 92% and 85%, respectively
                                                                                                                                                                                                                                                                                                                                                                                                             Predicted with the mean precipitation time ﬁtted against the in vivo plasma concentration–time curve




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   (Table III, Fig. s2). Since NVS001 had a low permeability,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   both via in silico calculated Peff (Table I) and Peff derived
                                                                                                                                                                                                                                                                                                                      1.04b, 1.04c
                                                                                                                                                                                                                                                                                                                      1.08b, 1.11c




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   from in vitro Caco-2 data (Table II), the intestinal uptake
                                                                                                                                                                                                                                                                                                                          1.07
                                                                                                                                                                                                                                                                                                                          1.26
                                                                                                                                                                                                                                                                                                                          1.23


                                                                                                                                                                                                                                                                                                                          1.09
                                                                                                                                                                                                                                                                                                                          1.00
                                                                                                                                                                                                                                                                                                                          1.00
                                                                                                                                                                                                                                                                                                                          1.84
                                                                                                                                                                                                                                                                                                                          1.53




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   transporter OATP2B1 likely played a major role in the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   absorption. However, the organic anion transporting peptide
                                                                                                                                                                                           Human Cmax ratio (fed/fasted)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   was likely inhibited by food, as there was an over 85%
                                                                                                                                                                                                                                                                                                                                                                                                             Predicted with the mean precipitation time using in vitro dissolution/precipitation test




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   reduction of the systemic exposure in non-fasted primates.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Therefore, the kinetic data of uptake transporters were
                                                                                                                                                                                                                                                                                                                      0.90

                                                                                                                                                                                                                                                                                                                      6.12
                                                                                                                                                                                                                                                                                                                      0.85
                                                                                                                                                                                                                                                                                                                      1.60
                                                                                                                                                                                                                                                                                                                      1.71
                                                                                                                                                                                                                                                                                                                      1.37
                                                                                                                                                                                                                                                                                                                      0.28
                                                                                                                                                                                                                                                                                                                      0.52
                                                                                                                                                                                                                                                                                                                      0.60
                                                                                                                                                                                                                                                                                                                      6.11




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   incorporated in the human model. The passive permeability
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   data and p-glycoprotein kinetic data were included in both
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   fasted and fed model. A single oral dose (300 mg) under
                                                                                                                                                                                                                                                                                                                      0.82b, 0.88c
                                                                                                                                                                                                                                                                                                                      1.48b, 1.77c
                                                                                                                                                                                                                                Compound Modeling approacha Dose (mg) Formulations Predicted




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   fasted or fed state was given to healthy volunteers in a two-
                                                                                                                                                                                                                                                                                                                          0.84
                                                                                                                                                                                                                                                                                                                          4.84
                                                                                                                                                                                                                                                                                                                          7.54


                                                                                                                                                                                                                                                                                                                          1.57
                                                                                                                                                                                                                                                                                                                          1.37
                                                                                                                                                                                                                                                                                                                          0.28
                                                                                                                                                                                                                                                                                                                          0.96
                                                                                                                                                                                                                                                                                                                          0.93




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   way and cross-over study. The human oral PK proﬁle for the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   fasted state was ﬁrst simulated using the GastroPlus ACAT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   model. The measured values of Jmax and Km of P-gp and
                                                                                                                                                                                                                                                                                                                      Capsule F1
                                                                                                                                                                                                                                                                                                                      Capsule F2
                                                                                                                                                                                                                                                                                                                      Suspension
                                                                                                                                                                                                                                                                                                                      Suspension

                                                                                                                                                                                                                                                                                                                      Tablet, salt




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   OATP2B1 were used as inputs. The relative physiological
                                                                                                                                                                                                                                                                                                                       SEDDS
                                                                                                                                                                                                                                                                                                                        Tablet




                                                                                                                                                                                                                                                                                                                        Tablet
                                                                                                                                                                                                                                                                                                                         ME
                                                                                                                                                                                                                                                                                                                          SF




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   distribution of P-gp and OATP2B1 (Table s1) have been
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   reported previously (38) and were used in the ACAT model.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   However, the relative expression levels of OATP-2B1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   between in vitro HEK293 cells and in vivo enterocytes
                                                                                                                                                                                                                                                                                                                                                                                                             be well characterized from experiments
                                                                                                                                                                                                                                                                                                                      100
                                                                                                                                                                                                                                                                                                                      150
                                                                                                                                                                                                                                                                                                                      450


                                                                                                                                                                                                                                                                                                                      200
                                                                                                                                                                                                                                                                                                                      200
                                                                                                                                                                                                                                                                                                                      300
                                                                                                                                                                                                                                                                                                                      100




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   remain unknown. The in vitro-to-in vivo scaling factor of
                                                                                                                                                                                                                                                                                                                                                                                                             Results obtained from primate studies
                                                                                                                                                                                                                                                                                                                       50
                                                                                                                                                                                                                                                                                                                       50




                                                                                                                                                                                                                                                                                                                       30




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Km was set as 1.0, assuming that the substrate’s afﬁnity to the
                                                                                                                                                                                                                                                                                                                                                                                                             Results obtained from dog studies




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   transporter are equivalent between in vitro expressed cells
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   and in vivo enterocytes. The scaling factor for Jmax of inﬂux
                                                                                                                                                                                                                                                                                                                      Retrospective




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   transporter of OATP2B1 was then ﬁtted against the
                                                                                                                                                                                                                                                                                                                       Prospective
                                                                                                                                                                                                                                                                                                                       Prospective
                                                                                                                                                                                                                                                                                                                       Prospective


                                                                                                                                                                                                                                                                                                                       Prospective
                                                                                                                                                                                                                                                                                                                       Prospective

                                                                                                                                                                                                                                                                                                                       Prospective
                                                                                                                                                                                                                                                                                                                       Prospective
                                                                                                                                                                                                                                                                                                                       Pro./Retro.
                                                                                                                                                                                                                                                                                                                       Pro./Retro.




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   observed plasma concentration-time curves to account for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the unknown ratio of the expression level. Further, the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   mechanism-based analysis of human oral PK proﬁle under
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   fed state was performed, assuming that the inhibitory
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   interactions on OATP2B1 between food and NVS001 are
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   competitive. Therefore, the apparent Km of OATP2B1-
                                                                                                                                                                                                                                                                                                                      NVS732
                                                                                                                                                                                                                                                                                                                      NVS406
                                                                                                                                                                                                                                                                                                                      NVS406
                                                                                                                                                                                                                                                                                                                      NVS562
                                                                                                                                                                                                                                                                                                                      NVS562
                                                                                                                                                                                                                                                                                                                      NVS701
                                                                                                                                                                                                                                                                                                                      NVS701
                                                                                                                                                                                                                                                                                                                      NVS001
                                                                                                                                                                                                                                                                                                                      NVS169
                                                                                                                                                                                                                                                                                                                      NVS113




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   mediated uptake of NVS001 in the gut tended to increase
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   under fed state. A parameter optimization was performed to
                                                                                                                                                                                                                                                                                                                                                                                                           b


                                                                                                                                                                                                                                                                                                                                                                                                           d
                                                                                                                                                                                                                                                                                                                                                                                                           a




                                                                                                                                                                                                                                                                                                                                                                                                           c


                                                                                                                                                                                                                                                                                                                                                                                                           e
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 identify the best scaling factor for Km to describe the PK          fat meal did not affect the extent of absorption or AUC
 proﬁle and match the AUC under fed state conditions.                (Fig. 3). While Cmax was reduced by 19% and Tmax was
                                                                     delayed by approximately 1 h, this decrease was not
 Case Study 6: A priori Prediction of Food Effects for BCS/          considered clinically relevant. The predicted plasma concen-
 BDDCS Class 4 Drugs                                                 tration versus time curve and PK parameters were in
                                                                     agreement with observed data (Fig. 3). The GastroPlus model
      NVS169 and NVS113 are both ampholytic compounds.               successfully predicted bioequivalent exposure under fasted
 Their aqueous solubility was low over the pH range of 1–8 for       and fed dosage regimen (Table III). Predicted and observed
 unformulated drug substance. Both compounds are substrates          results were consistent with the BCS/BDDCS, which stip-
 of P-gp and exhibited a low permeability (Table II). This           ulates that Class 1 drugs generally do not show any food
 suggested a risk for limited oral absorption and an uncertain       effects (1, 7).
 direction for the food effect. To mitigate these dual challenges
 caused by limited solubility and permeability, a microemul-         Case Example 2: NVS406
 sion formulation (ME) was designed for NVS169. An
 optimized solid formulation (SF) dosage form was designed                Based on in silico calculations, NVS406 was classiﬁed as
 for NVS113.                                                         a pBCS/pBDDCS Class 2 drug (Table I). NVS406 solubility
      For NVS169, a ME formulation was initially tested in           was low in fasted state (0.004 mg/mL in FaSSIF) and fed state
 rats after oral dosing (1–200 mg/kg) under fasted conditions.       (0.1 mg/mL in FeSSIF). Rat ADME data conﬁrmed NVS406
 For NVS113, a SF formulation was evaluated in the canine            as a rBCS/rBDDCS Class 2 drug, as metabolism was >90%
 food effect model similar to case study 4. Simcyp ADAM or           (Table I), with moderate absorption (45%) likely limited by
 GastroPlus ACAT models were developed for rat or dog                low GI solubility. In human, NVS406 showed a signiﬁcant
 proﬁles to identify the in vivo solubility and/or permeability      positive food effect; which is consistent with hBCS/BDDCS
 that best captured the concentration-time proﬁles. The              Class 2 drugs (Table I and III). The mean of AUC and Cmax
 optimized values were incorporated in a human model to              increased by ∼4.4 or ∼4.3-fold and 6.1 or 6.1-fold under fed
 simulate PK parameters and proﬁles after a single oral dose         state conditions after a single dose of 150 mg or 450 mg of an
 of 100 mg NVS169 or 30 mg NVS113 under fasted and fed               oral coarse suspension, respectively (Table III). The magni-
 condition a priori (Table III). Once clinical food effect proﬁle    tude of this food effect and plasma concentration proﬁles
 data were available, they were used for assess the accuracy of      were well predicted when compared with observed data
 the simulations.                                                    (Fig. 4, Table III). For the cohort receiving a 450 mg dose
                                                                     without food, the initial absorption and distribution phase
 RESULTS                                                             from 0 to 24 h was well captured by the model, but the
                                                                     concentrations after 24 h of dose were underestimated
      Prospective predictions were performed to estimate the         (Fig. 4b). Overall, the predicted magnitude of food effect
 magnitude of food effects for most of compounds (Table III).        was still in good agreement with the observed results.
 For NVS001, retrospective modeling had to be done due to            Prediction fold-errors were less than 1.6 for AUC and 1.3
 the unknown relative expression of uptake transporters. For         for Cmax, respectively (Table III). In the fasted state, a
 NVS562, the model was further reﬁned by ﬁtting the                  ﬂattened terminal concentration-time curve was observed,
 parameter of MPT to observed clinical data to drive future          and the concentration after 12 h of the dose appeared to
 clinical studies. The magnitudes of predicted food effects          remain constant for up to 48 h and then declined more
 (represented as fold change of AUC and Cmax) were                   rapidly. One explanation may be a prolonged and slow
 compared with observed clinical results. (Table III). Overall,      absorption in the colon. According to the regional absorption
 the fold changes of AUC and Cmax (fed vs. fasted) estimated         plot (Fig. 4c), colonic absorption from the caecum and
 by current models for all of case studies fell within 1.6-fold of   ascending colon accounted for ∼45% of the total dose
 the observed values, indicating that the current modeling           absorbed in the fasted state. However, the signiﬁcance of
 approach can accurately analyze food effects across BCS/
 BDDCS Class Compounds.

 Case Example 1: NVS732

      Initially, based on in silico data, NVS732 was classiﬁed as
 a pBCS/pBDDCS class 3 drug (Table I) due to its low
 calculated human Peff (Table I), its low to moderate Caco-2
 permeability and its high aqueous solubility (Table I and II).
 In the rat in vivo, however, Fa was high, indicating near
 complete absorption (87%) (Table I). Thus, NVS732 is an
 example where low in vitro Caco-2 permeability does not
 always result in low absorption in vivo (Table I) (39). Rat
 ADME data conﬁrmed NVS732 as an rBCS/rBDDCS class 1                 Fig. 3. Observed plasma concentrations are shown in solid circles
 drug since absorption was high, and metabolism was exten-           (black fasted, gray fed). Simulated PK proﬁle are presented as solid
 sive (64.3%). In human, NVS732 demonstrated hBCS/                   curves (black fasted, gray fed) after a single oral dose of 100 mg
 hBDDCS class 1 drug behavior (Tables I and III). A high-            NVS732 in healthy volunteers
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                 Fig. 4. Observed plasma concentrations of NVS406 are shown in solid circles (black fasted, gray fed).
                 Simulated PK proﬁle are presented as solid curves (black fasted, gray fed) after a single administration of a
                 150 mg of NVS406 and b 450 mg of NVS406 given as an oral suspension in healthy volunteers. c Fraction
                 of regional absorption for NVS406 after a 150 or 450 mg dose in fasted and fed healthy volunteers. Surface
                 response plot of the change of fraction absorbed (Fa) with respect to duodenum solubility (representing in
                 vivo solubility) and dose under d fasted or e fed condition


 the colonic absorption was attenuated in the fed state and              (Fig. 4d, e) elucidated that Fa has a steep drop from ∼80% to
 only accounted for less than 13% of the total absorbed dose.            ∼30% when duodenal solubility decreased from 1 mg/mL to
 The main absorption area under fed state located in the                 0.1 mg/mL under both fasted and fed states. Fa gradually
 upper intestine where sufﬁcient drug is available as a result of        decreased when doses were increased from 200 to 1,000 mg.
 improved in vivo solubility, whereas the extent of colonic              This information was provided to guide formulation develop-
 absorption was not pronounced due to the poor aqueous                   ment of a new dosage form that could signiﬁcantly enhance
 solubility. To design a formulation that could mitigate the             solubility along the gastrointestinal tract. To this end, a new
 positive food effect, it was important to explore the interac-          liquid formulation and a coarse suspension were tested in the
 tion between solubility and dose and their impacts on the               dog food effect model using a single oral dose of 5 mg/kg
 extent of absorption under both fasted and fed conditions. A            (equivalent to a ∼190 mg dose in 70 kg adult). Signiﬁcant
 parameters analysis (PSA) was conducted under fasted and                differences for mean AUC and Cmax values were not
 fed condition and three-dimension surface response plots                observed for the liquid formulation between fasted and fed
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 condition whereas a strong positive food effect (> 4.5 fold         sufﬁcient, irrespective of pH and meal conditions. In such
 increase on AUC and Cmax) was observed for the coarse               scenarios, the extent of absorption was always nearly
 suspensions (Table III). This suggested that the utility of a       complete (> 80%) and thereby bias of food effects prediction
 lipid-based formulation appeared to be an effective strategy        was generally minor using the PBPK model. On the other
 to boost dissolution/solubility and enhance the oral bioavail-      hand, for suspensions where solubility of NVS562 is limited,
 ability of a poorly water soluble compound under the fasted         slower precipitation rate (or long MPT) prolonged the
 state.                                                              “supersaturation” state of compounds and likely allowed
                                                                     higher extent of absorption, suggesting that MPT is poten-
                                                                     tially a key driver for Fa in suspensions. Thus, inaccurate
 Case Example 3: NVS562                                              estimation of MPT can result in a large bias towards the
                                                                     prediction of food effects.
      NVS562 was classiﬁed between pBCS/rBDDCS classes
 2–4 due to a low aqueous solubility and a moderate
 permeability (Table I). For NVS562, the in silico human Peff        Case Example 4: NVS701
 was high (Table I), while the measured Caco-2 permeability
 was low leading to a low derived human Peff permeability of              NVS701 was identiﬁed as a pBCS/pBDDCS class 2 to 4
 0.95×10−4 cm/s which less than that for metoprolol (1.8×10−4        due to a low aqueous solubility, and a moderate permeability
 cm/s) (Table II). As rat in vivo metabolism data were not           (Table I). Rat ADME data conﬁrmed NVS701 as an rBCS/
 available, NVS562 was still classiﬁed as rBCS/rBDDCS class          rBDDCS 2 drug due to extensive metabolism (84.7%) and
 2 drug as rat in vivo absorption was high (> 80%) (Table I,         low absorption. In human, NVS701 demonstrated hBCS/
 Fig. 1).                                                            hBDDCS class 2 drug behavior (Table I) and a positive food
      The biorelevant solubility values for SEDDS of the free        effect (Table III). A high-fat meal increased the extent of
 base and tablet formulations with the salt were listed in           absorption following the administration of Capsules F1 and
 Table II. For NVS562, human food effects were formulation           Capsule F2 similarly in dogs and humans (Table III). For both
 dependent (Table III). With SEEDS capsules, a high-fat meal         formulations, the values of MPT optimized by ﬁtting plasma
 did not affect the extent of absorption and the AUC values          concentration-time curves under fed state were higher than
 were unchanged. The geometric mean of Cmax was reduced              the values under fasted conditions, suggesting that solubilized
 by 15% and Tmax was delayed by approximately 3 h in the fed         NVS701 can remain in a supersaturated state in the intestine
 state. However, with a tablet formulation, the geometric            for a longer time after high fat meals. The simulated results
 mean of AUC and Cmax increased by 1.6 and 1.6 fold and              were also in agreement with the fact that meals can stimulate
 Tmax was delayed by approximately 2 h (Table III). The in           bile ﬂow and enhance solubility of poorly water soluble
 vitro two-step dissolution results are shown in Fig. 5a.            compound in small intestine (7, 40–42). The resulting human
 Apparently supersaturation was maintained for over 2 h with         model captured the mean observed data reasonably well in
 the SEDDS formulation in FaSSIF and FeSSIF media, thus a            fasted and fed conditions for both formulations using the
 high fat meal caused only negligible effects on drug dissolu-       MPT obtained from the optimized dog model (Fig. 6). The
 tion and precipitation. The SEDDS formulation likely                predicted magnitude of food effects in human in terms of
 enhanced NVS562 solubility in the intestine, thus imparting         changes on AUC and Cmax was less than 1.1 fold of the
 desirable hBCS/BDDCS class 1 characteristics with minimal           observed effects (Table III).
 food effects on drug exposure. On the contrary, the tablet
 formulation did not mitigate positive food effects (Table III)
 likely due to precipitation under fasted and fed state, which       Case Example 5: NVS001
 was identiﬁed by the two-step dissolution test. The MPT
 values obtained from the in vitro and in vivo method as well             Based on in silico and early discovery data, NVS001 was
 as the AUC values predicted were summarized in Table s2.            classiﬁed as a pBCS/pBDDCS Class 3 drug due to its high
 The plasma concentration time curves simulated by the model         solubility and low permeability (Table I). In the rat,
 using in vivo optimized MPT were represented in Fig. 5b and         metabolism was low (17.3%), thus NVS001 was classiﬁed as
 c. For the SEDDS formulations under fasted and fed                  a pBCS/pBDDCS class 3 drug. In human, NVS001 also
 condition as well as a tablet formulation under fed condition,      demonstrated hBCS/hBDDCS class 3 behaviors. Food greatly
 a model with in vitro MPT values (3,200–3,500 s) resulted in        reduced NVS001 Cmax by 72% and AUC0−∞ by 69%
 acceptable prediction PK proﬁles (data not shown) for AUC.          (Table III). To best describe the concentration-time curve of
 A minor improvement of the simulation accuracy was                  NVS001 in the fasted state, an in vitro-in vivo scaling factor
 achieved when MPT values were approximately doubled                 for Jmax of 0.055 was ﬁtted against the data, suggesting that
 (e.g. 6,000 s; Fig. 5b). For the tablet formulation in the fasted   the expression level of OATP2B1 in the gut are lower than
 state, the in vitro MPT (2,210 s, Table s2) slightly under-         those in the in vitro expressed HEK293 cells. For oral
 estimated the extent of absorption. An MPT of 3,500 s best          absorption modeling, the same scaling factor for Jmax was
 described the observed PK proﬁle (Fig. 5c). Although the            used in the fasted and fed state since transporter expression
 AUC value was slightly under predicted with the tablet              level was constant between fasted and fed conditions. On the
 formulation in the fasted state, the food effect trend was well     other hand, a scaling factor for Km was estimated to be 50 to
 predicted for both SEDDS and tablet formulations using in           ﬁt the concentration-time curve (Fig. 7). The ﬁtted Km scaling
 vitro MPT values (Table s2). A parameter analysis (PSA) for         factor in the fed state implied that the food components
 Fa change with respective to MPT is shown in Fig. 5d. MPT           competitively inhibited the uptake transporter of OATP2B1
 has less inﬂuence on Fa for SEDDS as solubility of NVS562 is        and resulted in reduced NVS001 absorption. Overall, the
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                 Fig. 5. a In vitro precipitation proﬁles of two formulations containing NVS562 in FaSSIF or FeSSIF media.
                 Observed plasma concentrations are shown in solid circles (black fasted, gray fed) and simulated PK proﬁle
                 are presented as solid curves (black fasted, gray fed) after a single administration of 150 mg of NVS562
                 given as a b SEDDS or c tablet in healthy volunteers. d Parameter sensitivity of precipitation time to the
                 change of fraction absorbed




 observed negative food effect was consistent with the                 obtained and used in human PBPK model. The human
 predicted results obtained with the ACAT model (Table III).           model predicted an insigniﬁcant food effect with less than
                                                                       10% decrease of AUC and Cmax when comparing PK data
 Case Example 6: NVS169 and NVS113                                     under fed and fasted state. However, the observed clinical
                                                                       data showed a more signiﬁcant reduction of AUC (∼30%) in
      NVS169 and NVS113 were identiﬁed as borderline                   the fed state (Table III). The reasons are not entirely
 pBCS/pBDDCS class 4 and 2 compounds based on in silico                understood, but may be due to an unknown drug
 prediction, respectively (Table I) with low solubility and low        complexation with food components or possible transporter
 permeability, but high clogP. The in vitro measured solubility        interactions.
 for NVS113 was even lower than the in silico predicted
 solubility (Tables I and II). The rat ADME study showed               DISCUSSIONS
 metabolism higher than 60% for both NVS113 (65%) and
 NVS169 (81.3%) (Table I), thus resulting in an rBCS/                       Food can induce changes in physiological conditions,
 rBDDCS class 2. During clinical development, formulation              such as delayed in gastric emptying, change of gastrointestinal
 efforts greatly increased the solubility/dissolution for both         pH, stimulation of bile ﬂow, and interaction of intestinal
 drug substances (Table II). For NVS169, the fraction                  inﬂux or efﬂux transporters (1, 2, 8, 9). A positive food effect
 absorbed in rats exceeded 80% with an ME formulation,                 is manifested by a higher systemic exposure when the drug is
 suggesting that absorption was not limited by solubility. The         given with food compared to the fasted state and mainly seen
 values of Peff and solubility that can best describe the rat PK       for BCS/BDDCS 2 drugs. A negative food effect is man-
 proﬁles were 1.78×10−4cm/s and 0.78 mg/mL. Using these                ifested by a reduced exposure when the drug is given with
 values in the human model, no changes in AUC and Cmax                 food and is mainly seen for BCS/BDDCS 3 drugs. BCS/
 with or without meals were predicted. The predictions were            BDDCS Class 1 drugs often show no food effect. For BCS/
 partly in agreement with the clinical observations, where             BDDCS 4 drugs food effects is often difﬁcult to predict, as
 AUC was not signiﬁcantly altered, but Cmax decreased by               they can be dose and formulation dependent. Presence of a
 40% (Table III). For NVS113, no food effect was observed in           food effect can impact drug labeling (2) and convenience to
 canine model. Similarly, in vivo solubility values were               the patient. Brieﬂy, a food effect is observed if the 90%
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                 Fig. 6. Observed plasma concentrations are shown in solid circles (black fasted, gray fed) and simulated
                 PK proﬁle are presented as solid curves (black fasted, gray fed) after a single administration of 50 mg of
                 NVS701 given as a a marketed capsule (capsule F1) or c solid suspended microemulsion (capsule F2) in
                 dogs or 200 mg of NVS701 given as a b capsule F1 or d capsule F2 in healthy volunteers

 conﬁdence interval for the ratio of population geometric                    For early discovery, a preliminary pBCS/pBDDCS class
 means between fed and fasted treatments fails to meet the              is established for a NCE when little or no in vivo ADME
 limits of 80–125% for either AUC or Cmax (2).                          properties are available. To establish a pBCS, key in silico
      Potential human food effects can be predicted to aid              parameters (e.g. human effective permeability, and intrinsic
 product or formulation development (43) at all drug devel-             solubility) can be calculated using e.g. the GastroPlus
 opment stages using in silico, in vitro, and in vivo methods as        ADMET predictor. Alternative in silico tools are available
 shown in Fig. 1. Here, both BCS and BDDCS classiﬁcations               (e.g. ALOGPS, VolSurf, etc.) to calculate these and related
 (1, 7) aided in identifying likely food effects for seven              physicochemical parameters. As shown in Fig. 1, we assigned
 proprietary compounds from early discovery through early               a preliminary BCS class of NCEs based on a calculated
 development using readily available data (Fig. 1, Table I).            intrinsic solubility and a human effective permeability (Peff).




                 Fig. 7. Observed plasma concentrations are shown in solid circles (black fasted, gray fed) and simulated
                 PK proﬁle are presented as solid curves (black fasted, gray fed) after a single administration of 300 mg of
                 compound NVS001 given as a tablet in healthy volunteers
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 A differentiating solubility value of 0.5 mg/mL was arbitrarily     precipitation, an MPT parameter was used to represent the
 chosen; as this concentration is achieved for a 125 mg              time of supersaturation under fasted and fed conditions. We
 efﬁcacious dose given with 250 mL water. For permeability           proposed two methods for this parameter estimation: (1)
 assessment, metoprolol was chosen as a high permeability            calculating the AUMC/AUC ratio based on drug precipita-
 reference compound (44, 45) (Tables I and II). Calculated           tion proﬁles obtained from a two-step biorelevant dissolution
 LogP (cLogP) values were used to describe the probability of        test or (2) ﬁtting this parameter against the observed PK
 extensive metabolism. This was done retrospectively, as this        proﬁles in dogs under fasted and fed conditions. For NVS562,
 approach was only recently published (10). Compounds with           the simulation results showed that the parameter of MPT
 a cLogP value greater than 2, are likely to be eliminated           obtained from the two-step biorelevant dissolution test
 mainly via metabolism and can be assigned to Class 1 or Class       underestimated the human plasma concentration after a
 2 in the pBDDCS (10). Our practical preliminary pBCS/               single suspension dose under fasted state. A donor-to-
 pBDDCS classes could thus identify food effect risks early          acceptor transfer model has been reported to simulate the
 and guide a formulation strategy of the NCE during later            slow transfer process for poorly soluble weak bases from
 development stages.                                                 stomach to intestine, which may potentially better predict
       During the candidate selection stage, rat in vivo mass        MPT (34). However, this approach has not been fully
 balance/disposition data from radiolabeled drug substances          validated. Here, the human plasma concentration time
 allowed estimation of Fa and extent of metabolism (46) leading      proﬁles of NVS701 were well described using the MPT
 to a rat based BCS/BDDCS or rBCS/rBDDCS (Fig. 1). High              obtained from ﬁtting dog PK data under fasted or fed
 metabolism or extensive metabolism were deﬁned if >60% of           condition. Dog is the most studied species for predicting
 the drug was metabolized after intravenous dosing and resulted      human food effects (12–14) as clinical service forms (e.g.,
 in an rBDDCS class 1 or 2, depending on solubility, F, or Fa. The   capsule or tablet) can be directly administered to dogs. For
 rBCS/rBDDCS was used to conﬁrm or complement the pBCS/              NVS701, the dog model was not only used as a surrogate
 pBDDCS, derived via the earlier in silico approach. For the         human food effect model but was a useful tool to generate the
 seven Novartis compounds, there was a general agreement with        MPT in human models. To our knowledge, no prior attempts
 the food effects that could be expected from the rBCS/rBDDCS        have been published to successfully apply optimized MPT
 and pBCS/pBDDCS when compared to observed food effects in           data from canine model to quantitatively predict the human
 the clinic (Table I). Thus, overall, the pBCS/pBDDCS and            food effects. Yet, the prediction accuracy using such an
 rBCS/rBDDCS classes predicted the likely direction clinical         approach may depend on the compound properties and
 food effects.                                                       formulations. It was critical that human relevant disposition
       In early clinical development, quantitative food effect       parameters and physicochemical properties are used. If the
 predictions along with exposure proﬁles are typically desired       MPT parameter is found to be inadequate and not translat-
 by project teams, and often more than one formulation is            able between dog and human, then the model may have to be
 under consideration for human trials. Advanced PBPK                 reﬁned when observed human PK data become available.
 modeling tools readily allow the mechanism-based simulation              Transporter interactions can be important for BCS class
 of concentration-time proﬁles for liquid or solid dosage forms      3 compounds (7). A priori predictions of negative food effects
 both in the fasted and fed states using physiological based         caused by food and intestinal inﬂux transporter interactions
 absorption model and input parameters such as physicochem-          can be difﬁcult as inhibitory effects of dietary substances on
 ical properties and biorelevant solubility (33). As shown in        transporter cannot be measured. A retrospective analysis
 Fig. 2, human systemic PK parameter (e.g., Vss, CL), could be       demonstrated the impact of food on intestinal transporter
 scaled from preclinical data using, e.g., the latest PhRMA          inhibition by optimizing the value of an in vitro to in vivo
 scaling methods (47, 48) when human IV data were not                scaling factor for Km for the related uptake transporters. If
 available. In vivo relevant biopharmaceutical properties,           absorption of BCS class 3 compounds is mediated by an
 some of which have not been extensively discussed in the            intestinal inﬂux transporter, high-fat meals will decrease the
 literature, i.e., drug precipitation, transporter interactions,     extent of absorption due to inhibition or competition of
 and formulation effects were included our absorption models.        uptake transporters in the intestine. Wu and Benet had noted
 Here, we provide case examples and potential solutions on           that the overall exposure changes with class 3 compounds
 how to generate in vivo precipitation and solubility data           depend upon whether meals have more pronounced effects
 toward human food effect proﬁle predictions. We used in vivo        on the efﬂux or inﬂux transporters in the absorption process.
 observed dog data to describe an ACAT model and in vivo             An unexpected increase or minimal meal effect in the extent
 solubility/precipitation data can be obtained by ﬁtting the         of absorption can be observed (e.g., acyclovir). Due to the
 observed dog exposure proﬁles (cases NVS701, NVS562).               complexity of food and transporter interaction, a preclinical
 These data were then used for human proﬁle predictions              model may provide a useful insight into the direction of food
 (shown schematically in Fig. 2). Food effects can be formu-         effects. For NVS001, the food effects observed in primates
 lation dependent and can sometimes be mitigated with                were similar to those observed in human with over 85%
 optimized formulations (case NVS562). We also analyzed              reduction in AUC (Fig. s2 and Fig. 7). Such results can serve
 transporter involvement in food effects for a BCS/BDDCS             as an important translatable link for establishing mechanism-
 class 3 compound (case NVS001). The impacts of formulation          based human PBPK models.
 on the food effects of BCS class 4 compounds were studied                The prediction of clinical food effects for BCS/BDDCS
 with prospective predictions (NVS169, NVS113).                      class 2 to 4 compounds (both of which can exhibit Class 4
       For weak bases, precipitation can limit oral exposure         behavior at higher doses or with suboptimal formulations)
 both in fasted and fed states (1). To model in vivo                 can be very challenging. We successfully predicted the lack of
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 positive food effects for two BCS/BDDCS class 2 to 4               Conﬂict of Interests None.
 compounds (Table III). NVS169 was extensively metabo-
 lized and was likely not a substrate for absorptive trans-
 porters, similar to BCS Class 1 and 2 compounds (7).
 Apparently low solubility can be a rate limiting factor in
                                                                    REFERENCES
 NVS169 oral absorption. The calculated dose number at
 100 mg for the drug substance (DS) was 3.1, which was
                                                                     1. Fleisher D, Li C, Zhou Y, Pao LH, Karim A. Drug, meal and
 successfully reduced to 0.51 with a microemulsion (ME)                 formulation interactions inﬂuencing drug absorption after oral
 formulation (Tables I and II). Thus, solubility is currently           administration. Clinical implications. Clin Pharmacokinet.
 not rate-limiting step for drug absorption. This repre-                1999;36(3):233–54.
 sented a successful example where formulations can                  2. US FDA. Food–effect bioavailability and fed bioequivalence
                                                                        studies. In: Guidance for industry. http://www.fda.gov/down-
 change a compound’s BCS Class and a reduced risk for                   loads/regulatoryinformation/guidances/ucm126833.pdf. 2002.
 food effects (as was also shown for NVS562). For                       Accessed 02 Jun 2012.
 NVS113, also no positive food effect had been predicted             3. Zhang X, Lionberger RA, Davit BM, Yu LX. Utility of
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           GAMMA-HYDROXYBUTYRATE                                       ("GHB") which are useful in the treatment of conditions
       COMPOSITIONS AND THEIR USE FOR THE                              responsive to GHB, for example, fibromyalgia and sleep
            TREATMENT OF DISORDERS                                     disorders such as apnea, sleep time disturbances, narcolepsy,
                                                                       excessive daytime sleepiness (EDS) cataplexy, sleep paraly-
                       1. CROSS REFERENCE                            5 sis, hypnagogic hallucination, sleep arousal, insomnia, and
                                                                       nocturnal myoclonus.
       This application is a continuation of U.S. patent applica-         One embodiment, as provided herein, is a GHB formu-
    tion Ser. No. 16/575,213, filed Sep. 18, 2019, which is a          lation with a reduction in sodium content. Another embodi-
    continuation of U.S. patent application Ser. No. 15/709,262,       ment, as provided herein, is a GHB formulation with a
    filed Sep. 19, 2017, now abandoned, which claims the
                                                                    10 reduced sodium content and which is bioequivalent to
    benefit of U.S. Provisional Patent Application No. 62/473,
                                                                       Xyrem®. In certain embodiments, the reduction in sodium
    232, filed Mar. 17, 2017, the content of each of which is
    incorporated herein by reference in its entirety.                  content involves use of other cations such as potassium,
                                                                       calcium, magnesium, and others.
                   2. FIELD OF THE INVENTION                              For convenience in comparing various salt compositions
                                                                    15 at the same oxybate or GHB molar dose, compositions
       Provided herein are pharmaceutical compositions and             expressed as percentages in this application refer to molar
    formulations comprising salts of gamma-hydroxybutyrate             equivalent percentage (% molar equivalents) of each salt of
    (GHB). In one embodiment, the salts encompass more than            oxybate or GHB. This is usually close to, but not the same
    one type of cation. Also provided herein are methods of            as, a composition that would be expressed as wt/wt %. As
    making the pharmaceutical compositions and formulations, 20 used herein, the terms "oxybate" and "GHB" are used
    and methods of the treatment of disorders including fibro-         interchangeably.
    myalgia and sleep disorders. Also described herein is that            Accordingly, in one aspect, provided herein are pharma-
    such pharmaceutical compositions and formulations are for          ceutical compositions and formulations comprising salts of
    treating diseases or disorders including fibromyalgia and          GHB. In one embodiment, the formulation is a pharmaceu-
    sleep disorders. Such sleep disorders include apnea, sleep 25 tical composition of GHB comprising a mixture of two or
    time disturbances, narcolepsy, cataplexy, sleep paralysis,         more salts of GHB, wherein the mixture comprises at least
    hypnagogic hallucination, sleep arousal, insomnia, and noc-        50% of a sodium salt of gamma-hydroxybutyrate (Na.GHB),
    turnal myoclonus.                                                  and wherein the mixture further comprises one or more of a
                                                                       potassium salt of ganmia-hydroxybutyrate (K.GHB) and a
             3. BACKGROUND OF THE INVENTION                         30 calcium salt of gamma-hydroxybutyrate (Ca.(GHB) 2 ). In
                                                                       certain embodiments, the Na.GHB salt is present in the
       Sodium oxybate (Na.GHB), commercially sold as                   mixture in about 50%, and up to 55%, 60%, 70% or 80%. In
    Xyrem® (Jazz Pharmaceuticals), is approved for the treat-          certain embodiments, the pharmaceutical composition does
    ment of excessive daytime sleepiness and cataplexy in              not comprise a substantial amount of a magnesium salt of
    patients with narcolepsy. Na.GHB has also been reported to 35 ganmia-hydroxybutyrate (Mg.(GHB) 2 ).
    be effective for relieving pain and improving function in             In another embodiment the pharmaceutical composition is
    patients with fibromyalgia syndrome (See Scharf et al.,            given to the patient in an aqueous solution with a volume of
    2003, J. Rheumatol. 30: 1070; Russell et al., 2009, Arthritis.     between 25 and 100 mL, 25 and 75 mL, or 55 and 65 mL.
    Rheum. 60: 299), and in alleviating excessive daytime                 In another embodiment, the pharmaceutical composition,
    sleepiness and fatigue in patients with Parkinson's disease, 40 when administered to a patient, is bioequivalent to the
    improving myoclonus and essential tremor, and reducing             average maximum GHB plasma concentration (Cmax) and
    tardive dyskinesia and bipolar disorder (See Ondo et al.,          the average maximum GHB plasma area under the curve
    2008, Arch. Neural. 65: 1337; Frucht et al., 2005, Neurology       (AUC) of the Cmax of Na.GHB within 80% to 125%.
    65: 1967; Berner, 2008, J. Clin. Psychiatry 69: 862).                 In another embodiment, the pharmaceutical composition
       Xyrem®, for use with patients with narcolepsy, is a 45 comprises a mixture of three salts of GHB, wherein the
    chronically used product which requires high levels of the         mixture comprises at least 50% of Na.GHB, and further
    drug. The amount of sodium intake from the drug signifi-           comprises K.GHB and Ca.(GHB) 2 . In certain embodiments,
    cantly increases the daily sodium intake for patients, which       the pharmaceutical composition comprises a mixture of
    is undesirable for patients with hypertension, heart disease,      three GHB salts, wherein the mixture comprises between 50
    renal disease or at risk of stroke.                             50 and 60% ofNa.GHB, and further comprises between 20 and
       Since Xyrem® is administered to a broad population,             40% K.GHB, and between 10 and 20% Ca.(GHB) 2 . In
    there is a need for GHB formulations that minimize the             certain embodiments, the pharmaceutical composition com-
    undesirable side effects of the sodium, particularly in            prises a mixture of three GHB salts, wherein the mixture
    patients with hypertension, heart disease, renal disease or at     comprises about 50% of Na.GHB, 34% K.GHB, and 16%
    risk of stroke, yet provide additional health benefits from the 55 Ca.(GHB) 2 for each GHB salt.
    presence of the other salts. It is desirable that such modified       In another embodiment, the pharmaceutical compositions
    formulations provide good solubility, stability and purity in      and/or formulations disclosed herein can be used to treat a
    order to provide safe, effective and consistent doses to           disease or condition selected from the group consisting of a
    patients, and also display acceptable pharmacodynamic and          sleeping disorder, drug abuse, alcohol and opiate with-
    pharmacokinetic properties. See U.S. Pat. Nos. 8,591,922; 60 drawal, a reduced level of growth hormone, anxiety, anal-
    8,901,173; and 9,132,107; which are incorporated by refer-         gesia, a neurological disorder (e.g., Parkinson's Disease and
    ence in their entireties.                                          depression), an endocrine disturbance, hypoxia or anoxia of
                                                                       tissues (such as from stroke or myocardial infarction), or an
                4. SUMMARY OF THE INVENTION                            increased level of intracranial pressure.
                                                                    65    In another embodiment, the pharmaceutical compositions
       Provided herein are pharmaceutical compositions and             disclosed herein comprise less than 100 mL of an aqueous
    formulations comprising salts of gamma-hydroxybutyrate             solution, wherein the aqueous solution comprises a mixture
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    of two or more GHB salts, the mixture comprising between         disorder, drug abuse, alcohol and opiate withdrawal, a
    40% to 50% Na.GHB and further comprising one or more             reduced level of growth hormone, anxiety, analgesia, a
    salts selected from K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 . In      neurological disorder (e.g., Parkinson's Disease and depres-
    certain embodiments, the pharmaceutical compositions dis-        sion), an endocrine disturbance, hypoxia or anoxia of tissues
    closed herein do not comprise a substantial amount Ca. 5 (such as from stroke or myocardial infarction), or an
    (GHB) 2 ) or Mg.(GHB) 2 .                                        increased level of intracranial pressure. In certain embodi-
       In another embodiment, the pharmaceutical composition         ments, the disease or condition is elected from the group
    comprises about 8% Na.GHB, 23% K.GHB, 48% Ca.                    consisting of fibromyalgia and sleep disorders such as
    (GHB) 2 and 21 % Mg.(GHB) 2 . In certain embodiments, this       apnea, sleep time disturbances, narcolepsy, cataplexy, exces-
    pharmaceutical composition can be used to treat the diseases 10
                                                                     sive daytime sleepiness (EDS), sleep paralysis, hypnagogic
    or conditions listed above.
                                                                     hallucination, sleep arousal, insomnia, and nocturnal myo-
       In another embodiment, the pharmaceutical compositions
                                                                     clonus.
    and/or formulations disclosed herein, when administered to
    a patient, have a lower average maximum GHB plasma                  In another embodiment, methods of treatment disclosed
    concentration (Cmax) than the Cmax of Na.GHB.                 15
                                                                     herein comprises one or more steps, as follows: (i) diluting
       Xyrem®, as disclosed herein, is a commercially sold           an aqueous solution comprising a mixture of two or more
    product comprised of 100% sodium oxybate (Na.GHB), and           GHB salts, the mixture comprising less than 50% Na.GHB,
    is prescribed for twice nightly use for the treatment of         and   further comprising one or more salts selected from
    excessive daytime sleepiness and cataplexy in patients with      K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 , to provide a first dose
    narcolepsy. Accordingly, in another aspect, provided herein 20 ofGHB salts; (ii) diluting an aqueous solution comprising a
    is a first dose of a first pharmaceutical composition and/or     mixture of two or more GHB salts, the mixture comprising
    formulation having a Na.GHB ofless than 50% and a second         from about 50% to about 80% of Na.GHB, and further
    dose of a second pharmaceutical composition and/or formu-        comprising one or more salts selected from K.GHB, Ca.
    lation having a Na.GHB above 50%. Another embodiment             (GHB) 2 , and Mg.(GHB) 2 , to provide a second dose ofGHB
    has the doses in reverse order and a further embodiment uses 25 salts; (iii) orally administering to a patient having a disease
    similar doses of either formulation. In certain embodiments,     or condition that is suitable for treatment with GHB the first
    the first dose can be administered within 4 hours of eating      dose; and (iv) orally administering to the patient the second
    and produces a GHB Cmax lower than the Cmax of                   dose within 2.5 to 4 hours following the first dose.
    Na.GHB, but may have less of a food effect.                         The pharmaceutical compositions and formulations dis-
       In another aspect, the pharmaceutical compositions and 30 closed herein is for use in a method of treating a disease or
    formulations provided herein can be used to treat a disease      condition in a patient that is suitable for treatment with
    or condition selected from the group consisting of a sleeping    GHB, comprising administering to the patient the pharma-
    disorder, drug abuse, alcohol and opiate withdrawal, a           ceutical compositions and formulations disclosed herein.
    reduced level of growth hormone, anxiety, analgesia, a              In certain embodiments, the pharmaceutical compositions
    neurological disorder (e.g., Parkinson's Disease and depres- 35 and formulations disclosed herein is for use in a method of
    sion), an endocrine disturbance, hypoxia or anoxia of tissues    treating a disease or condition in a patient further comprises
    (such as from stroke or myocardial infarction), or an            one or more steps, as follows: (i) diluting an aqueous
    increased level of intracranial pressure. In one embodiment,     solution comprising a mixture of two or more GHB salts, the
    the formulations and pharmaceutical compositions provided        mixture comprising less than 50% Na.GHB, and further
    herein can be used to treat conditions responsive to GHB, for 40 comprising one or more salts selected from K.GHB, Ca.
    example, fibromyalgia and sleep disorders such as apnea,         (GHB) 2 , and Mg.(GHB) 2 , to provide a first dose of GHB
    sleep time disturbances, narcolepsy, cataplexy, excessive        salts; (ii) diluting an aqueous solution comprising a mixture
    daytime sleepiness (EDS), sleep paralysis, hypnagogic hal-       of two or more GHB salts, the mixture comprising from
    lucination, sleep arousal, insonmia, and nocturnal myoclo-       about 50% to about 80% ofNa.GHB, and further comprising
    nus.                                                          45 one or more salts selected from K.GHB, Ca.(GHB) 2 , and
       The pharmaceutical compositions and formulations dis-         Mg.(GHB) 2 , to provide a second dose of GHB salts; (iii)
    closed herein is for use in a method of treating a disease or    orally administering to a patient having a disease or condi-
    condition selected from the group consisting of a sleeping       tion that is suitable for treatment with GHB the first dose;
    disorder, drug abuse, alcohol and opiate withdrawal, a           and (iv) orally administering to the patient the second dose
    reduced level of growth hormone, anxiety, analgesia, a 50 within 2.5 to 4 hours following the first dose.
    neurological disorder (e.g. Parkinson's Disease and depres-         In other aspects, provided herein are methods of making
    sion), an endocrine disturbance, hypoxia or anoxia of tissues    the pharmaceutical compositions disclosed herein.
    (such as from stroke or myocardial infarction), or an
    increased level of intracranial pressure. In certain embodi-            5. BRIEF DESCRIPTION OF THE FIGURES
    ment, the formulations and pharmaceutical compositions 55
    disclosed herein are used in a method of treating conditions        FIG. 1 shows the plasma GHB concentration vs time for
    responsive to GHB, for example, fibromyalgia and sleep           Formulation "O" (8% Na.GHB, 23% K.GHB, 48% Ca.
    disorders such as apnea, sleep time disturbances, narcolepsy,    (GHB), and 21% Mg.(GHB) 2 ) compared to Xyrem® ("X")
    cataplexy, excessive daytime sleepiness (EDS), sleep             given in either the fed or fasted state(...,., Xyrem® fasted;
    paralysis, hypnagogic hallucination, sleep arousal, insom- 60 +, Formulation "O" fasted; ~ Xyrem® fed; • , For-
    nia, and nocturnal myoclonus.                                    mulation "O" fed). The objective was to characterize
       In another aspect, provided herein are methods of treating    bioequivalence of Formulation "O" to Xyrem®.
    a disease or condition in a patient that is suitable for            FIG. 2 shows the plasma GHB concentration vs time for
    treatment with GHB, comprising administering to the              blends of Formulation "O" and Xyrem® ("X") in propor-
    patient the pharmaceutical compositions and formulations 65 tions of 100% Xyrem®, 44% Xyrem®, and 17% Xyrem®,
    disclosed herein. In certain embodiments, the disease or         respectively (...,., fasted 4.5 g "X"; +, fasted 2.5 g
    condition is selected from the group consisting of a sleeping    "0"+2.0 g "X"; • , fasted 3.75 g "0"+0.75 g "X"). The
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    objective was to determine how much sodium (or Xyrem®)               Xyrem® is a commercially sold product comprised of
    would be required to achieve bioequivalence in the fasted         100% sodium oxybate (Na.GHB) and is approved for the
    state.                                                            treatment of excessive daytime sleepiness and cataplexy in
       FIG. 3 shows the plasma GHB concentration vs time for          patients with narcolepsy. Na.GHB has also been reported to
    various mixed oxybate salt formulations compared to 5 be effective for relieving pain and improving function in
    Xyrem® in the fasted state where both are given at a lower        patients with fibromyalgia syndrome, and in alleviating
    volume of administration of 60 mL (*, Xyrem® (100%                excessive daytime sleepiness and fatigue in patients with
    Na); • , Formulation 507D (50% Na, 34% K, 16% Ca, 0%              Parkinson's disease, improving myoclonus and essential
    Mg); ~ , 507C (33% Na, 0% K, 48% Ca, 19% Mg); ...,_,              tremor, and reducing tardive dyskinesia and bipolar disorder.
    507A (33% Na, 34% K, 33% Ca, 0% Mg); + , 507G (23% 10 See the references that are incorporated at the end of U.S.
    Na, 19% K, 40% Ca, 18% Mg)).                                      Pat. No. 6,472,431. Further, despite a general record of
       FIG. 4A-4B compare Xyrem® and Formulation "O"                  safety when used as prescribed, there are risks of abuse and
    when given fasted with 60 mL or 240 mL water or when              misuse of Xyrem® which can cause serious medical prob-
    given fed with 60 mL water. FIG. 4A. (Left) Plasma GHB            lems, including seizures, loss of consciousness, coma, and
    concentration when Xyrem® was given (fasted) with 60 mL 15 death (see, e.g., FDA product label dated Nov. 13, 2006 for
    or 240 mL water or when Xyrem® was given (fed) with 60            NDA no. 021196, which is incorporated by reference in its
    mL water ( + , fasted 240 mL; • , fasted 60 mL; ...,_ , fed       entirety).
    60 mL). FIG. 4B (Right) Plasma GHB concentration when                Xyrem® for use with patients with narcolepsy, is a
    Formulation "O" was given (fasted) with 60 mL or 240 mL           chronically used product which requires high levels of the
    water or when Formulation "O" was given (fed) with 60 mL 20 drug. The amount of sodium intake from the drug signifi-
    water(+, fasted 240 mL; ... , fasted 60 mL; ...,_, fed 60         cantly increases the daily sodium intake for patients, which
    mL).                                                              is undesirable for patients with hypertension, heart disease,
       FIG. SA-5B show the relationship between Cmax ratio (to        renal disease or at risk of stroke. Thus, there is a need for
    Xyrem®) and calcium content or sodium content of the              GHB formulations with lower sodium, such as those pro-
    example formulations subjected to fasted-state PK evalua- 25 vided herein, particularly for patients with hypertension,
    tions when administered in either 240 mL aqueous volume           heart disease, renal disease or at risk of stroke, yet provide
    or 60 mL aqueous volume. FIG. SA. (Top) Relationship              additional health benefits from the presence of the other
    between Cmax ratio (to Xyrem®) and calcium content of the         salts.
    example formulations subjected to fasted-state PK evalua-            However, the therapeutic dose of 71.4 mEq/day (9 g
    tions when administered in either 240 mL aqueous volume 30 sodium oxybate) is sufficiently high that shifting from
    (+, Cmax, 60 mL; ... , Cmax, 240 mL). FIG. 5B (Bot-               sodium to another cation can push limits on acceptable daily
    tom) Relationship between Cmax ratio (to Xyrem®) and              intake of other cations and potentially cause other problems
    sodium content of the example formulations subjected to           for certain patients. For example, potassium has poor toler-
    fasted-state PK evaluations when administered in either 240       ability in solution at high doses given on an empty stomach
    mL aqueous volume ( • , Cmax, 60 mL; ...,_ , Cmax, 240 35 and can also be problematic for patients with kidney impair-
    mL).                                                              ment. Therefore, formulations which reduce or eliminate
       FIG. 6 is a graph showing the expected behavior of taking      sodium without exceeding levels of concern for other cat-
    separate formulations as part of an equally divided dose          ions are particularly desirable.
    given 4 h apart (+, 1st dose Xyrem® fed, 2nd dose                    Xyrem® is provided as an oral solution consisting of 500
    Xyrem® fasted; ...,_, 1st dose Formulation "O" fed, 2nd 40 mg/mL sodium oxybate (Na.GHB) that is pH adjusted with
    dose Formulation 507D fasted). Formulation "O" is given           malic acid. Xyrem® is rapidly and well absorbed when
    initially and then formulation "507D" is given 4 h later. This    given on an empty stomach. The absolute bioavailability for
    is compared to Xyrem® given both times.                           2.25 g and 4.45 g sodium oxybate doses, relative to IV
                                                                      administration, is 88%. See the Xyrem® Product Insert. As
               6. DETAILED DESCRIPTION OF THE                      45 a result, sodium oxybate is generally considered to be a high
                             INVENTION                                solubility, high permeability drug. (See Yu et al., Pharm.
                                                                      Res. 19 (7) 921-925). As such, for alternative formulations
       Ganmia-hydroxybutyrate (GHB), also known as "oxy-              of GHB, such as those comprising cations other than
    bate," is an endogenous compound with hypnotic properties         sodium, but having comparable solubility, bioequivalence
    that is found in human body tissues, such as the manmialian 50 might be expected and a pharmacokinetic evaluation
    brain. In the brain, the highest GHB concentration is found       waived. See 21 CFR Part 320.22 Subpart B paragraph b(3).
    in the hypothalamus and basal ganglia and GHB is postu-              However, as disclosed herein, despite the apparently rapid
    lated to function as a neurotransmitter (See Snead and            absorption of sodium oxybate, its presentation as an aqueous
    Morley, 1981, Brain Res. 227(4): 579-89). The neurophar-          solution, and the absence of any other ingredients that would
    macologic effects of GHB include increases in brain ace- 55 be expected to modify absorption behavior, formulations
    tylcholine, increases in brain dopamine, inhibition of            having the same GHB concentration do not display phar-
    GABA-ketoglutarate transaminase and depression of glu-            macokinetics equivalent to Xyrem®. Furthermore, as also
    cose utilization but not oxygen consumption in the brain.         disclosed herein, the pharmacokinetic behavior of such
    GHB treatment substantially reduces the signs and symp-           formulations appears to depend on the amount of sodium
    toms ofnarcolepsy, i.e., daytime sleepiness, cataplexy, sleep 60 and/or other cations present, as well as the amount of water
    paralysis, and hypnagogic hallucinations. In addition, GHB        in the formulation. Accordingly, one object of the present
    increases total sleep time and REM sleep, and it decreases        disclosure is to provide alternative formulations of GHB
    REM latency, reduces sleep apnea, and improves general            which are bioequivalent to Xyrem®. Provided herein are
    anesthesia (see, e.g., U.S. Pat. Nos. 6,472,431; 6,780,889;       such alternative formulations which surprisingly display the
    7,262,219; 7,851,506; 8,263,650; 8,324,275; and 8,772,302 65 desired bioequivalence.
    each of which is incorporated herein by reference in its             The following patents and applications referred to
    entirety).                                                        throughout the application are hereby incorporated by ref-
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    erence in their entireties for all purposes, including the         As used herein, the term "magnesium gamma-hydroxy-
    following: U.S. Pat. Nos. 6,472,431; 7,895,059; 8,461,197;      butyrate" (Mg.(GHB) 2 ) or "magnesium oxybate" (Mg.oxy-
    8,591,922; 8,759,394; 8,771,735; 8,772,306; 8,778,301           bate) refers to the magnesium salt form of gamma-hydroxy-
    8,778,398; 8,952,029; and 9,050,302; and U.S. Publication       butyric acid having the molecular weight of 230.50. Without
    No. 2012/0076865.                                            5 being limited by theory, Mg.(GHB) is believed to have the
                                                                                                        2
       Objects, features and advantages of the methods and          following structure:
    compositions described herein will become apparent from
    the following detailed description. It should be understood,
                                                                                          0               0
    however, that the detailed description and the specific
    examples, while indicating specific embodiments, are given
                                                                 10
                                                                         HO                  II           II            OH
    by way of illustration only, since various changes and                  ~ o-•Mg+2 • -o ~
    modifications within the spirit and scope of the invention
    will become apparent to those skilled in the art from this         As used herein, the term "calcium ganmia-hydroxybu-
    detailed description.                                        15 tyrate" (Ca.(GHB) ) or "calcium oxybate" (Ca.oxybate)
                                                                                         2
                                                                      refers to the calcium salt form of ganmia-hydroxybutyric
                          6.1 Definitions                             acid having the molecular weight of 246.27. Without being
                                                                      limited by theory, Ca.(GHB) 2 is believed to have the fol-
       As used herein, the term "gamma-hydroxybutyrate"               lowing structure:
    (GHB) or "oxybate" refers to the negatively charged or 20
    anionic form (conjugate base) of ganmia-hydroxybutyric
    acid. Without being limited by theory, GHB is believed to
    have the following structure:

                                                                 25
                                       0
                                                                         As used herein, the term "gamma-butyrolactone" (GBL)
                      HO~o-.                                          refers to a colorless oily liquid. Without being limited by
                                                                      theory, GBL is believed to have the following structure:
                                                                 30
       As used herein, the term "ganmia-hydroxybutyric acid"
    refers to the protonated form (conjugate acid) of gamma-
    hydroxybutyrate. Without being limited by theory, gamma-
    hydroxybutyric acid is believed to have the following struc-
    ture:                                                        35
                                                                    As used herein, the term "patient" refers to a mammal,
                                                                 particularly a human.
                                      0
                                                                    The terms "treat," "treating" or "treatment," as used
                      HO~                                        herein,  refer to a method of alleviating or abrogating a
                                          OH.                 40 disease and/or its attendant symptoms.
                                                                    As used herein, the term "about" or "approximately"
       As used herein, the terms "sodium gamma-hydroxybu-        means an acceptable error for a particular value as deter-
    tyrate" (Na.GHB) or "sodium oxybate" (Na.oxybate) refers     mined by those skilled in the art, which depends in part on
    to the sodium salt form of gamma-hydroxybutyric acid         how the value is measured or determined. In certain embodi-
                                                              45 ments, the term "about" or "approximately" means within
    having the molecular weight of 126.09. Without being
    limited by any theory, Na.GHB is believed to have the        10%, 9%, 8%, 7%, 6%, 5%, 4%, 3%, 2%, 1%, 0.5%, or
    following structure:                                         0.05%   of a given value.
                                                                    The term "substantial amount" shall mean over 1%.
                                                                    By "pharmaceutically acceptable" it is meant the active
                                                              50 ingredient, cation, salt, diluent, excipient or carrier must be
                                                                 compatible with the other ingredients of the formulation and
                                                                 not unduly deleterious, for example, that the active ingre-
                                                                 dient, cation, salt, diluent, excipient or carrier does not
                                                                 produce an adverse, allergic or other untoward reaction,
       As used herein, the term "potassium gamma-hydroxybu- 55 when administered to an animal, or a human, as appropriate.
    tyrate" (K.GHB) or "potassium oxybate" (K.oxybate) refers       The term "salt" or "salts," as used herein, refers to a
    to the potassium salt form of gamma-hydroxybutyric acid      compound formed by the interaction of an acid and a base,
    having the molecular weight of 142.19. Without being         the hydrogen atoms of the acid being replaced by the
    limited by any theory, K.GHB is believed to have the         positive ion or cation of the base. Pharmaceutically accept-
    following structure:                                      60 able salts, include inorganic acids such as, for example,
                                                                 hydrochloric or phosphoric acids, or such organic acids as
                                                                 malic, acetic, oxalic, tartaric, mandelic, and the like. Salts
                                                                 formed can also be derived from inorganic bases such as, for
                                                                 example, sodium, potassium, silicates, anmionium, calcium,
                                                              65 or ferric hydroxides, and such organic bases as isopropylam-
                                                                 ine, trimethylamine, histidine, procaine and the like. In
                                                                 certain preferred embodiments, the salt is formed from an
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    inorganic base that is a metal, for example, an alkali metal,       lent cations, Na+ and K+, have one molar equivalent per salt,
    such as lithium, potassium, sodium, or the like, an alkaline        and the divalent cations, Mg+ 2 and ca+ 2 , have two molar
    earth metal, such as magnesium, calcium, barium, or the             equivalents per salt. A sample calculation of% mo!. equiv.
    like, or aluminum or zinc. Other salts may comprise ammo-           is provided in the Examples of the present disclosure. For
    nium. Alkali metals, such as lithium, potassium, sodium, and 5 convenience in comparing various salt compositions at the
    the like, may be used, preferably with an acid to form a pH         same oxybate molar dose, compositions expressed as per-
    adjusting agent. Examples of pharmaceutically acceptable            centages in this application refer to molar equivalent per-
    base addition salts include those derived from inorganic            centage (% molar equivalents) of each oxybate salt. This is
    bases like sodium hydroxide, potassium hydroxide, magne-            usually close to, but not the same as, the composition that
                                                                     10
    sium hydroxide, calcium hydroxide, or ammonium hydrox-              would be expressed as wt/wt %.
    ide, and the like (See, e.g., Berge et al., 1977, J. Pharm. Sci.       The term, "buffering agent," as used herein, refers to a
    66: 1).                                                             weak acid or base used to maintain the pH of a solution near
       As used herein, the terms "salt of GHB" or "salts of             a chosen pH value after the addition of another acidic or
    GHB," as used herein, refer to a compound formed by the             basic compound. The function of such an agent is to prevent
                                                                     15
    interaction of gamma-hydroxybutyric acid (the conjugate             the change in pH when acids or bases are added to a solution.
    acid of GHB) with a base, for example, NaOH, KOH,                   Such agents may be acids, bases, or combinations thereof.
    Mg(OH) 2 , and Ca(OH) 2 , and the like, the hydrogen atoms of          The term, "adjusting agent," as used herein, refers to an
    the acid being replaced by the positive ion or cation of the        acid or base used to alter the pH of a solution to a chosen pH
    base. Such salts may include, for example, Na.GHB, 20 value. The function of such an agent is to alter the pH of a
    K.GHB, Mg.(GHB) 2 , and Ca.(GHB) 2 , and the like. It will be
                                                                        solution to the desired value subsequent to the addition of
    understood by those skilled in the art that such salts may be
                                                                        acidic or basic compounds.
    in solid form, or such salts may be in partially or fully
                                                                           The term, "acid," as used herein, refers to a substance
    solvated form, for example, as when dissolved in an aqueous
                                                                        which accepts a share in a pair of electrons. Such substances
    medium. It will be further understood by those skilled in the
                                                                     25 include malic acid, citric acid, acetic acid, boric acid, lactic
    art, that, depending on the solubility of the salt in the
                                                                        acid, hydrochloric acid, phosphoric acid, sulfuric acid, sulfo-
    aqueous medium, that the salt may be present in the aqueous
                                                                        nic acid, nitric acid, and the like.
    medium as solvated cation(s) and anion(s), or as a precipi-
                                                                           The term, "base," as used herein, refers to a substance
    tated solid, as illustrated below for the solubility equilibrium
                                                                        which shares a pair of electrons. Such substances include
    of Ca.(GHB) 2 :
                                                                     30 sodium hydroxide, potassium hydroxide, magnesium
                                                                        hydroxide, calcium hydroxide, and the like.
                                                                           The term, "chemically stable," as used herein, refers to a
              Ca•(GHB)i
                        (,)
                                                                        chemical   compound which is not particularly reactive in a
                                                                        specific environment and retains its useful properties on a
                                                                     35 timescale of its expected usefulness. Specifically, the use-
       The terms "mixture of salts" or "salt mixture," as used          fulness of the compound is maintained in the presence of air,
    herein, refers to salts of GHB where two or more different          moisture, or heat. Conversely, the compound lacks chemical
    cations are present in combination with each other in a             stability if it decomposes under the conditions of a specific
    composition. Such mixtures of salts may include, for                environment. As used herein in certain embodiments,
    example, two or more salts selected from the group consist- 40 "chemically stable" may mean resistant to degradation of
    ing of Na.GHB, K.GHB, Mg.(GHB) 2 , and Ca.(GHB) 2 .                 GHB into its known or unknown decomposition elements.
       Xyrem® contains 500 mg/mL Na.GHB. When referring                 The level of GBL that is acceptable can be up to 0.15% of
    to a mixture of GHB salts with different cations, the con-          the formulation as per the ICH guidelines for shelf-life
    centration in mg/mL will vary between formulations and/or           determination.
    pharmaceutical compositions of the same GHB strength. As 45            The term, "microbial," as used herein, refers to a micro-
    used herein, a GHB concentration of 409 mg/mL is equiva-            scopic organism that comprises either a single cell, cell
    lent to the GHB content in 500 mg/mL of Na.GHB.                     cluster or multicellular organism.
       The term "wt/wt %," are used herein, refers to the                  The term "resistant to microbial growth" or "resistant to
    normalized weight percent of a particular salt in a salt            microbial challenge," as used herein, means that the com-
    mixture. A sample calculation of wt/wt % is provided in 50 positions or formulations meet the criteria set by the Food
    Example 1 of the present disclosure.                                and Drug Administration and the U.S. Pharmacopoeia for
       The term "wt/wt % ratio," as used herein, refers to the          products made with aqueous bases or vehicles, which for
    ratio of wt/wt % values in a mixture of salt. For example,          bacteria means not less than a 1.0 log reduction from the
    where the salts Na.GHB, K.GHB, Mg.(GHB) 2 , and Ca.                 initial count at 14 days, and no increase from the 14 days
    (GHB) 2 are present in a wt/wt %'s of 8%, 32%, 20% and 55 count at 28 days, and for yeast and molds, no increase from
    40%, respectively, the wt/wt % ratio of Na.GHB, K.GHB,              the initial calculated count at 14 and 28 days.
    Mg.(GHB) 2 , and Ca.(GHB) 2 in the mixture is 8%:32%:20%:              The term, "preservative," as used herein, refers to a
    40%.                                                                naturally occurring or synthetically produced substance
       The terms "% molar equivalents" and"% mo!. equiv.," as           which can be added to food, pharmaceuticals, paints, bio-
    used herein, refer to molar composition of salts expressed as 60 logical samples, wood, etc. to prevent decomposition by
    a percent ofGHB (or "oxybate") equivalents. For example,            microbial growth or by chemical decomposition.
    formulations and/or pharmaceutical compos1t10ns as                     The term, "formulation," as used herein, refers to a stable
    described herein comprise mixtures with varying percent-            and pharmaceutically acceptable preparation of a pharma-
    ages of oxybate, expressed as % molar equivalents (% mo!.           ceutical composition disclosed herein.
    equiv.) of Na.GHB, K.GHB, Mg.(GHB) 2 , and Ca.(GHB) 2 . 65             The term, "liquid formulation," as used herein, refers to a
    Those skilled in the art will understand that as each GHB           water-based formulation, in particular, a formulation that is
    unit is considered to be one molar equivalent, the monova-          an aqueous solution.
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       The term, "low volume" or "low aqueous volume" or               substantially similar pharmacokinetic profiles or therapeutic
    "reduced volume," as used herein, refers to an aqueous             effects. Bioequivalence may be demonstrated through sev-
    solution of about 100 mL or less.                                  eral in vivo and in vitro methods. These methods may
       The term, "volume of administration" as used here, refers       include, for example, pharmacokinetic, pharmacodynamic,
    to the volume of aqueous material used to ingest or swallow 5 clinical and in vitro studies. In some embodiments,
    the formulations and/or pharmaceutical compositions com-           bioequivalence may be demonstrated using any suitable
    prising the GHB salts, as disclosed herein, including before       pharmacokinetic measures or combination of pharmacoki-
    or immediately after the formulations and/or pharmaceutical        netic measures known in the art, including loading dose,
    compositions are ingested or swallowed. This amount can,           steady-state dose, initial or steady-state concentration of
    for example, include the formulations and/or pharmaceutical 10 drug, biological half-life, elimination rate, area under the
    disclosed herein and any additional aqueous material used to       curve (AUC), clearance, the peak blood or plasma concen-
    dilute, wash down or chase the formulations and/or phar-           tration (Cmax ), time to peak concentration (Tmax), bioavail-
    maceutical compositions. The additional aqueous material           ability and potency. In some embodiments, a value is
    includes for example, water and flavored beverages.                bioequivalent to a reference pharmacokinetic value when the
       The term, "eating" as used herein, refers to ingesting or 15 geometric mean of the AUC and/or the Cmax is between
    consuming calories and/or nutrients by way of solid or liquid      80% and 125% (e.g., at 90% confidence interval) of the
    food substances.                                                   reference pharmacokinetic value.
       The term, "cataplexy," as used herein, refers to a condi-          In some embodiments, a pharmaceutical composition is
    tion where a patient exhibits a sudden and transient loss of       bioequivalent to a reference pharmaceutical composition
    muscle tone, often triggered by emotions.                       20 when the pharmaceutical composition produces an average
       The term, "daytime sleepiness," as used herein, refers to       Cmax and/or AUC that is substantially the same as the Cmax
    a condition where a patient exhibits persistent sleepiness,        and/or AUC of the reference pharmaceutical composition
    and often a general lack of energy, even after apparent            when administered under the same conditions. In some
    adequate night time sleep.                                         embodiments, a pharmaceutical composition is bioequiva-
       The term, "narcolepsy," as used herein, refers to a chronic 25 lent to a reference pharmaceutical composition when the
    sleep disorder characterized by excessive sleepiness and           pharmaceutical composition produces a Cmax and/or AUC
    sleep attacks at inappropriate times.                              that is within 80% and 125% of the Cmax and/or AUC of the
       The term, "apnea," as used herein, refers to a condition        reference pharmaceutical composition when administered
    where a patient suspends external breathing.                       under the same condition. For example, a pharmaceutical
       The term, "sleep time disturbances," as used herein, refers 30 composition is bioequivalent to Xyrem® when the pharma-
    to a condition where a patient exhibits abnormal sleep             ceutical composition produces an average Cmax and/AUC is
    patterns. Sleep time disturbances can be serious enough to         between 80% and 125% of the Cmax and/or AUC of
    interfere with normal physical, mental and emotional func-         Xyrem® when administered under the same conditions.
    tioning.                                                              The expression "consists essentially of' as used herein,
       The term, "sleep paralysis," as used herein, refers to a 35 means that specific further components can be present in a
    condition in which a patient who is falling asleep or awak-        mixture or composition, namely those not materially affect-
    ening form sleep experience an inability to move. It is a          ing the essential characteristics of the mixture or composi-
    transition state between wakefulness and rest characterized        tion.
    by complete muscle weakness.
       The term, "hypnagogic hallucination," as used herein, 40              6.2 Pharmaceutical Compositions Comprising Salt
    refers to a transition state between wakefulness and sleep                               Mixtures of GHB
    where a patient experiences vivid hallucinations.
       The term, "sleep arousal," as used herein, refers to a             In certain aspects, provided herein are pharmaceutical
    condition where a patient engages in sexual acts while still       compositions comprising gamma-hydroxybutyrate (GHB)
    asleep.                                                         45 and one or more pharmaceutically acceptable cations of an
       The term, "insonmia," as used herein, refers to a condition     alkali metal or an alkaline earth metal. As used herein,
    where a patient has difficulties falling asleep and maintain-      "alkali metal" means any of the elements found in Group IA
    ing sleep.                                                         of the periodic table, including, for example, lithium,
       The term, "nocturnal myoclonus," as used herein, refers         sodium, and potassium. As used herein, "alkaline earth
    to a condition where a patient has repetitive movement of the 50 metal" means any of the elements found in Group II of the
    limbs during sleep or even wakefulness which is sometimes          periodic table, including, for example, magnesium and cal-
    confused with a seizure.                                           cmm.
       The term "flavoring" or "flavoring agent," as used herein,         In certain embodiments, the pharmaceutical compositions
    refers to a substance that alters the flavor of the composition    comprise GHB and more than one pharmaceutically accept-
    during oral consumption. A type of "flavoring agent" would 55 able cations of an alkali metal or an alkaline earth metal.
    be a sweetener.                                                       In certain embodiments, the pharmaceutical compositions
       The term "coloring" or "coloring agent," as used herein,        comprise GHB and more than one (two or more) cations
    refers to a substance that alters the color of the composition.    selected from the group consisting of Na+, K+, Mg+ 2 , and
       The term "bioequivalent", as used herein, describes a           ca+2 . In certain embodiments, the pharmaceutical compo-
    formulation and/or pharmaceutical composition that is 60 sitions comprise GHB and all three cations selected from the
    therapeutically equivalent to a reference product (e.g.            group consisting of Na+, K+, and ca+ 2 . In certain embodi-
    Xyrem®) when given under the same conditions in a phar-            ments, the pharmaceutical compositions comprise less than
    macokinetic evaluation conforming to FDA Guidance on               100% of the cation Na+, so as to minimize the amount of
    Bioequivalence Testing; regardless of biopharmaceutical            sodium, particularly in patients with hypertension, heart
    class. A value that is "bioequivalent", as used herein, is 65 disease, renal disease or at risk of stroke or to improve the
    meant to refer to a pharmacokinetic value (such as the Cmax        taste of the compositions. In certain embodiments, the
    or AUC of a formulation described herein) that exhibits            pharmaceutical compositions comprise from about 50% to
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    about 80% of the cation Na+. In other embodiments, the              mixture comprises about 5% to 25% Na.GHB. In certain
    pharmaceutical compositions comprise from about 0% to               embodiments, the mixture comprises about 5% to 10%
    about 40% of the cation Na+. Each embodiment has a                  Na.GHB.
    different advantage.                                                   In certain embodiments, the mixture comprises between
       In certain aspects, provided herein are pharmaceutical 5 40% and 50% Na.GHB, and in others between 45% and 50%
    compositions comprising salts of GHB. As used herein, the           Na.GHB. In certain embodiments, the mixture comprises
    term "salt of GHB" or "salts of GHB" is used interchange-           about 5% to 45% Na.GHB.
    ably with the term "cation." For example, a pharmaceutical             In certain embodiments, the remaining one, two or three
    composition comprising GHB and the four cations Na+, K+,            or more cations that are present in the mixture in amounts to
    Mg +2 , and Ca +2 will be understood by those skilled in the art 1o make up the remainder of the cations in the formulation
    to also mean a pharmaceutical composition comprising the            and/or pharmaceutical composition. The amount of each
    salts Na.GHB, K.GHB, Mg.(GHB) 2 , and Ca.(GHB) 2 . It will          depends on the amount of Na+ and the amount of other
    be also understood by those skilled in the art that such salts      cations. For example, if Na+ is present at 50% and ca+ 2 and
    may be in solid form, or may be in partially or fully solvated      K+ are also present, then ca+ 2 and K+ can each be present in
    form, for example, as when dissolved in an aqueous 15 varying amount from 5-40% to add up to the remaining
    medium. It will be further understood by those skilled in the       50%. If Mg+ 2 is also present in the mixture then the
    art, that, depending on the solubility of the salt in the           non-sodium component 50% is divided three ways. In some
    aqueous medium, that the salt may be present in the aqueous         embodiments, the mixture does not comprise a significant
    medium as solvated cation(s) and anion(s), or as a precipi-         amount of Mg.(GHB) 2 or Ca.(GHB) 2 , and therefore the
    tated solid.                                                     20 formulation and/or pharmaceutical composition does not
       In certain embodiments, the pharmaceutical composition           have a significant amount of Mg.(GHB) 2 or Ca.(GHB) 2 .
    comprises a mixture of two or more GHB salts, wherein the           Care can be taken to adjust any specific cation concentration
    mixture comprises Na.GHB, and further comprises any one             to levels that are acceptable to patients. It may not be
    of the salts selected from the group consisting of K.GHB,           preferred to add any cation to a level that might be disad-
    Mg.(GHB) 2 , and Ca.(GHB) 2 . In certain embodiments, the 25 vantageous to patients generally. For example, potassium
    pharmaceutical composition comprises Na.GHB, K.GHB,                 has poor tolerability in solution at high doses given on an
    and Ca.(GHB) 2 . In certain embodiments, the pharmaceutical         empty stomach and can also be a problem for patients with
    composition comprises Na.GHB, and Ca.(GHB) In certain
                                                     2
                                                         •              kidney impairment.
    embodiments, the pharmaceutical composition comprises                  In certain embodiments, Na+ is present at 50% and Ca 2 +
    Na.GHB, Mg.(GHB) 2 , and Ca.(GHB) 2 . In certain embodi- 30 and K+ are also present, then Ca 2 + and K+ can each be
    ments, the pharmaceutical composition comprises Na.GHB              present in varying amount from 5-45% to add up to the
    and K.GHB. In certain embodiments, the pharmaceutical               remaining 50%.
    composition comprises Na.GHB, K.GHB, and Mg.(GHB) 2 .                  In certain embodiments, the K.GHB, Mg.(GHB) 2 or Ca.
       In certain embodiments, the pharmaceutical composition           (GHB) 2 salt is present in the mixture at about 1% to about
    comprises Na.GHB and Mg.(GHB) 2 .                                35 5%, about 5% to about 10%, about 10% to about 15%, about
       The amounts of the cations below are described in various        15% to about 20%, about 20% to about 25%, about 25% to
    ranges. The cations can be present in the ranges found in           about 30%, about 30% to about 35%, or about 35% to about
    U.S. Pat. Nos. 8,591,922; 8,901,173; and 9,132,107.                 40%, about 40% to about 45%, about 45% to about 50%,
       In certain embodiments, the Na.GHB salt is present in the        about 50% to about 55%, about 55% to about 60%, about
    mixture in a percentage of at least 50%. In certain embodi- 40 60% to about 65%, about 65% to about 70%, about 70% to
    ments, the Na.GHB salt is present in about 50% to about             about 75%, about 75% to about 80%, about 80% to about
    80%. In certain embodiments, the Na.GHB salt is present in          85%, about 85% to about 90%, about 90% to about 95%, or
    about 50% to about 70%. In certain embodiments, the                 about 95% to about 100%. In certain embodiments, the
    Na.GHB salt is present in about 50% to about 60%. In                K.GHB, Mg.(GHB) 2 or the Ca.(GHB) 2 salt is absent.
    certain embodiments, the Na.GHB salt is present in about 45            In certain embodiments, the mixture comprises K.GHB,
    50% to about 55%. In certain embodiments, the Na.GHB                Mg.(GHB) 2 or the Ca.(GHB) 2 in about 1% to about 5%,
    salt is present between 40% and 50% and in others between           about 5% to about 10%, about 10% to about 15%, about
    5% to 45%. In certain embodiments, the Na.GHB salt is               15% to about 20%, about 20% to about 25%, about 25% to
    present in about 5% to 35%. In certain embodiments, the             about 30%, about 30% to about 35%, or about 35% to about
    Na.GHB salt is present in about 5% to 25%. In certain 50 40%, about 40% to about 45%, about 45% to about 50%,
    embodiments, the Na.GHB salt is present in about 5% to              about 50% to about 55%, about 55% to about 60%, about
    10%.                                                                60% to about 65%, about 65% to about 70%, about 70% to
       In certain embodiments, the mixture comprises between            about 75%, about 75% to about 80%, about 80% to about
    40% and 50% Na.GHB, and in others between 45% and 50%               85%, about 85% to about 90%, about 90% to about 95%, or
    Na.GHB. In certain embodiments, the mixture comprises 55 about 95% to about 100%. In certain embodiments, the
    about 5% to 45% Na.GHB.                                             mixture comprises about 0% K.GHB. In certain embodi-
       In certain embodiments, the mixture comprises at least           ments, the mixture comprises about 0% Mg.(GHB) 2 . In
    50% Na.GHB. In certain embodiments, the mixture com-                certain embodiments, the mixture comprises about 0% Ca.
    prises about 50% to about 80% Na.GHB. In certain embodi-            (GHB) 2 .
    ments, the mixture comprises about 50% to about 70% 60                 In certain embodiments, the mixture comprises K.GHB in
    Na.GHB. In certain embodiments, the mixture comprises               about 1% to about 5%, about 5% to about 10%, about 10%
    about 50% to about 60% Na.GHB. In certain embodiments,              to about 15%, about 15% to about 20%, about 20% to about
    the mixture comprises about 50% to about 55% Na.GHB. In             25%, about 25% to about 30%, about 30% to about 35%, or
    certain embodiments, the mixture comprises between 40%              about 35% to about 40%, about 40% to about 45%, about
    and 50% Na.GHB, and in others between 5% to 45% 65 45% to about 50%, about 50% to about 55%, about 55% to
    Na.GHB. In certain embodiments, the mixture comprises               about 60%, about 60% to about 65%, about 65% to about
    about 5% to 35% Na.GHB. In certain embodiments, the                 70%, about 70% to about 75%, about 75% to about 80%,
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    about 80% to about 85%, about 85% to about 90%, about          consists essentially of between 50% to 80% Na.GHB,
    90% to about 95%, or about 95% to about 100%. In certain       between 10% to 40% K.GHB, and between 10% to 20%
    embodiments, the mixture comprises about 0% K.GHB.             Ca.(GHB) 2 .
       In certain embodiments, the mixture comprises Mg.               In certain embodiments, the composition comprises a
    (GHB) 2 in about 1% to about 5%, about 5% to about 10%, 5 mixture of three or more salts ofGHB, wherein the mixture
    about 10% to about 15%, about 15% to about 20%, about          comprises about 50% to 80% Na.GHB, about 30% to 40%
    20% to about 25%, about 25% to about 30%, about 30% to         K.GHB, and about 10% to 20% Ca.(GHB) 2 . In certain
    about 35%, or about 35% to about 40%, about 40% to about       embodiments, the mixture comprises about 50% to 80%
    45%, about 45% to about 50%, about 50% to about 55%,           Na.GHB, about 10% to 40% K.GHB, and about 10% to 20%
    about 55% to about 60%, about 60% to about 65%, about 10 Ca.(GHB) 2 .
    65% to about 70%, about 70% to about 75%, about 75% to             In certain embodiments, the composition comprises a
    about 80%, about 80% to about 85%, about 85% to about          mixture of three or more salts ofGHB, wherein the mixture
    90%, about 90% to about 95%, or about 95% to about 100%.       consists essentially of about 50% to 80% Na.GHB, about
    In certain embodiments, the mixture comprises about 0%         10% to 40% K.GHB, and about 10% to 20% Ca.(GHB) 2 .
    Mg.(GHB) 2 .                                                15     In certain embodiments, the composition comprises a
       In certain embodiments, the mixture comprises Ca.           mixture of three or more salts ofGHB, wherein the mixture
    (GHB) 2 in about 1% to about 5%, about 5% to about 10%,        comprises between about 50% to 80% Na.GHB, between
    about 10% to about 15%, about 15% to about 20%, about          about 30% to 40% K.GHB, and between about 10% to 20%
    20% to about 25%, about 25% to about 30%, about 30% to         Ca.(GHB) 2 . In certain embodiments, the mixture comprises
    about 35%, or about 35% to about 40%, about 40% to about 20 between about 50% to 80% Na.GHB, between about 10% to
    45%, about 45% to about 50%, about 50% to about 55%,           40% K.GHB, and between about 10% to 20% Ca.(GHB) 2 .
    about 55% to about 60%, about 60% to about 65%, about              In certain embodiments, the composition comprises a
    65% to about 70%, about 70% to about 75%, about 75% to         mixture of three or more salts ofGHB, wherein the mixture
    about 80%, about 80% to about 85%, about 85% to about          consists essentially of between about 50% to 80% Na.GHB,
    90%, about 90% to about 95%, or about 95% to about 100%. 25 between about 10% to 40% K.GHB, and between about 10%
    In certain embodiments, the mixture comprises about 0%         and 20% Ca.(GHB) 2 .
    Ca.(GHB) 2 .                                                       In certain embodiments, the composition comprises a
       In certain embodiments, the pharmaceutical composition      mixture of three or more salts ofGHB, wherein the mixture
    has reduced sodium compared to Xyrem®, wherein the             comprises between 50% and 60% Na.GHB, between 20%
    Na.GHB salt is present in the mixture at about 50% to about 30 and 40% K.GHB, and between 10% and 20% Ca.(GHB) 2 . In
    80%.                                                           certain embodiments, the mixture comprises between 50%
       In certain embodiments, the pharmaceutical composition      and 60% Na.GHB, between 10% and 40% K.GHB, and
    comprises a mixture of two or more GHB salts, wherein the      between 10% and 20% Ca.(GHB) 2 .
    mixture comprises at least 50% of a sodium salt ofNa.GHB,          In certain embodiments, the composition comprises a
    and further comprises one or more of the following salts, 35 mixture of three or more salts ofGHB, wherein the mixture
    K.GHB, Ca.(GHB) 2 and Mg.(GHB) 2 . In certain embodi-          comprises about 50% to about 60% Na.GHB, about 20% to
    ments, the Na.GHB salt is present in the mixture at about      about 40% K.GHB, and about 10% to about 20% Ca.(GHB)
    50% to 80%. In certain embodiments, the Na.GHB salt is         2 . In certain embodiments, the mixture comprises about 50%
    present in the mixture at about 50% to 70%. In certain         to 60% Na.GHB, about 10%to 40% K.GHB, and about 10%
    embodiments, the Na.GHB salt is present in the mixture at 40 to 20% Ca.(GHB) 2 .
    about 50% to 60%. In certain embodiments, the Na.GHB               In certain embodiments, the composition comprises a
    salt is present in the mixture at about 50% to 55%.            mixture of three or more salts ofGHB, wherein the mixture
       In certain embodiments, the pharmaceutical composition      comprises between about 50% and about 60% Na.GHB,
    comprises a mixture of two or more salts of GHB, wherein       between about 20% and about 40% K.GHB, and between
    the mixture comprises of at least 50% of Na.GHB and 45 about 10% and about 20% Ca.(GHB) 2 . In certain embodi-
    further comprises one or more of K.GHB and Ca.(GHB) 2 .        ments, the mixture comprises between about 50% and about
       In certain embodiments, the pharmaceutical composition      60% Na.GHB, between about 10% and about 40% K.GHB,
    comprises a mixture of two or more salts of GHB, wherein       and between about 10% and about 20% Ca.(GHB) 2 .
    the mixture consists essentially of at least 50% ofNa.GHB          In certain embodiments the mixture comprises 45% to
    and one or more of K.GHB and Ca.(GHB) 2 .                   50 55% Na.GHB, 30% to 40% K.GHB, and 10% to 20%
       In certain embodiments, the pharmaceutical composition      Ca.(GHB) 2 . In certain embodiments the mixture comprises
    comprises a mixture of three or more salts of GHB.             48% to 52% Na.GHB, 32% to 36% K.GHB, and 14% to
       In certain embodiments, the pharmaceutical composition      18% Ca.(GHB) 2 . In certain embodiments, the mixture does
    does not comprise a substantial amount of Mg.(GHB) 2 or        not have a substantial amount of Mg.(GHB) 2 . In other
    Ca.(GHB) 2 . In certain embodiments, the mixture does not 55 embodiments, the mixture does not have a substantial
    comprise a substantial amount ofMg.(GHB) 2 or Ca.(GHB) 2 .     amount of Ca.(GHB) 2 .
    In certain embodiments, the mixture consists of 50% to 80%         In certain embodiments, the pharmaceutical composition
    Na.GHB, at least 10% K.GHB, and at least 10% Ca.(GHB) 2 .      comprises a mixture of three GHB salts, wherein the mixture
       In certain embodiments, the composition comprises a         comprises at least 50% Na.GHB, and further comprises
    mixture of three or more salts of GHB, wherein the mixture 60 K.GHB and Ca.(GHB) 2 , In certain embodiments, the mix-
    comprises between 50% to 80% Na.GHB, between 30% to            ture comprises between 50% and 60% ofNa.GHB, between
    40% K.GHB, and between 10% to 20% Ca.(GHB) 2 . In              10% and 40% K.GHB, and between 10% and 20% Ca.
    certain embodiments, the mixture comprises between 50%         (GHB) 2 .
    to 80% Na.GHB, between 10% to 40% K.GHB, and                       In certain embodiments, the pharmaceutical composition
    between 10% to 20% Ca.(GHB) 2 .                             65 does not comprise a substantial amount of Mg.(GHB) 2 . In
       In certain embodiments, the composition comprises a         certain embodiments, the mixture does not comprise a
    mixture of three or more salts of GHB, wherein the mixture     substantial amount ofMg.(GHB) 2 . In certain embodiments,
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    the Na.GHB, K.GHB, and Ca.(GHB) 2 salts are present in the      Na.GHB. In certain embodiments, the pharmaceutical com-
    mixture in a ratio of about 50%:34%:16%.                        position produces an A UC that is between 80% and 125% of
       In certain embodiments, the pharmaceutical composition       the AUC of Na.GHB.
    of GHB comprising less than 100 mL of an aqueous solu-             In certain embodiments, the pharmaceutical composition
    tion, wherein the aqueous solution comprises a mixture of 5 is bioequivalent to a pharmaceutical composition compris-
    two or more salts of GHB, the mixture comprising between        ing about 100% Na.GHB when administered to a patient.
    40% and 50% Na.GHB, and further comprising one or more             In certain embodiments, the average maximum GHB
    salts selected from K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 .        plasma concentration (Cmax) is within 10% of the Cmax of
       In certain embodiments, the mixture comprises about          a pharmaceutical composition comprising about the same
                                                                 10
    40% to about 50% Na.GHB, and further comprising one or          amount of 100% Na.GHB when administered to a patient. In
    more salts selected from K.GHB, Ca.(GHB) 2 , and Mg.            certain embodiments, theAUC is within 10% oftheAUC of
    (GHB) 2 . In certain embodiments, the mixture comprises         a pharmaceutical composition comprising about the same
    between about 40% and about 50% Na.GHB, and further             amount of 100% Na.GHB when administered to a patient.
    comprising one or more salts selected from K.GHB, Ca. 15           In certain embodiments, the pharmaceutical composition
    (GHB) 2 , and Mg.(GHB) 2 .                                      is formulated as a liquid formulation, wherein the Na.GHB
       In certain embodiments, the pharmaceutical composition       salt is present at less than 40%. In these embodiments, the
    of GHB comprising less than 100 mL of an aqueous solu-          pharmaceutical composition is more resistant to a food effect
    tion, wherein the aqueous solution comprises a mixture of       and has a lower Cmax compared to Na.GHB.
    two or more salts of GHB, the mixture essentially consists 20      In certain embodiments, the pharmaceutical composition
    of about 40% to about 50% Na.GHB, and further comprising        comprises a mixture of two or more GHB salts, wherein the
    one or more salts selected from K.GHB, Ca.(GHB) 2 , and         mixture comprises less than 40% Na.GHB, and further
    Mg. (GHB) 2 .                                                   comprises one or more of the following salts, K.GHB,
       In certain embodiments, the pharmaceutical composition       Ca.(GHB) 2 and Mg.(GHB) 2 . In certain embodiments, the
    comprises a mixture which contains between 40% and 50% 25 Na.GHB salt is present in the mixture at about 0% to 30%.
    Na.GHB, wherein the composition is provided to the patient      In certain embodiments, the Na.GHB salt is present in the
    in an aqueous solution of between 25 and 100 mL. In certain     mixture at about 5% to 25%. In certain embodiments, the
    embodiments, the pharmaceutical composition comprises           Na.GHB salt is present in the mixture at about 5% to 10%.
    the mixture dissolved or dispersed in an aqueous solution of       In certain embodiments, the pharmaceutical composition
    between 40 and 75 mL. In certain embodiments, the phar- 30 comprises a mixture of three or more GHB salts, wherein the
    maceutical composition comprises the mixture dissolved or       mixture comprises at least 10% K.GHB, at least 10%
    dispersed in an aqueous solution of between 55 and 65 mL.       Ca.(GHB) 2 and at least 10% Mg.(GHB) 2 . In certain embodi-
       In certain embodiments, the aqueous solution has a vol-      ments, the pharmaceutical composition comprises a mixture
    ume of about 25 mL to about 100 mL. In certain embodi-          of two or three GHB salts, in addition to Na.GHB, wherein
    ments, the aqueous solution has a volume of about 40 mL to 35 the mixture further comprises 20 to 80%, K.GHB, Ca.
    about 75 mL. In certain embodiments, the aqueous solution       (GHB) 2 or Mg.(GHB) 2 . In certain embodiments, the phar-
    has a volume of about 55 mL to about 65 mL. In certain          maceutical composition comprises a mixture of three or
    embodiments, the aqueous solution has a volume of about 60      more GHB salts, wherein the mixture comprises between 10
    mL.                                                             and 50% K.GHB, between 10 and 50% Ca.(GHB) 2 and
       In certain embodiments, the pharmaceutical composition 40 between 10 and 50% Mg.(GHB) 2 for the non-sodium salts.
    comprises the mixture dissolved or dispersed in an aqueous         In certain embodiments, the Na.GHB, K.GHB, Mg.
    solution of between 25 and 75 mL. In certain embodiments,       (GHB) 2 , and Ca.(GHB) 2 salts are present in the mixture at
    the pharmaceutical composition comprises about 60 mL of         a ratio of about 8%:23%:21 %:48%, respectively.
    an aqueous solution.
       In certain embodiments, the pharmaceutical composition 45                  6.2.1 Concentrations and pH Values
    comprises between 25 and 100 mL of an aqueous solution.
    In certain embodiments the pharmaceutical composition              In certain embodiments, the pharmaceutical composition
    comprises between 40 and 75 mL of an aqueous solution. In       comprises an aqueous solution.
    certain embodiments the pharmaceutical composition com-            In certain embodiments, the concentration of the mixture
    prises between 55 and 65 mL of an aqueous solution.          50 of salts of GHB in the solution is about 250 mg/mL to about
       In certain embodiments the pharmaceutical composition        750 mg/mL, about 350 mg/mL to about 650 mg/mL, about
    is an aqueous solution having a volume of about 25 mL to        400 mg/mL to about 600 mg/mL, about 450 mg/mL to about
    about 100 mL. In certain embodiments the pharmaceutical         550 mg/mL. In certain embodiments, the concentration of
    composition is an aqueous solution having a volume of           the mixture of salts of GHB in the solution is centered
    about 40 mL to about 75 mL. In certain embodiments the 55 around 409 mg/mL GHB, which equates to 500 mg/mL
    pharmaceutical composition is an aqueous solution having a      Na.GHB. See U.S. Pat. No. 6,472,431, which is incorpo-
    volume of about 55 mL to about 65 mL.                           rated by reference in its entirety.
       In certain embodiments, the pharmaceutical composition          It will be understood that the maximum solubility of GHB
    is bioequivalent to Xyrem® which is Na.GHB. In certain          is affected by the pH of the aqueous medium. For example,
    embodiments, the pharmaceutical composition produces an 60 at about pH 4, the maximum amount ofNa.GHB that can be
    average maximum GHB plasma concentration (Cmax) that            dissolved is about 450 mg/mL. The value of pH that is
    is substantially the same as the Cmax ofNa.GHB. In certain      conducive to GHB solubility increases so that the minimal
    embodiments, the pharmaceutical composition produces a          pH that will dissolve 750 mg/mL GHB was found to be
    Cmax that is within 80% and 125% of the Cmax ofNa.GHB.          about pH 6.8.
    In certain embodiments, the pharmaceutical composition 65          Accordingly, in certain embodiments, the pharmaceutical
    produces an average maximum GHB plasma area under the           composition has a pH of about 7.0 to about 9.0, about 7.0 to
    curve (AUC) and Cmax that is substantially the same as          about 8.5, about 7.3 to about 8.5.
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       In certain embodiments, the pharmaceutical composition             As used herein, "pharmaceutically acceptable carrier"
    is chemically stable and resistant to microbial growth. In         includes any and all solvents, dispersion media, coatings,
    certain embodiments, the pharmaceutical composition is             antibacterial and antifungal agents, isotonic and absorption
    free of preservatives.                                             delaying agents and the like. The use of such media and
       It will also be understood that the pH of the aqueous 5 agents for pharmaceutical active substances is well known in
    solution affects the resistance of the pharmaceutical com-         the art. Insofar as any conventional media or agent is
    position to microbial growth at about 409 mg/mL GHB,               incompatible with the active ingredient, its use in the thera-
    which equates to, e.g., 500 mg/mL Na.GHB. For example,             peutic compositions is not appropriate. Supplementary com-
    Na.GHB at this concentration (500 mg/mL) is resistant to           patible active ingredients can be incorporated into the com-
                                                                    10 positions. For human administration, preparations should
    microbial growth in an aqueous medium when the pH is
                                                                       meet sterility, pyrogenicity, general safety and purity stan-
    between about pH 5 and pH 9. Compositions at about pH 6
                                                                       dards as required by the Food and Drug Administration
    to about pH 7.5 are particularly resistant to microbial
                                                                       (FDA). See Remington, The Science and Practice of Phar-
    growth. However, at concentrations of GHB greater than             macy, 22 nd Ed. 2013.
    about 750 mg/mL above about pH 7.5, the resistance to 15              In certain embodiments, the compositions disclosed
    microbial growth is reduced. See U.S. Pat. No. 6,472,431.          herein are provided in a formulation, preferably, a liquid
       It will be further understood that the chemical stability of    formulation, although solid formulations are also contem-
    GHB is affected by pH. Accordingly, the method for pre-            plated. For any examples of excipients, colorants, flavorants,
    paring GHB, as described herein, particularly as disclosed in      or other components of the formulation; see Remington, The
    the specific examples, varies with pH. The impurity gamma 20 Science and Practice of Pharmacy, 2rd Ed. 2013.
    butyrolactone (GBL) begins to form substantially if the pH            In certain embodiments, the formulation is chemically
    is about 6 or less. Compositions with a pH of greater than         stable and resistant to microbial growth. In certain embodi-
    about 6.0 are preferred to produce chemically stable formu-        ments, the formulation does not need, and may be free of
    lations of GHB. Thus, a preferred range for chemically             preservatives. In certain embodiments, the level of gamma-
    stable GHB would be from about pH 6 to about pH 9. 25 butyrolactone (GBL) is 0.1% or less of the formulation.
    However, any pH or range of pH values where a clinically           However, if preservatives are added they may include, but
    acceptable amount of GBL is present is also contemplated as        are not limited to, xylitol, sodium benzoate, methylparaben,
    being preferred, and is encompassed by the present inven-          propyl gallate BP, sorbic acid, chlorobutanol, dihydroacetic
    tion.                                                              acid, monothioglycerol, potassium benzoate, propylparaben,
       In certain embodiments, a pH adjusting or buffering agent 30 benzoic acid, benzalkonium chloride, alcohol, benzoic acid,
    may be added to the composition. The choice of a pH                benzalkonium chloride, benzethonium chloride, benzyl
    adjusting or buffering agent may affect the resistance to          alcohol, butylparaben, cetylpyridinium chloride, ethylene-
    microbial challenge and/or the stability of GHB, as mea-           diamine, ethylparaben, ethyl vanillin, glycerin, hypophos-
    sured by the reduction in assayable GHB. Compositions of           phorus acid, methylparaben, phenol, phenylethyl alcohol,
    GHB, pH adjusted or buffered with malic or other acids are 35 phenylmercuric nitrate, propylparaben, sassafras oil, sodium
    resistant to both microbial growth and chemical degradation        benzoate, sodium propionate, thimerosal and potassium sor-
    of GHB, and are preferred. Other pH adjusting or buffering         bate. Preferred preservatives may be selected from the group
    agents may be selected. Agents that adjust pH that are             comprising, but not limited to, xylitol, sodium benzoate,
    selected on this basis may undergo a taste testing study.          methylparaben, propylparaben and potassium sorbate. Xyli-
    However, any pH adjusting or buffering agent disclosed 40 tol is particularly preferred in certain compositions disclosed
    herein or as would be known to those skilled in the art is         herein, because it acts as an preservative and a sweetener, is
    contemplated as being useful from the compositions or              a caries preventative, is less laxative than other sweeteners,
    formulations disclosed herein. Of course, any salt, flavoring      and is recommended for diabetics. See U.S. Pat. Nos.
    agent, excipient, or other pharmaceutically acceptable addi-       8,324,275 and 8,952,062, and Remington, The Science and
                                                                                                     nd
    tion described herein, or as would be known to those skilled 45 Practice of Pharmacy, 22 Ed. 2013, each of which is
    in the art, is contemplated as being useful for the composi-       incorporated   hereby  by reference   in its entirety.
    tions or formulations disclosed herein. See U.S. Pat. No.             In certain embodiments, the formulation is suitable for
    6,472,431, and Remington, The Science and Practice of              oral administration.
    Pharmacy, 22nd Ed. 2013, each of which is hereby incor-               In certain embodiments, the formulation additionally
    porated by reference in its entirety.                           50 comprises a flavoring agent. Preferred sweeteners or flavor-
       In certain embodiments, the pH adjusting or buffering           ing agents would be microbially non-metabolizable. Espe-
    agent is an acid. In certain embodiments, the pH adjusting or      cially preferred sweeteners or flavoring agents would be
    buffering agent is an inorganic acid or an organic acid. In        carbohydrates such as xylitol and sorbitol. Such flavoring
    certain embodiments, the pH adjusting or buffering agent is        agents include, but are not limited to, acacia syrup, anethole,
    selected from the group consisting of malic acid, citric acid, 55 anise oil, aromatic elixir, benzaldehyde, benzaldehyde
    acetic acid, boric acid, lactic acid, hydrochloric acid, phos-     elixir-compound, caraway, caraway oil, cardamom oil, car-
    phoric acid, sulfuric acid, sulfonic acid, and nitric acid. In     damom seed, cardamom spirit, cardamom tincture-com-
    certain embodiments, the pH adjusting or buffering agent is        pound, cherry juice, cherry syrup, cinnamon, cinnamon oil,
    malic acid. See U.S. Pat. No. 6,472,431.                           cinnamon water, citric acid, citric acid syrup, clove oil, coca,
                                                                    60 coca syrup, coriander oil, dextrose, eriodictyon, eriodictyon
                           6.2.2 Formulations                          fluidextract, eriodictyon syrup-aromatic, ethyl acetate, ethyl,
                                                                       vanillin, fennel oil, ginger, ginger fluidextract, ginger oleo-
       The aqueous solutions disclosed herein typically com-           resin, glucose, glycerin, glycyrrhiza, glycyrrhiza elixir,
    prise an effective amount of GHB, or a salt or mixture of          glycyrrhiza extract, glycyrrhiza extract-pure, glycyrrhiza
    salts of GHB as disclosed herein, which may be dissolved or 65 fluidextract, glycyrrhiza syrup, honey, non-alcoholic elixir,
    dispersed in a pharmaceutically acceptable carrier and/or an       lavender oil, citrus extract or oil, lemon oil, lemon tincture,
    aqueous medium.                                                    mannitol, methyl salicylate, nutmeg oil, orange-bitter-elixir,
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    orange-bitter-oil, orange flower oil, orange flower water,         liquid prior to mJection can also be prepared; and the
    orange oil, orange peel-bitter, orange-peel-sweet-tincture,        preparations can also be emulsified.
    orange spirit-compound, compound, orange syrup, pepper-               The pharmaceutical forms suitable for injectable use
    mint, peppermint oil, peppermint spirit, peppermint water,         include sterile aqueous solutions or dispersions; formula-
    phenylethyl alcohol, raspberry juice, raspberry syrup, rose- 5 tions including, e.g., aqueous propylene glycol; and sterile
    mary oil, rose oil, rose water, saccharin, saccharin calcium,      powders for the extemporaneous preparation of sterile
    saccharin sodium, sarsaparilla syrup, sorbitol solution,           injectable solutions or dispersions. In all cases the form must
    spearmint, spearmint oil, sucralose, sucrose, syrup, thyme         be sterile and must be fluid to the extent that easy syring-
    oil, tolu balsam, tolu balsam syrup, vanilla, vanilla tincture,    ability exists. It must be stable under the conditions of
                                                                    10 manufacture and storage and must be preserved against the
    vanillin or wild cherry syrup.
                                                                       contaminating action of microorganisms, such as bacteria
       In certain embodiments, the formulation additionally
                                                                       and fungi.
    comprises a coloring agent. Preferred coloring agents would
                                                                          Solutions of the active compounds as free acid or phar-
    be microbially non-metabolizable.                                  macologically acceptable salts can be prepared in water
       In certain embodiments, the formulation is administered 15 suitably mixed with hydroxypropyl cellulose and/or a phar-
    in a single or multiple dosage regimen.                            maceutically acceptable surfactant. Dispersions can also be
       Any of the above formulations may be prepared and/or            prepared in glycerol, liquid polyethylene glycols, and mix-
    packaged as a powdered or dry form for mixing with an              tures thereof as well as in oils. Under ordinary conditions of
    aqueous medium before oral administration, or they may be          storage and use, these preparations may contain a preserva-
    prepared in an aqueous medium and packaged. After mixing 20 tive to further prevent the growth of microorganisms.
    with an aqueous medium, preferably to prepare a solution,             The carrier can also be a solvent or dispersion medium
    these formulations are resistant to both microbial growth and      containing, for example, water, ethanol, polyol (for example,
    chemical conversion ofGHB to GBL, thereby increasing the           glycerol, propylene glycol, and liquid polyethylene glycol,
    shelf-life of therapeutic formulations of GHB, or salt or          or the like), suitable mixtures thereof, and vegetable oils.
    mixture of salts of GHB, in an aqueous medium. These 25 The proper fluidity can be maintained, for example, by the
    formulations then provide an easily titratable liquid medium       use of a substance, such as lecithin (e.g., a coating), by the
    for measuring the dosage of GHB, or salt or mixture of salts       maintenance of the required particle size in the case of
    of GHB, to be administered to a patient. Additional embodi-        dispersion and by the use of surfactants. The prevention of
    ments of the composition and methods of preparation are            the action of microorganisms can be brought about by any
    described below and in the examples.                            30 of the preservatives described herein, or as would be known
       In certain embodiments, especially with Na.GHB                  to those skilled in the art, including various antibacterial and
    amounts between 40% and 50%, the formulation is present            antifungal agents, for example, parabens, chlorobutanol,
    in a low volume of aqueous solution. As described herein, by       phenol, sorbic acid, thimerosal, and the like. In many cases,
    "low volume" it is meant to include an aqueous solution of         it will be preferable to include isotonic agents, for example,
    about 100 mL or less, including the aqueous medium and 35 sugars or sodium chloride. Prolonged absorption of the
    any wash or chase volume, for administration of a single           injectable compositions can be brought about by the use in
    GHB dose. Preferably the low volume is between about 25            the compositions of agents delaying absorption, for
    mL to 75 mL, or between 55 mL to 65 mL of total aqueous            example, aluminum monostearate.
    volume given to the patient. In certain embodiments, for              Sterile injectable solutions are prepared by incorporating
    example, formulations with reduced sodium, the formula- 40 the active compounds in the required amount in the appro-
    tion requires less aqueous volume in order to be ingested, is      priate solvent with, various of the other ingredients enumer-
    more palatable, provides better patient compliance, is more        ated above, as required, followed by filtered sterilization.
    tolerable, and/or is bioequivalent in comparison to GHB            Generally, dispersions are prepared by incorporating the
    formulations of Na.GHB. It should be understood by those           various sterilized active ingredients into a sterile vehicle
    skilled in these arts that 25-100 mL (or about 1-3 ounces) of 45 which contains the basic dispersion medium and the
    fluid is an acceptable amount of aqueous solvent to dilute the     required other ingredients from those enumerated above. In
    formulations disclosed herein, in order to ingest, improve         the case of sterile powders for the preparation of sterile
    taste, and/or "wash down" the GHB salts. For certain               injectable solutions, the preferred methods of preparation
    individuals, having a reduced-volume for administration            are vacuum-drying and freeze-drying techniques which
    offers an improved nightly dosing regimen which may 50 yield a powder of the active ingredient plus any additional
    alleviate unwanted side-effects associated with consuming          desired ingredient from a previously sterile-filtered solution
    liquids before bedtime, such as bed-wetting, restlessness          thereof. The preparation of more, or highly, concentrated
    and/or other sleep time disturbances.                              solutions for direct injection is also contemplated, where the
       The GHB, or salt or mixture of salts of GHB disclosed           use ofDMSO as solvent (although DMSO may not now be
    herein, may be lyophilized for more ready formulation into 55 a permitted human drug) is envisioned to result in extremely
    a desired vehicle or medium where appropriate. The GHB or          rapid penetration, delivering high concentrations of the
    salt(s) thereof may also be formulated for parenteral admin-       active agents to a small area.
    istration, e.g., formulated for injection via intravenous,            Upon formulation, solutions will be administered in a
    intraarterial, intramuscular, sub-cutaneous, intralesional,        manner compatible with the dosage formulation and in such
    intraperitoneal or other parenteral routes. The preparation of 60 amount as is therapeutically effective. The formulations are
    a pharmaceutical composition that comprises an aqueous             easily administered in a variety of dosage forms, such as the
    solution that contains GHB or salt(s) thereof as an active         type of injectable solutions described above, but drug
    component or ingredient will be known to those of skill in         release capsules and the like can also be employed.
    the art in light of the present disclosure. Typically, such           For parenteral administration in an aqueous solution, for
    compositions can be prepared as injectables, either as liquid 65 example, the solution should be suitably buffered if neces-
    solutions or suspensions. Solid forms suitable for using to        sary and the liquid diluent first rendered isotonic with
    prepare solutions or suspensions upon the addition of a            sufficient saline or glucose. These particular aqueous solu-
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    tions are especially suitable for intravenous, intramuscular,         tablets, buccal tablets or tabs, troches, capsules, elixirs,
    subcutaneous and intraperitoneal administration. In this con-         suspensions, syrups, wafers, and the like, to be admixed with
    nection, sterile aqueous media which can be employed will             an aqueous medium. Such compositions and preparations
    be known to those of skill in the art in light of the present         should contain at least 0.1 % of the active compound. The
    disclosure. For example, one dosage could be dissolved in 1 5 percentage of the compositions and preparations may, of
    mL of isotonic NaCl solution and either added to 1000 mL              course, be varied and may conveniently be between about 2
    of fluid or injected at the proposed site of infusion, (see, e.g.,    to about 75% of the weight of the unit, or preferably between
    "Remington's Pharmaceutical Sciences" 15th Edition, pages             25-60%. The amount of active compounds in such thera-
    1035-1038 and 1570-1580). Some variation in dosage will               peutically useful compositions is such that a suitable dosage
    necessarily occur depending on the condition of the subject 10 will be obtained.
    being treated. The person responsible for administration                 The tablets, troches, pills, capsules and the like may also
    will, in any event, determine the appropriate dose for the            contain the following: a binder, natural as gum tragacanth,
    individual subject.                                                   acacia, cornstarch, or gelatin or synthetic as polyvinyl
       The GHB may be prepared in a formulation and/or                    acetate; excipients, such as dicalcium phosphate; a disinte-
    pharmaceutical composition disclosed herein to comprise 15 grating agent, such as corn starch, potato starch, alginic acid
    about 100 to about 10,000 milligrams per dose as adminis-             and the like; a lubricant, such as magnesium stearate; and a
    tered to the patient. The typical dose range is approximately         sweetening agent, such as sucrose, lactose or saccharin may
    4.5-9 g/day; see the Xyrem® Product Insert. Other dose                be added or a natural or synthetic flavoring agent. When the
    ranges include 6-8 g/day multiple or single doses can be              dosage unit form is a capsule for admixing with a specific
    administered but it is typical to give two divided doses per 20 volume of an aqueous medium, it may contain, in addition
    day. The Xyrem® instructions recommend two equally                    to materials of the above type, a liquid carrier. Various other
    divided doses.                                                        materials may be present as coatings or to otherwise modify
       In addition to the pharmaceutical compositions formu-              the physical form of the dosage unit. For instance, tablets,
    lated for parenteral administration, such as intravenous or           pills, or capsules may be coated with sugar, natural or
    intramuscular injection, other pharmaceutically acceptable 25 synthetic polymers, or both. A syrup or elixir may contain
    forms include, e.g., tablets or other solids; liposomal for-          the active compounds, sucrose as a sweetening agent, a
    mulations; time release capsules, such as sustained or                preservative, a dye and/or a flavoring.
    delayed release forms, including beads, pellets, or resins;              One embodiment of the formulations disclosed herein can
    and any other form currently used, including creams, which            be a solid with different release properties. One embodiment
    then may be admixed with an aqueous medium for oral 30 is a unit dosage form that is a tablet for immediate release
    administration.                                                       comprising a relatively high weight-percentage of sodium
       One may also use nasal solutions or sprays, aerosols or            oxybate, in combination with a relatively small weight-
    inhalants in connection with the pharmaceutical composi-              percentage of total excipients. This permits the tablets to
    tions and/or formulations disclosed herein. Nasal solutions           contain/deliver a pharmaceutically effective amount of
    are usually aqueous solutions designed to be administered to 35 sodium oxybate in each tablet with a delivery profile similar
    the nasal passages in drops or sprays. Nasal solutions are            to that of the liquid form. The tablets are bioequivalent to the
    prepared so that they are similar in many respects to nasal           liquid form. See U.S. Pat. Nos. 8,771,735 and 8,778,398.
    secretions, so that normal ciliary action is maintained. Thus,        Other embodiments provide controlled release dosage forms
    the aqueous nasal solutions usually are isotonic and slightly         for delivery of GHB or salt(s) thereof. The controlled release
    buffered to maintain a pH of 5.5 to 6.5, though other pH 40 dosage forms may incorporate both controlled release and
    ranges disclosed herein the specific examples, such as pH 3           immediate release formulations in a single unit dosage form.
    to about pH 9, or pH 6 to about 7.5, are contemplated. In             See U.S. Publication No. 2012/0076865. Another embodi-
    addition, preservatives, similar to those used in ophthalmic          ment includes the use of both immediate release and con-
    preparations, and appropriate drug stabilizers, if required,          trolled release forms mixed together or one after the other.
    may be included in the formulation. Various commercial 45 In one embodiment the immediate release portion could be
    nasal preparations are known and include, for example,                between 10-50%, or 20-30% and the controlled release
    antibiotics and antihistamines and are used for asthma                portion comprising the remaining amount. In some embodi-
    prophy!axis.                                                          ments the amounts of the different salts can be different in
       The preferred oral formulations may include such nor-              each of the immediate or controlled release portions.
    mally employed excipients, as, for example, pharmaceutical 50            Additionally, any excipient, salt, acid, pH-mediating,
    grades ofxylitol, marmitol, lactose, starch, magnesium stear-         adjusting or buffering compound or agent, flavoring, solu-
    ate, sodium saccharin, cellulose, magnesium carbonate and             tion, solvent, dispersion, glycerol, glycol, oil, antibacterial
    the like. These compositions can take the form of solutions,          and antifungal agents, antibiotics and antihistamines, bind-
    suspensions, tablets, pills, capsules, sustained release for-         ers, disintegrating agents, lubricants, sweetening agents, or
    mulations or powders to be admixed with an aqueous 55 any other additive or ingredient from those enumerated
    medium. In certain defined embodiments, oral pharmaceu-               above or in the examples, or in any pharmaceutically accept-
    tical compositions will comprise an inert diluent or assimi-          able composition or carrier described herein, or as would be
    lable edible carrier, or they may be enclosed in hard or soft         known by one of skill in the art, is contemplated for use in
    shell gelatin capsule, or they may be compressed into                 aqueous mediums or solid forms of the pharmaceutical
    tablets, or the GHB or salt(s) thereof may be packaged 60 compositions disclosed herein. One or more of these com-
    separately from or in combination with the excipients, salts,         positions may be packaged with GHB or salt(s) thereof, or
    flavorings or any other components described herein, to be            packaged separately from GHB or salt(s) thereof prior to
    admixed with an aqueous medium for oral or injectable                 consumption. If packaged separately, useful pharmaceutical
    formulations, or they may be incorporated directly with the           compositions may be obtained by mixing GHB or salt(s)
    food (i.e. a beverage) of the diet.                                65 thereof with the other components with an aqueous medium
       For oral therapeutic administration, the active compounds          prior to consumption. Such components may be packaged in
    may be incorporated with excipients and used in the form of           a kit, described below.
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       Also provided herein are therapeutic kits compnsmg               identifying features. The containers can be bound together
    GHB, or a salt or mixture of salts of GHB, as disclosed             (for example, by shrink wrapping) or assembled into the kit
    herein. Such kits will generally contain, in suitable con-          in such a way to minimize misplacement or discourage
    tainer, a pharmaceutically acceptable formulation of the            dispensing of one product for both <losings. Where two or
    GHB or salt(s) thereof. The kit may have a single container, 5 more formulations are provided as granules or other rapidly
    or it may have distinct container for each component, or            dissolving dosage form, twin sachets with a perforated
    distinct container for various combinations of components.          divider can facilitate dose preparation. These could be
       When the components of the kit are provided in one or            labeled, for example, as "1st dose" and "2 nd dose".
    more liquid formulations, the liquid formulation is an aque-           Furthermore and to distinguish between prepared formu-
    ous medium, with a sterile aqueous solution being particu-
                                                                     lO lations prior to administration, one or both of the formula-
    larly preferred. The pharmaceutical compositions may also
                                                                        tions can include a flavorant, odorant, or colorant to render
    be formulated into a syringeable composition. In which case,
                                                                        it substantially different from the other. The additive may
    the container means may itself be a syringe, pipette, vial,
    ampule or other such like apparatus, from which the formu-          also be provided separately in the kit so that it can be added
    lation may be applied to an infected area of the body, 15 to the water either immediately before or after dispensing
    injected into an animal, or even applied to and mixed with          each formulation. Also, the administration devices for each
    the other components of the kit.                                    dose may be distinguished based on a number of features
       However, the components of the kit may be provided as            such as color, shape, etc. so that that patient can easily
    dried powder(s). When reagents or components are provided           administer each dose.
    as a dry powder, the powder can be reconstituted by the 20
    addition of a suitable solvent. It is envisioned that the                            6.2.3 Methods of Treatment
    solvent may also be provided in another container means.
       The container means will generally include at least one             All the pharmaceutical compositions and formulations
    vial, test tube, flask, bottle, pouch syringe or other container    provided herein can be used in all the methods provided
    means, into which the formulation or components thereof 25 herein. For example, the pharmaceutical compositions and
    are placed, preferably, suitably allocated. The kits may also       formulations provided herein can be used in all the methods
    comprise a second container means for containing a sterile,         for treating all diseases, disorders or conditions provided
    pharmaceutically acceptable buffer or other diluent.                herein. Thus, the pharmaceutical compositions and formu-
       The kits will also typically include a means for containing      lations provided herein are for use as a medicament. In
    the vials in close confinement for commercial sale, such as, 30 certain embodiments, the pharmaceutical compositions and
    e.g., injection or blow-molded plastic containers into which        formulations provided herein are for use in a method for
    the desired vials are retained.                                     treating cataplexy or daytime sleepiness in a patient who has
       In certain embodiments, the kits contain one or more             been diagnosed with narcolepsy. In certain embodiments,
    bottles of liquid formulation comprising GHB or salt(s)             the pharmaceutical compositions and formulations provided
    thereof, two dosing cups with child-resistant caps, a liquid 35 herein are for use in a method for treating cataplexy or
    measuring device and a medication guide.                            daytime sleepiness in a patient who has been diagnosed with
       In certain embodiments, the kits contain two different           narcolepsy. In certain embodiments, the pharmaceutical
    GHB formulations in separate bottles. In certain embodi-            compositions and formulations provided herein are for use
    ments, the kits contain two bottles of liquid formulation           in a method for treating a disease or condition in a subject
    comprising GHB or salt(s) thereof, wherein two different 40 that is suitable to treatment by GHB, comprising adminis-
    formulations are provided in at least two separate bottles. In      tering a pharmaceutical composition or formulation dis-
    certain embodiments, the kits contain two or more bottles of        closed herein.
    liquid formulation comprising GHB or salt(s) thereof,                  The pharmaceutical compositions and formulations com-
    wherein two different formulations are provided in at least         prising mixed salts of GHB, disclosed herein, are also
    two separate bottles, and wherein also provided are two 45 contemplated to be useful in the treatment of any of these
    dosing cups with child-resistant caps, one or more liquid           disorders or conditions in patients. GHB has also been used
    measuring device and a medication guide. Preferably, the            alone as a narcotic in patients with terminal cancer. GHB has
    two different formulations are a first-dose formulation com-        been used with other analgesics, neuroleptics, or with a
    prising an aqueous solution, the aqueous solution is a              subliminal barbiturate dose for use as an anesthesia. It is also
    mixture of two or more GHB salts, the mixture comprising 50 contemplated that the pharmaceutical compositions and for-
    less than 50% Na.GHB, and further comprising one or more            mulations disclosed herein may be used as a narcotic,
    salts selected from K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 ,            hypnotic, or as a soporific. It is further contemplated that the
    and the second-dose formulation comprising an aqueous               pharmaceutical compositions and formulations comprising
    solution comprising from 50% to about 80% of Na.GHB,                mixed salts of GHB, disclosed herein, may be used in
    and further comprising one or more salts selected from 55 combination with analgesics, neuroleptics or barbiturates for
    K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 .                                use as an anesthesia. See the methods described at the end
       Irrespective of the number or type of containers, the kits       of U.S. Pat. No. 6,472,431.
    may also comprise, or be packaged with, an instrument for              The pharmaceutical compositions and formulations com-
    assisting with the injection/administration or placement of         prising mixed salts of GHB, disclosed herein, may be
    the pharmaceutical composition within the body of an 60 prepared and administered by any of the means described
    animal. Such an instrument may be a drinking cup, syringe,          herein, particularly those described in the section "Formu-
    pipette, or any such medically approved delivery vehicle.           lations" and the examples, or by any means as would be
    Where two more formulations are provided in the kit,                known to those of skill in the art.
    optionally, one or more of the instruments or formulations             Accordingly, in certain aspects, are methods of treatment
    can be color-matched or labeled to indicate which of the two 65 comprising administration to a patient of the pharmaceutical
    doses are contained within it. Furthermore, the drug product        compositions or formulations comprising mixed salts GHB
    containers can be differentiated by color, shape or other           disclosed herein.
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       In certain embodiments, the pharmaceutical compositions        pharmaceutical compos1t10n compnsmg about 100%
    or formulations comprising mixed salts of GHB, disclosed          Na.GHB when administered to a patient. In certain embodi-
    herein, are useful in the treatment of cataplexy or daytime       ments, the AUC is within 10% of the AUC of a pharma-
    sleepiness in a patient who has been diagnosed with narco-        ceutical composition comprising about the same amount of
    lepsy.                                                          5 100% Na.GHB when administered to a patient. In certain
       In certain embodiments, the pharmaceutical compositions        embodiments, the pharmaceutical composition does not
    or formulations comprising mixed salts of GHB, disclosed          comprise a substantial amount ofMg.(GHB) 2 or Ca.(GHB) 2 .
    herein, are useful in the treatment of conditions responsive      In certain embodiments, the disease or condition is selected
    to GHB, for example, sleep disorders such as apnea, sleep         from the group consisting of sleeping disorders, drug abuse,
    time disturbances, narcolepsy, cataplexy, excessive daytime 10 alcohol and opiate withdrawal, a reduced level of growth
    sleepiness (EDS), sleep paralysis, hypnagogic hallucination,      hormone, anxiety, analgesia, neurological disorders (e.g.,
    sleep arousal, insomnia, and nocturnal myoclonus.                 Parkinson's Disease and depression), endocrine distur-
       Accordingly, in certain embodiments, provided herein is        bances, hypoxia or anoxia of tissues (such as from stroke or
    a method for treating a disease or condition in a subject that    myocardial infarction), or an increased level of intracranial
    is suitable to treatment by GHB, comprising administering 15 pressure. In preferred embodiments, the disease is cataplexy
    a pharmaceutical composition or formulation disclosed             and/or narcolepsy. In certain embodiments, the disease or
    herein.                                                           condition is selected from the group consisting of fibromyal-
       In certain embodiments, also provided herein is a method       gia and sleep disorders such as apnea, sleep time distur-
    of treating a disease or condition that is suitable for treat-    bances, narcolepsy, cataplexy, excessive daytime sleepiness
    ment with GHB wherein the method comprises administer- 20 (EDS), sleep paralysis, hypnagogic hallucination, sleep
    ing to a patient a pharmaceutical composition comprising          arousal, insomnia, and nocturnal myoclonus.
    from 50% to about 80% of Na.GHB, wherein the pharma-                 In certain embodiments, the methods of treatment com-
    ceutical composition is in an oral dosage form and wherein        prising administration of the pharmaceutical compositions
    administration of the pharmaceutical composition produces         or formulations comprising mixed salts GHB disclosed
    a GHB Cmax which is bioequivalent to the Cmax of 25 herein.
    Na.GHB. In certain embodiments, the pharmaceutical com-              In certain embodiments, the method comprises oral
    position does not comprise a substantial amount of Mg.            administration of the pharmaceutical compositions or for-
    (GHB) 2 or Ca.(GHB) 2 . In certain embodiments, the disease       mulations comprising mixed salts GHB, disclosed herein, in
    or condition is selected from the group consisting of sleep-      a multiple dosage regimen.
    ing disorders, drug abuse, alcohol and opiate withdrawal, a 30       In certain embodiments, the multiple dosage regimen
    reduced level of growth hormone, anxiety, analgesia, neu-         comprises one or more steps, as follows: (i) diluting an
    rological disorders (e.g., Parkinson's Disease and depres-        aqueous solution comprising about 409 mg/mL of gamma-
    sion), endocrine disturbances, hypoxia or anoxia of tissues       hydroxybutyrate (GHB) with an aqueous medium to provide
    (such as from stroke or myocardial infarction), or an             a first dose of the mixture of salts; (ii) diluting an aqueous
    increased level of intracranial pressure. In preferred embodi- 35 solution comprising about 409 mg/mL of GHB with an
    ments, the disease is cataplexy and/or narcolepsy. In certain     aqueous medium to provide a second dose of the mixture of
    embodiments, the disease or condition is selected from the        salts; (iii) orally administering to a patient having narcolepsy
    group consisting offibromyalgia and sleep disorders such as       the first dose; and (iv) orally administering to the patient
    apnea, sleep time disturbances, narcolepsy, cataplexy, exces-     having narcolepsy the second dose within 2.5 to 4 hours
    sive daytime sleepiness (EDS), sleep paralysis, hypnagogic 40 following the first dose. The first and/or second doses can be
    hallucination, sleep arousal, insomnia, and nocturnal myo-        administered according to the instructions on the label as
    clonus.                                                           appropriate.
       In certain embodiments, the mixture of salts which from           In certain embodiments, two nightly doses of GHB or a
    about 50% to about 80% ofNa.GHB further comprises one             salt there are administered to the patient.
    or more salts selected from the group consisting of K.GHB 45         In certain embodiments, the first dose of GHB salts is a
    and Ca.(GHB) 2 .                                                  pharmaceutical composition of GHB comprising an aqueous
       In certain embodiments, also provided herein is a method       solution of a mixture of two or more GHB salts, the mixture
    of treating a disease or condition that is suitable for treat-    comprising less than 40% Na.GHB, and further comprising
    ment with GHB wherein the method comprises administer-            one, two, three or more salts selected from K.GHB, Ca.
    ing to a patient a pharmaceutical composition of GHB 50 (GHB) 2 , and Mg.(GHB) 2 , and wherein the first dose is
    comprising less than 100 mL of an aqueous solution,               administered within 4 hours of eating and produces a GHB
    wherein the aqueous solution comprises a mixture of two or        Cmax which is less than the Cmax of Na.GHB; and the
    more salts of GHB, the mixture comprising between 40%             second dose of GHB salts is a pharmaceutical composition
    and 50% Na.GHB, and further comprising one or more salts          ofGHB comprising a mixture of two or more GHB salts, the
    selected from K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 . In 55 mixture comprising at least 50% of Na.GHB, and further
    certain embodiments, the disease is cataplexy and/or narco-       comprising one or more salts selected from K.GHB, Ca.
    lepsy.                                                            (GHB) 2 , and Mg.(GHB) 2 , and wherein the second dose
       In certain embodiments, when administered to a patient,        produces a GHB Cmax which is substantially equivalent to
    the pharmaceutical composition produces a GHB Cmax                the Cmax ofNa.GHB. In certain embodiments, the multiple
    which is within 10% of the Cmax of Na.GHB. In certain 60 dosage regimen comprises one or more steps, as follows: (i)
    embodiments, the Cmax is within 10% of the Cmax of a              diluting an aqueous solution comprising a mixture of two or
    pharmaceutical composition comprising about the same              more GHB salts, the mixture comprising 0% to 40%
    amount of 100% Na.GHB when administered to a patient. In          Na.GHB, and further comprising one or more salts selected
    certain embodiments, when administered to a patient, the          from K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 , with an aqueous
    pharmaceutical composition produces a GHB Cmax that is 65 medium to provide a first dose ofGHB salts; (ii) diluting an
    bioequivalent to the Cmax of Na.GHB. In certain embodi-           aqueous solution comprising a mixture of two or more GHB
    ments, the pharmaceutical composition is bioequivalent to a       salts, the mixture comprising from about 50% to about 80%
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    of Na.GHB, and further compnsmg one or more salts                  prising mixed salts GHB disclosed herein. Several different
    selected from K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 , to              methods of making have been reported in the literature (see,
    provide a second dose of GHB salts; (iii) orally administer-       e.g., U.S. Pat. Nos. 4,393,236; 4,983,632; 6,472,431; 8,461,
    ing the first dose to a patient suitable for treatment with        203; 8,591,922; 8,901,173; and 9,132,107; and U.S. Publi-
    GHB; and (iv) orally administering the second dose to the 5 cation No. 2016/0058720, each of which is incorporated by
    patient within 2.5 to 4 hours following the first dose. In
                                                                       reference in its entirety; see also Ferris and Went, 2012,
    preferred embodiments, the patient is suitable for treatment
    with GHB has cataplexy or narcolepsy.                              Forensic    Science International 216: 158-162). Those skilled
       In certain embodiments, the first dose comprises a phar-        in the art will recognize that these methods can be incorpo-
    maceutical composition comprising less than 40% Na.GHB             rated in the making of the compositions or formulations
                                                                    10
    and at least two other GHB salts selected from the group of        comprising mixed salts GHB disclosed herein. Other meth-
    K.GHB, Ca.(GHB) 2 , and Mg.(GHB) 2 . In certain embodi-            ods will be known to those of skill in the art.
    ments, the first dose is administered within 4 hours of eating.       In certain embodiments, mixtures of GHB salts can be
    In certain embodiments, the mixture further comprises two          made by direct reaction of GBL with an aqueous mixture of
    or more salts selected from the group consisting of K.GHB,         one of more of the following bases: sodium hydroxide,
    Ca.(GHB) 2 , and Mg. (GHB) 2 .                                  15
                                                                       potassium hydroxide, calcium hydroxide, and magnesium
       In certain embodiments, the disease or condition is
    selected from the group consisting of a sleeping disorder,         hydroxide. After reaction the mixture may then be filtered
    drug abuse, alcohol and opiate withdrawal, a reduced level         under mild vacuum.
    of growth hormone, anxiety, analgesia, a neurological dis-            In certain embodiments, a solvent, such as water, is used
    order, an endocrine disturbance, hypoxia or anoxia of tis- 20 to dissolve the GHB salt mixture to a desired concentration,
    sues, and an increased level of intracranial pressure.             for example, by adjusting the amount of water in the
       In certain embodiments, the first dose of GHB salts is a        mixture.
    pharmaceutical composition of GHB comprising an aqueous               In certain embodiments, the concentration of a GHB salt
    solution ofless than 100 mL, the aqueous solution comprises        solution is adjusted by concentrating the mixture using
    a mixture of three GHB salts, the mixture comprising less 25 standard methods, such as evaporators, reverse osmosis, and
    than 50% Na.GHB, and further comprising one or more salts          similar techniques known to those skilled in the art.
    selected from between 10-60% K.GHB, Ca.(GHB) 2 , and                  In certain embodiments, the method of making comprises
    Mg.(GHB) 2 , and wherein the first dose is administered            reacting gamma-butyrolactone (GBL) with one or more
    within 4 hours of eating and produces a GHB Cmax which             bases selected from the group consisting of sodium hydrox-
    is less than the Cmax of Na.GHB.                                30 ide, potassium hydroxide, magnesium hydroxide, and cal-
       In certain embodiments, the second dose of GHB salts is         cium hydroxide.
    a pharmaceutical composition of GHB comprising an aque-               In other embodiments, the method of making comprises,
    ous solution, the aqueous solution comprising from 50% to          for example, reacting GBL with one or more of sodium
    about 80% ofNa.GHB, and from between 10-60% K.GHB,                 carbonate, potassium carbonate, or magnesium carbonate to
    Ca.(GHB) 2 , and Mg.(GHB) 2 , and wherein administration of 35 provide the sodium, potassium, and magnesium oxybate
    the second dose produces a GHB Cmax which is substan-              (Na.GHB, K.GHB, and Mg.(GHB) 2 ) mixture. Such embodi-
    tially bioequivalent to the Cmax of Na.GHB. In certain             ments are particularly suitable to avoid precipitation of
    embodiments, the second dose of GHB salts is a pharma-             calcium carbonate when carbonate salts of sodium, potas-
    ceutical composition of GHB comprising an aqueous solu-            sium, and/or magnesium are employed.
    tion which comprises a mixture from 50% to about 80% of 40            In still other embodiments, a solution of calcium oxybate
    Na.GHB, and wherein administration of the second dose              can be transformed to a mixture of oxybate salts by exchang-
    produces a GHB Cmax which is substantially bioequivalent           ing with a mixture of cation exchange resins loaded with the
    to a composition comprising Na.GHB.                                desired cations. Alternatively, a solution of calcium oxybate
       In certain embodiments, 4.5 and 9 grams/day are admin-          can be transformed to a mixture of oxybate salts by precipi-
    istered to the patient in two divided doses.                    45 tation with a mixture of acid salts of other cations when the
       In certain embodiments, 6 and 8 grams/day are adminis-          calcium salt is practically insoluble. After filtration or other
    tered to the patient in two divided doses.                         means of removing the precipitated calcium salt or the
       In certain embodiments, the disease or condition is             exchanged cation exchange resin, the mixed oxybate salt
    selected from the group consisting of sleeping disorders,          solution is obtained.
    drug abuse, alcohol and opiate withdrawal, a reduced level 50         In other embodiments, a mixture of cations associated
    of growth hormone, anxiety, analgesia, neurological disor-         with oxybate may include a proton. This can be achieved in
    ders (e.g., Parkinson's Disease and depression), endocrine         similar fashion as cation exchange or displacement precipi-
    disturbances, hypoxia or anoxia of tissues (such as from           tation described above, with the exception that a H-form
    stroke or myocardial infarction), or an increased level of         cation exchange resin or the free acid or partially neutralized
    intracranial pressure.                                          55 salt of the precipitating anion is employed, respectively.
       It will be understood, however, that the specific dose level    Ideally to promote chemical stability, such embodiments
    and frequency of dosage for any particular patient may be          should be produced in solid form and suspended or dis-
    varied and will depend upon a variety of factors including:        solved in water upon administration. In yet another embodi-
    the metabolic stability and length of action, the age, body        ment, the undissolved solid (exchanged cationic resin or
    weight, general health, sex, diet, mode and time of admin- 60 precipitated salt) can be ingested with the dose provided
    istration, rate of excretion, drug combination, the severity of    neither dissolves appreciably in the GI tract.
    the particular condition, and the host undergoing therapy.            In certain embodiments, the reaction is carried out in a
                                                                       single vessel. For example, a mixture of Na.GHB, K.GHB,
                        6.2.4 Methods of Making                        Mg.(GHB) 2 , and Ca.(GHB) 2 may be made by direct addition
                                                                    65 of GBL to in a single vessel containing an aqueous mixture
       In certain aspects, provided herein are some exemplary          of sodium hydroxide, potassium hydroxide, magnesium
    methods of making the compositions or formulations com-            hydroxide, and calcium hydroxide.
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       In certain embodiments, the reaction is carried out in                                     -continued
    multiple vessels and the product is subsequently combined.
    For example, Ca.(GHB) 2 may be made by direct addition of         Stoichiometry  The number of GHB moles reacted with each mole
    GBL to aqueous sodium hydroxide, and the product com-             Ratio          of base
    bined with Mg.(GHB) 2 .                                           Base mEQ       Base equivalents for reaction with GHB
                                                                   5                 (that is, Base-mMols x Stiochiometry-
       In certain embodiments, the methods of making include
                                                                                     Ratio ). This is also the Oxybate or GHB equivalents
    methods of making the pharmaceutical compositions and                            value.
    formulations disclosed herein.                                    % molar        Molar composition of salts expressed as Percent
       The following examples are included to demonstrate             equiv GHB      of Oxybate Equivalents
    preferred embodiments of the invention. It should be appre-       Salt           The oxybate salt species
    ciated by those of skill in the art that the techniques 10 Salt MW               Molecular weight of the oxybate salt
                                                                      Salt-mass-     Mass of salt produced by reaction
    disclosed in the examples which follow represent techniques
                                                                      grams          (that is, Base-mMols x Salt-MW/1000)
    discovered by the inventor to function well in the practice of    Salt wt/wt%    Normalized weight percent
    the invention, and thus can be considered to constitute           Cone.          Concentration in mg/ml equivalent to a 3.97M
    preferred modes for its practice. However, those of skill in      (mg/ml)        Na-GHB solution (500 mg/ml
    the art should, in light of the present disclosure, appreciate 15                sodium oxybate). That is, 3.97 x
    that many changes can be made in the specific embodiments                        (% equiv-GHB) x (Salt-MW)/(Stoich. Ratio)
    which are disclosed and still obtain a like or similar result
    without departing from the spirit and scope of the and scope
    of the invention.                                                      Example 1.1: Manufacturing Mixed Salts Solutions
                                                                                    20
                                  7. EXAMPLES
                                                                           Four individual oxybate salt solutions at equal oxybate
         Example 1: Synthesis of Mixed Oxybate Solutions               strength  (409 mg/mL) were made as follows:
                                                                           Magnesium oxybate (Mg.(GHB) 2 ) solution was made by
       The following synthetic examples provide exemplary              combining 124.6 g water and 20.36 g magnesium hydroxide
                                                                    25
    syntheses of mixture of oxybate salts. Alternate methods of        in a magnetically-stirred 250 mL square glass bottle. 58.04
    synthesizing mixtures of oxybate salts, including methods of       g of GBL was then added to the base suspension and then
    synthesizing additional salts of oxybate are described below;      heated up to 80° C. with stirring. After 4 hours, a pH
    still other alternate synthetic methods will be apparent to        verification indicated completion of reaction (pH 8.5). Water
    those skilled in the art. See also U.S. Pat. Nos. 8,461,203;       was added to compensate for evaporation. The reaction
                                                                    30
    8,591,922; 8,901,173; and 9,132,107; and U.S. Publication          mixture was then centrifuged, and supernatant filtered
    No. 2016/0058720; each of which is incorporated by refer-          through 0.45µ. PVDF Stericup under vacuum. The pH of
    ence in its entirety.                                              filtrate was 8.1. Yield: 177.4 g solution. Assay (HPLC-UV):
       Mixed oxybate salt solutions can be made conveniently           100.1%
    by at least two methods. When multiple different formula-              Potassium oxybate (K.GHB) solution was made by add-
                                                                    35
    tions are desired, one of skill in the art can mix solutions of    ing 60.10 g potassium hydroxide to 144.01 g water in a
    individual salts having the same molar oxybate concentra-          magnetically-stirred 250 mL square glass bottle. After com-
    tion to arrive at the desired cation blend. On the other hand,     plete dissolution, 78.52 g GBL was weighed into a separate
    for commercial implementation or single-batch manufactur-          glass beaker. Approximately half the GBL was added ini-
    ing one can perform a one-pot reaction with GBL and the            tially with instant reaction, and then the solution was cooled
                                                                    40
    two or more bases in the desired cationic proportions. Both        in ice water to approximately 30° C. The remainder of the
    methods are described below.                                       GBL was then added with stirring, and the solution main-
       Example calculations of molar equivalents and % wt/wt           tained at 60° C. for 2.5 hours. The pH was 13.5. The pH was
    for salt mixtures are also shown below Table 1.                    then adjusted to 8.1 by adding 10% HCl solution. Water was

                                                               TABLE 1
                                                         Exam le Calculations

                                                                        % molar                             Salt
                 Base              Grams     Base    Stoich.    Base     equiv                     Salt    mass    Salt   Cone
       Base      MW      Purity    Amount   mMols     Ratio     mEQ      GHB             Salt      MW      grams wt/wt % mg/mL

      NaOH       40.00 98.50%       1.398 34.43                 34.43        8.5%     Na•GHB      126.09    4.34    8.5% 42.61
      KOH        56.11 86.72%       7.337 113.40               113.40       28.0%     K•GHB       142.20   16.12   31.4% 158.29
     Ca(OH)o     74.10 99.00%       6.268 83.74         2      167.49       41.4%    Ca•(GHB)2    246.27   20.62   40.2% 202.46
     Mg(OH)o     58.32 99.50%       2.611 44.55         2       89.09       22.0%    Mg•(GHB)2    230.50   10.27   20.0% 100.80

       Total                        17.614 276.11              404.40   100.0%                             51.36   100.0% 504.17




                                                                                       added to restore the initial reaction mass. The solution was
    Base                Each of four bases used in this example                60      then filtered through 0.45µ. PVDF Stericup under vacuum.
    Base MW             Molecular weight of the base
                                                                                       Yield: 281.8 g solution. Assay (HPLC-UV): 98.6%.
    Purity              Purity provided by manufacturer.
                        It is assumed that impurities are non-reactive.
                                                                                          Calcium oxybate (Ca.(GHB) 2 ) solution was made by
    Gram                Amount, in grams, of each base charged to the reaction         combining 210.5 g water and 45.41 g calcium hydroxide in
    Amount                                                                             a magnetically stirred 500 mL square glass bottle. Next,
    Base mMols          Corresponding amount, in millimoles, of pure base           65 102.41 g GBL was added slowly while stirring, and then the
                        (that is, Purity x Gram-Amount x 1000/Base-MW)                 reaction was maintained at 80° C. on a temperature-con-
                                                                                       trolled hotplate ( surface set point 183 ° C. ). After 2 hours, the
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    mixture was cooled and water was added to compensate for                                  dence in the assay values or repeatability of dispensing to the
    evaporation. The solution was centrifuged, and supernatant                                process. A larger excess will increase confidence in com-
    was then filtered through 0.45µ. PVDF Stericup under                                      pleting the reaction, but incur more filtration load. A smaller
    vacuum. The initial pH of filtrate was 10.5, and was adjusted
                                                                                        5     excess threatens to inadequately complete the reaction,
    to 7.9 by addition of 10% HCl solution. Yield: 328.6 g
    solution. Assay (HPLC-UV): 99.0%                                                          resulting in higher than desired GBL levels.
       Sodium oxybate (Na.GHB) solution was made by adding                                       To make 150 mL batches roughly equivalent in compo-
    46.6 g sodium hydroxide to 200.1 g water in a magnetically                                sition to those of Example 1.1, the stoichiometry is as shown
    stirred 500 mL square glass bottle. 99.00 g GBL was                                       in Table 3 below.
                                                                                                                 TABLE 3
                                                                                              Stoichiometry of Bases used for Exemplary Solutions

                                                                                         grams base reguired              Excess            GBL     Water    Total

                                                                    Solution   NaOH          KOH Ca(OH)2 Mg(OH)2         As base   grams grams      grams    grams

                                                                     507-A       7.88        13.21    7.35     0.00     Ca(OH)2      0.22   51.27    98.56   178.5
                                                                     507-G       5.57         7.46    8.91     3.12     Mg(OHh       0.17   51.27   102.00   178.5
                                                                     507-C       7.88         0.00   10.70     3.38     Mg(OHh       0.17   51.27   105.09   178.5
                                                                     507-D      11.95        13.21    3.57     0.00     Ca(OH)2      0.22   51.27    98.29   178.5




    weighed into a separate beaker. After complete dissolution            The water is weighed into a tared 250 mL beaker with
    of the sodium hydroxide, about half of the GBL was added           spinbar. Next, bases are weighed and added in order of
    to the reaction mixture causing it to heat. After cooling to 25 sodium, potassium, calcium, and magnesium as applicable.
    about 30° C. in ice water, the remaining GBL was added and         After sodium or potassium hydroxide is added, the mixture
    then allowed to react with stirring on a hotplate at 60° C. for    is stirred until complete dissolution is observed. The
    2 hours. The pH after reaction was 12.36, and was adjusted
    to 8.13 by addition of 10% HCl solution. Water was added           required excess is added at the same time as the respective
    to restore the initial reaction mass. The solution was then        base is charged. Next, 51.27 g of GBL is added slowly while
                                                                    30 monitoring temperature and with stirring. If the temperature
    filtered through a 0.45µ. PVDF Stericup under vacuum.
    Yield: 340.3 g. Assay (HPLC-UV): 100.6%.                           exceeds about 80° C., then GBL addition is slowed until the
        For each desired oxybate salt mixture below, the indi-         temperature cools to about 60° C. After GBL addition is
    vidual solutions were blended volumetrically with an oral          complete, the setup is moved to a 60° C. environmental
    dosing syringe into a 250 mL glass beaker with stirring. The       chamber to complete the reaction. (Alternatively, a tempera-
    blend order, where applicable, was sodium, potassium, cal-
                                                                    35 ture-controlled hotplate can be employed.) Sodium and
    cium, and then magnesium oxybate. 178 mg of sucralose
    was then added and dissolved. The target cation blends (in         potassium hydroxide react almost instantly with GBL. Ca.
    equivalents) and volumes of individual solutions used are          (OH) 2 requires about 1 h to react at 60° C., and Mg.(OH) 2
    shown in Table 2 below.                                            requires about 3 h at 80° C. or overnight (12 h) at 60° C.
                                                   TABLE 2
                         Target Cation Blends and Volumes of Exemplary Solutions

                                                 Volume (mL) of oxybate solution
                       % equivalents           (#1-#4 above) for total batch 150 mL              Assay

     Solution   Na        K     Ca     Mg      Na (#4)   K (#2)   Ca (#3)    Mg (#1)            % Label

     507-A      33       34     33      0       49.5      51.0     49.5         0                98.9
     507-G      23.3     19.2   40     17.5     35.0      28.8     60.0        26.3              99.2
     507-C      33        0     48     19       49.5       0       72.0        28.5             100.0
     507-D      50       34     16      0       75.0      51.0     24.0         0                98.8




         Example 1.2: Direct, One-Pot Reaction Method to                                      Therefore, mixtures lacking Mg.(OH) 2 (507-A and 507-D)
                    Achieve Various Mixtures                                                  are held at 60° C. for about 1 h. Mixtures 507-G and 507-C
                                                                                        55
       To achieve any combination of oxybate salts, the stoichi-                              are held at 60° C. overnight or 80° C. for 3 h.

    ometry calculations are adjusted to reflect (a) the strength of                              After reaction, water is added to compensate for evapo-
    individual bases and (b) the use of an excess for the weakest                             ration and restore the original reaction mass (178.5 g net).
    base (calcium or magnesium). The strength of bases used in 60 The reaction mixtures are then centrifuged followed by
    the Example above were 99.7% (NaOH), 86.0% (KOH),                                         vacuum filtration through a 0.45µ. PVDF Stericup. Finally,
    99.0% (Ca.(OH) 2 ), and 98.5% (Mg.(OH) 2 ). A 1% excess is                                the pH is adjusted with 10% HCl solution, as needed, to a
    applied as the weakest divalent base present (calcium or                                  value of 8.0. For mixtures containing magnesium, no adjust-
                                                                                        65
    magnesium, in that order of precedence). A larger or smaller                              ment is required if the pH is below 9. Finally, 0.18 g of
    excess may be warranted, depending on the level of confi-                                 sucralose is added and dissolved into the solution.
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              Example 2: Pharmacokinetic Testing of                 oxybate at 409 mg/mL mixed salt concentration or 409
                          Formulations                              mg/mL oxybate. The four bases were suspended or dis-
                                                                    solved in water, then gamma butyrolactone was added and
       This Example provides protocols and results for              the reaction mixture was held at 80° C. for about 3 hours.
    bioequivalence testing of the formulations disclosed herein. 5
                                                                    Subsequently, mixture was cooled and then depth filtered,
    Four sets of bioequivalence testing were performed with
    various mixed salt formulations compared with Xyrem® as         carbon filtered, and then flowed through a polishing filter.
    the reference. Unless stated otherwise, this and subsequent     Finally, sucralose was added to a level of 0.1 % w/v in the
    examples have oxybate salt concentrations stated in a "molar    final solution.
    equivalent percent" basis. Furthermore, in the tables and 10       Formulation "O" was tested for bioequivalence relative to
    figures where applicable:
       "Treatment" refers to the formulation and the dosing         Xyrem® (Formulation "X", commercial sodium oxybate
         regimen (fed or fasted), for which various formulations    solution of the same molar concentration and comparable
         were tested at a dose equivalent to 4.5 g sodium
                                                                    pH as "O") and in the fasted as well as fed state. The study
         oxybate.                                                15
       "N" refers to the number of subjects for which evaluable     was compliant with the FDA guidance for food effect studies
         results were obtained                                      ("Guidance for Industry: Food-Effect bioavailability and
       "Vol" refers to the volume of administration (mL) given
                                                                    Fed Bioequivalence Studies", FDA December 2002), incor-
         with the 9 mL dose of drug product
       "Cmax" refers to the average of the maximum plasma           porated herein by reference in its entirety. In both fasted and
                                                                 20
         concentration (in oxybate mg/Lor ug/mL) achieved in        fed treatments, the Guidance indicates that the drug product
         individual patients
                                                                    should be administered with 240 mL of water. Thirty-six
       "Cmax Ratio" refers to the ratio of Cmax value compared
         to that of fasted state Xyrem® and expressed as a          patients were recruited and 34 patients completed success-
         percentage                                                 fully. The results are shown in FIG. 1 and in Table 4 below.
                                                                                                TABLE 4
                                                                           Conditions and Results in Study 13-010 Using 240 mL Liquid Volume

                                                                   Number        Vol    Cmax    Cmax     AUC          AUC           % eguivalent

                                                    Treatment     of Patients (mL)     (mg/L)   ratio   (mg•h/L)      ratio   Na    K     Ca       Mg

                                                   0, fasted          34         240   102.3     76%     238.7         89%      8   23     48      21
                                                   O,fed              36         240    77.7     58%     216.0         81%      8   23     48      21
                                                   X, fasted          32         240   134.6    100%     268.1        100%    100    0      0       0
                                                   X,fed              36         240    84.9     63%     233.0         87%    100    0      0       0




      "AUC" refers to the area under the curve of plasma vs               Example 2.2: Testing of Blends of Xyrem® and
         time, either the last time point where the concentration 40                       Formulation "O"
         was above the limit of quantitation or projected out to
         infinite time and expressed in units of h*mg/L.                As an extension to the study described in Example 2.1, the
      "AUC ratio" refers to the ratio of AUC to that of fasted       same formulation "O" and Xyrem® reference were tested in
         state Xyrem® and expressed as percentage                    two different proportions to determine whether bioequiva-
      "Na", "K", "Ca", and "Mg" refer to the cation content of       lence could be achieved with the same proportion of the
         the formulation given, in Molar Equivalent %, of 45 three non-sodium cations but with higher sodium content.
         sodium, potassium, calcium, and magnesium, respec-          New patients were recruited for the single dose crossover
         tively.                                                     study, but the study was otherwise done in a manner
                                                                     comparable to Example 2.1 except fewer patients were
             Example 2.1: Testing of Formulation "O"                 evaluated. The results are shown in FIG. 2 and Table 5 as
                                                                  50 expressed in mean values. Bioequivalence was not achieved
      Formulation "O" was manufactured as (equivalent%) 8%           even at 49% sodium (the confidence interval for that for-
    sodium, 23% potassium, 48% calcium, and 21 % magnesium           mulation was between 73.8-97.5%).

                                                                                                TABLE 5
                                                                Conditions and Results in Study 13-010 Part 2 using 240 mL Liquid Volume

                                                                   Number        Vol    Cmax    Cmax     AUC          AUC _ _ _'X_o_eq~u_iv_a_le_n_t_ _

                                                    Treatment     of Patients (mL)     (mg/L)   ratio   (mg•h/L)      ratio   Na    K     Ca       Mg

                                                   2.5 g              21         240   109.4     84%     241.3        96%     49    13     27      12
                                                   0 + 2.0 g
                                                   X, fasted
                                                   3.75 g             19         240    98.18    75%     228.4        91%     23    19     40      18
                                                   0 + 0.75 g
                                                   X, fasted
                                                   X, fasted          17         240   130.2    100%     251.4        100%    100
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                Example 2.3: Testing of Alternative Cationic                                                    TABLE 7-continued
                                  Blends
                                                                                                       Results of Study JZP258-101, n ~ 33 patients
       To test for negative effects of certain cations and also to                    Vol  Cmax Cmax AUC        AUC     % equivalent
    investigate other four-cation blends, the formulations of 5
    Example 1.1 were tested in a crossover fasted state               Treatment      (mL) (mg/L) ratio Mg•h/L) ratio Na K Ca Mg
    bioequivalence study involving 35 patients. In contrast to
                                                                      X, fasted       240 125.9   100%    258   100% 100 0      0    0
    the preceding two examples, the volume of administration          X,fed            60  68.6    57%    206     82% 100 0     0    0
    was reduced to 60 mL. The results are shown in FIG. 3 and
    Table 6.                                                       10
       Surprisingly, as shown in FIG. 3 and Table 6, Formulation         Although the effect of dilution volume on food effect was
    507-D with 50% sodium met the bioequivalence criteria, as         not  directly challenged in a single study, comparison of data
    it had a Cmax ratio of 92% and nearly identical average           from two crossover studies is possible for formulations "O"
    plasma profile compared to Xyrem®. In contrast, Formula-          and Xyrem®. Table 8 shows the comparison of data from
    tions 507-A and 507-C, both with 33% sodium but differing 15 study JZP258-101 for 60 mL dilution volume and from
    by exclusion of either potassium or magnesium, had nearly         study 13-010 Part 1 for 240 mL dilution volume. The results
    identical and lower Cmax values (78% and 76%, respec-             indicate that formulation "O" has a reduced food effect
    tively), and therefore did not meet the bioequivalence cri-       compared to Xyrem® and that, in both cases, the higher
    teria.                                                            dilution volume has a smaller food effect.

                                             TABLE 6
      Conditions and Resu ts in Study 15-008 using 60 mL Liguid Volume, n ~ 35 patients

                              Vol    Cmax     Cmax      AUC       AUC       % eguivalent

    Treatment                 (mL)   (mg/L)    ratio   (mg•h/L)   ratio   Na    K    Ca Mg

    507-A, fasted (no Mg)      60    102.2     77%       241      85%     33    34   33     0
    507-C, fasted (no K)       60    101.0     77%       252      89%     33     0   48    19
    507-D, fasted (higher      60    120.8     92%       257      90%     50    34   16     0
    Na, No Mg)
    507-G (3.75 g O +          60     95.6     72%       246      87%     23    19   40    18
    0.75 g X, fasted
    X, fasted                  60    131.9    100%       284      100%    100   0     0     0




           Example 2.4: Testing Effect of Dilution Volume                       35                                    TABLE 8
                                                                                                              Comparison of Food Effect at
       Formulation 507-D having 50% sodium and tested at 60                                                    60 mL and 240 mL dilution
    mL volume was bioequivalent to Xyrem®, yet the four-
    cation blend of Example 2.2 having 49% sodium and tested 40                            Treatment                  Cmax (mg(L)             AUC (mg · h/L)

    at 240 mL volume was not bioequivalent. The difference                                 Volume                60 mL       240 mL          60 mL    240 mL
    between the two results is statistically significant and mean-
                                                                                           0, fasted               93.0        102.3         238       239
    ingful. To determine whether or how the volume of admin-                               O,fed                   63.0         77.7         202       216
    istration affects behavior of formulations, Formulation "O"                            Ratio of 0, fed        68%          76%           85%       90%
    was tested and compared to Xyrem® in three treatments 45                               to 0, fasted
                                                                                           X, fasted              120.5        134.6         251       268
    fasted with 60 mL volume given, fasted with 240 mL
                                                                                           X,fed                   68.6         84.9         206       233
    volume, and fed with 60 mL volume. Thus, six treatments                                Ratio of X, fed        57%          63%           82%       87%
    were administered in a crossover fashion involving 33                                  to X, fasted
    patients in a food effect bioequivalence study. The results are
    shown in FIG. 4 and Table 7.                                    50
                                                                                                In similar fashion, comparison of fasted data across
      There is little difference in the primary PK parameters                                studies can be done. FIG. SA shows the Cmax ratio as a
    (Cmax and AUC) as a result of volume of administration;                                  function of the percent of calcium in the formulation. FIG.
    however, there appears to be a difference in the mean plasma                             SB shows the Cmax ratio as a function of the percent of
    profile for Xyrem® at the two volumes when given fasted
                                                                 55
                                                                                             sodium in the formulation. The calcium model was arrived
    (FIG. 4).
                                                                                             at by stepwise regression of main effect and interaction of
                                                                                             calcium % and volume of administration using JMP soft-
                                    TABLE 7
                                                                                             ware (SAS Institute). Volume of administration and its
                    Results of Study JZP258-101, n ~ 33 patients                             interaction were both dropped as insignificant terms. (An
                                                                                          60 alternative model process employing calcium % and diluted
                      Vol    Cmax Cmax AUC           AUC --"%'--'e""g""m""·v,,,al"'en""t_    concentration-which is volume-dependent-provided no
    Treatment        (mL) (mg/L) ratio Mg•h/L) ratio Na K Ca Mg                              better fit.) The result has significant lack of fit.
                                                                                                On the other hand, when sodium level and sodium diluted
    0, fasted          60    93.0      77%   238      95%      8 23 48 21
    0, fasted         240    92.7      74%   233      90%      8 23 48 21
                                                                                             concentration (and interaction) are considered, a signifi-
    O,fed              60    63.0      52%   202      80%      8 23 48 21 65 cantly better fit to results was obtained. All three terms were
    X, fasted          60 120.5       100%   251     100% 100 0             0        0       significant at 90% confidence or better, yet the main effect
                                                                                             of diluted sodium concentration was least significant of the
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                                                        US 11,426,373 B2
                                 39                                                                   40
    three). Sodium level and its interaction with diluted sodium          orally administering to a patient in need thereof a phar-
    concentration were highly significant, respectively). That               maceutically effective amount of a pharmaceutical
    model fit is shown in FIG. 5B.                                           composition of GHB in a unit dosage comprising at
                                                                             least one salt of GHB and a pharmaceutically accept-
           Example 3: Expected Pharmacokinetics of Two                       able carrier within four hours after eating;
                   Formulations Dosed 4 Hours Apart                       wherein the pharmaceutical composition of GHB has
                                                                             reduced food effect as measured by Cmax compared to
       The following proposed test treatment consists of admin-              an equal dose of immediate release liquid solution of
    istering formulation "O" of preceding examples and admin-                Na.GHB, wherein the pharmaceutical composition
    istering a second dose of formulation "507-D" 4 hours later. 10          comprises: about 5% to about 10% ofNa.GHB; about
    The reference treatment consists of Xyrem® given in the                  20% to about 25% ofK.GHB; about 45% to about 50%
                                                                             of Ca.(GHB) 2 ; and about 20% to about 25% of Mg.
    same fashion. Test and reference treatments have the same
                                                                             (GHB) 2 .
    oxybate dose and are administered in 60 mL of water in the
                                                                          2. The method of claim 1, wherein the composition is
    evening approximately two hours after dinner. Plasma is            administered with food, immediately after eating, up to 30
    sampled at the same intervals as in preceding examples.         15 minutes after eating, or up to two hours after eating.
       The outcome can be estimated by assuming additive                  3. The method of claim 1, wherein the composition
    contributions from each dose based on the single dose PK           provides an A UC when administered within four hours after
    evaluations presented in preceding examples. The expected          eating that is 80%-95% of the AUC when the composition
    results are shown in FIG. 6 compared to those of the               is administered while fasting.
    reference Xyrem® given under the same conditions.               20    4. The method of claim 1, wherein the composition
                                                                       provides an A UC when administered within four hours after
                    Example 4: Microbial Challenge                     eating that is 85%-90% of the AUC when the composition
                                                                       is administered while fasting.
       This Example demonstrates that a mixed oxybate salt                5. The method of claim 1, wherein the composition
    having low sodium displays acceptable resistance to micro- 25 provides a Cmax when administered within four hours after
    bial growth. A solution having, on a molar equivalents basis,      eating that is 55%-80% of the Cmax when the composition is
    8% sodium, 23% potassium, 48% calcium, and 21% mag-                administered while fasting.
    nesium oxybate salts (Na.GHB, K.GHB, Mg.(GHB) 2 , and                 6. The method of claim 1, wherein the composition
    Ca.(GHB) 2 ) with a pH value of 8 and a total concentration        provides a Cmax when administered within four hours after
    of 409 mg/mL oxybate salts was tested for antimicrobial 30 eating that is 60%-7 5% of the Cmax when the composition is
    effectiveness according to USP<51>. Individual samples             administered while fasting.
    were inoculated with each of five microorganisms and stored           7. The method of claim 1, wherein the composition
    for 28 days at 20-25° C. At 7, 14, and 28 days microbial           provides a Cmax that is less than the Cmax of an equal dose
    enumeration tests revealed effective reductions for all            of immediate release liquid solution of Na.GHB adminis-
    strains, as shown in Table 9 below.                             35 tered in equally divided doses at least four hours after eating.
                                                                          8. The method of claim 1, wherein the composition
                                   TABLE 9                             provides a Cmax that is less than the Cmax of an equal dose
                                                                       of immediate release liquid solution of Na.GHB adminis-
                                Microbial Effective
                       Test of 8% Na•GHB, 23% K•GHB,                   tered  in equally divided doses within four hours after eating.
                            48% Ca•(GHBh, and 21%                   40    9. The method of claim 1, wherein the composition
                            Mg•(GHB)o at 409 mg/mL                     provides a Cmax that is less than 60% the Cm= of an equal
                    Log reduction in colony forming units/mL           dose of immediate release liquid solution of Na.GHB
           Organism                 Day 7           Day 14   Day 28    administered    in equally divided doses at least four hours
                                                                       after eating.
           S. aureaus               >5.2             >5.2     >5.2  45    10. The method of claim 1, wherein the composition
           E.coli                   >5.7             >5.7     >5.7
           P. aeruginosa            >5.8             >5.8     >5.8
                                                                       provides a change in Cmax when administered at least four
           C. albicans                3.0            >5.6     >5.6     hours after eating and within four hours after eating that is
           A. niger                   2.6             3.6     >4.2     10-60% less than the change in Cmax of an equal dose of
                                                                       immediate release liquid solution of Na.GHB when admin-
                                                                    50 istered in equally divided doses at least four hours after

       What is claimed is:                                             eating and within four hours after eating.
                                                                          11. The method of claim 1, wherein the pharmaceutical
       1. A method ofreducing food effect due to administration
    of gamma-hydroxybutyrate (GHB) in a patient having cata-           composition     comprises 8% of Na.GHB; 23% of K.GHB;
    plexy in narcolepsy or excessive daytime sleepiness in             48% of Ca.(GHB) 2 ; and 21 % of Mg.(GHB) 2 .
    narcolepsy, comprising:                                                                   *   *   *    *   *
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                                   EXHIBIT 5
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    Guidance for Industry
   Food-Effect Bioavailability and
     Fed Bioequivalence Studies




                     U.S. Department of Health and Human Services
                             Food and Drug Administration
                    Center for Drug Evaluation and Research (CDER)

                                    December 2002
                                         BP
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   Food-Effect Bioavailability and
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                                        Guidance For Industry1

              Food-Effect Bioavailability and Fed Bioequivalence Studies


         This guidance represents the Food and Drug Administration=s current thinking on this topic. It
         does not create or confer any rights for or on any person and does not operate to bind FDA or the
         public. An alternative approach may be used if such approach satisfies the requirements of the
         applicable statutes and regulations.




   I.        INTRODUCTION

   This guidance provides recommendations to sponsors and/or applicants planning to conduct
   food-effect bioavailability (BA) and fed bioequivalence (BE) studies for orally administered
   drug products as part of investigational new drug applications (INDs), new drug applications
   (NDAs), abbreviated new drug applications (ANDAs), and supplements to these applications.
   This guidance applies to both immediate-release and modified-release drug products. The
   guidance addresses how to meet the BA and BE requirements in 21 CFR 320, 314.50 (d) (3), and
   314.94 (a) (7) as they apply to oral dosage forms. This guidance provides recommendations for
   food-effect BA and fed BE study designs, data analysis, and product labeling. It also provides
   information on when food-effect BA and fed BE studies should be performed. 2


   II.       BACKGROUND

   Food effect BA studies are usually conducted for new drugs and drug products during the IND
   period to assess the effects of food on the rate and extent of absorption of a drug when the drug
   product is administered shortly after a meal (fed conditions), as compared to administration
   under fasting conditions. Fed BE studies, on the other hand, are conducted for ANDAs to
   demonstrate their bioequivalence to the reference listed drug (RLD) under fed conditions.

             A.      Potential Mechanisms of Food Effects on BA


   1
     This guidance has been prepared by the Food Effect Working Group of the Biopharmaceutics Coordinating
   Committee in the Office of Pharmaceutical Science, Center for Drug Evaluation and Research (CDER) at the Food
   and Drug Administration (FDA).

   2
     See also the guidance for industry on Bioavailablity and Bioequivalence Studies for Orally Administered Drug
   Products C General Considerations.



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   Food can change the BA of a drug and can influence the BE between test and reference products.
   Food effects on BA can have clinically significant consequences. Food can alter BA by various
   means, including

       •   Delay gastric emptying
       •   Stimulate bile flow
       •   Change gastrointestinal (GI) pH
       •   Increase splanchnic blood flow
       •   Change luminal metabolism of a drug substance
       •   Physically or chemically interact with a dosage form or a drug substance

   Food effects on BA are generally greatest when the drug product is administered shortly after a
   meal is ingested. The nutrient and caloric contents of the meal, the meal volume, and the meal
   temperature can cause physiological changes in the GI tract in a way that affects drug product
   transit time, luminal dissolution, drug permeability, and systemic availability. In general, meals
   that are high in total calories and fat content are more likely to affect the GI physiology and
   thereby result in a larger effect on the BA of a drug substance or drug product. We recommend
   use of high-calorie and high-fat meals during food-effect BA and fed BE studies.

           B.       Food Effects on Drug Products

   Administration of a drug product with food may change the BA by affecting either the drug
   substance or the drug product. In practice, it is difficult to determine the exact mechanism by
   which food changes the BA of a drug product without performing specific mechanistic studies.
   Important food effects on BA are least likely to occur with many rapidly dissolving, immediate-
   release drug products containing highly soluble and highly permeable drug substances (BCS
   Class I) because absorption of the drug substances in Class I is usually pH- and site-independent
   and thus insensitive to differences in dissolution. 3 However, for some drugs in this class, food
   can influence BA when there is a high first-pass effect, extensive adsorption, complexation, or
   instability of the drug substance in the GI tract. In some cases, excipients or interactions
   between excipients and the food-induced changes in gut physiology can contribute to these food
   effects and influence the demonstration of BE. For rapidly dissolving formulations of BCS Class
   I drug substances, food can affect Cmax and the time at which this occurs (Tmax) by delaying
   gastric emptying and prolonging intestinal transit time. However, we expect the food effect on
   these measures to be similar for test and reference products in fed BE studies.

   For other immediate-release drug products (BCS Class II, III, and IV) and for all modified-
   release drug products, food effects are most likely to result from a more complex combination of
   factors that influence the in vivo dissolution of the drug product and/or the absorption of the drug
   substance. In these cases, the relative direction and magnitude of food effects on formulation
   BA and the effects on the demonstration of BE are difficult, if not impossible, to predict without
   conducting a fed BE study.

   3
     See the guidance for industry on Waiver of In Vivo Bioavailability and Bioequivalence Studies for Immediate
   Release Solid Oral Dosage Forms Based on a Biopharmaceutics Classification System.



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   III.   RECOMMENDATIONS FOR FOOD-EFFECT BA AND FED BE STUDIES

   This section of the guidance provides recommendations on when food-effect BA studies should
   be conducted as part of INDs and NDAs and when fed BE studies should be conducted as part of
   ANDAs. For postapproval changes in an approved immediate- or modified-release drug product
   that requires in vivo redocumentation of BE under fasting conditions, fed BE studies are
   generally unnecessary.

          A.      Immediate-Release Drug Products

          1.      INDs/NDAs

          We recommend that a food-effect BA study be conducted for all new chemical entities
          (NCEs) during the IND period.

          Food-effect BA studies should be conducted early in the drug development process to
          guide and select formulations for further development. Food-effect BA information
          should be available to design clinical safety and efficacy studies and to provide
          information for the CLINICAL PHARMACOLOGY and/or DOSAGE AND
          ADMINISTRATION sections of product labels. If a sponsor makes changes in
          components, composition, and/or method of manufacture in the clinical trial formulation
          prior to approval, BE should be demonstrated between the to-be-marketed formulation
          and the clinical trial formulation.

          Sponsors may wish to use relevant principles described in the guidance for industry on
          SUPAC-IR: Immediate Release Solid Oral Dosage Forms: Scale-Up and Post-Approval
          Changes: Chemistry, Manufacturing, and Controls, In Vitro Dissolution Testing, and In
          Vivo Bioequivalence Documentation (SUPAC-IR guidance) to determine if in vivo BE
          studies are recommended. These BE studies, if indicated, should generally be conducted
          under fasting conditions.

          2.      ANDAs

          In addition to a BE study under fasting conditions, we recommend a BE study under fed
          conditions for all orally administered immediate-release drug products, with the
          following exceptions:

          •    When both test product and RLD are rapidly dissolving, have similar dissolution
               profiles, and contain a drug substance with high solubility and high permeability
               (BCS Class I) (see footnote 3), or

          •    When the DOSAGE AND ADMINISTRATION section of the RLD label states that
               the product should be taken only on an empty stomach, or



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          •    When the RLD label does not make any statements about the effect of food on
               absorption or administration.

          B.      Modified-Release Drug Products

          We recommend that food-effect BA and fed BE studies be performed for all modified-
          release dosage forms.

          1.      INDs/NDAs

          We recommend a study comparing the BA under fasting and fed conditions for all orally
          administered modified-release drug products.

          When changes occur in components, composition, and/or method of manufacture
          between the to-be-marketed formulation and the primary clinical trial material, the
          sponsor may wish to use relevant principles described in the guidance for industry on
          SUPAC-MR: Modified Release Solid Oral Dosage Forms: Scale-Up and Post-Approval
          Changes: Chemistry, Manufacturing, and Controls: In Vitro Dissolution Testing and In
          Vivo Bioequivalence Documentation (SUPAC-MR guidance) to determine if
          documentation of in vivo BE is recommended. These BE studies, if indicated, should
          generally be conducted under fasting conditions.

          2.      ANDAs

          In addition to a BE study under fasting conditions, a BE study under fed conditions
          should be conducted for all orally administered modified-release drug products.


   IV.    STUDY CONSIDERATIONS

   This section provides general considerations for designing food effect BA and fed BE studies. A
   sponsor may propose alternative study designs and data analyses. The scientific rationale and
   justification for these study designs and analyses should be provided in the study protocol.
   Sponsors may choose to conduct additional studies for a better understanding of the drug product
   and to provide optimal labeling statements for dosage and administration (e.g. different meals
   and different times of drug intake in relation to meals). In studying modified-release dosage
   forms, consideration should be given to the possibility that co-administration with food can
   result in dose dumping, in which the complete dose may be more rapidly released from the
   dosage form than intended, creating a potential safety risk for the study subjects.

          A.      General Design

   We recommend a randomized, balanced, single-dose, two-treatment (fed vs. fasting), two-period,
   two-sequence crossover design for studying the effects of food on the BA of either an
   immediate-release or a modified-release drug product. The formulation to be tested should be
   administered on an empty stomach (fasting condition) in one period and following a test meal


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   (fed condition) in the other period. We recommend a similar, two-treatment, two-period, two-
   sequence crossover design for a fed BE study except that the treatments should consist of both
   test and reference formulations administered following a test meal (fed condition). An adequate
   washout period should separate the two treatments in food-effect BA and fed BE studies.

           B.       Subject Selection

   Both food-effect BA and fed BE studies can be carried out in healthy volunteers drawn from the
   general population. Studies in the patient population are also appropriate if safety concerns
   preclude the enrollment of healthy subjects. A sufficient number of subjects should complete the
   study to achieve adequate power for a statistical assessment of food effects on BA to claim an
   absence of food effects, or to claim BE in a fed BE study (see DATA ANALYSIS AND
   LABELING section). A minimum of 12 subjects should complete the food-effect BA and fed
   BE studies.

           C.       Dosage Strength

   In general, the highest strength of a drug product intended to be marketed should be tested in
   food-effect BA and fed BE studies. In some cases, clinical safety concerns can prevent the use
   of the highest strength and warrant the use of lower strengths of the dosage form. For ANDAs,
   the same lot and strength used in the fasting BE study should be tested in the fed BE study. For
   products with multiple strengths in ANDAs, if a fed BE study has been performed on the highest
   strength, BE determination of one or more lower strengths can be waived based on dissolution
   profile comparisons (for details see the guidance on Bioavailablity and Bioequivalence Studies
   for Orally Administered Drug Products - General Considerations.

           D.       Test Meal

   We recommend that food-effect BA and fed BE studies be conducted using meal conditions that
   are expected to provide the greatest effects on GI physiology so that systemic drug availability is
   maximally affected. A high-fat (approximately 50 percent of total caloric content of the meal)
   and high-calorie (approximately 800 to 1000 calories) meal is recommended as a test meal for
   food-effect BA and fed BE studies. This test meal should derive approximately 150, 250, and
   500-600 calories from protein, carbohydrate, and fat, respectively.4 The caloric breakdown of
   the test meal should be provided in the study report. If the caloric breakdown of the meal is
   significantly different from the one described above, the sponsor should provide a scientific
   rationale for this difference. In NDAs, it is recognized that a sponsor can choose to conduct
   food-effect BA studies using meals with different combinations of fats, carbohydrates, and
   proteins for exploratory or label purposes. However, one of the meals for the food-effect BA
   studies should be the high-fat, high-calorie test meal described above.



   4
     An example test meal would be two eggs fried in butter, two strips of bacon, two slices of toast with butter, four
   ounces of hash brown potatoes and eight ounces of whole milk. Substitutions in this test meal can be made as long as
   the meal provides a similar amount of calories from protein, carbohydrate, and fat and has comparable meal volume
   and viscosity.


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             E.       Administration

   Fasted Treatments: Following an overnight fast of at least 10 hours, subjects should be
   administered the drug product with 240 mL (8 fluid ounces) of water. No food should be
   allowed for at least 4 hours post-dose. Water can be allowed as desired except for one hour
   before and after drug administration. Subjects should receive standardized meals scheduled at
   the same time in each period of the study.

   Fed Treatments: Following an overnight fast of at least 10 hours, subjects should start the
   recommended meal 30 minutes prior to administration of the drug product. Study subjects should
   eat this meal in 30 minutes or less; however, the drug product should be administered 30 minutes
   after start of the meal. The drug product should be administered with 240 mL (8 fluid ounces) of
   water. No food should be allowed for at least 4 hours post-dose. Water can be allowed as
   desired except for one hour before and after drug administration. Subjects should receive
   standardized meals scheduled at the same time in each period of the study.

             F.       Sample Collection

   For both fasted and fed treatment periods, timed samples in biological fluid, usually plasma,
   should be collected from the subjects to permit characterization of the complete shape of the
   plasma concentration-time profile for the parent drug. It may be advisable to measure other
   moieties in the plasma, such as active metabolites, and sponsors should refer to the guidance on
   Bioavailability and Bioequivalence Studies for Orally Administered Drug Products — General
   Considerations for recommendations on these issues. Consideration should be given to the
   possibility that co-administration of a dosage form with food can alter the time course of plasma
   drug concentrations so that fasted and fed treatments can have different sample collection times.


   V.        DATA ANALYSIS AND LABELING

   Food-effect BA studies may be exploratory and descriptive, or a sponsor may want to use a food-
   effect BA study to make a label claim.5 The following exposure measures and pharmacokinetic
   parameters should be obtained from the resulting concentration-time curves for the test and
   reference products in food-effect BA and fed BE studies:

         •   Total exposure, or area under the concentration-time curve (AUC0-inf, AUC0-t)
         •   Peak exposure (Cmax)
         •   Time to peak exposure (Tmax)
         •   Lag-time (tlag) for modified-release products, if present
         •   Terminal elimination half-life
         •   Other relevant pharmacokinetic parameters

   Individual subject measurements, as well as summary statistics (e.g., group averages, standard
   deviations, coefficients of variation) should be reported. An equivalence approach is
   5
       Regulations on labeling requirements for a drug product submitted in an NDA can be found in 21 CFR part 201.


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   recommended for food-effect BA (to make a claim of no food effects) and fed BE studies,
   analyzing data using an average criterion. Log-transformation of exposure measurements (AUC
   and Cmax ) prior to analysis is recommended. The 90 percent CI for the ratio of population
   geometric means between test and reference products should be provided for AUC0-inf, AUC0-t,
   and Cmax (see guidance for industry on Statistical Approaches to Establishing Bioequivalence).
   For IND or NDA food-effect BA studies, the fasted treatment serves as the reference. For
   ANDA fed BE studies, the RLD administered under fed condition serves as the reference
   treatment.

   The effect of food on the absorption and BA of a drug product should be described in the
   CLINICAL PHARMACOLOGY section of the labeling. In addition, the DOSAGE AND
   ADMINISTRATION section of the labeling should provide instructions for drug administration
   in relation to food based on clinical relevance (i.e., whether or not the changes in systemic
   exposure caused by co-administration with food results in safety or efficacy concerns, or when
   there is no important change in systemic exposure but there is a possibility that the drug
   substance causes GI irritation when taken without food).

   For an NDA, an absence of food effect on BA is not established if the 90 percent CI for the ratio
   of population geometric means between fed and fasted treatments, based on log-transformed
   data, is not contained in the equivalence limits of 80-125 percent for either AUC0-inf (AUC0-t
   when appropriate) or Cmax. When the 90 percent CI fails to meet the limits of 80-125 percent,
   the sponsor should provide specific recommendations on the clinical significance of the food
   effect based on what is known from the total clinical database about dose-response (exposure-
   response) and/or pharmacokinetic-pharmacodynamic relationships of the drug under study. The
   clinical relevance of any difference in Tmax and tlag should also be indicated by the sponsor. The
   results of the food-effect BA study should be reported factually in the CLINICAL
   PHARMACOLOGY section of the labeling and should form the basis for making label
   recommendations (e.g., take only on an empty stomach) in the DOSAGE AND
   ADMINISTRATION section of the labeling. The following are examples of language for the
   package insert:

          A food-effect study involving administration of [the drug product] to healthy volunteers
          under fasting conditions and with a high-fat meal indicated that the Cmax and AUC were
          increased 57% and 45%, respectively, under fed conditions. This increase in exposure
          can be clinically significant, and therefore [the drug] should be taken only on an empty
          stomach (1 hour before or 2 hours after a meal)

          A food-effect study involving administration of [the drug product] to healthy volunteers
          under fasting conditions and with a high-fat meal indicated that the Cmax was decreased
          15% while the AUC remained unchanged. This decrease in exposure is not clinically
          significant, and therefore [the drug] could be taken without regards to meals.

   An absence of food effect on BA is indicated when the 90 percent CI for the ratio of population
   geometric means between fed and fasted treatments, based on log-transformed data, is contained
   in the equivalence limits of 80-125 percent for AUC0-inf (AUC0-t when appropriate) and Cmax. In
   this case, a sponsor can make a specific claim in the CLINICAL PHARMACOLOGY or
   DOSAGE AND ADMINISTRATION section of the label that no food effect on BA is expected


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   provided that the Tmax differences between the fasted and fed treatments are not clinically
   relevant. The following is an example of language for the package insert:

          The Cmax and AUC data from a food-effect study involving administration of [the drug
          product] to healthy volunteers under fasting conditions and with a high-fat meal indicated
          that exposure to the drug is not affected by food. Therefore, [the drug product] may be
          taken without regard to meals.

   For an ANDA, BE of a test product to the RLD product under fed conditions is concluded
   when the 90 percent CI for the ratio of population geometric means between the test and RLD
   product, based on log-transformed data, is contained in the BE limits of 80-125 percent for AUC
   and Cmax. Although no criterion applies to Tmax, the Tmax values for the test and reference
   products are expected to be comparable based on clinical relevance. The conclusion of BE under
   fed conditions indicates that with regard to food, the language in the package insert of the test
   product can be the same as the reference product.


   VI.    OTHER CONSIDERATIONS

          A.      Sprinkles

   In NDAs, the labeling of certain drug products (e.g., controlled-release capsules containing
   beads) can recommend that the product be sprinkled on soft foods, such as applesauce, and
   swallowed without chewing. For the labeling to indicate that the drug product can be sprinkled
   on soft foods, additional in vivo relative BA studies should be performed by sprinkling the
   product on the soft foods to be listed in the labeling (test treatment) and comparing it to the
   product administered in the intact form (reference treatment), then administering both on an
   empty stomach.

   In ANDAs, BE of the test to the RLD is demonstrated in a single dose crossover study. Both
   treatments should be sprinkled on one of the soft foods mentioned in the labeling, usually
   applesauce. The BE data should be analyzed using average BE and the 90 percent CI criteria
   should be used to declare BE. If there are questions about other foods, the design, or the analysis
   of such BE studies, the sponsors and/or applicants should contact the Office of Generic Drugs.

          B.      Special Vehicles

   For NDAs, the labeling for certain oral solution products (e.g., cyclosporine oral solution,
   modified) recommends that the solution be mixed with a beverage prior to administration. The
   BA of these products can change when mixed with different beverages due to the formation of
   complex mixtures and other physical-chemical and/or physiological factors. NDA sponsors
   should contact the Office of Clinical Pharmacology and Biopharmaceutics to determine what
   data should be submitted to support labeling.

   In ANDAs, BE of the test to the RLD is demonstrated in a single-dose crossover study. Both
   treatments should be mixed with one of the beverages mentioned in the labeling. Sponsors


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   should provide evidence that BE differences would not be expected from the use of other listed
   vehicles. The BE data should be analyzed using average BE, and the 90 percent CI criteria
   should be used to declare BE. If there are questions about other vehicles, or the design or
   analysis of such BE studies, the sponsors and/or applicants should contact the Office of Generic
   Drugs.




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                                   EXHIBIT 5


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